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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION


                                          )
STATE OF TEXAS,                           )
STATE OF MISSOURI,                        )
                                          )
      Plaintiffs,                         )
                                          )
      v.                                  )   Civil Action No. 2:21-cv-00067-Z
                                          )
JOSEPH R. BIDEN, JR.,                     )
in his official capacity as               )
President of the United States, et al.,   )
                                          )
      Defendants.                         )
                                          )


                                ADMINISTRATIVE RECORD
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION


                                               )
STATE OF TEXAS,                                )
STATE OF MISSOURI,                             )
                                               )
       Plaintiffs,                             )
                                               )
       v.                                      )   Civil Action No. 2:21-cv-00067-Z
                                               )
 JOSEPH R. BIDEN, JR.,                         )
 in his official capacity as                   )
 President of the United States, et al.,       )
                                               )
       Defendants.                             )
                                               )


                                           CERTIFICATION

       My name is Blas Nuñez-Neto. I am employed with the U.S. Department of Homeland

Security, I am the Acting Assistant Secretary for Border and Immigration Policy as of October 1,

2021. My permanent role is as Chief Operating Officer at U.S. Customs and Border Protection

(CBP), within the Department of Homeland Security (DHS), which I began on March 5, 2021.

Since August 24, 2021, I have also been serving as the Vice Chair for the Secretary of Homeland

Security’s Southwest Border Taskforce. I also previously served at DHS as an Advisor to CBP

Commissioner Gil Kerlikowske from January 12, 2015 to January 16, 2017.
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       I am the custodian of the October 29, 2021 Memoranda Terminating the Migrant Protection

Protocols (MPP) and the administrative record for that decision for DHS. I certify that, to the best

of my knowledge, information, and belief, the attached index contains the non-privileged

documents considered by DHS, and that these documents constitute the administrative record the

agency considered.

       Executed this 27th day of August, 2022




                                       _______________________
                                        Blas Nuñez-Neto
                                       Acting Assistant Secretary
                                       Border and Immigration Policy
                                       Department of Homeland Security
                                       Chief Operating Officer
                                       U.S. Customs and Border Protection
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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                       AMARILLO DIVISION


                                                             )
    STATE OF TEXAS,                                          )
    STATE OF MISSOURI,                                       )
                                                             )
          Plaintiffs,                                        )
                                                             )
          v.                                                 )          Civil Action No. 2:21-cv-00067-Z
                                                             )
    JOSEPH R. BIDEN, JR.,                                    )
    in his official capacity as                              )
    President of the United States, et al.,                  )
                                                             )
          Defendants.                                        )
                                                             )

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Defendants are happy to provide the Court these spreadsheets in their original form if it would assist the Court.

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                                                                   Secretary

                                                                   U.S. Department of Homeland Security
                                                                   Washington, DC 20528




                                    October 29, 2021


MEMORANDUM TO:             Tae D. Johnson
                           Acting Director
                           U.S. Immigration and Customs Enforcement

                           Troy A. Miller
                           Acting Commissioner
                           U.S. Customs and Border Protection

                           Ur M. Jaddou
                           Director
                           U.S. Citizenship and Immigration Services

                           Robert Silvers
                           Under Secretary
                           Office of Strategy, Policy, and Plans

FROM:                      Alejandro N. Mayorkas
                           Secretary

SUBJECT:                   Termination of the Migrant Protection Protocols


On January 25, 2019, then-Secretary of Homeland Security Kirstjen Nielsen issued a
memorandum entitled “Policy Guidance for Implementation of the Migrant Protection Protocols.”
On February 2, 2021, President Biden issued Executive Order (EO) 14010, Creating a
Comprehensive Regional Framework to Address the Causes of Migration, to Manage Migration
Throughout North and Central America, and to Provide Safe and Orderly Processing of Asylum
Seekers at the United States Border. In this Executive Order, President Biden directed the
Secretary of Homeland Security “to promptly review and determine whether to terminate or
modify the program known as the Migrant Protection Protocols.” After completing a
comprehensive review as directed by EO 14010, I concluded that the Migrant Protection
Protocols (MPP) should be terminated and, on June 1, 2021, issued a memorandum to that effect
(the “June 1 memo”).




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On August 13, 2021, the U.S. District Court for the Northern District of Texas determined that
the June 1 memo was not issued in compliance with the Administrative Procedure Act (APA)
because it failed to address all the relevant considerations. See Texas v. Biden, No. 2:21-cv-067,
2021 WL 3603341 (N.D. Tex. Aug. 13, 2021). As a result, the District Court vacated the June 1
memo in its entirety and remanded the matter to the Department for further consideration. Id. at
*27. The District Court additionally ordered DHS to “enforce and implement MPP in good faith”
until certain conditions are satisfied, including that MPP be “lawfully rescinded in compliance
with the APA.” Id. (emphasis in original). The Department is fully complying with the District
Court’s order. At the same time, the Department has filed a notice of appeal and continues to
vigorously contest several of the District Court’s conclusions.

Pursuant to the District Court’s remand and in continuing compliance with the President’s
direction in EO 14010, I have once more assessed whether MPP should be maintained,
terminated, or modified in a variety of different ways. In conducting my review, I have studied
multiple court decisions, filings, and declarations related to MPP; considered relevant data
regarding enrollments in MPP, encounters at the border, and outcomes in removal proceedings;
reviewed previous Departmental assessments of MPP, as well as news reports and publicly
available sources of information pertaining to conditions in Mexico; met with a broad and diverse
array of internal and external stakeholders, including officials from across the federal government
working on border management, state and local elected officials from across the border region,
border sheriffs and other local law enforcement officials, and representatives from nonprofit
organizations providing legal access and humanitarian aid across the southwest border; and
considered the impact of other Administration initiatives related to immigration and the southern
border. I also examined considerations that the District Court determined were insufficiently
addressed in the June 1 memo, including claims that MPP discouraged unlawful border crossings,
decreased the filing of non-meritorious asylum claims, and facilitated more timely relief for
asylum seekers, as well as predictions that termination of MPP would lead to a border surge,
cause the Department to fail to comply with alleged detention obligations under the Immigration
and Nationality Act, impose undue costs on states, and put a strain on U.S.-Mexico relations.

After carefully considering the arguments, evidence, and perspectives presented by those who
support re-implementation of MPP, those who support terminating the program, and those who
have argued for continuing MPP in a modified form, I have determined that MPP should be
terminated. In reaching this conclusion, I recognize that MPP likely contributed to reduced
migratory flows. But it did so by imposing substantial and unjustifiable human costs on the
individuals who were exposed to harm while waiting in Mexico. The Biden-Harris
Administration, by contrast, is pursuing a series of policies that disincentivize irregular migration
while incentivizing safe, orderly, and humane pathways. These policies—including the ongoing
efforts to reform our asylum system and address the root causes of migration in the region—seek
to tackle longstanding problems that have plagued our immigration system for decades and
achieve systemic change. Once fully implemented, I believe these policies will address
migratory flows as effectively, in fact more effectively, while holding true to our nation’s values.

To reiterate what the President has stated previously, the United States is a nation with borders
and laws that must be enforced. It is also a nation of immigrants. This Administration is, as a
result, committed to the twin goals of securing our borders and offering protection to those
fleeing persecution and torture. MPP is neither the best, nor the preferred, strategy for achieving
                                                                                                        2

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either of these goals. Significant evidence indicates that individuals awaiting their court hearings
in Mexico under MPP were subject to extreme violence and insecurity at the hands of
transnational criminal organizations that profited by exploiting migrants’ vulnerabilities. It is
possible that such humanitarian challenges could be lessened through the expenditure of
significant government resources currently allocated to other purposes. Ultimately, however, the
United States has limited ability to ensure the safety and security of those returned to Mexico.
Other significant issues with MPP, including the difficulties in accessing counsel and traveling to
courts separated by an international border, are endemic to the program’s design.

In reaching my determination, I have carefully considered what I deem to be the strongest
argument in favor of retaining MPP: namely, the significant decrease in border encounters
following the determination to implement MPP across the southern border. Of course,
correlation does not equal causation and, even here, the evidence is not conclusive. I have
nonetheless presumed, for the sake of this review, that MPP resulted in a significant decrease in
irregular border crossings and persons approaching the U.S. border to pursue non-meritorious
asylum claims. I still conclude that the benefits do not justify the costs, particularly given the
way in which MPP detracts from other regional and domestic goals, foreign-policy objectives,
and domestic policy initiatives that better align with this Administration’s values.

Importantly, the effective management of migratory flows requires that we work with our
regional partners to address the root causes that drive migrants to leave their countries and to
tackle this challenge before it arrives at our border. This is a shared responsibility of all countries
across the region. MPP distracts from these regional efforts, focusing resources and attention on
this singular program rather than on the work that is needed to implement broader and more
enduring solutions.

Efforts to implement MPP have played a particularly outsized role in diplomatic engagements
with Mexico, diverting attention from more productive efforts to fight transnational criminal and
smuggling networks and address the root causes of migration. This was true under the previous
implementation of MPP, and it is even more true today given the shared belief that the program
should not be implemented without, at the very least, significant improvements. Notably,
Mexico has made clear that it will not agree to accept those the United States seeks to return to
Mexico under MPP unless substantial improvements are made to the program. But these much-
needed efforts to enhance humanitarian protections for those placed in MPP are resource-
intensive, exacerbating one of the flaws of the program: the concentration of resources,
personnel, and aid efforts on the northern border of Mexico rather than on broader regional
assistance efforts that would more effectively and systematically address the problem of irregular
migration and better protect our border.

Moreover, the personnel required to adequately screen MPP enrollees to ensure they are not
returned to persecution or torture in Mexico, process them for court hearings, and manage their
cases pulls resources from other priority efforts, including the ongoing efforts to implement
effective, fair, and durable asylum reforms that reduce adjudication delays and tackle the
immigration court backlog. Both the Dedicated Docket, designed so that immigration judges can
adjudicate cases within 300 days, and the proposed Asylum Officer Rule, which would transfer
the initial responsibility for adjudicating asylum claims from immigration judges to USCIS
asylum officers to produce timely and fair decision-making, are expected to yield transformative
                                                                                                          3

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and lasting changes to the asylum system. MPP, which can require unproductive, redundant
screenings per case given the many different times individuals are returned to Mexico during the
pendency of a single removal proceeding, diverts asylum officers and immigration judges away
from these priority efforts. MPP not only undercuts the Administration’s ability to implement
critically needed and foundational changes to the immigration system, but it also fails to provide
the fair process and humanitarian protections that all persons deserve.

Having assessed the benefits and costs of the previous implementation of MPP, including how
the program could potentially be improved, I have concluded that there are inherent problems
with the program that no amount of resources can sufficiently fix. Others cannot be addressed
without detracting from key Administration priorities and more enduring solutions.

It is, as a result, my judgment that the benefits of MPP are far outweighed by the costs of
continuing to use the program on a programmatic basis, in whatever form. For the reasons
detailed more fully in the attached memorandum, the contents of which are adopted and
incorporated into the decision contained here, I am hereby terminating MPP. Effective
immediately, I hereby supersede and rescind the June 1 memorandum, Secretary Nielsen’s
January 25, 2019 memorandum, and any other guidance or other documents prepared by the
Department to implement MPP. The Department will continue complying with the Texas
injunction requiring good-faith implementation and enforcement of MPP. But the termination of
MPP will be implemented as soon as practicable after a final judicial decision to vacate the Texas
injunction.




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                Explanation of the Decision to Terminate the Migrant Protection Protocols

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    I.      Executive Summary

       On February 2, 2021, President Biden issued an Executive Order directing the Secretary
of Homeland Security to “promptly review and determine whether to terminate or modify the
program known as the Migrant Protection Protocols.”1 After extensive review, the Secretary of
Homeland Security concluded that the Migrant Protection Protocols (MPP) should be terminated,
and on June 1, 2021, issued a memorandum to that effect.2 On August 13, 2021, however, the
U.S. District Court for the Northern District of Texas determined that the June 1, 2021,
memorandum was not issued in compliance with the Administrative Procedure Act (APA) and
caused DHS to violate 8 U.S.C. § 1225, vacated the memorandum, and remanded it to the
Department for further consideration. The court additionally ordered DHS to “enforce and
implement MPP in good faith” until certain conditions are satisfied, including that MPP be
“lawfully rescinded in compliance with the APA”—a ruling that the government is vigorously
appealing.

        Pursuant to the Texas court’s remand, and in continuing compliance with the President’s
direction in the Executive Order, the Secretary has considered anew whether MPP should be
maintained, terminated, or modified in a variety of different ways. After carefully considering
the arguments, evidence, and perspectives of those who support continuing to use MPP, those
who support terminating the program, and those who have argued for the use of MPP with
modifications, the Secretary has determined that MPP should be terminated. In reaching this
conclusion, the Secretary recognizes that MPP likely contributed to reduced migratory flows.
But it did so by imposing substantial and unjustifiable human costs on migrants who were
exposed to harm while waiting in Mexico. The Biden-Harris Administration, by contrast, is
pursuing a series of policies that will disincentivize irregular migration while incentivizing safe,
orderly, and humane pathways. These policies—including the ongoing efforts to reform our
asylum system and address the root causes of migration in the region—seek to tackle
longstanding problems that have plagued our immigration system for decades and achieve
systemic change.

          To reiterate what the President has stated previously, the United States is a nation with
borders and laws that must be enforced. It is also a nation of immigrants. This Administration
is, as a result, committed to the twin goals of securing our borders and offering protection to
those fleeing persecution and torture. MPP is neither the best, nor the preferred, strategy for
achieving either of these goals. Significant evidence indicates that individuals were subject to
extreme violence and insecurity at the hands of transnational criminal organizations that profited
from putting migrants in harms’ way while awaiting their court hearings in Mexico. It is
possible that some of these humanitarian challenges could be lessened through the expenditure of
significant government resources currently allocated to other purposes. Ultimately, however, the
United States has limited ability to ensure the safety and security of those returned to Mexico.


1
  Exec. Order No. 14010, Creating a Comprehensive Regional Framework to Address the Causes of Migration, to
Manage Migration Throughout North and Central America, and to Provide Safe and Orderly Processing of Asylum
Seekers at the United States Border, 86 Fed. Reg. 8267 (Feb. 2, 2021).
2
  Memorandum from Alejandro N. Mayorkas, Sec’y of Homeland Security, Termination of the Migrant Protection
Protocols Program (June 1, 2021) [hereinafter June 1 Memo].

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Other significant issues with MPP, including the difficulties in accessing counsel and traveling to
courts separated by an international border, are endemic to the program’s design.

         Importantly, as the Secretary has emphasized, the management of migratory flows is a
shared responsibility among all countries in the hemisphere. MPP distracts from these regional
efforts, focusing resources and attention on this singular program rather than on the work that is
needed to implement broader, and more enduring, solutions. Efforts to implement MPP have
played a particularly outsized role in diplomatic engagements with Mexico, diverting attention
from more productive efforts to fight transnational criminal and smuggling networks and address
the root causes of migration.

        Notably, Mexico has made clear that it will not agree to accept those the United States
seeks to return to Mexico under MPP unless substantial improvements are made to the program.
But these much-needed efforts to enhance humanitarian protections for those placed in MPP are
resource-intensive, exacerbating one of the flaws of the program—the concentration of
resources, personnel, and aid efforts on the northern border of Mexico rather than on broader
regional assistance efforts that would more effectively and systemically tackle the problem of
irregular migration and protect our border. Moreover, the personnel required to adequately
screen MPP enrollees, potentially multiple times—to ensure they are not returned to persecution
or torture in Mexico, process them for court hearings, and manage their cases—pulls resources
from other priority efforts, including the ongoing efforts to implement effective, fair, and durable
asylum reforms that reduce adjudication delays and tackle the immigration court backlog.

       Having assessed the benefits and costs of the previous implementation of MPP as well as
how the program could potentially be improved, the Secretary has concluded that there are
inherent problems with the program—including the vulnerability of migrants to criminal
networks, and the challenges associated with accessing counsel and courts across an international
border—that resources cannot sufficiently fix. Others cannot be addressed without detracting
from other key Administration priorities. It is thus the Secretary’s judgment that the benefits of
MPP are far outweighed by the costs of the program, in whatever form.

         As a result, for the many reasons described in what follows, the Secretary in a
memorandum issued today entitled, “Termination of the Migrant Protection Protocols,” has
decided to terminate MPP.3 This determination will be implemented as soon as practicable after
a final judicial decision to vacate the Texas injunction that currently requires good-faith
enforcement of MPP.

    II.     Background

       On January 25, 2019, Secretary of Homeland Security Kirstjen Nielsen issued a
memorandum entitled “Policy Guidance for Implementation of the Migrant Protection
Protocols.” On January 20, 2021, Acting Secretary David Pekoske issued a memorandum
temporarily suspending new enrollments into the Migrant Protection Protocols (MPP) pending


3
 Memorandum from Alejandro Mayorkas, Sec’y of Homeland Sec., Termination of the Migrant Protection
Protocols (Oct. 29, 2021).

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further review.4 Two weeks later, on February 2, 2021, President Biden issued Executive Order
(EO) 14010, Creating a Comprehensive Regional Framework to Address the Causes of
Migration, to Manage Migration Throughout North and Central America, and to Provide Safe
and Orderly Processing of Asylum Seekers at the United States Border.5 In this Executive
Order, President Biden directed the Secretary of Homeland Security to “promptly review and
determine whether to terminate or modify the program known as the Migrant Protection
Protocols” and “promptly consider a phased strategy for the safe and orderly entry into the
United States, consistent with public health and safety and capacity constraints, of those
individuals who have been subject to MPP.”6 In response, Secretary Mayorkas initiated a
comprehensive review of MPP. The Secretary, in conjunction with other agencies, also
implemented a phased process for the safe and orderly entry into the United States of thousands
of individuals who had been placed in MPP and certain of their immediate family members for
proceedings.7

        At the conclusion of his review, on June 1, 2021, Secretary Mayorkas issued a
memorandum announcing and explaining his determination that MPP should be terminated (the
“June 1 Memorandum”).8 On August 13, 2021, the U.S. District Court for the Northern District
of Texas determined that the June 1 Memorandum did not reflect reasoned decision-making and
thus was not issued in compliance with the Administrative Procedure Act (APA), and that the
memorandum caused the Department to violate detention provisions found in 8 U.S.C. § 1225.9
The court vacated the June 1 Memorandum in its entirety and remanded it to the Department of
Homeland Security (DHS) for further consideration.10 The court additionally ordered DHS to
“enforce and implement MPP in good faith” until certain conditions are satisfied, including that
MPP be “lawfully rescinded in compliance with the APA.”11 The government is complying with
that injunction while appealing the decision.

        Pursuant to the district court’s remand, and consistent with the President’s direction in
EO 14010, the Secretary has considered anew whether MPP should be maintained, terminated, or
modified. This memorandum sets forth the results of that analysis and the basis for the
Secretary’s decision to terminate MPP by way of a separate memorandum being issued today.
The Secretary’s memorandum immediately supersedes and rescinds the June 1 Memorandum, as
well as Secretary Nielsen’s January 25, 2019 memorandum and any other guidance or other
documents prepared by the Department to implement it. The Secretary’s decision to terminate


4
  Memorandum from David Pekoske, Acting Sec’y of Homeland Sec., Suspension of Enrollment in the Migrant
Protection Protocol Program (Jan. 20, 2021) [hereinafter MPP Suspension Memorandum].
5
  Exec. Order No. 14010, 86 Fed. Reg. 8267 (Feb. 2, 2021).
6
  Id. at 8270.
7
  See Press Release, DHS, “DHS Announces Process to Address Individuals in Mexico with Active MPP Cases,”
Feb. 11, 2021, https://www.dhs.gov/news/2021/02/11/dhs-announces-process-address-individuals-mexico-active-
mpp-cases.
8
  See supra note 2.
9
  See Texas v. Biden, No. 2:21-cv-067, 2021 WL 3603341 (N.D. Tex. Aug. 13, 2021), appeal pending, No. 21-
10806 (5th Cir. filed Aug. 16, 2021).
10
   Id. at *27.
11
   Id. (emphasis in original).

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MPP is to be implemented as soon as practicable after a final judicial decision to vacate the
Texas injunction that currently requires good faith implementation and enforcement of MPP.

          A. MPP’s Statutory Basis and Implementation

        Enacted in 1996, Section 235(b)(2)(C) of the Immigration and Nationality Act (INA), 8
U.S.C. § 1225(b)(2)(C), grants DHS discretionary authority to return to Mexico or Canada
certain noncitizens who are arriving on land from those contiguous countries pending their
removal proceedings before an immigration judge under Section 240 of the INA, 8 U.S.C. §
1229a. Historically, DHS and the legacy Immigration and Naturalization Service (INS) used this
discretionary authority on a case-by-case basis to return certain Mexican and Canadian nationals
who were arriving at land border ports of entry; occasionally, the provision also was used for
third-country nationals under certain circumstances provided they did not have a fear of
persecution or torture related to return to Canada or Mexico.12 On December 20, 2018, the
Department announced a decision to initiate MPP—a novel programmatic implementation of
Section 235(b)(2)(C)—along the Southwest Border (SWB). That same day, Mexico announced
its independent decision to accept those returned to Mexico through the program—a key
precondition to implementation.13

        At the time of its initial announcement, DHS stated that the program was intended to: (1)
reduce unlawful migration and false claims of asylum; (2) ensure that migrants are not able to
“disappear” into the United States prior to a court decision; (3) focus attention on more quickly
assisting legitimate asylum seekers; (4) free up personnel and resources to better protect U.S.
territory and clear the backlog of unadjudicated asylum applications; and (5) offer protection to
vulnerable populations while they wait in Mexico for their removal proceedings.14

12
   Prior to MPP, DHS and the former INS primarily used Section 235(b)(2)(C) on an ad-hoc basis to return certain
Mexican and Canadian nationals who were arriving at land border ports of entry. CBP, for instance, invoked Section
235(b)(2)(C) to return certain Mexican nationals who were U.S. lawful permanent residents (LPRs) and whose
criminal histories potentially subjected them to removal, as well as LPRs who appeared to have abandoned their
permanent residence in the United States but were not willing to execute a Form I-407, Record of Abandonment of
Lawful Permanent Residence. At the Northern Border, CBP used Section 235(b)(2)(C) to return certain Canadian
nationals or those with status in Canada who, for instance, appear to be subject to a criminal ground of
inadmissibility. Although guidance is scant, DHS and the former INS also used Section 235(b)(2)(C), on a case-by-
case basis, for certain third country nationals even prior to MPP. For example, CBP issued field guidance in 2005
advising that a Cuban national arriving at a land border port of entry may “be returned to contiguous territory
pending section 240 proceedings . . . if: (1) the alien cannot demonstrate eligibility for the exercise of parole
discretion; (2) the alien has valid immigration status in Canada or Mexico; (3) Canadian or Mexican border officials
express a willingness to accept the returning alien; and (4) the alien’s claim of fear of persecution or torture does not
relate to Canada or Mexico.” Mem. from Jayson P. Ahern, Asst. Comm’r, Office of Field Ops., CBP, Treatment of
Cuban Asylum Seekers at Land Border Ports of Entry 2-3 (June 10, 2005). The INS also issued guidance in 1997
and 1998 contemplating the use of Section 235(b)(2)(C) only as a “last resort” and only when the individual does
not claim a fear of persecution related to Canada or Mexico. Mem. from Michael A. Pearson, Executive Assoc.
Comm’r, Office of Field Ops., INS, Detention Guidelines Effective October 9, 1998 3 (Oct. 7, 1998); Mem. from
Chris Sale, Deputy Comm’r, INS, Implementation of Expedited Removal 4 (Mar. 31, 1997) (same).
13
   Secretaría de Relaciones Exteriores, Position of Mexico on the Decision of the U.S. Government to Invoke Section
235(b)(2)(C) of its Immigration and Nationality Act (Dec. 20, 2018).
14
   Press Release, DHS, “Secretary Kirstjen M. Nielsen Announces Historic Action to Confront Illegal Immigration,”
Dec. 20, 2018, https://www.dhs.gov/news/2018/12/20/secretary-nielsen-announces-historic-action-confront-illegal-
immigration [hereinafter Nielsen Release].

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        On January 25, 2019, DHS issued policy guidance for implementing MPP,15 which was
augmented a few days later by operational guidance from U.S. Customs and Border Protection
(CBP), U.S. Immigration and Customs Enforcement (ICE), and U.S. Citizenship and
Immigration Services (USCIS).16 Under MPP, certain non-Mexican applicants for admission
who arrived on land at the SWB were placed in removal proceedings and returned to Mexico to
await their immigration court proceedings under Section 240 of the INA.17 For those enrolled in
MPP, DHS attempted to facilitate entry to and exit from the United States to attend their
immigration proceedings, which were prioritized on the non-detained docket by the Department
of Justice’s (DOJ) Executive Office for Immigration Review (EOIR).

        MPP was initially piloted at the San Ysidro port of entry and San Diego Immigration
Court. In July 2019, the program was expanded into Texas and as of January 2020, individuals
could be enrolled in MPP at locations across the SWB. Individuals returned to Mexico were
processed back into the United States to attend their removal proceedings at one of four
immigration court locations in California and Texas.18 It was initially anticipated that enrollees’
first hearings would be scheduled within 30-45 days, consistent with the goal of timely
adjudication of cases. But enrollment quickly outpaced EOIR’s capacity to hear cases. Over
time, capacity constraints meant that even initial hearings were scheduled many months after
enrollment. Large numbers of migrants ended up living in camps in Northern Mexico that were,
as well-documented in numerous reports and as described below, crowded, unsanitary, and beset
by violence.19

      Due to public health concerns brought on by the COVID-19 pandemic, EOIR paused
immigration court hearings for all non-detained individuals, including those enrolled in MPP, in
March 2020.20 MPP hearings never resumed prior to the program’s January 2021 suspension,



15
   Memorandum from Kirstjen M. Nielsen, Sec’y of Homeland Sec., Policy Guidance for Implementation of the
Migrant Protection Protocols (Jan. 25, 2019).
16
   Guidance documents are available at the archived MPP landing page under the MPP Guidance Documentation
heading: https://www.dhs.gov/archive/migrant-protection-protocols.
17
   Individuals who could be enrolled into MPP were, generally, individuals from Spanish-speaking countries and
Brazil.
18
   Individuals enrolled in MPP in the San Diego or El Paso jurisdictions attended hearings at the immigration courts
in San Diego or El Paso; individuals enrolled in MPP in San Antonio or Harlingen jurisdictions attended hearings at
the Immigration Hearing Facilities (IHFs) in Laredo or Brownsville, respectively.
19
   See infra Section III.A; see also Caitlin Dickerson, Inside the Refugee Camp on America’s Doorstep, N.Y. Times,
Oct. 23, 2020; Miriam Jordan, ‘I’m Kidnapped’: A Father’s Nightmare on the Border, N.Y. Times, Dec. 21, 2019;
Nomaan Merchant, Tents, stench, smoke: Health risks are gripping migrant camp, A.P. News, Nov. 14, 2019;
Human Rights Watch, Like I’m Drowning: Children and Families Sent to Harm by the US ‘Remain in Mexico’
Program, Jan. 6, 2021 (“As a result [of MPP], thousands of people are concentrated in dangerous Mexican border
towns indefinitely, living lives in limbo . . . . Migrant shelters in Ciudad Juárez and Tijuana quickly filled, and a
large shelter run by Mexican federal authorities in Ciudad Juárez also quickly hit capacity soon after it opened in
late 2019. In Matamoros, dangers in the city have led as many as 2,600 people to live in an informal camp on the
banks of the river marking the border between Mexico and the United States, a location prone to flooding.”).
20
   See Press Release, DHS, “Joint DHS/EOIR Statement of MPP Rescheduling,” Mar. 23, 2020,
https://www.dhs.gov/news/2020/03/23/joint-statement-mpp-rescheduling.

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but new enrollments into MPP continued during this period, albeit at significantly reduced
rates.21

        In total, between the initial implementation of MPP on January 25, 2019, and the
suspension of new enrollments that became effective on January 21, 2021,22 DHS returned to
Mexico approximately 68,000 individuals, according to DHS and EOIR data.23 During that same
period, CBP processed a total of 1.5 million SWB encounters, including approximately 1 million
encounters processed under Title 8 authorities (including the 68,000 processed through MPP)
and approximately 500,000 Title 42 expulsions.24

         B. Prior Evaluations of MPP

       Prior to the Secretary’s June 1, 2021, termination memorandum, the Department
produced two notable assessments of the program that reached divergent conclusions.

       In June 2019, as the Department prepared to expand MPP across the entire SWB, it
formed a committee of senior leaders from multiple components (known as the “Red Team”) to
conduct a “top-down review of MPP’s policies and implementation strategy and provide overall
recommendations to increase the effectiveness of the program.”25 The Red Team members were
chosen, in part, because they had “little to no involvement developing policy or with
implementing MPP,” thus helping to ensure an independent assessment.26 The report and
recommendations (the “Red Team Report”) was issued October 25, 2019, but not publicly
released.27 In preparing its report, the Red Team reviewed key MPP background documents,
conducted dozens of interviews, made site visits, and performed additional research.28 The Red
Team identified significant deficiencies in MPP and made multiple recommendations for
improving MPP, organized around five different areas: the need for standardization and clarity

21
   See U.S. Customs and Border Protection, “Migrant Protection Protocols FY2021,”
https://www,cbp.gov/newsroom/stats/migrant-protection-protocols; U.S. Customs and Border Protection, “Migrant
Protection Protocols FY2020,” https://www.cbp.gov/newsroom/stats/migrant-protection-protocols-fy-2020; see also
MPP Suspension Memorandum, supra note 4.
22
   MPP Suspension Memorandum, supra note 4.
23
   See “Migrant Protection Protocols Metrics and Measures,” Jan. 21, 2021,
https://www.dhs.gov/publication/metrics-and-measures.
24
   DHS Office of Immigration Statistics analysis of U.S. CBP administrative records. In March 2020, the U.S.
Centers for Disease Control and Prevention (CDC) issued a public health order under 42 U.S.C. §§ 265 and 268 to
prevent the spread of COVID-19 in CBP holding facilities and in the United States. 85 Fed. Reg. 16,559 (Mar. 24,
2020). The Order temporarily suspending the introduction of certain persons into the United States from countries
where a communicable disease exists. Id. In August 2021, CDC issued a new Order, which replaced, reaffirmed, and
superseded the previous Orders. See 86 Fed. Reg. 42,828 (Aug. 5, 2021).
25
   Memorandum from Kevin McAleenan, Acting Sec’y of Homeland Sec., Review of Migrant Protection Protocols
Policy and Implementation (June 12, 2019).
26
   Id. Working under the oversight of the Acting Deputy Secretary of Homeland Security, the Red Team was
composed of individuals from the Offices of Privacy, Management, Civil Rights and Civil Liberties, and the Coast
Guard.
27
   DHS Office of Operations Coordination, The Migrant Protection Protocols Red Team Report (Oct. 25, 2019)
[hereinafter Red Team Report].
28
   Id. at 4.

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with respect to information provided to migrants upon initial screening and processing; the need
for better access to counsel and better mechanisms for communication with counsel; the need to
ensure better non-refoulement protections;29 the need for safe housing and protections for those
returned to Mexico; and the need for administrative and logistical improvements, including the
establishment of measures of effectiveness and better mechanisms for the sharing of key
information between migrants and relevant government agencies. In December 2020—at a point
when new enrollments into MPP had already dropped significantly and only a month before the
program’s suspension—the Department issued supplementary policy and operational guidance
designed to address several of the Red Team’s recommendations.30

       Three days after the issuance of the Red Team Report, the Department released publicly a
separate review of MPP (the “October 2019 Assessment”), which offered a very different
assessment of the program.31 The October 2019 Assessment declared that MPP had
demonstrated operational effectiveness, including by helping to address “the ongoing crisis at the
southern border and restoring integrity to the immigration system.”32 The assessment noted that
apprehensions of noncitizens at and between ports of entry decreased from May through
September 2019; reported that rapid and substantial declines in apprehensions occurred in areas
where the greatest number of MPP-amenable noncitizens had been processed and returned to
Mexico through MPP; asserted that MPP was restoring integrity to the immigration system;
claimed that both the U.S. Government and the Government of Mexico (GOM) were
endeavoring to provide safety and security for migrants returned to Mexico; and stated that the

29
   Article 33 of the 1951 Convention Relating to the Status of Refugees provides that “[n]o Contracting State shall
expel or return (‘refouler’) a refugee in any manner whatsoever to the frontiers of territories where his life or
freedom would be threatened on account of his race, religion, nationality, membership of a particular social group or
political opinion.” Convention Relating to the Status of Refugees, done July 28, 1951, 19 U.S.T. 6259, 6276, 189
U.N.T.S. 150, 176. The United States is not a party to the 1951 Convention, but the United States is a party to the
1967 Protocol Relating to the Status of Refugees, done Jan. 31, 1967, 19 U.S.T. 6223, T.I.A.S. 6577, which
incorporates Article 33 of the 1951 Convention. The phrase “life or freedom would be threatened” is interpreted in
U.S. law as meaning that it is more likely than not that the individual would be persecuted. See, e.g., INS v. Stevic,
467 U.S. 407, 428 & n.22 (1984). Separately, Article 3 of the Convention Against Torture and Other Cruel, Inhuman
or Degrading Treatment or Punishment (CAT) provides, “No State Party shall expel, return (“refouler”) or extradite
a person to another State where there are substantial grounds for believing that he would be in danger of being
subjected to torture.” See Foreign Affairs Reform and Restructuring Act of 1998, Pub. L. No. 105-277, § 2242, 112
Stat. 2681, 2681-2822 (8 U.S.C. § 1231 note). Article 3 of the CAT likewise is understood in U.S. law as requiring a
“more likely than not” standard. See, e.g., Auguste v. Ridge, 395 F.3d 123, 149 (3d Cir. 2005) (citing Senate
Resolution, 136 Cong. Rec. S17,486, S17491-92 (daily ed. 1990)). These non-refoulement obligations are non-self-
executing, see, e.g., Khan v. Holder, 584 F.3d 773, 783 (9th Cir. 2009) (1967 Refugee Protocol); Al-Fara v.
Gonzales, 404 F.3d 733, 743 (3d Cir. 2005) (CAT), and are not specifically required by statute with respect to MPP
returns.
30
   The policy and operational guidance was published on an MPP website and took the form of a series of
memoranda that provided clarity on matters like access to counsel during the non-refoulement interview, the
importance of maintaining family unity, and more consistent application of the “known mental and physical health”
exclusion for enrollment in MPP. DHS, Supplemental Policy Guidance for Implementation of the Migrant
Protection Protocols (Dec. 7, 2020); CBP, Supplemental Migrant Protection Protocols Guidance, Initial Document
Service (Dec. 7, 2020); CBP, Supplemental Migrant Protection Protocol Guidance, MPP Amenability (Dec. 7,
2020).
31
   DHS, “Assessment of the Migrant Protection Protocols (MPP),” Oct. 28, 2019,
https://www.dhs.gov/publication/assessment-migrant-protection-protocols-mpp [hereinafter Oct. 2019 Assessment].
32
   Id.

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screening protocols in place were appropriately assessing noncitizens’ fear of persecution or
torture in Mexico.

        The public October 2019 Assessment presented MPP as a resounding success, whereas
the internal Red Team Report raised serious concerns with the program. Notably, the October
2019 Assessment did not acknowledge or address any of the shortcomings identified by the Red
Team Report, despite the fact that the Assessment was released after the Red Team Report was
completed.

          C. Litigation Regarding the Prior Implementation of MPP

        MPP was challenged many times on multiple grounds in federal court and remains the
subject of ongoing litigation in several jurisdictions. Among other claims, litigants challenged
the program as an impermissible exercise of the underlying statutory authority; argued that MPP
caused DHS to return noncitizens to Mexico to face persecution, abuse, and other harms and that
its procedures inadequately implemented non-refoulement protections; argued that their right to
access counsel before and during non-refoulement interviews had been violated; contested the
return to Mexico pursuant to MPP of noncitizens with mental and physical disabilities; asserted
that the program had been implemented in violation of the APA; and contended that MPP’s
expansion across the SWB was unlawful because it led to the return of migrants to places that
were particularly dangerous.33 Both in the course of litigation and otherwise, litigants described,
and some courts credited, extreme violence and substantial hardships faced by those returned to
Mexico to await their immigration court proceedings, as well as substantial danger traveling to
and from ports of entry to those hearings. Litigants described being exposed to violent crime,
such as rape and kidnapping, as well as difficulty obtaining needed support and services in
Mexico, including adequate food and shelter.34 In addition, more than one hundred MPP
enrollees who received final orders of removal have petitioned the federal courts of appeal for
review of such orders on the grounds that various features of MPP, including limited access to




33
   See, e.g., Innovation Law Lab v. Wolf, 951 F.3d 1073 (9th Cir. 2020), vacated as moot, 5 F.4th 1099 (9th Cir.
2021); Bollat Vasquez v. Wolf, 520 F. Supp. 3d 94 (D. Mass. 2021); Doe v. Wolf, 432 F. Supp. 3d 1200 (S.D. Cal.
2020); E.A.R.R. v. Dep’t of Homeland Sec., No. 3:20-cv-2146 (S.D. Cal. filed Nov. 2, 2020); Adrianza v. Trump,
505 F. Supp. 3d 164 (E.D.N.Y. 2020), dismissed, No. 1:20-cv-03919 (E.D.N.Y. Sept. 2, 2021); Nora v. Wolf, No.
20-993, 2020 WL 3469670 (D.D.C. June 25, 2020); Turcios v. Wolf, No. 1:20-cv-1982, 2020 WL 10788713 (S.D.
Tex. Oct. 16, 2020).
34
   For example, in Innovation Law Lab v. Wolf, the Ninth Circuit observed:
          The MPP has had serious adverse consequences for the individual plaintiffs. Plaintiffs presented evidence
          in the district court that they, as well as others returned to Mexico under the MPP, face targeted
          discrimination, physical violence, sexual assault, overwhelmed and corrupt law enforcement, lack of food
          and shelter, and practical obstacles to participation in court proceedings in the United States. The hardship
          and danger to individuals returned to Mexico under the MPP have been repeatedly confirmed by reliable
          news reports.
951 F.3d at 1078; see also Bollat Vasquez, 520 F. Supp. 3d at 111–12 (describing plaintiffs’ unrebutted descriptions
of rape, death threats, kidnapping risks, and insufficient food and shelter as supported by the U.S. State
Department's assignment to Tamaulipas of a “Level 4: Do Not Travel” warning “due to crime and kidnapping”).

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counsel and inability to access court hearings, prejudiced their ability to pursue relief in removal
proceedings.35

          D. Suspension of New Enrollments and Phased Strategy for the Safe and Orderly Entry
             of Individuals Subjected to MPP

       On January 20, 2021, Acting Secretary David Pekoske issued a memorandum suspending
new enrollments into MPP, effective January 21, 2021, pending further review of the program.36
The MPP Suspension Memorandum was followed by the President’s issuance of EO 14010 on
February 2, 2021, which, in addition to requiring the Secretary to review the program, directed
the Secretary to “promptly consider a phased strategy for the safe and orderly entry into the
United States, consistent with public health and safety and capacity constraints, of those
individuals who have been subject to MPP.”37

        From February 19, 2021, until the effective date of the district court’s order on August
25, 2021, DHS implemented a phased process for the safe and orderly entry into the United
States of thousands of individuals who had been placed in MPP and remained outside the United
States.38 Certain individuals whose removal proceedings were pending before EOIR or whose
proceedings resulted in an in absentia order of removal or termination, and certain of their
immediate family members, were processed into the United States to continue their Section 240
removal proceedings.39 About 13,000 individuals were processed into the United States to
participate in Section 240 removal proceedings as a result of this process.40

          E. Challenge to the Suspension and Termination

        On April 13, 2021, the States of Missouri and Texas filed suit in the U.S. District Court
for the Northern District of Texas, challenging the suspension of new enrollments into MPP on
the grounds that the January 20, 2021, suspension memorandum violated the APA, 8 U.S.C.
§ 1225, the Constitution, and a purported agreement between Texas and the federal government.

35
   See, e.g., Hernandez Ortiz v. Garland, No. 20-71506 (9th Cir. filed Mar. 15, 2021) (describing repeated failed
attempts to contact legal service providers from within Mexico and ultimately agreeing to proceed pro se because
the alternative was to wait longer in Mexico at continued risk to the family’s safety); Del Toro v. Garland, No. 20-
60900 (5th Cir. filed Dec. 14, 2020) (explaining that MPP restricted access to counsel, which prevented the
individual from filing an update State Department country report on Cuba for his individual hearing); Del Carmen
Valle v. Garland, No. 20-72071 (9th Cir. filed July 16, 2020) (arguing that the individual’s “extreme distress and
vulnerability in Mexico, lack of access to counsel, and difficulty in preparing and presenting her asylum application”
as grounds for appeal).
36
   MPP Suspension Memorandum, supra note 4.
37
   Exec. Order No. 14010, 86 Fed. Reg. at 8270.
38
   See Press Release, DHS, “DHS Announces Process to Address Individuals in Mexico with Active MPP Cases,”
Feb. 11, 2021, https://www.dhs.gov/news/2021/02/11/dhs-announces-process-address-individuals-mexico-active-
mpp-cases.
39
   Id.; Press Release, DHS, “DHS Announces Expanded Criteria for MPP-Enrolled Individuals Who Are Eligible for
Processing into the United States,” June 23, 2021, https://www.dhs.gov/news/2021/06/23/dhs-announces-expanded-
criteria-mpp-enrolled-individuals-who-are-eligible-processing.
40
   Data on the number of people permitted to enter the United States under this phased process, February 19-August
25, 2021, provided by the Department of State on October 24, 2021.

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Subsequent to the Secretary’s June 1, 2021, termination memorandum, Missouri and Texas
amended their complaint to challenge the June 1 Memorandum and filed a motion to enjoin the
memorandum.

         On August 13, 2021, the district court issued a nationwide permanent injunction requiring
DHS “to enforce and implement MPP in good faith” until certain conditions were satisfied.41
The district court determined that the June 1 Memorandum was arbitrary and capricious because,
according to the court, the Department ignored critical factors and reached unjustified
conclusions. In particular, the district court found that the June 1 Memorandum failed to
sufficiently account for several considerations, including the prior administration’s assessment of
the benefits of MPP; warnings allegedly made by career DHS personnel during the presidential
transition process that suspending MPP would lead to a surge of border crossers; the costs of
terminating MPP to the States as well as their reliance on MPP; the impact that terminating MPP
would have on the Department’s ability to comply with detention provisions in the INA, which
the court construed to require detention and to foreclose release based on detention capacity
concerns; and modifications to MPP short of termination that could similarly achieve the
Department’s goals.42 As a result, the district court enjoined the June 1 Memorandum in its
entirety and “remanded” it to the Department for further consideration.43 The district court
denied a request for a stay of the injunction pending appeal, and the U.S. Court of Appeals for
the Fifth Circuit and the Supreme Court of the United States also denied stays.44 As a result, the
district court’s order, as construed by the Fifth Circuit, went into effect at 12:01 a.m. on August
25, 2021.

        Since August, the Department has worked actively to reimplement MPP in good faith, as
required by the district court’s order.45 At the same time, pursuant to the district court’s order and
in continuing compliance with the President’s direction in EO 14010, the Secretary has
considered anew whether to maintain, terminate, or modify MPP in various ways.

     III.    Evaluation of MPP

       In considering whether to maintain, terminate, or modify MPP anew, the Department
considered, among other things, the decisions of the Texas district court, Fifth Circuit, and
Supreme Court; the decisions of multiple other courts in litigation challenging MPP or its
termination; the briefs and declarations filed in all such lawsuits pertaining to MPP; various
Departmental assessments of MPP, including both the Red Team Report and agency responses
and the October 2019 Assessment; a confidential December 2019 Rapid Protection Assessment
from the U.N. High Commissioner for Refugees (UNHCR) and publicly available sources of
information, including news reports and publicly available sources of information, pertaining to
conditions in Mexico; records and testimony from Congressional hearings on MPP and reports
41
   Texas, 2021 WL at 3603341, at *27 (emphasis in original).
42
   Id. at *17-22.
43
   Id. at * 27.
44
   See Biden v. Texas, No. 21A21, 2021 WL 3732667 (U.S. Aug. 24, 2021); Texas v. Biden, 10 F.4th 538 (5th Cir.
2021).
45
   See Declaration of Blas Nuñez-Neto, Texas v. Biden, No. 2:21-cv-67 (N.D. Tex. Oct. 14, 2021); Defendants’ First
Supplemental Notice of Compliance with Injunction, Texas v. Biden, No. 2:21-cv-67 (N.D. Tex. Oct. 14, 2021).

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by nongovernmental entities; and data regarding enrollments in MPP, encounters at the border,
and outcomes in removal proceedings conducted for MPP enrollees; and the impact of other
government programs and policies concerning migration and the southern border. In addition,
over the course of several months, the Secretary and his staff met with a broad array of internal
and external stakeholders with divergent views about MPP, including members of the DHS
workforce engaged in border management, state and local elected officials across the border
region, including from Texas, California, Arizona, and New Mexico, border sheriffs and other
law enforcement officials, representatives from multiple nonprofit organizations providing legal
access and humanitarian aid to noncitizens across the SWB, and dozens of Members of Congress
focused on border and immigration policy. The Secretary also assessed other migration-related
initiatives the Administration is undertaking or considering undertaking. And he examined the
considerations that the district court determined were insufficiently addressed in the June 1
Memorandum, including the view that MPP discouraged unlawful border crossings, decreased
the filing of non-meritorious asylum claims, and facilitated more timely relief for asylum
seekers, as well as predictions that termination of MPP would lead to a border surge, impose
undue costs on states, put a strain on U.S.-Mexico relations, and cause DHS to fail to comply
with its obligations under 8 U.S.C. § 1225.

       After carefully considering the arguments, evidence, and perspectives of those who
support resuming MPP, with or without modification, as well as those who support termination,
the Secretary has determined that MPP should be terminated. The following outlines the
considerations that informed the Secretary’s decision.

         A. Conditions for Migrants in Mexico

       In January 2019, the Department implemented MPP with the stated expectation that
vulnerable populations would get the protection they needed while they waited in Mexico during
the pendency of their removal proceedings.46 In practice, however, there were pervasive and
widespread reports of MPP enrollees being exposed to extreme violence and insecurity at the
hands of transnational criminal organizations that prey on vulnerable migrants as they waited in
Mexico for their immigration court hearings in the United States. These security concerns,
together with barriers many individuals faced in accessing stable and safe housing, health care
and other services, and sufficient food, made it challenging for some to remain in Mexico for the
duration of their proceedings. Notably, the United States has limited ability to fix these issues,
given that they relate to migrant living conditions and access to benefits in Mexico—an
independent sovereign nation.

         Concerns about migrants’ safety and security in Mexico, and the effect this had on their
ability to attend and effectively participate in court proceedings in the United States, have been
highlighted in internal Department documents, court filings, and a range of external studies and
press reports. In its internal evaluation of the program, the Department’s Red Team Report
emphasized the need for safe housing for vulnerable populations.47 The Ninth Circuit, in
affirming a district court ruling that enjoined implementation of MPP, determined that
46
   See Nielsen Release, supra note 14; see also Memorandum from Kirstjen M. Nielsen, Sec’y of Homeland Sec.,
Policy Guidance for Implementation of the Migrant Protection Protocols (Jan. 25, 2019).
47
   Red Team Report, supra note 27, at 7.

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“[u]ncontested evidence in the record establishes that non-Mexicans returned to Mexico under
the MPP risk substantial harm, even death, while they await adjudication of their applications for
asylum.”48 A Massachusetts district court similarly described the plaintiffs’ claims of extreme
violence and insecurity in Mexico and observed that “[t]heir personal accounts are unrebutted
and are supported by affidavits from employees of two nongovernmental organizations and the
U.S. State Department’s assignment to Tamaulipas of a ‘Level 4: Do Not Travel’ warning ‘due
to crime and kidnapping.’”49 The court further cited a Human Rights First report that included a
list of 1,544 allegations of serious harm (including homicide, rape, and kidnapping) faced by
individuals placed in MPP from January 2019 to February 2021.50

        Multiple other reports have similarly highlighted security and treatment concerns. A
December 2019 UNHCR Rapid Protection Assessment found that 81% of individuals and
families returned to Mexico under MPP did not feel safe in Mexico, and that 48% had been a
victim or witness of violence in Mexico.51 According to this assessment, children represented
about half (48%) of targets for physical violence, and about half (48%) of kidnapping victims.52
The organization Médecins Sans Frontières (Doctors Without Borders) noted that 75% of its
patients who were in Nuevo Laredo in October 2019 due to MPP reported having been
kidnapped.53 In 2019, a U.S. Commission on Civil Rights report similarly credited several news
and NGO reports in noting that “asylum seekers [awaiting proceedings in Mexico] have been
killed, women have been raped, and children have been kidnapped.”54 Similar accounts of
insecurity and violence were the subject of numerous press reports describing squalor and
violence in the “camps” where many MPP enrollees lived as they waited their court hearings.55
But as bad as conditions often were in the makeshift border camps, migrants gathered there
because the threat of violence and kidnapping in surrounding areas outside of the camps could be

48
   Innovation Law Lab, 951 F.3d at 1093.
49
   Bollat Vasquez, 520 F. Supp. 3d at 111-12 (issuing a preliminary injunction ordering the Department to return to
the United States seven plaintiffs who had been enrolled in MPP).
50
   Human Rights First, Delivered to Danger; Trump Administration sending asylum seekers and migrants to danger,
Feb. 19, 2021, https://www.humanrightsfirst.org/campaign/remain-mexico; see Bollat Vasquez, 520 F. Supp. 3d at
99 n.10 (citing a declaration by Kennji Kizuka, Senior Researcher and Policy Analyst at Human Rights First,
regarding an earlier version of this list explaining that “‘[a]s of December 15, 2020, Human Rights First has
identified 1,314 public reports of murder, torture, rape, kidnapping, and other violent assaults against asylum seekers
returned to Mexico under MPP’ and that ‘the security situation in Mexico, including in the state of Tamaulipas has
worsened’ with one of Mexico’s ‘most powerful and violent cartels’ reportedly increasing its activities in
Tamaulipas and migrants in Matamoros and Nuevo Laredo have been repeatedly targeted’”).
51
   UNHCR, Rapid Protection Assessment: MPP Returnees at the Northern Border of Mexico 15, Dec. 2019. The
UNHCR assessment, shared confidentially with the United States government, is cited here with the express
permission of UNHCR.
52
   According to the UNHCR survey, it did not take long for MPP enrollees to experience danger in Mexico. Just
over half of the individuals surveyed (51%) had been in Mexico for less than one month and more than nine-in-ten
had been in Mexico for less than three months. Id. at 7, 17.
53
   Médecins Sans Frontières, The devastating toll of ‘Remain in Mexico’ asylum policy one year later, Jan. 29, 2020,
https://www.msf.org/one-year-inhumane-remain-mexico-asylum-seeker-policy; cf. Emily Green, Trump’s Asylum
Policies Sent Him Back to Mexico. He was Kidnapped 5 Hours Later By a Cartel., Vice, Sept. 16, 2019.
54
   U.S. Commission on Civil Rights, Trauma at the Border; The Human Cost of Inhumane Immigration Policies,
Oct. 2019, https://www.usccr.gov/files/pubs/2019/10-24-Trauma-at-the-Border.pdf.
55
   See, e.g., Dickerson, supra note 19; Jordan, supra note 19; Merchant, supra note 19; This American Life, The Out
Crowd, Nov. 15, 2019, https://www.thisamericanlife.org/688/transcript.

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greater.56 Poor conditions and violence in the Matamoros camp also created an operational
challenge when migrants at the camp blocked traffic in both directions on the Gateway
International Bridge for hours as a sign of protest.57 The security and treatment of MPP
enrollees also been the subject of congressional oversight and investigation.58

         The adverse living conditions and violence experienced by migrants returned to Mexico
pursuant to MPP are of grave concern to the Secretary. The return of noncitizens to Mexico
under MPP is predicated, by statute, upon individuals’ ability to remain in Mexico during the
pendency of their removal proceedings.59 In practice, however, myriad problems faced by
noncitizens returned to Mexico impeded their ability to access those removal proceedings. As a
result, the Secretary has determined that the key predicate on which the statutory authority
underlying the program is built—that noncitizens stay in Mexico and continue to participate in
their removal proceedings—was upended by reality in too many cases. This is an intolerable
result that is inconsistent with this Administration’s values, which include ensuring the rights of
migrants to seek lawful protection from removal in a safe environment.

       Moreover, these are problems that cannot easily be fixed. Once migrants are returned to
Mexico—an independent sovereign nation—the United States’ ability to respond and provide
adequate conditions and safety is diminished.

         B. Non-Refoulement Concerns

        Concerns about the non-refoulement process under MPP as it was previously
implemented and the additional costs and resources that would be required to address those
concerns also weigh against continued reliance on MPP. As previously designed and
implemented, MPP’s non-refoulement screening process—used to assess whether individuals
would likely face persecution on account of a protected ground or torture in Mexico—was
limited in at least four respects.

       First, as originally implemented, individuals processed for MPP were not questioned by
CBP about their fear of persecution or torture in Mexico, but were instead required to
affirmatively articulate such a fear regarding return to Mexico—a sharp contrast to the approach



56
   See, e.g., María Verza and Fernanda Llano, Lawless Limbo Within Sight of America, Associated Press, Nov. 18,
2019; Delphine Schrank, Asylum seekers cling to hope, safety in camp at U.S.-Mexico Border, Reuters, Oct. 16,
2019, https://www.reuters.com/article/us-usa-immigration-mexico-matamoros-feat-idUSKBN1WV1DY.
57
   Adolfo Flores, “Asylum-Seekers Protesting Squalid Conditions Shut Down A US Border Crossing For 15 Hours,”
Buzzfeed, Oct. 11, 2019, https://www.buzzfeednews.com/article/adolfoflores/asylum-seekers-protesting-bridge-
close-matamoros-texas.
58
   See, e.g., Press Release, H. Comm. on the Judiciary, “Chairman Nadler Announces House Judiciary Investigation
into Trump Administration’s ‘Remain in Mexico’ Policy,” Jan. 14, 2020,
https://judiciary.house.gov/news/documentsingle.aspx?DocumentID=2397; Examining the Human Rights and Legal
Implications of DHS’s “Remain in Mexico” Policy: Hearing Before the H. Comm. on Homeland Sec., 116th Cong.
passim (2019).
59
   See 8 U.S.C. § 1225(b)(2)(C) (specifying that the Secretary may return a noncitizen to a contiguous territory
“pending a proceeding under [8 U.S.C. §] 1229a”).

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used in the expedited removal context, in which individuals are affirmatively asked standard
questions about fear of return to their home countries and the responses are recorded.60

         Second, rather than using a screening standard familiar to asylum officers (such as the
“significant possibility” standard used for credible fear interviews or the “reasonable possibility”
standard used for reasonable fear interviews to screen for possible withholding or deferral of
removal claims), non-refoulement screenings for MPP applied a more restrictive “more likely
than not” standard.61 Under this standard, noncitizens had to demonstrate to an asylum officer
that it was more likely than not that they would be persecuted or tortured if returned to Mexico in
order to avoid a return to Mexico—a higher substantive standard than they would ultimately
have had to establish to secure asylum and the same substantive standard they would have had to
establish to an immigration judge if they were ineligible for asylum but were seeking
withholding or deferral of removal under the INA or regulations implementing CAT.

         Third, the Department did not initially allow counsel to participate in the non-refoulement
interviews.62 This differs from how fear interviews are conducted during the expedited removal
process; in that context, noncitizens receive at least at 48-hour period to find and consult with a
legal representative.63 Eventually, and in part as response to a district court order, these
restrictions were eased.64



60
   See 8 C.F.R. § 235.3(b)(2). Importantly, even if migrants processed for MPP expressed a fear of repatriation to
their home country, they were never asked about any fear of being returned to Mexico. Assessing this feature of the
program, Judge Watford of the U.S. Court of Appeals for the Ninth Circuit stated in Innovation Law Lab that it was
“virtually guaranteed to result in some number of applicants being returned to Mexico in violation of the United
States’ non-refoulement obligations,” as many individuals returned under MPP who feared persecution or torture in
Mexico would “be unaware that their fear of persecution in Mexico is a relevant factor in determining whether they
may lawfully be returned to Mexico, and hence is information they should volunteer to an immigration officer.
Innovation Law Lab v. McAleenan, 924 F.3d 503, 511 (9th Cir. 2019) (Watford, J. concurring).
61
   Prior to MPP implementation, this standard had been used almost exclusively by immigration judges to adjudicate
statutory withholding of removal or withholding or deferral of removal under regulations implementing the
Convention Against Torture (CAT). See 8 C.F.R. §§ 208.16(a), (c)(4); 208.17(b)(1); 208.31(c); 1208.16(b);
1208.17(b). It was, as a result, not a standard that had previously been used by asylum officers in the screening
context, which resulted in additional, burdensome training and implementation requirements.
62
   U.S Citizenship and Immigration Services, Guidance for Implementing Section 235(b)(2)(C) of the Immigration
and Nationality Act and the Migrant Protection Protocols, PM-602-0169 3 (Jan. 28, 2019) (“DHS is currently
unable to provide access to counsel during the [non-refoulement] assessments given the limited capacity and
resources at ports-of-entry and Border Patrol stations as well as the need for the orderly and efficient processing of
individuals.”). This differs from how fear interviews are conducted during the expedited removal process; in that
context, noncitizens receive at least at 48-hour period to find and consult with a legal representative. See Form M-
444, Information about Credible Fear Interview (May 17, 2019).
63
   See Form M-444, Information about Credible Fear Interview (May 17, 2019).
64
   Doe v. Wolf, 432 F. Supp. 3d 1200 (S.D. Cal. 2020). Previously retained counsel were permitted to participate in
non-refoulement interviews conducted at Immigration Hearing Facilities (IHFs) in Laredo and Brownsville as of
December 2019 and within the Ninth Circuit in January 2020. Supplemental guidance issued in December 2020
expanded this access to counsel to all MPP locations and required DHS to ensure the ability of retained counsel to
participate telephonically in USCIS’ MPP non-refoulement assessments, but only “where it does not delay the
interview, or is required by court order.” Supplemental Policy Guidance for Implementation of the Migrant
Protection Protocols, supra note 30, at 1-2.

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       Fourth, in practice, there were multiple challenges and inconsistencies in the
implementation of non-refoulement screenings. The Red Team Report emphasized the need for
standard operating procedures to ensure consistency and address problems such as the use of a
“pre-screening process” by CBP personnel at some locations that “preempt[ed] or prevent[ed]”
USCIS from ever having cases referred for a determination.65 The report additionally noted that
some CBP officials “pressure[d] USCIS to arrive at negative outcomes when interviewing
migrants on their claim of fear of persecution or torture.”66

       Moreover, throughout the use of MPP, more than 2,500 individuals raised fear claims at
multiple points in this process, leading to multiple screenings for those individuals during the
pendency of their cases.67 These kinds of unproductive, redundant screenings are a drain on
resources that may be more likely to occur in MPP as individuals are returned to Mexico
multiple times over the pendency of a single removal proceeding, often to unsafe conditions.

        For all these reasons, the Secretary has concluded that continuation of MPP in its prior
form is not advisable. These concerns likely could be addressed by policy changes that require
the affirmative asking, the use of a more appropriate screening standard that protects those who
face a reasonable or significant possibility of persecution or torture upon return to Mexico, the
opportunity for individuals to consult with counsel prior to screenings, and better training and
oversight. But making these changes would likely lengthen the screenings and require DHS to
devote additional asylum officers and detention space to these screenings, both of which are in
short supply, especially as a result of challenges related to the COVID-19 pandemic. New
procedures could lengthen the screening process. Such an approach would divert critical
personnel and resources from other Administration priorities, including ongoing efforts to build a
more durable, fair, and efficacious asylum system as discussed in greater detail in Section IV.
The additional burdens that would be required to implement a non-refoulement process
acceptable to the Department weigh against retention of MPP. Moreover, even if making these
changes better protected individuals from being returned to persecution or torture, it would not
protect people from generalized violence or other extreme hardships that have no nexus to
statutorily protected grounds, and that have been experienced by many returnees.

         C. Access to Counsel, Notice of Hearings, and Other Process Concerns

       Individuals in MPP faced multiple challenges accessing counsel and receiving sufficient
information about court hearings. First, there were several problems in communicating accurate
and up-to-date information to migrants about rescheduled court hearings. As noted in the Red
Team Report, some migrants in MPP had to give up their shelter space in Mexico when they
returned to the United States for their court hearings. As a result, they were unable to provide
the court an address for follow-up communications.68 To submit a change of address while in
Mexico, migrants had to print and mail a Change of Address Form, which posed logistical
challenges for individuals who lacked internet access and who could not readily print and mail

65
   Red Team Report, supra note 27, at 6.
66
   Id. at 4-5.
67
   Data on MPP Cases with Multiple Referrals, provided by USCIS on October 28, 2021.
68
   Red Team Report, supra note 27, at 7.

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documents internationally. This made it difficult to communicate updates regarding enrollees’
court cases and hearing dates.

        Second, MPP enrollees faced several barriers in accessing counsel both in the United
States and in Mexico. Although MPP enrollees were permitted to meet with counsel at hearing
locations prior to their hearings, these meetings were limited to a single hour before the court
hearing took place.69 Opportunities for attorneys to meet with their clients outside of those
organized at the hearing locations were limited due to, among other constraints, complications
associated with cross-border communication. Many migrants lacked access to a telephone with
international coverage or other forms of technology that could be used to communicate with
counsel. Some legal services organizations also adopted policies against visiting clients in
Mexico due to serious safety concerns.70 In addition, because hearings for the tens of thousands
of people enrolled in MPP were concentrated in a handful of courts along the border, demand for
legal assistance far outstripped supply.71

        These problems are of significant concern to the Secretary. Inadequate access to counsel
casts doubt on the reliability of removal proceeding. It also undermines the program’s overall
effectiveness at achieving final resolution of immigration proceedings; in several cases,
noncitizens challenged adverse immigration-judge decisions on the ground that they did not have
an adequate opportunity to identify and retain counsel, or to gather or present the evidence in
support of their claims.72 More broadly, access to counsel is critical to ensuring migrants receive
a full and fair hearing; this Administration recognizes the importance of access to counsel in civil
contexts, including in immigration proceedings, and considers fostering legal representation and
access to justice a priority.73

       Meanwhile, some of these flaws are exceedingly challenging to fix. While migrants
could be provided additional means to communicate from Mexico with counsel by video or
telephone, doing so requires a significant expenditure of resources to ensure that the appropriate
technology is available in Mexico. In-person consultations are significantly constrained by the

69
   See U.S. Immigration and Customs Enforcement, Migrant Protection Protocols Guidance 3 (Feb. 12, 2019). As
noted above, DHS also did not initially allow counsel to participate in non-refoulement interviews conducted by
USCIS.
70
   See Brief for the Laredo Project, et al. as Amici Curiae Supporting Respondents at 20-21, Wolf v. Innovation Law
Lab, No. 19-1212 (Jan. 22, 2021) (“The Laredo Project considered providing assistance across the border in Nuevo
Laredo, but determined that it was far too dangerous. When Laredo Project attorneys took an exploratory trip across
the border, the local pastor with whom they were scheduled to meet (who ran a shelter for migrants) was missing; he
had been kidnapped by cartel members, reportedly because he attempted to stop them from kidnapping Cuban
asylum seekers.”).
71
   Human Rights Watch, We Can’t Help You Here”; U.S. Returns of Asylum Seekers to Mexico, July 2, 2019,
https://www.hrw.org/report/2019/07/02/we-cant-help-you-here/us-returns-asylum-seekers-mexico (“[U]nder the
MPP, thousands of asylum seekers have been forcibly concentrated in El Paso and San Diego, overwhelming the
limited number of immigration attorneys who practice there.”).
72
   See supra note 35.
73
   White House, “FACT SHEET: President Biden to Sign Presidential Memorandum to Expand Access to Legal
Representation and the Courts,” May 18, 2021, https://www.whitehouse.gov/briefing-room/statements-
releases/2021/05/18/fact-sheet-president-biden-to-sign-presidential-memorandum-to-expand-access-to-legal-
representation-and-the-courts/.

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reality that migrants are in Mexico and space for meetings with counsel to take place at ports of
entry or upon their return to court is extremely limited. Providing migrants with additional time
to consult with attorneys would likely require them to spend a night in detention, which would
also place additional strain on CBP facilities that have consistently been operating over their
COVID restricted capacity. In fact, the holding areas in six out of nine Border Patrol Sectors are
over COVID-capacity as of October 27, 2021.74

          D. Impacts of MPP on Immigration Court Appearance Rates and Outcomes

        The Department’s October 2019 Assessment of MPP concluded that MPP was “restoring
integrity to the immigration system” by (1) providing bona fide asylum seekers the opportunity
to obtain relief in months, not years, and (2) eliminating the “perverse incentives” that reward
and encourage people with non-meritorious asylum claims to enter the United States.75 But upon
further consideration and examination, the facts tell a more complex story, thus undermining the
claimed benefits.

        MPP did result in some removal proceedings being completed more expeditiously than is
typical for non-detained cases. Overall, 41 percent of MPP cases resulted in a final enforcement
disposition as of June 30, 2021, versus 35 percent of comparable non-MPP cases.76 But the fact
that MPP may have resolved cases more quickly does not mean that the cases were resolved
fairly or accurately. The integrity of the nation’s immigration system should be assessed by
whether immigration proceedings achieve fair and just outcomes, both for individuals who merit
relief and those who do not. In the Secretary’s judgment, the data show that MPP generally failed
to meet that bar.

         Importantly, noncitizens in MPP were substantially more likely to receive in absentia
removal orders than comparable noncitizens who were not placed in MPP during the relevant
time period. Overall, of the 67,694 cases of individuals enrolled in MPP,77 21,818 were subject
to an in absentia order of removal at some point during their removal proceedings—32 percent
of all individuals enrolled in MPP.78 For comparable noncitizens who were not processed

74
   Data on holding area capacity by U.S. Border Patrol Sector, provided by CBP on October 28, 2021.
75
   Oct. 2019 Assessment, supra note 31, at 3, 6.
76
   For the purposes of this memorandum, comparable noncitizens or comparable non-MPP cases are defined as non-
Mexican single adults and family units who were apprehended along the SWB between January 25, 2019, and
January 20, 2021, were not enrolled in MPP and were not detained throughout the pendency of their proceedings.
Data derived from DHS Office of Immigration Statistics Enforcement Lifecycle, which is based on a comprehensive
person-level analysis of DHS and EOIR enforcement and adjudication records. See Marc Rosenblum and Hongwei
Zhang, Fiscal Year 2020 Enforcement Lifecycle Report (Dec. 2020) [hereinafter FY 2020 Enforcement Lifecycle
Report].
77
   Id. This is based on DHS’s Office of Immigration Statistics (OIS) analysis of MPP cases; this analysis excludes
345 cases originally identified as MPP enrollees in CBP data because the records are for unaccompanied children,
accompanied minors, or Mexican nationals, all of whom are ineligible for the program, or because the records could
not be matched to other administrative data.
78
   In his June 1 Memorandum, the Secretary referenced a 44% in absentia rate for this time period. The Department
has since updated its methodology for measuring in absentia rates in two important ways. First, the Department did
not count in absentia orders that were subject to subsequent motions to reopen or any other further action by DHS or


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through MPP during that same time period and who were also not detained for the duration of
their proceedings, the in absentia rate was 13 percent—about two-fifths the rate of the MPP
group.79

        Moreover, an additional 6,151 MPP cases were terminated by the immigration court.80
Courts generally issued such orders in MPP cases when a noncitizen failed to appear but the
immigration judge declined to issue an in absentia removal given concerns that the noncitizen
did not have proper notice of how to attend his or her hearing.81 Including these cases brings the
total number of cases of individuals in MPP that involved the issuance of an in absentia order of
removal or termination to 27,969 (41 percent of all MPP cases and nearly three-and-a-half times
higher than the in absentia rate for comparable noncitizens not enrolled in MPP).82

       The fact that in absentia removal order rates (and in absentia removal order rates plus
termination rates) were considerably higher for MPP cases than for comparable non-MPP cases
might not, by itself, indicate a problem with MPP. For instance, the October 2019 Assessment
concluded that MPP was incentivizing people without meritorious claims to voluntarily leave
Mexico and return home.83 That assessment pointed to the fact that out of more than 55,000
MPP enrollees (at that time), only 20,000 were sheltered in northern Mexico and an additional
900 had returned home through International Organization for Migration’s Assisted Voluntary
Return program.



DOJ, thus undercounting the total number of in absentia orders that had been issued. Second, the in absentia rate of
44 percent only included cases in which there was a final disposition, rather than the full universe of MPP cases
including those that were still pending, thus overstating the percentage. The updated numbers in this memorandum,
by contrast, take into account the total number of in absentia orders issued in MPP cases, irrespective of whether
there was a subsequent motion to reopen or other further action in the case, as well as the total number of MPP
cases, including both active cases and those with a final disposition. This analysis captures all in absentia orders and
compares them to the full set of MPP cases.
79
   Id.
80
   For individuals in removal proceedings under Section 240 of the INA who are not in MPP, termination of
proceedings is frequently reported by DHS OIS as a form of relief because it generally marks the end of efforts to
remove the noncitizen from the country. That situation is very different for noncitizens enrolled in MPP, who are
outside of the country during the pendency of removal proceedings and have no basis upon which to seek admission
to the United States once proceedings are terminated.
81
   Matter of Herrera-Vasquez, 27 I&N Dec. 825 (BIA 2020); Matter of Rodriguez-Rodriguez, 27 I&N Dec. 762
(BIA 2020).
82
   The district court in Texas v. Biden cited EOIR data indicating that in absentia rates in removal proceedings were
also quite high in 2015 and 2017—42% and 47% percent, respectively. 2021 WL 3603341, at *21. But there are
critical methodological differences between the ways in which these numbers are calculated and the in absentia rates
presented in this memorandum. As explained in note 77, supra, the data presented in this memorandum measure in
absentia rates as a share of the total number of cases. The EOIR data measures in absentia orders as a share of
completed cases only, which excludes cases that remain ongoing that are disproportionately likely to not result in
such orders. See Ingrid Eagley and Steven Shafer, Measuring In Absentia Removal in Immigration Court, American
Immigration Council, Jan. 2021, https://www.americanimmigrationcouncil.org/research/measuring-absentia-
removal-immigration-court. A recalculation of the 2015 and 2017 in absentia rates as a share of total cases referred
to EOIR in those years yields rates of 21 percent and 20 percent, respectively. This is one-half the in absentia and
termination rate found in MPP cases.
83
   Oct. 2019 Assessment, supra note 31, at 3.

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         Other reports suggest, however, that individuals abandoned claims or otherwise failed to
appear for proceedings because of insecurity in Mexico and inadequate notice about court
hearings.84 The difficulties that MPP enrollees faced in Mexico, including the threat of violence
and kidnapping, coupled with inadequate and unreliable access to food and shelter, likely
contributed to people placed in MPP choosing to forego further immigration court proceedings
regardless of whether their cases had merit. Indeed, a number of petitions for review filed in
federal courts of appeals by individuals in MPP who received in absentia removal orders explain
their failure to appear based on serious threats to their personal safety.85

        While individuals in MPP were more likely to receive in absentia removal orders than
comparable noncitizens not enrolled in MPP, they were also less likely to receive relief or
protection from removal. This was true even though the decision to place someone in MPP was
not linked to any assessment of the likely merits of the individual’s claim. DHS data reflect that
only 732 individuals enrolled in MPP out of 67,694 cases were granted relief or protection from
removal—a grant rate of just 1.1.86 For the comparable set of non-MPP cases from the same
time period, the relief-granted rate was nearly two-and-a-half times as high (2.7 percent).87

       The remarkably low 1.1 percent grant rate for MPP cases—the majority of which
involved individuals from the Northern Triangle countries of Central America—is notable also
because when MPP was first announced the Department observed that “approximately 9 out of
84
   See, e.g., Kevin Sieff, “They missed their U.S. court dates because they were kidnapped. Now they’re blocked
from applying for asylum.,” Washington Post, Apr. 24, 2021; Camilo Montoya-Galvez, “‘Leave me in a cell’: The
desperate pleas of asylum seekers inside El Paso’s immigration court,” CBS News, Aug. 11, 2019,
https://www.cbsnews.com/news/remain-in-mexico-the-desperate-pleas-of-asylum-seekers-in-el-paso-who-are-
subject-to-trumps-policy/.
85
   See, e.g., Tabera-Columbi v. Garland, No. 20-60978 (5th Cir. filed Oct. 26, 2020) (noting that MPP enrollee had
been sexually assaulted by the police and was in a hospital as a result on the morning of the hearing); Quinones
Rodriguez v. Garland, No. 20-61204 (5th Cir. filed Dec. 17, 2020) (describing an individual who did not attend the
MPP hearing because he was hiding from gangs who threatened to kidnap him on his way to the hearing); Miranda-
Cruz v. Garland, No. 21-60065 (5th Cir. filed Feb. 1, 2021) (describing a family that was kidnapped en route to an
MPP hearing and held for ransom); see also Hamed Aleaziz and Adolfo Flores, “They Missed Their US Asylum
Hearings Fearing the Cartel Would Kill Them. Now They’re Stuck in Mexico,” Buzzfeed, May 18, 2021.
86
   Relief or protection from removal is defined to include EOIR grants of asylum, grants of relief in non-asylum
removal proceedings, withholding of removal, or conditional grants; DHS grants of Special Immigrant Juvenile
(SIJ) status, lawful permanent residence, S, T, or U nonimmigrant status, and Temporary Protected Status (TPS); the
exercise of DHS prosecutorial discretion; and findings by DHS that the subject is a U.S. citizen or lawfully present
noncitizen not subject to removal. See FY 2020 Enforcement Lifecycle Report, supra, note 75.
87
   As discussed in note 79, this figure includes cases that were terminated. For those located in the United States,
termination ends removal proceedings and effectively allows the subject to remain in the United States until further
action is taken. The low relief-granted rates for both the MPP and comparable non-MPP cases are likely the result of
a number of different factors. During this period, a policy was implemented that barred asylum for individuals who
transited through third countries and decisions were issued that limited humanitarian protection claims based on
family membership and gender; these likely depressed grant rates. See Asylum Eligibility and Procedural
Modifications, 84 Fed. Reg. 33,829 (July 16, 2019); Matter of L-E-A-, 27 I&N Dec. 581 (A.G. 2019), vacated, 28
I&N Dec. 304 (A.G. 2021); Matter of A-B-, 27 I&N Dec. 316 (A.G. 2018), vacated, 28 I&N Dec. 307 (A.G. 2021).
Additionally, the period of time being analyzed is both brief and recent. OIS analysis indicates that relief-granted
rates tend to increase over the first three to four years after a case resulting from a credible or reasonable fear claim
is initiated in immigration court. None of this, however, explains the substantial discrepancy in outcomes between
MPP case and comparable non-MPP cases over the same time period. And none of this diminishes the statutory
obligation to fairly assess asylum applications with the goal of producing reliable adjudications.

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10 asylum claims from Northern Triangle countries are ultimately found non-meritorious by
federal immigration judges.”88 DHS does not have a record of the methodology used to generate
this “9 out of 10” statistic. To the contrary, an analysis of EOIR case outcomes for Northern
Triangle asylum-related claims originating in border encounters (i.e., all EOIR removal
proceedings originating with border encounters followed by credible fear or reasonable fear
claims) in the years leading up to MPP yields a relief-granted rate of about 29 percent—
significantly higher than the 10 percent reflected in Department’s January 2019 statement. That
relief-granted rate is more than 26 times the 1.1 percent grant rate observed for all forms of relief
or protection among MPP enrollees. These discrepancies strongly suggest that at least some
MPP enrollees with meritorious claims either abandoned or were unable to adequately present
their claims given the conditions faced by migrants in Mexico and barriers to legal access.89

        Based on the Department’s experience with MPP and informed by the data above, the
Secretary has determined that the program did not succeed in a sufficient number of cases at
achieving timely and reliable adjudication of migrants’ removal proceedings. Multiple features
of MPP, especially combined with the difficulties in accessing counsel and migrants’ living
experience in Mexico as described above, have led the Secretary to conclude that the program
deterred too many meritorious asylum claims at the expense of deterring non-meritorious claims.
Given the Administration’s values, commitments, and policy preferences, the Secretary has
concluded that this is an unacceptable result. Individuals who may have abandoned meritorious
protection claims should have been offered a meaningful opportunity to seek protection in the
United States. As stated above, the return-to-contiguous-territory authority at INA §
235(b)(2)(C) is predicated on the notion that individuals will be able to pursue their removal
proceedings from within Mexico; the fact that so many individuals enrolled in MPP were unable
to complete their proceedings due to their tenuous situation in Mexico undercuts a key
requirement of the statute. As a global leader in offering protection and resettlement to refugees,
the United States also has a moral obligation to fairly consider such claims. The Secretary is
committed to ensuring meritorious claims are heard, even if that means non-meritorious claims
end up being adjudicated as well.

          E. MPP and Recidivist Irregular Re-Entries

         As discussed below, CBP encounters along the SWB decreased dramatically over a
number of months in which MPP was fully operational across the SWB. But the data also show
that a significant share of individuals enrolled in MPP—33 percent as of June 30, 2021—were
subsequently encountered attempting to reenter the country without inspection, rather than
continuing to wait in Mexico for the resolution of their removal proceedings.90 This rate is more

88
   Nielsen Release, supra note 14.
89
   Indeed, that conclusion is not dissimilar to the one reached in the October 2019 Assessment, when the Department
found that “MPP is one among several tools DHS has employed effectively to reduce the incentive for aliens to
assert claims for relief or protection, many of which may be meritless, as a means to enter the United States to live
and work during the pendency of multi-year immigration proceedings.” Oct. 2019 Assessment, supra note 31, at 6
(emphasis added). Implicit in this statement is an acknowledgment that some such claims do have merit.
90
   FY 2020 Enforcement Lifecycle Report, supra note 75. When the Department previously considered this issue in
June, 27 percent of MPP enrollees had been re-encountered by CBP subsequent to their enrollment in MPP (not


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than two-and-a-half times higher than the historical average for recidivism (defined as re-
encounters within 12 months of initial apprehension) of 14 percent for individuals processed
under Title 8 authorities.91 The high rate of repeat encounters undercuts one of MPP’s key
claimed advantages—namely its deterrent effect on would-be border crossers. Contrary to such
claims, the data show that MPP enrollees were much more likely try to cross the border after
being returned to Mexico than individuals who were removed from the country under other Title
8 authorities. Such re-encounters also impose significant additional work on frontline Border
Patrol agents, who had to encounter, track, and process MPP enrollees multiple times—resources
that could and should have been deployed to other objectives.

         F. Investments and Resources Required to Operate MPP

        MPP was, according to the December 2018 announcement, intended to reduce burdens on
border security personnel and resources to free them up to better protect the U.S. territory. It was
also intended to help clear the backlog of unadjudicated asylum claims. In reality, however,
backlogs in the Nation’s immigration courts and asylum offices grew significantly during the
period that MPP was in effect.92 In addition, MPP created substantial additional responsibilities
on Department personnel that detracted from other critically important mission sets. This played
out in numerous ways.

         First, each time an MPP enrollee returns to the United States to attend a court proceeding,
which could happen multiple times over the life of a case, DHS personnel are required to
conduct additional rounds of processing, including biographic and biometric collection, property
collection and return, and medical screenings. None of this is required for those in removal
proceedings in the United States. The labor-intensive process of bringing migrants back into the
United States for their court proceedings directly impacts staffing at the four U.S. ports of entry
where migrants re-entered, taking frontline personnel away from other key missions—such as
facilitating legal cross-border trade and travel.

         Second, in order to implement and operate MPP, the Department devoted significant
resources and personnel to building, managing, staffing, and securing specialized immigration
hearing facilities (IHFs) to support EOIR. During the period when MPP was operational during
the prior Administration, IHFs cost approximately $168 million to build and operate.93 As part
of its current efforts to comply the Texas court order and reimplement MPP in good faith, the
Department has procured new contracts for IHFs, at a cost of approximately $14.1 million to
build and $10.5 million per month to operate.94

counting encounters at POEs in connection with MPP). The increase since then reflects that individuals enrolled in
MPP continued to seek entry without inspection to the United States.
91
   DHS Office of Immigration Statistics data provided on 10/29/2021.
92
   Between January 2019 and January 2021—the period when MPP was operational—the number of pending
immigration court cases increased from 829,200 to 1,283,090 (a 55 percent increase). Data on pending caseload,
provided by EOIR on October 28, 2021. The backlog of pending affirmative asylum claims increased over the same
time period from 331,100 to 399,100. Data on the affirmative asylum backlog, USCIS Refugee, Asylum, and
International Operations Directorate on October 27, 2021.
93
   DHS Office of the Chief Financial Officer analysis.
94
   Nuñez-Neto Decl., supra note 45, at ¶ 15.

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        Third, adjudication of claims by individuals in MPP diverts asylum officers and
immigration judges from other key efforts designed, as described in Section IV.B, to more
effectively process cases and reduce backlogs. As initially implemented, MPP required the
training of asylum officers to learn the newly applied non-refoulement screening standards and
support an additional adjudicative caseload. Moreover, each time migrants came in and out of
the United States for court hearings, there was another opportunity to claim fear—and another
possible fear screening. Department data shows that in the short time that MPP was operational,
more than 2,500 individuals had repeat fear screenings.95

       Fourth, the program drew on the same limited resources that non-profits and
humanitarian organizations used to help other individuals in Mexico—thus focusing efforts on
northern Mexico and diverting resources and services away from other parts of Mexico and the
broader region.

       Each of these, and other investments or resources, divest resources from other critically
important Departmental missions and undercut the Department’s ability to pursue longer-term,
durable reform.

         G. Impact of MPP and its Termination on SWB Migration Flows

        In making his determination decision, the Secretary has presumed—as is likely—that
MPP contributed to a decrease in migration flows. From January through May 2019, when MPP
was used in a limited number of locations, encounters rose.96 But from June 2019, when DHS
announced that MPP would be fully implemented along the entire SWB, through September
2019, border encounters decreased rapidly, falling 64 percent in just three months. Border
encounters continued to decrease until April 2020. Beginning in May 2020, encounters once
again started rising.97 At that point, individuals continued to be enrolled into MPP, however, at
lower rates than previously; immigration court hearings for MPP enrollees were also suspended.

        The sharp decrease in SWB encounters during the months in which MPP was fully
operational is notable. Of course, correlation does not equal causation. And even at the height
of MPP’s implementation in August 2019, it was not the Department’s primary enforcement
tool; approximately 12,000 migrants were enrolled in MPP but more than 50,000 were processed
under other Title 8 authorities.98 In addition, beginning in April 2019, Mexico surged its own
enforcement, thus increasing their level of apprehensions and returns. This, coupled with a range
of other push and pull factors, both known and unknown, likely contributed to the decline in
encounters.99 The relevant data is simply insufficiently precise to make an exact estimate of the
extent to which MPP may have contributed to decreased flows at the southwest border.

95
   See supra note 66.
96
   U.S. Customs and Border Protection, “Southwest Land Border Encounters,”
https://www.cbp.gov/newsroom/stats/southwest-land-border-encounters.
97
   Id.
98
   DHS OIS analysis of U.S. CBP administrative records.
99
   See Congressional Research Service, Mexico’s Immigration Control Efforts (May 28, 2021).

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        That said, the Secretary has, nonetheless, evaluated MPP on the premise that it
contributed to decreased flows.100 Even so, the Secretary has concluded that this benefit cannot
be justified, particularly given the substantial and unjustifiable human costs on the migrants who
were exposed to harm while in Mexico, and the way in which MPP detracts from other regional
and domestic goals and policy initiatives that better align with this Administration’s values while
also serving to manage migratory flows, as described in Section IV.

         H. Addressing the Concerns of States and Border Communities

        In the course of litigation, plaintiffs have alleged that the Secretary’s June 1
Memorandum failed to consider the additional costs that States would allegedly incur as a result
of the decision to terminate MPP. Texas and Missouri, for example, argued—and the district
court found—that the termination of MPP could lead to an increased number of noncitizens
without proper documentation in their States, which might cause the States to incur additional
costs related to the costs of driver’s licenses, public education, state-funded healthcare, and law
enforcement and correctional costs.101 State-plaintiffs also alleged that terminating MPP led to
an increase in organized crime, human trafficking, and drug cartel activity, specifically with
respect to the illegal trafficking of fentanyl.102 And State-plaintiffs further claimed that they had
developed “reliance interests” dependent on the continued operation of MPP.

         The Secretary takes these concerns seriously. He has sought to understand and address
the impacts that Departmental policies and practices may have on communities and has
consulted with numerous state and local officials from across the SWB about the Department’s
border management strategy, including the decision to terminate MPP. The Secretary has, as a
result taken and will continue to take, steps designed to minimize adverse consequences of any
policy shifts on border states.

        Prior to the district court’s injunction, for example, the Department facilitated the safe
and orderly entry into the United States of about 13,000 individuals previously enrolled in MPP
for purposes of participating in their removal proceedings. Prior to doing so, however, the
Department ensured that these individuals received COVID-19 tests before crossing the border
and entering the United States. The Department also worked in close partnership with
nongovernmental organizations and local officials in border communities to connect migrants
with short-term supports that facilitated their onward movement to final destinations away from
the border.



100
    The district court faulted the Secretary for not taking into account alleged warnings to members of the Biden-
Harris transition team by career DHS officials that terminating MPP would cause a spike in border encounters.
Texas, 2021 WL 3603341, at *7. The Department is unaware of any such specific conversations, yet is aware of, and
has taken into account, similar concerns raised by others.
101
    See Texas, 2021 WL 3603341, at *9-10.
102
    First Amended Complaint at 2, 38-39, Texas v. Biden, No. 2:21-cv-67 (N.D. Tex. filed June 3, 2021); see also
Complaint, West Virginia v. Biden, No. 2:21-cv-22 (N.D. W.Va. filed Aug. 19, 2021); First Amended Complaint,
Arizona v. Mayorkas, No. 2:21-cv-617 (D. Ariz. filed July 12, 2021).

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        In addition, the Secretary has devoted extensive resources on efforts designed to stop
trafficking networks and protect border states from risks associated with criminal activity.
Shortly after assuming office, the Secretary directed FEMA to increase funding for SWB law
enforcement through FEMA’s Operation Stonegarden, a $90 million grant that supports law
enforcement partners, with more than 80% of such funds being been directed to SWB areas.
Multiple and significant narcotics seizures have resulted from this initiative.103 The Secretary
also directed DHS to work with GOM partners on joint law enforcement operations designed to
attack the smuggling and trafficking organizations. Operation Sentinel, which was launched in
April, is a key example of these efforts—a multifaceted counter-network operation focused on
identifying and taking law enforcement actions against transnational criminal organizations
involved in the facilitation of mass migration to the SWB of the United States. Working with the
GOM, DHS law enforcement has identified over 2,200 targets associated with transnational
criminal organizations and revoked multiple visas and Trusted Traveler memberships, blocked
bank accounts, and blocked certain entities from conducting business with the U.S.
government.104

         These efforts build on the Department’s longstanding partnership with state, local,
territorial, and tribal (SLTT) governments and law enforcement agencies, including many on the
SWB, to address transnational crime, including human smuggling and trafficking. ICE’s
Homeland Security Investigations, for example, operates 79 Border Enforcement Security Task
Forces nationwide, staffed by more than 700 State and Local law enforcement officers, that work
cooperatively to combat emerging and existing transnational criminal organizations. Operational
successes resulted in the seizure of 2,503 weapons, 215,301 pounds of narcotics, and
$104,742,957 in FY20.105 The ICE Criminal Apprehension Program also helps SLTT law
enforcement partners better identify, arrest, and remove priority noncitizens who have been
convicted of crimes in the United States and are incarcerated within federal, state, and local
prisons and jails. In FY21, ICE issued 65,940 immigration detainers to noncitizens booked in
jails or prisons.106 All such activities are ongoing.

        The Department also has carefully reviewed the available information and has not seen
any evidence that MPP had any effect on human trafficking and crime, including drug
trafficking. Seizures of narcotics, while not necessarily indicative of trafficking activity, are
nonetheless the best available data, and do not show any impact related to MPP’s
implementation. Seizure of narcotics between ports of entry have declined steadily from FY18
to FY21, including a decline of almost 40 percent since the point in time when MPP was fully
implemented, through FY21, a time MPP was largely not being implemented.107 These declines
have been driven by a substantial decrease in marijuana smuggling. Meanwhile, hard narcotics,
including cocaine, methamphetamine, heroin, and fentanyl, are historically smuggled through
ports of entry and thus have very little connection to MPP’s implementation. Seizure trends for

103
    FEMA data on Operation Stonegarden provided on Oct. 28, 2021.
104
    CBP data on Operational Sentinel, provided on Oct. 28, 2021.
105
    ICE data on Border Enforcement Security Task Forces, provided on Oct. 28, 2021.
106
    ICE data on the Criminal Apprehension Program, provided on Oct. 28, 2021.
107
    Analysis of CBP data on drug seizures by U.S. Border Patrol agents, https://www.cbp.gov/newsroom/stats/drug-
seizure-statistics.

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hard drugs at ports of entry have been mixed, with fentanyl and methamphetamine seizures
increasing substantially year on year since FY18, cocaine seizures remaining largely flat, and
heroin seizures substantially higher in FY19 and FY21 than in FY18 and FY20.108

         Meanwhile, the fact that some noncitizens might reside in the United States rather than
being returned to Mexico and thus access certain services or impose law enforcement costs is
not, in the Secretary’s view, a sufficiently sound reason to continue MPP. Federal immigration
policy virtually always affects the number of people living within the States. Notably, not all of
those burdens are borne by border States—many noncitizens proceed to interior States; others
are detained by the federal government. In this case, the Secretary has made the judgment that
any marginal costs that might have been inflicted on the States as a result of the termination of
MPP are outweighed by the other considerations and policy concerns; it is also the Secretary’s
view that the other policies and initiatives being pursued by this Administration will ultimately
yield better outcomes than MPP.

         Moreover, even after his many consultations, the Secretary is unaware of any State that
has materially taken any action in reliance on the continued implementation (or in response to
the prior termination) of MPP. State-plaintiffs in the litigation also have not identified any
specific actions they took in reliance on MPP.109 Moreover, any claimed reliance interest is
undermined by the fact that the program itself is discretionary, as are decisions to detain or
parole individuals into the country. No administration has ever done what State-plaintiffs in the
litigation argue is required here—detain or return to Mexico everyone that the Department
encounters along the border. States cannot have a reliance interest based on something that has
never previously been implemented. Notably, only 6.5 percent of noncitizens encountered along
the SWB and processed through Title 8 were enrolled in MPP during the period it was in place.
In no month when MPP was operating—including in August 2019, the month with the highest
number of MPP enrollments—were more than one-in-five noncitizens encountered at the SWB
and processed through Title 8 placed in MPP.110 The short time in which MPP was in place, as
well as the small percentage of noncitizens encountered along the SWB who were enrolled in
MPP while it was in operation, undercut any claimed reliance interest, as well as any claim
regarding significant burdens to the States.

          I. Relationship between Implementation of MPP and Statutory Mandates

        In enjoining the June 1 Memorandum, the district court faulted the Department for not
considering the impact terminating MPP would have on the Department’s ability to comply with
the detention requirements in 8 U.S.C. § 1225.111 In so doing, the district court accepted
plaintiffs’ argument that, pursuant to 8 U.S.C. § 1225, DHS has two options with regard to

108
    Id.
109
    The district court in Texas also discussed a purported “agreement” that the Department entered into with the State
of Texas and several other states in early January 2021. Texas, 2021 WL 3603341, at *6-7. As the Department has
explained in litigation, those documents were void ab initio and unenforceable. Any reliance on those documents is
therefore unreasonable. To the extent those documents were ever valid, the Department has since terminated them
and, in any event, Texas conceded in litigation that the “agreement” was no longer binding as of August 1, 2021.
110
    DHS OIS analysis of CBP administrative records.
111
    Texas, 2021 WL 3603341, at *21-23.

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noncitizens seeking asylum at the border: (1) mandatory detention or (2) return to a contiguous
territory.112 This is a clear misreading of the statute for all of the reasons explained at length by
the U.S. Government in the litigation—including a misreading of Section 1225 to effectively
mandate detention of all those who are not subject to the contiguous-territory-return provision of
8 U.S.C. § 1225(b)(2)(C) if the agency lacks detention capacity to detain all noncitizens not
otherwise subject to contiguous territory return. It is also completely at odds with the history of
immigration detention in this country, and the agency’s consistent and longstanding
interpretation of its statutory authorities. Section 1225(b)(2)(C) is discretionary, and nothing in
section 1225’s text or history suggests any relationship between Congress’s grant of return
authority and section 1225’s detention provisions.

        Section 1225 does not impose a near-universal detention mandate for all inadmissible
applicants for admission either as a general matter or conditionally where noncitizens are not
returned to a contiguous territory. Section 1225 “does not mean” that every noncitizen “must be
detained from the moment of apprehension until the completion of removal proceedings.”113 The
INA provides DHS with latitude for processing noncitizens beyond returns or detention. DHS
“may ... in [its] discretion” release a noncitizen placed in Section 1229a proceedings through
“parole,” pursuant to 8 U.S.C. § 1182(d)(5) “for urgent humanitarian reasons or significant
public benefit.”114

         Pursuant to Section 1182(d)(5)’s parole authority, Congress has expressly granted DHS
the broad authority to release applicants for admission from detention as an exercise of the
Department’s parole power. That power has been exercised for as long as the federal
government has been regulating immigration.115 Indeed, Congress enacted 8 U.S.C. §
1182(d)(5) as a “codification of the [prior] administrative practice.”116 And in the decades since,
immigration agencies have continued to broadly exercise their parole power to release certain
noncitizens from detention. Notably, the statute does not set any limit on the number of
individuals DHS can decide to release on parole. Nor does it provide that the agency cannot rely
on its limited resources and detention capacity to release noncitizens otherwise subject to
detention under section 1225. Rather, Congress simply required that parole decisions be made
on a case-by-case basis and that they be based on “urgent humanitarian reasons” or “significant
public benefit.”117 As the statute does not define those ambiguous terms, Congress left it to the

112
    Id. at *22.
113
    Matter of M-S-, 27 I&N Dec. 509, 516-517 (A.G. 2019); see Jennings v. Rodriguez, 138 S. Ct. 830, 837 (2018).
114
    8 U.S.C. § 1182(d)(5)(A); see 8 C.F.R. §§ 212.5(b), 235.3(c). Additionally, “pending a decision on whether the
alien is to be removed” and “[e]xcept as provided in [§ 1226(c)],” noncitizens present in the United States “may” be
released on “bond” or “conditional parole.” 8 U.S.C. § 1226(a)(2)(A)-(B).
115
    See, e.g., Nishimura Ekiu v. United States, 142 U.S. 651, 651, 661 (1892) (discussing release of noncitizen to
care of private organization); Kaplan v. Tod, 267 U.S. 228, 230 (1925) (same).
116
    Leng May Ma v. Barber, 357 U.S. 185, 188 (1958).
117
    In a section entitled “Limitation on the Use of Parole,” Congress amended the parole statute in 1996 to
recharacterize the permissible purposes of parole from “emergent reasons or for reasons deemed strictly in the
public interest” to “only on a case-by-case basis for urgent humanitarian reasons or significant public benefit.”
Illegal Immigration Reform and Immigrant Responsibility Act of 1996, Pub. L. No. 104-208, Div. C, §§ 302, 602,
110 Stat 3009 (emphasis added). But it did not otherwise alter DHS’s parole authority and did not define these
manifestly ambiguous statutory terms. Accordingly, after the 1996 amendment to the parole statute, the agency


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agency to define them.118 In implementing section 1182(d)(5), the agency has long interpreted
the phrase “significant public benefit” to permit it to parole noncitizens “whose continued
detention is not in the public interest as determined by” specific agency officials.119 And in turn,
the agency has for decades viewed detention as not being in the “public interest” where, in light
of available detention resources, detention of a specific noncitizen would limit the agency’s
ability to detain another noncitizen whose release may pose a greater risk of flight or danger to
the community.120

         Moreover, no administration has ever interpreted or implemented 8 U.S.C § 1225, as the
district court in Texas has read it, to require the detention of virtually all inadmissible applicants
for admission, except for those returned to Mexico. The Department does not have—and has
never had under any prior administration—sufficient detention capacity to maintain in custody
every single person described in section 1225. In September 2021, for example, CBP
encountered approximately 192,000 individuals along the SWB.121 And as discussed above,
even in August 2019, when MPP enrollments were at their zenith, CBP encountered nearly
63,000 individuals along the SWB. Meanwhile, ICE Enforcement and Removal Operations
(ERO) is generally appropriated for approximately 34,000 detention beds nationwide with some
modest fluctuation from year to year.

        This variance between border crossings and detention capacity is not new and was in fact
the reality even when MPP was in place (see Appendix 1). From Fiscal Years 2013 to 2019,
nearly three-quarters of single adult and family unit members who were encountered at the SWB
were either never placed in or released from detention during the pendency of their
proceedings—more than 1.1 million (41 percent) were never booked into ICE detention and
nearly 900,000 (33 percent) were booked in for a period of time but released prior to the
conclusion of their removal proceedings.122 Even during the period that MPP was in effect from
late January 2019 to January 20, 2021, more than two-thirds of single adults and individuals in
family units encountered along the SWB and processed through non-MPP Title 8 authorities—
more than 650,000 individuals—were never detained or released from ICE custody during the



incorporated the new “case-by-case” requirement into its regulation, while also maintaining its longstanding
regulatory authority to release when “continued detention is not in the public interest,” 8 C.F.R. § 212.5(b)(5), which
remained consistent with the statute after the 1996 amendment. Inspection and Expedited Removal of Aliens;
Detention and Removal of Aliens; Conduct of Removal Proceedings; Asylum Procedures, 62 Fed. Reg. 10,312,
10,313 (Mar. 6, 1997).
118
    8 U.S.C § 1103(a)(1); Chevron U.S.A., Inc. v. NRDC, 467 U.S. 837 (1984); cf., e.g., Ibragimov v. Gonzales, 476
F.3d 125, 137 n.17 (2d Cir. 2007) (deferring to another aspect of same parole regulation).
119
    8 C.F.R. § 212.5(b)(5).
120
    See, e.g., Interim Guidance for Implementation of Matter of M-S, 27 I&N Dec. 509 (A.G. 2019): Parole of Aliens
Who Entered Without Inspection, Were Subject to Expedited Removal, and Were Found to Have a Credible Fear of
Persecution or Torture; ICE Policy No. 11002.1, Parole of Arriving Aliens Found to Have a Credible Fear of
Persecution or Torture (Dec. 8, 2009); see also Jeanty v. Bulger, 204 F. Supp. 2d 1366, 1377-78 (S.D. Fla. 2002)
(referring to INS detention use policies, including parole policies, based on having to establish “priorities for the use
of limited detention space”), aff’d, 321 F.3d 1336 (11th Cir. 2003).
121
    Southwest Land Border Encounters, supra note 95.
122
    FY 2020 Enforcement Lifecycle Report, supra, note 75.

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duration of their proceedings; a full 42 percent (more than 415,000 individuals) were never
booked into ICE detention at all.123

         By interpreting Section 1225 to mandate either detention or return to Mexico, the court
essentially concluded that every single administration since 1997 has repeatedly and consistently
violated Section 1225, by exercising the parole authority to release noncitizens detained under
that authority, on a case-by-case basis, where detention of a specific noncitizen would limit the
agency’s ability to detain another noncitizen who release may pose a greater risk of flight or
danger to the community. There is no indication that Congress, in enacting Section 1225,
intended to require the Secretary to use the explicitly discretionary return authority found at 8
U.S.C. § 1225(b)(2)(C) for virtually any noncitizen the Department fails to detain because of
resource limitations.124 Rather, the decision to use the authority found in 8 U.S.C. §
1225(b)(2)(C) is entrusted to the Secretary’s discretion and to his discretion alone. Given these
clear statutory authorities, and DHS’s longstanding interpretation of the ambiguous parole
statute, the Secretary’s decision to terminate MPP creates no conflict with the detention
authorities in Section 1225.

          J. Impact on U.S.-Mexico Relationship

        Mexico is a sovereign nation. This means that the U.S. Government cannot return
individuals to Mexico without an independent decision by the GOM to accept their entry. It was
for good reason that MPP was put into effect only after the U.S. government had conducted
diplomatic engagement with GOM and after the GOM announced its independent decision to
accept returnees. The initiation of MPP required substantial diplomatic engagement in 2019; it
does in 2021 as well.125

        In deciding to accept returns of non-Mexican nationals under MPP, the GOM agrees to
shoulder the burden of receiving these individuals, facilitating legal status and shelter, and
accounting for their safety and security. Not only does this place a great deal of strain on the
GOM’s ability to provide services for its own citizens and lawful residents, it diverts Mexican
law enforcement resources from other missions that are important to the United States—

123
    Id. Indeed, when the last Administration created MPP, it expressly excluded from its coverage as a matter of
discretion certain noncitizens, including citizens or nationals of Mexico, returning lawful permanent residents
seeking admission, noncitizens with known physical or mental health issues, and other noncitizens. DHS, “Migrant
Protection Protocols (Trump Administration Archive),” https://www.dhs.gov/archive/migrant-protection-protocols-
trump-administration.
124
    Congress is aware that it would need to appropriate substantial additional funds to detain everyone potentially
subject to detention under Section 1225; yet, it has never done so. See 8 U.S.C. § 1368(b) (providing for bi-annual
reports to Congress on detention space, including estimates on “the amount of detention space that will be required”
during “the succeeding fiscal year”). Although Congress has amended Section 1225 since 1996, see Pub. L. 110-
229, 122 Stat. 754, 867 (2008), it has never amended Section 1225 to mandate the use of return authority when the
agency lacks resources to detain all applicants for admission or to override the agency’s longstanding interpretation
permitting the use of parole to address capacity limitations as a significant public benefit. See Lorillard v. Pons, 434
U.S. 575, 580 (1978) (“Congress is presumed to be aware of an administrative … interpretation of a statute and to
adopt that interpretation when it re-enacts a statute without change.”).
125
    Position of Mexico on the Decision of the U.S. Government to Invoke Section 235(b)(2)(C) of its Immigration and
Nationality Act, supra note 13.

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including addressing transnational organized crime networks and root causes of migration. Over
the past nearly three years, MPP has played an outsized role in its policy and operational
engagement with GOM, thus distracting from other diplomatic initiatives and programs
concerning migration flows. These engagements, which have increased substantially in tempo
and intensity since the court’s order, require enormous amounts of time to prepare for and
execute, and involve the same individuals at DHS and DOS who would otherwise be working on
advancing other key bilateral priorities.

         The Department is eager to expand the focus of the relationship with GOM to address
broader issues related to migration to and through Mexico. This includes implementing the
bilateral economic and security frameworks adopted in September and October 2021,
respectively;126 addressing the root causes of migration from Central America; improving
regional migration management; enhancing protection and asylum systems throughout North and
Central America; and expanding cooperative efforts to combat smuggling and trafficking
networks, and more. Terminating MPP will, over time, help to broaden the United States’
engagement with the GOM to address these critical efforts, which we expect will produce more
effective and sustainable results than what we achieved through MPP. It will also provide more
space and resources to address the many other bilateral issues that fall within DHS’s diverse
mission, such as countering transnational organized crime, cybersecurity, trade and travel
facilitation, cargo and port security, emergency management, biosurveillance, and much more.

      IV.   The Biden-Harris Administration’s Affirmative Efforts to Enhance Migration
            Management

        In December 2018, when DHS announced the start of MPP, the Department stated that
MPP was expected to provide numerous benefits for the immigration system, including reducing
false asylum claims, more quickly adjudicating meritorious asylum claims, clearing the backlog
of unadjudicated asylum applications, and, perhaps most importantly, stemming migration flows
across the SWB. All of these goals remain top priorities for the Department and Administration.
But the Secretary assesses that there are ways to advance these goals through means other than
MPP—through policies and practices that will more effectively and more humanely achieve the
stated goals than continuing to implement MPP as designed or in modified form.

        Not only has MPP failed to deliver many of its promised benefits, but the burden and
attention required to reimplement and maintain MPP will undermine the Department’s efforts to
address irregular migration and achieve lasting reform of the asylum system through other
means. As noted earlier, the Secretary is undertaking this review on the premise that MPP was
responsible for a share of the significant decrease in SWB encounters that occurred during many
months of MPP’s operations. However, MPP is not the only, and certainly not the preferred,
means of tackling irregular migration. To the contrary, the Department is currently pursuing a
range of other measures that it anticipates will disincentivize irregular migration in ways that are

126
   White House, “Joint Statement: U.S.-Mexico High-Level Security Dialogue,” Oct. 8, 2021,
https://www.whitehouse.gov/briefing-room/statements-releases/2021/10/08/joint-statement-u-s-mexico-high-level-
security-dialogue/; White House, “Fact Sheet: U.S.-Mexico High-Level Economic Dialogue,” Sept. 9, 2021,
https://www.whitehouse.gov/briefing-room/statements-releases/2021/09/09/fact-sheet-u-s-mexico-high-level-
economic-dialogue/.

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more consistent with this Administration’s values and enduring, including by addressing root
causes and building regional solutions. In addition, the Department is committed to channeling
migration through safe and orderly pathways and reforming our asylum adjudication system to
achieve more timely, fair, and efficient results,

        In July 2021, the Administration released a Blueprint describing its overarching
strategy—as well as the concrete steps that will be taken—to ensure a secure, humane, and well-
managed border, implement orderly and fair asylum processing, strengthen collaborative
migration management with regional partners, and invest in the root causes of migration in
Central America.127 The Administration, with DHS playing a critical role, has made significant
investments and taken substantial actions to move forward with its strategy.

          A. Managing Flows

       The current Administration is pursuing a comprehensive vision for managing migration
and facilitating safe, orderly, and legal pathways for individuals seeking protection or intending
to migrate.128 A key part of this vision involves disincentivizing unlawful entries by robustly
enforcing our laws at the land border while also ensuring the humane and lawful treatment of
those who do arrive in the United States. Doing so requires a concerted effort to address root
causes of migration, provide alternative protection solutions in the region, enhance lawful
pathways for migration to the United States, and streamline the fair adjudication of asylum
claims at the border—efforts that the Department has determined will be more effective at
reducing irregular migration than continuing to implement MPP.

        To disincentivize irregular migration, the Administration is pursuing a multi-pronged
approach. At our border, we are employing expedited removal to rapidly, but humanely, return
certain individuals and families that are encountered unlawfully crossing between POEs. Those
who do not express fear of persecution or torture, and who are nationals of countries that allow
electronic nationality verification (ENV), are returned to their countries within a few days of
being encountered. DHS is working closely with the Department of State to expand the use of
these ENV agreements throughout the hemisphere to more expeditiously facilitate removals of
individuals who do not claim a fear of persecution or torture. The Department additionally treats
any noncitizen who unlawfully entered the United States on or after November 1, 2020, as a
presumed border security enforcement and removal priority under current guidance,129 as well as
in guidance that will become effective on November 29, 2021.130


127
    White House, “Fact Sheet: The Biden Administration Blueprint for a Fair, Orderly and Humane Immigration
System,” July 27, 2021, https://www.whitehouse.gov/briefing-room/statements-releases/2021/07/27/fact-sheet-the-
biden-administration-blueprint-for-a-fair-orderly-and-humane-immigration-system/.
128
    EO 14010 directed the creation of a Root Causes Strategy and Collaborative Migration Management Strategy.
Published in July 2021, the strategies articulate a bold and comprehensive vision for managing migration throughout
the Western Hemisphere. Id.
129
    Memorandum from Tae D. Johnson, Acting Director, ICE, Interim Guidance: Civil Immigration Enforcement
and Removal Priorities (Feb. 18, 2021).
130
    Memorandum from Alejandro Mayorkas, Sec’y of Homeland Security, Guidelines for the Enforcement of Civil
Immigration Law (Sept. 30, 2021).

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        Recognizing that the management of migration is a shared responsibility among sending,
transiting, and receiving countries, the Administration is also working with our partner countries
across the region to manage migratory flows. As part of these efforts, the United States is
working bilaterally and multilaterally with countries across the Western Hemisphere, seeking to
encourage humane border enforcement and enhance legal pathways throughout the region. DHS
is also working closely with the Department of State to provide additional technical assistance,
mentoring, and resources to border and immigration authorities in the region, with the goal of
enhancing the capability and effectiveness of our partners’ efforts to identify and interdict
unlawful activity. As part of these efforts, the United States and Colombia co-hosted a regional
conference on migration in Colombia on October 20, 2021 that brought together foreign
ministries and immigration authorities from 17 partner nations across the hemisphere to directly
address recent trends in irregular migration in the region. During this conference, countries
committed to enhancing protection, combating human smuggling and trafficking, and expanding
humane enforcement efforts.

        The Department is also working bilaterally with countries across the region to build law
enforcement capacity, tackle transborder crime, and slow migratory flows. Beginning in April
2021, for example, DHS deployed dozens of CBP personnel to Guatemala to train and support
local law enforcement units and help enhance the security of Guatemalan border crossings,
checkpoints, and ports.131 And in October 2021, for example, the United States and Mexico
agreed on joint actions to prevent transborder crime, with a particular focus on reducing arms
trafficking, targeting illicit supply chains, and reducing human trafficking and smuggling.132
Such efforts build on the successes of Operation Sentinel, in which DHS is working with other
U.S. government agencies and the GOM to identify and impose meaningful sanctions on those
involved in human smuggling, including by freezing their assets, revoking their visas, and
curtailing their trade activities. DHS seeks to expand these efforts across the hemisphere, with
the GOM as a key partner. However, the senior U.S. and Mexican officials who would lead
these efforts are the same officials that have spent much of the past three months negotiating the
reimplementation of MPP—detracting from efforts to advance other key parts of the bilateral
relationship.

        The Administration is also expanding efforts to address root causes of migration and
enhance legal pathways for individuals who intend to migrate, as well as building and improving
asylum systems in other countries and scaling up protection efforts for at-risk groups. These
efforts reduce incentives to come to the United States to seek protection and, for those who still
choose to do so, reduce incentives to cross the border unlawfully. As part of these efforts, DHS
is working with Department of State to expand efforts to build and improve asylum systems in
other countries and scale up protection efforts for at-risk groups, thereby providing alternative
opportunities for individuals to seek protection without making the often-dangerous journey to
the SWB.

      The Department of State and DHS, for example, are working to stand up Migrant
Resource Centers (MRC) in key sending countries, including Guatemala, where individuals who

131
      CBP data on Guatemalan deployments provided on 10/29/2021.
132
      Joint Statement: U.S.-Mexico High-Level Security Dialogue, supra note 125.

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intend to migrate can apply for a visa or seek other available protection.133 The Department of
State established the first MRC in Guatemala this year, and is working with international
organizations to expand the MRCs to multiple locations and countries over the coming year. The
Administration is also working to continue to expand the legal pathways that are available for
individuals who apply at these facilities. We are also expanding refugee processing in Central
America—including through in-country processing in Northern Triangle countries—and are
helping international organizations and local non-governmental organizations identify and refer
individuals with urgent protection needs to the U.S. Refugee Admissions Program and
resettlement agencies in other countries.

         Additionally, on March 10, 2021, DHS, in close coordination with the Department of
State, restarted the Central American Minors (CAM) program to reunite eligible children from El
Salvador, Guatemala, and Honduras with parents who are lawfully present in the United States.
On June 15, 2021, the Departments expanded CAM eligibility to include certain U.S.-based
parents or legal guardians who have a pending asylum application or U visa petition filed before
May 15, 2021, thereby allowing them to file petitions on behalf of children who are nationals of
El Salvador, Guatemala, or Honduras for potential resettlement in the United States. This
important program provides an avenue for children to come to the United States that would not
otherwise be available, which in turn supports family unity and reduces the incentives for
unlawful entry. By restarting and expanding this safe, orderly, and lawful pathway through
which children may reunite with their parent or legal guardians in the United States, CAM
reduces the incentive for such vulnerable and often unaccompanied children to make the
dangerous journey to the United States border.134

        The Department also has expanded access to temporary work visas in the region, thereby
providing a lawful pathway to work temporarily in the United States for individuals who might
otherwise take the irregular and dangerous journey to the United States in search of economic
opportunities and cross the border unlawfully. To that end, on May 21, 2021, DHS published a
temporary final rule making available 6,000 H-2B supplemental visas for temporary non-
agricultural workers from Honduras, Guatemala, and El Salvador in FY21.135 The
Administration is also working to enhance access to H-2A visas for temporary agricultural
workers, for when there are insufficient qualified U.S. workers to fill these jobs. Departments
and agencies are engaged with the Northern Triangle governments, international organizations,
the private sector, civil society, labor unions, and worker rights organizations to promote this
program.


133
    Id.
134
    See “Joint Statement by the U.S. Department of Homeland Security and U.S. Department of State on the
Expansion of Access to the Central American Minors Program,” June 15, 2021,
https://www.dhs.gov/news/2021/06/15/joint-statement-us-department-homeland-security-and-us-department-state-
expansion. Under the expanded guidance, eligible minors may apply for refugee status if they are sponsored by a
parent or legal guardian in the United States who is in one of the categories: lawful permanent residence; temporary
protected status; parole; deferred action; deferred enforced departure; withholding of removal; or certain parents or
legal guardians who have a pending asylum application or a pending U visa petition filed before May 15, 2021.
135
    Exercise of Time-Limited Authority To Increase the Fiscal Year 2021 Numerical Limitation for the H–2B
Temporary Nonagricultural Worker Program and Portability Flexibility for H–2B Workers Seeking To Change
Employers, 86 Fed. Reg. 28,198 (May 25, 2021).

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         These efforts, all of which have only recently been initiated, require diplomatic
engagement and investment of resources. They will take some time to achieve substantial
results. Once fully operational, they will provide legal and regular pathways for individuals
seeking protection and opportunity to work in the United States, thus reducing the need for
unlawful crossings and reducing the appeal of exploitative smugglers. By incentivizing
migration through lawful channels, and disincentivizing the use of unlawful channels, these
initiatives achieve several key goals of MPP, but in a more humane way that matches the
Administration’s values.

         B. Managing Asylum Claims

        The Department also is taking a number of different steps to better manage asylum claims
that will allow the United States to more humanely, and fairly, achieve some of MPP’s stated
benefits: reducing false asylum claims, more quickly adjudicating meritorious asylum claims,
and clearing the backlog of unadjudicated asylum applications.

                1. Dedicated Docket

        In May 2021, DHS and DOJ jointly announced a new Dedicated Docket, designed to
expeditiously and fairly conduct removal proceedings for families who enter the United States
between ports of entry at the SWB.136 With a goal that immigration judges will generally
complete cases on the Dedicated Docket within 300 days, the process is intended to significantly
decrease the length of time for adjudication of such noncitizens’ cases, while also providing fair
hearings for families seeking asylum and other forms of relief or protection from removal.
Dedicated Dockets have been established in 11 cities (Boston, Denver, Detroit, El Paso, Los
Angeles, Miami, Newark, New York City, San Diego, San Francisco, and Seattle) chosen
because they are common destination cities for migrants and have robust communities of legal
service providers. Once fully up and running, it is expected to adjudicate approximately 80,000
cases each year.

        The Dedicated Docket serves multiple goals: It provides a mechanism for the more
efficient adjudication of claims. It ensures compliance with court proceedings through use of
case management services provided through ICE’s Alternatives to Detention (ATD) program.137
It promotes efficiency and fairness in those proceedings through robust access to legal
orientation for families on the docket (including group and individual legal orientations and
friend-of-the-court services for unrepresented individuals). And, as MPP was designed to do, it
discourages non-meritorious claims by dramatically reducing the amount of time that a
noncitizen may remain in the United States while his or her claims for relief or protection are
adjudicated.



136
    Press Release, DHS, “DHS and DOJ Announce Dedicated Docket Process for More Efficient Immigration
Hearings,” May 28, 2021, https://www.dhs.gov/news/2021/05/28/dhs-and-doj-announce-dedicated-docket-process-
more-efficient-immigration-hearings.
137
    ICE Enforcement and Removal Operations (ERO), “Alternatives to Detention Program,”
https://www.ice.gov/detain/detention-management.

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       Moreover, it is expected to achieve these goals in ways that avoid the pitfalls associated
with MPP. Unlike MPP, which was plagued with high in absentia rates, the Dedicated Docket is
designed, via the use of ATD and case management services, to ensure high appearance rates and
contribute to the proper functioning of our immigration system. As of October 25, 2021, EOIR
had conducted nearly 12,000 initial hearings for individuals in Dedicated Docket cases, just 4.5
percent of which had ended in issuance of an in absentia order of removal.138 ICE data reflect a
98.9% attendance rate at all hearings for individuals enrolled into ATD from the SWB from
FY14 to FY21.139

        Two immigration court locations currently hearing Dedicated Docket cases—El Paso and
San Diego—are slated for use as part of the court-ordered reimplementation of MPP because of
their proximity to ports of entry along the border. To staff MPP cases, EOIR will have to either
divert judges from existing initiatives such as the Dedicated Docket—which will prolong those
cases and undermine the effort—or reassign other immigration judges handling other non-
detained cases, which will exacerbate the 1.4 million case backlog that already exists. It is the
Department’s reasoned decision—working in close partnership with EOIR—that the limited pool
of asylum officers and immigration judges are best spent supporting the Dedicated Docket and
other initiatives that achieve the goals of timely and fair adjudications.

                 2. Asylum Officer Rule

       On August 20, 2021, DHS and DOJ promulgated a Notice of Proposed Rulemaking
(NPRM) for the so-called “Asylum Officer Rule,” which seeks to address systemic problems
with the asylum system in an enduring way consistent with the Administration’s values.
Specifically, it amends the procedures for credible fear screenings and consideration of asylum,
withholding of removal, and CAT, so as to streamline the asylum process and address the current
backlogs in the system.140 The comment period of this NPRM recently closed, and DHS and
DOJ are currently reviewing the comments received and working on a final rule.

         The proposed rule addresses the fact that the number of asylum and related protection
claims at the SWB has increased dramatically over the years, that the system has not been able to
keep pace, and that large immigration court backlogs and lengthy adjudicated delays are the
result.141 As stated in the NPRM, the proposed rule also evidences this Administration’s
recognition that “[a] system that takes years to reach a result is simply not a functional one. It
delays justice and certainty for those who need protection, and it encourages abuse by those who
will not qualify for protection and smugglers who exploit the delay for profit.”142 The Asylum
Officer Rule thus responds to the very same concerns identified by the last Administration when


138
    Data on the number of initial hearings for individuals on Dedicate Docket, provided by EOIR on Oct. 25, 2021.
139
    Data from ICE ERO Custody Management Division FY14, 15, 16, 17, 18, 19, 20, and 21 through Aug. 31, 2021
FAMU BP Apprehensions-Subsequently Enrolled into ATD, ISAP IV EOIR Court Appearance Rates FY14 &
FY15 & FY16 & FY17 & FY18 & FY19 & FY20 & FY21 through Aug. 31, 2021.
140
    Procedures for Credible Fear Screening and Consideration of Asylum, Withholding of Removal, and CAT
Protection Claims by Asylum Officers, 86 Fed. Reg. 46,906 (Aug. 20, 2021).
141
    Id. at 46,907.
142
    Id.

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it adopted MPP—and to a number of the concerns relied upon by the Texas court—but tackles
them in a transformative and systemic way, while holding true to our laws and values.

        To support the more expeditious and fair adjudication of claims, the proposed rule would
transfer from immigration judges to USCIS asylum officers the initial responsibility for
adjudicating asylum and related protection claims made by noncitizens who are encountered at
or near the border and who are placed into expedited removal proceedings. Individuals who
establish a credible fear of persecution or torture following an initial screening interview would
have their applications referred to USCIS, rather than the immigration court, for further
consideration of their claim. The initial credible fear interview would serve as the basis for the
individual’s asylum application, thereby introducing a key efficiency into the process.

        Allowing cases with positive credible-fear findings to remain within USCIS for the full
asylum merits adjudication, rather than being shifted to immigration judge-review, will capitalize
on the investment of time and expertise developed during the screening interview and allow
cases to be resolved more quickly. This will, in turn, employ limited asylum officer and
immigration court resources more efficiently, reduce asylum backlogs, and protect against
further expansions of the already large immigration court backlog. As currently drafted, the
NPRM is also designed to include key procedural safeguards—including the ability to appeal, be
represented by counsel, and present additional evidence as necessary to ensure due process,
respect for human dignity, and equity. Once implemented, the Asylum Officer Rule is expected
to represent a transformative and lasting shift in asylum claim processing that will ensure rapid
and fair processing in a way that delivers appropriate outcomes and realistically keeps pace with
the workflow.

       Achieving the rule’s objectives will require substantial investment in resources, training,
and personnel; to fully implement this new process, USCIS will need to quadruple the current
asylum officer corps.143 Importantly, these are the same asylum officers needed to conduct non-
refoulement interviews for MPP. Restarting MPP will likely undercut the ability to implement
this new rule as designed.

       It is the Department’s reasoned view that these limited resources are better expended on
implementing both the Dedicated Docket and the Asylum Officer Rule. Like MPP, both the
Dedicated Docket and the Asylum Officer Rule are designed to render timely decisions and
discourage non-meritorious claims. Unlike MPP, however, they do so without subjecting
vulnerable individuals to increased risk in Mexico and without creating the inevitable barriers to
accessing counsel that exist for those returned to Mexico.

       V.        Consideration of Alternatives to Terminating MPP

       The Department has considered the following as alternatives to terminating MPP: First,
implementing MPP in the same manner as the prior Administration. Second, implementing with
modifications designed to address some of the access-to-counsel, safety, and other humanitarian
considerations, consistent with demands from the GOM. (These modifications are currently

143
      Id. at 46,933.

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being planned pursuant to the court’s order to implement MPP in good faith.) Third,
implementing a significantly modified programmatic use of the Section 235(b)(2)(C) authority,
as described below.

         Reimplementation of MPP in the same manner as the prior Administration is not
currently an available option. As has been described in court filings, the United States cannot
unilaterally implement MPP without the independent agreement of the GOM to accept those who
the United States seeks to return. In ongoing discussions with the GOM, the GOM has made
clear it would agree to accept such returns only if certain changes were implemented, including
(i) measures to ensure that cases are generally adjudicated within six months, thus limiting the
amount of time individuals are waiting in Mexico; (ii) clear means of communicating to MPP
enrollees accurate information about the time and date of their hearings; (iii) improved access to
counsel; and (iv) better screenings to protect particularly vulnerable individuals from being
returned to Mexico. Each of these changes would, as a result, need to be made in any
reimplementation. Unless the GOM significantly changes its position, resuming the program as
it existed previously is simply not possible in the foreseeable future as a matter of international
diplomacy.

         Moreover, the Secretary has his own independent and significant concerns about the prior
implementation of MPP, including concerns about the safety and security of those returned to
Mexico, deficiencies in the non-refoulement interview process, barriers to access to counsel, and
the ways in which reimplementation of MPP would divert from other Administration goals and
result in significant burdens for the Department that would limit DHS’s opportunities to make
other needed reforms consistent with this Administration’s policy priorities. In light of these
concerns, the Secretary has decided not to resume MPP in precisely the same form as it
previously existed, even if were a viable option.

         As an alternative, the Secretary considered a modified implementation and enforcement
plan, in the manner that the Administration is planning to start doing in the coming weeks—
pending an independent decision by the GOM to facilitate returns—in order to comply with the
district court’s order. As the Department moves to reimplement, it is making changes to account
for GOM’s concerns—changes which are designed to better protect individuals returned to
Mexico and ensure, among other things, timely and accurate notice about court hearings. In
addition, the Department is evaluating what changes could be made to address the issues raised
in the Red Team Report, to include changes announced by the December 2020 supplementary
guidance to better ensure family unity, access to counsel during non-refoulement interviews, and
assessment of vulnerability. In addition, in the near term, the Department will need to put in
place robust COVID-19 mitigation measures to safeguard DHS personnel, the public, and the
migrants themselves from the spread of the pandemic.

         The Secretary has carefully considered whether these changes would sufficiently address
his concerns regarding MPP to such an extent that he would support reimplementation of a
modified MPP in lieu of termination. But ultimately he has concluded that, while helpful, they
fail to address the fundamental problems with MPP—which is that it puts an international barrier
between migrants and their counsel and relevant immigration court where their proceedings are
pending and it places their security and safety in the hands of a sovereign nation, over which the

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United States does not exercise control. Further, the reimplementation of MPP diverts resources
from key priorities that designed to address the same policy goals more effectively and in a more
humane way, including this Administration’s landmark efforts to transform our asylum system
and address the root causes of migration.

        A third alternative still would be to attempt to do even more to address the humanitarian
and other concerns associated with MPP, thus designing a programmatic use of the Section
235(b)(2)(C) authority that aggressively tackles the humanitarian concern and is more fully
aligned with the Administration’s broader vision for migration management. It is doubtful that
DHS could adequately address these problems, given Mexican territorial sovereignty. At best,
any such effort would require the provision of significant U.S. foreign assistance to counterparts
operating in Mexico to assist with housing, transportation to and from court hearings, and other
protections to address safety and security concerns. Attempting to do so would divert enormous
Department of State resources away from the Administration’s signature policy goals—to
address the root causes and develop regional solutions for enforcing against irregular migration
while providing regional approaches to lawful pathways. Meanwhile, the fundamental flaws
with MPP remain.

        After careful consideration, and for all the reasons laid out in his termination memo and
this explanatory document, the Secretary has concluded that there are inherent problems with the
program that no amount of resources can sufficiently fix, and others that cannot be sufficiently
addressed without detracting from key Administration priorities and more enduring solutions.

   VI.     Conclusion

        In sum, continuation of MPP—even in a significantly modified format—is inconsistent
with the current policy approach of this Administration. Rather than forcing individuals to return
to Mexico to await court hearings, this Administration is pursuing a range of other policies and
rulemaking efforts—including regional approaches to addressing the root causes of migration
and a reform of the asylum system—to better achieve the key goals of securing the border,
reducing migratory flows, timely and fairly adjudicating asylum claims, and reducing the asylum
backlog. Many of these efforts are currently underway and will bear fruit over time; the
resources needed to implement MPP will detract from these efforts.

        It is squarely within the authority of the Secretary of Homeland Security to decide to
pursue the immigration policies and practices that he believes are most effective, and to decide
not to exercise the discretion granted him by Congress in Section 235(b)(2)(C) of the INA to
continue MPP. The Secretary reserves the prerogative to exercise this discretionary authority if
circumstances—and the factors that led to this conclusion—change. Until such time, the
Secretary has determined that MPP is incompatible with his goals for managing migratory flows
at the border, and doing so in a humane way, consistent with the Administration’s values.




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Appendix 1: Encounters by Detention, Fiscal Years 2013-2021

                      Total           Continuous         Booked out prior to
   Fiscal Year      Encounters         detention           final outcome          Never detained
            2013       287,535        114,673    40%          76,776    27%          96,086 33%
            2014       338,650        113,005    33%        102,371     30%         123,274 36%
            2015       296,856        105,425    36%          82,221    28%         109,210 37%
            2016       373,506        105,295    28%        131,147     35%         137,064 37%

            2017        292,102        73,809     25%        106,405      36%        111,888 38%

            2018        360,574        93,449     26%        149,183      41%        117,942 33%
            2019        762,912       100,700     13%        246,099      32%        416,113 55%

            2020        312,794        61,751     20%          37,981     12%        213,062 68%

          2021          665,158        27,402      4%          62,744      9%        575,012      86%
     2013-2019        2,712,135       706,356     26%        894,202      33%      1,111,577      41%
     2013-2021        3,690,087       795,509     22%        994,927      27%      1,899,651      51%
 Non-MPP Cases          991,012       323,425     33%         251023      25%        416,564      42%
 Note: Non-MPP cases are defined as single adults and family units encountered between Jan. 25,
 2019, and Jan. 20, 2021, and not enrolled in MPP and not expelled under Title 42.

 Source: Data derived from DHS Office of Immigration Statistics Enforcement Lifecycle, which is
 based on a comprehensive person-level analysis of DHS and EOIR enforcement and adjudication
 records. See Marc Rosenblum and Hongwei Zhang, Fiscal Year 2020 Enforcement Lifecycle Report
 (Dec. 2020).




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                                                                               U.S. Department of Homeland Security
                                                                               Washington, DC 20528




                                              May 29, 2021

                                               DECISION

MEMORANDUM FOR THE SECRETARY


THROUGH:                         Kelli Ann Burriesci
                                 Acting Under Secretary
                                 Office of Strategy, Policy, and Plans

FROM:                            David Shahoulian
                                 Assistant Secretary for Border

SUBJECT:                         Review and Recommendation on Migrant Protection Protocols
                                 (MPP)

Purpose

On January 20, 2021, then-Acting Secretary David Pekoske issued a memorandum suspending
enrollment in the Migrant Protection Protocols (MPP) program effective January 21, 2021,
pending further review of the program.1 On February 2, 2021, President Biden issued Executive
Order 14010, 86 Fed. Reg. 8267, Creating a Comprehensive Regional Framework to Address the
Causes of Migration, to Manage Migration Throughout North and Central America, and to
Provide Safe and Orderly Processing of Asylum Seekers at the United States Border. In this
Executive Order, President Biden directed the Secretary of Homeland Security “to promptly
review and determine whether to terminate or modify the program known as the Migrant
Protection Protocols” and to “promptly consider a phased strategy for the safe and orderly entry
into the United States, consistent with public health and safety and capacity constraints, of those
individuals who have been subjected to the Migrant Protection Protocols (MPP) for further
processing of their asylum claims.”2


1
  Memorandum from David Pekoske, Acting Sec’y of Homeland Sec., Suspension of Enrollment in the Migrant
Protection Protocols Program (Jan. 20, 2021).
2
  Executive Order 14010, Creating a Comprehensive Regional Framework to Address the Causes of Migration, to
Manage Migration Throughout North and Central America, and to Provide Safe and Orderly Processing of Asylum
Seekers at the United States Border, 86 Fed. Reg. 8267 (Feb. 2, 2021), available at
https://www.federalregister.gov/documents/2021/02/05/2021-02561/creating-a-comprehensive-regional-framework-
to-address-the-causes-of-migration-to-manage-migration.


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The purpose of this memorandum is to request a decision, consistent with Executive Order
14010, regarding whether the Department should terminate or modify MPP. It is the
recommendation of the Office of Strategy, Policy, and Plans (PLCY) that MPP should be
terminated for the reasons discussed below.

Background

Section 235(b)(2)(C) of the Immigration and Nationality Act (INA), 8 U.S.C. § 1225(b)(2)(C),
authorizes the Department of Homeland Security (DHS) to return to Mexico or Canada certain
noncitizens who are arriving on land from those contiguous countries pending their removal
proceedings before an immigration judge under Section 240 of the INA, 8 U.S.C. § 1229a. On
December 20, 2018, the Department announced its decision to initiate a novel program, under
Section 235(b)(2)(C), along the Southwest Border (SWB).3 This particular multi-agency effort

3
  Section 235(b)(2)(C) was enacted in the Illegal Immigration Reform & Immigrant Responsibility Act of 1996
(IIRIRA). The provision codified the longstanding practice of the legacy Immigration and Naturalization Service
(INS) of “requiring aliens to remain in Mexico or Canada pending their exclusion proceedings.” Matter of Sanchez-
Avila, 21 I&N Dec. 444, 450 (BIA 1996) (citation and internal quotation marks omitted). Prior to codification in
IIRIRA, there was “no explicit statutory or regulatory authority for [the] practice of returning applicants for
admission at land border ports to Mexico or Canada to await their hearings.” Id. at 464. In IIRIRA, Congress both
provided express authority for such temporary returns to Mexico or Canada and clarified that a noncitizen who is
returned under that authority may be ordered removed in absentia if he or she fails to appear for the removal hearing
after receiving sufficient notice. See INA § 240(b)(5)(E), 8 U.S.C. § 1229a(b)(5)(E); see also 62 Fed. Reg. 444, 445
(Jan. 3, 1997) (INS) (proposing the implementing regulation at 8 C.F.R. § 235.3(d) and explaining that Section
235(b)(2)(C) “simply add[ed] to statute and regulation a long-standing practice of the Service” and that if the
noncitizen returned under Section 235(b)(2)(C) “fails to appear for the hearing, the immigration judge may order the
alien removed in absentia.”); 8 C.F.R. § 1235.3(d) (cognate EOIR regulation).
MPP represented a significant expansion of the use of Section 235(b)(2)(C). Prior to MPP, DHS and the former INS
primarily used that authority on an ad-hoc basis to return certain Mexican and Canadian nationals who were arriving
at land border ports of entry. CBP, for instance, has invoked Section 235(b)(2)(C) to return certain Mexican
nationals who are U.S. lawful permanent residents (LPRs) with criminal history that potentially subjects them to
removal and LPRs who appear to have abandoned their permanent residence in the United States but are not willing
to execute a Form I-407, Record of Abandonment of Lawful Permanent Residence. At the Northern Border, CBP
has used Section 235(b)(2)(C) to return certain Canadian nationals or those with status in Canada who, for instance,
appear to be subject to a criminal ground of inadmissibility.
Although guidance is scant, DHS and the former INS also used Section 235(b)(2)(C) for third country nationals
even prior to MPP. For example, CBP issued field guidance in 2005 advising that a Cuban national arriving at a
land border port of entry may “be returned to contiguous territory pending section 240 proceedings . . . if: (1) the
alien cannot demonstrate eligibility for the exercise of parole discretion; (2) the alien has valid immigration status in
Canada or Mexico; (3) Canadian or Mexican border officials express a willingness to accept the returning alien; and
(4) the alien’s claim of fear of persecution or torture does not relate to Canada or Mexico.” Mem. from Jayson P.
Ahern, Asst. Comm’r, Office of Field Ops., CBP, Treatment of Cuban Asylum Seekers at Land Border Ports of
Entry 2-3 (June 10, 2005). The INS also issued guidance in 1997 and 1998 contemplating the use of Section
235(b)(2)(C) only as a “last resort” and only when the individual does not claim a fear of persecution related to
Canada or Mexico. Mem. from Michael A. Pearson, Executive Assoc. Comm’r, Office of Field Ops., INS,
Detention Guidelines Effective October 9, 1998 3 (Oct. 7, 1998); Mem. from Chris Sale, Deputy Comm’r, INS,
Implementation of Expedited Removal 4 (Mar. 31, 1997) (same).
CBP appears to have invoked Section 235(b)(2)(C) for certain third country nationals at land border ports of entry in
other circumstances on an ad-hoc basis as well, but the practice seemed to have waned (especially along the


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under Section 235(b)(2)(C) was named the Migrant Protection Protocols.4 On January 25, 2019,
DHS issued policy guidance for implementing MPP, which was subsequently augmented a few
days later by guidance from U.S. Customs and Border Protection (CBP), U.S. Immigration and
Customs Enforcement (ICE), and U.S. Citizenship and Immigration Services (USCIS).5

Under MPP, certain non-Mexican applicants for admission who arrived on land at the SWB
(primarily, but not exclusively, between ports of entry) were returned to Mexico to await their
removal proceedings under Section 240 of the INA. For those enrolled in MPP, DHS facilitated
the individuals’ entry into and exit from the United States to attend these proceedings, which
were prioritized on the non-detained docket by the Department of Justice’s (DOJ) Executive
Office for Immigration Review (EOIR). MPP was initially piloted at the San Ysidro port of
entry and San Diego Immigration Court, but subsequently expanded to apply to additional
individuals encountered at or between ports of entry across the entire SWB. DHS and EOIR
operationalized the program through six ports, and individuals were processed in and out of the
United States to attend their removal hearings at one of four immigration court locations in
California or Texas.6 Due to public health measures necessitated by the COVID-19 pandemic,
EOIR has been unable to conduct immigration court hearings for individuals enrolled in MPP
since March 2020.7

According to data from DHS and EOIR, in the period between initial implementation on January
25, 2019, and when new enrollments were suspended on January 20, 2021,8 DHS enrolled into


Southern Border). Our understanding is that prior to MPP, CBP had significantly reduced its use of Section
235(b)(2)(C) for third country nationals arriving at Southern Border ports, largely due to Mexico’s refusal to permit
non-Mexican nationals to physically re-enter Mexican territory. CBP also grew increasingly reluctant to use Section
235(b)(2)(C) because of the associated operational burden of having to ensure that the individuals did not abscond
upon returning for their removal proceedings and therefore to make certain that OFO personnel were available to
escort individuals to their hearings.
4
  See “Secretary Kirstjen M. Nielsen Announces Historic Action to Confront Illegal Immigration,” Dec. 20, 2018,
available at https://www.dhs.gov/news/2018/12/20/secretary-nielsen-announces-historic-action-confront-illegal-
immigration. Critical to DHS’s ability to implement MPP was Mexico’s willingness to accept the return of such
noncitizens temporarily and to provide them with documentation, known as a Forma Migratoria Multiple (FMM),
that allowed them to remain in Mexico pending their U.S. removal proceedings and created an avenue for these
noncitizens to request educational, medical, and other services from the Government of Mexico. See Memorandum
from Kirstjen M. Nielsen, Sec’y of Homeland Sec., Policy Guidance for Implementation of the Migrant Protection
Protocols 2-3 (Jan. 25, 2019); Secretaria de Relaciones Exteriores, Position of Mexico on the Decision of the U.S.
Government to Invoke Section 235(b)(2)(C) of its Immigration and Nationality Act (Dec. 20, 2018).
5
  Guidance documents are available at the archived MPP landing page under the MPP Guidance Documentation
heading: https://www.dhs.gov/archive/migrant-protection-protocols.
6
  MPP enrollees in the San Diego or El Paso jurisdictions attended hearings at the immigration courts in San Diego
or El Paso; MPP enrollees in the San Antonio or Harlingen jurisdictions attended hearings at the Immigration
Hearing Facilities (IHFs) in Laredo or Brownsville.
7 See “Joint DHS/EOIR Statement on MPP Rescheduling,” Mar. 23, 2020
                                                                    , available at https://www.dhs.gov/news/2020/03/23/joint-statement-
mpp-rescheduling.
8
  Memorandum from David Pekoske, Acting Sec’y of Homeland Sec., Suspension of Enrollment in the Migrant
Protection Protocols Program (Jan. 20, 2021).


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MPP and returned to Mexico approximately 68,000 individuals.9 Currently, about 26,000
individuals enrolled into MPP continue to have removal proceedings pending before EOIR.10 As
of late March, the remaining 42,000 individuals had closed cases; approximately 28,000 had
been ordered removed in absentia, about 10,000 had their proceedings terminated without
prejudice, and about 4,000 were ordered removed following an in-person hearing on the merits.11

MPP has been resource intensive, both when it was in full operation throughout 2019 and the
early part of 2020 and, to a lesser extent, since March 2020 when immigration court hearings for
individuals in MPP were suspended and DHS began assisting the Centers for Disease Control
and Prevention (CDC) in implementing its Order under Title 42 to prevent the introduction of
COVID-19 into the United States. Additionally, it has been the subject of substantial public
attention and scrutiny, including a significant amount of Congressional oversight and litigation
that continues to this day.12 This attention and the significant amount of litigation generated by
the program—including both challenges to the program and to the current Administration’s
suspension of the program, as well as individual appeals of removal orders secured through the
program—have strained the Department’s limited resources.

Consistent with Executive Order (EO) 14010, PLCY has carefully reviewed the implementation
guidance and programmatic elements of MPP, as well as prior DHS assessments of the program.
PLCY has also considered whether MPP remains consistent with the policy priorities of the new
Administration, which has committed to “restor[ing] and strengthen[ing] our own asylum
system.”13 Further in accord with EO 14010, DHS has worked with interagency partners and
facilitating organizations to implement a new phased process for the safe and orderly entry into
the United States of individuals who had been placed in MPP and are outside the United States.

Currently, individuals whose immigration proceedings remain pending before EOIR, and their
immediate relatives who traveled with them, may seek entry to the United States through this
phased process. According to Department of State data, about 11,193 individuals were

9 See “Migrant Protection Protocols Metrics and Measures,” Jan. 21, 2021, available at
                                                                                         https://www.dhs.gov/publication/metrics-and-measures.
10       pproximately 65 percent of the 68,000 individuals initially enrolled have open case . In the time since the Metrics and Measures were published (Jan 2021), approximately
     A                                                                                    s                                        .
2,000 more cases have been closed.

11
   MPP case resolution data, January 24, 2019-March 18, 2021, provided by the Department of Justice/Executive
Office of Immigration Review on Mar. 29, 2021.
12
   See, e.g., U.S. House of Representatives, Committee on Homeland Security, Subcommittee on Border Security,
Facilitation, and Operation, “Examining the Human Rights and Legal Implications of DHS’ ‘Remain in Mexico’
Policy” (Nov. 19, 2019) (detailing concerns relating to implementation of MPP during a hearing held by the House
Homeland Security Committee, including insufficient access by asylum seekers to the asylum process and lawyers,
sometimes resulting in missed court dates); Barnes, Robert, The Washington Post, “Supreme Court says Trump
administration may continue ‘Remain in Mexico’ policy for asylum seekers” (Mar. 11, 2020), available at
https://www.washingtonpost.com/politics/courts_law/supreme-court-trump-remain-in-
mexico/2020/03/11/7abd4b9c-62d7-11ea-acca-80c22bbee96f_story.html (discussing a Supreme Court decision
relating to MPP while lower court challenges continued).
13
   Exec. Order No. 14010, 86 Fed. Reg. 8267, Creating a Comprehensive Regional Framework to Address the
Causes of Migration, to Manage Migration Throughout North and Central America, and to Provide Safe and
Orderly Processing of Asylum Seekers at the United States Border, 86 Fed. Reg. 8267 (Feb. 2, 2021).


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processed into the United States to continue their Section 240 removal proceedings between
February 19 and May 25, 2021.14 This phased process is currently being implemented at six
ports of entry along the SWB with full interagency support to uphold COVID-19 mitigation
measures, update individuals’ contact information, provide continuity of contact, and facilitate
partnerships that assist individuals’ onward movement to their final destinations. The
interagency continues to consider the possibility of expanding eligibility for other individuals
who were enrolled in MPP.

Discussion

As outlined in President Biden’s executive orders, the United States Government is committed to
reforming our immigration system, addressing the root causes of migration, and ensuring safe,
orderly, and humane processing at our border. In Executive Order 14010, President Biden called
for the Department to begin working with interagency partners—as well as international and
non-governmental organizations—to develop policies and procedures capable of delivering a
safe and orderly process through which people can request asylum at our land borders.15
President Biden also directed DHS to promptly consider a phased strategy for the safe and
orderly entry into the United States of individuals who were enrolled in MPP, and to review
MPP and determine whether to terminate or modify the program.

DHS has successfully begun the phased strategy for facilitating the safe and orderly entry of
individuals enrolled in MPP into the United States. PLCY has also reviewed the policies and
procedures that constitute MPP as a program, as well as prior DHS assessments of the program,
and we have considered whether it is possible to modify MPP such that it could be implemented
consistent with the Biden Administration’s policy objectives.

Based on PLCY’s review, MPP is not the best strategy to implement the goals and objectives of
the Biden Administration. Further, PLCY’s review identified a number of policy and operational
challenges, discussed below, that cannot be remedied by simple programmatic adjustments.
PLCY is already at work with interagency partners on new policies and rulemakings to align
more closely with the current Administration’s vision for enforcing the nation’s immigration
laws in a safe, orderly, and humane manner. For the reasons articulated in this memorandum,
PLCY recommends that DHS terminate MPP through rescission of the applicable policy
memorandum and guidance documents.

Assessment of MPP

In coming to this recommendation, PLCY evaluated MPP’s performance against the anticipated
benefits and goals articulated at the outset of MPP and over the course of the program, as well as
14
   Data on the number of people enrolled in MPP permitted to enter the United States, February 19-May 25,
provided by the Department of State on May 26, 2021.
15
   Exec. Order No. 14010, 86 Fed. Reg. 8267, Creating a Comprehensive Regional Framework to Address the
Causes of Migration, to Manage Migration Throughout North and Central America, and to Provide Safe and
Orderly Processing of Asylum Seekers at the United States Border, 86 Fed. Reg. 8267 (Feb. 2, 2021).


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the Department’s prior efforts to identify and address challenges for the program. Taken
together, it is clear that even considering the significant personnel and resource investments
made to implement the program, MPP’s results were mixed and the program experienced
challenges that could not be easily addressed without dramatically modifying the program’s
operations. Importantly, although the previous Administration conducted its own evaluation of
MPP and modified the program in some respects to ameliorate concerns, those efforts did not
identify or resolve areas of concern to the Department under the current Administration. For
instance, the program’s design appeared to prioritize the limitation of access to the United States
and speed in completing removal proceedings over access to counsel and the provision of other
procedural safeguards for adjudicating migrants’ claims.

     I. Anticipated Benefits of MPP (December 2018)

Evaluating MPP against the anticipated benefits originally outlined by the Department provides a
useful starting point for our review of the program. In December 2018, when DHS announced
the start of MPP, the Department stated that the program was intended to: (1) reduce illegal
immigration and false claims of asylum, (2) ensure that migrants are not able to disappear into
the United States prior to a court decision, (3) focus attention on more quickly assisting
legitimate asylum seekers, (4) free up personnel and resources to better protect U.S. territory and
clear the backlog of unadjudicated asylum applications, and (5) offer protection to vulnerable
populations while they wait in Mexico for their immigration proceedings.16 After reviewing
DHS documents, data, and internal and external reports, PLCY concluded that, even assuming
the 2018 MPP goals were appropriate, MPP is not the best strategy for achieving those objectives
and additionally is not the best strategy for achieving the broader policy objectives of the current
Administration.

        First, based on PLCY’s review of available metrics, there is insufficient evidence to
        conclude that MPP adequately contributed to reduced illegal immigration so as to justify
        the program’s extensive operational burdens. As an initial matter, during the first four
        months of the program from January to May 2019, border encounters actually rose
        dramatically.17 Although border encounters eventually decreased between May 2019 and
        May 2020,18 these decreases coincided with multiple other policy and operational efforts
        aimed at decreasing border encounters.19 Moreover, as a policy matter, the current
16
   See “Secretary Kirstjen M. Nielsen Announces Historic Action to Confront Illegal Immigration,” Dec. 20, 2018,
available at https://www.dhs.gov/news/2018/12/20/secretary-nielsen-announces-historic-action-confront-illegal-
immigration.
17
   U.S. Customs and Border Protection, “Southwest Land Border Encounters,” Dep’t of Homeland Security,
available at https://www.cbp.gov/newsroom/stats/southwest-land-border-encounters.
18
   Id.
19
   See, e.g., Brett Samuels, “Pentagon announces nearly 4,000 additional troops heading to US-Mexico border,” The
Hill, Feb. 3, 2019, available at https://thehill.com/policy/defense/428276-pentagon-announces-nearly-4000-
additional-troops-heading-to-us-mexico-border; “Presidential Proclamation on Declaring a National Emergency
Concerning the Southern Border of the United States,” Feb. 15, 2019, available at
https://trumpwhitehouse.archives.gov/presidential-actions/presidential-proclamation-declaring-national-emergency-
concerning-southern-border-united-states/; Matter of M-S-, 27 I&N Dec. 509 (A.G. 2019) (overruling Matter of X-


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        Administration has articulated a vision of addressing migration throughout North and
        Central America, and facilitating the safe and orderly processing of asylum seekers at the
        SWB, in a comprehensive fashion.20 At the core of the current Administration’s policy
        approach is a belief that addressing the root causes of migration, providing alternative
        protection solutions in the region, enhancing lawful pathways for migration to the United
        States, and streamlining the fair adjudication of asylum claims at the border will be more
        effective at reducing illegal immigration than resuming MPP enrollment

        Second, according to data from the DHS Office of Immigration Statistics, based on all
        border encounters in Fiscal Year (FY) 2019 and FY 2020, about 27 percent of individuals
        enrolled in MPP were re-encountered attempting to enter without inspection.21 When
        viewed together with the comparatively high rate of removal orders entered in absentia
        under MPP (44 percent of completed cases),22 the large percentage of individuals
        encountered by CBP attempting to reenter the United States without inspection after
        enrollment in MPP raises questions about the extent to which the program actually
        succeeded in deterring people from attempting to enter the country illegally. Given that
        27 percent of individuals in MPP were encountered while attempting a subsequent illegal
        entry, it seems likely that an additional share successfully entered without inspection and
        disappeared into the country while MPP was ongoing—the very outcome MPP was
        intended to avoid.

        Third, DHS originally stated that MPP was intended to focus resources on more quickly
        adjudicating the claims of legitimate asylum seekers and clearing the asylum backlog.
        Although MPP appears to have resulted in decreased adjudication times for some asylum
        applications, particularly when compared to average adjudication times for non-detained
        cases, these initial efficiency gains came with significant drawbacks. The program’s
        focus on speed does not appear to have been matched with sufficient efforts to ensure
        fairness, which in addition to raising policy concerns has enhanced the risk to the finality
        of MPP decisions. This risk is highlighted by the many direct and collateral challenges to
        the final orders of removal obtained through the program that the Department is now
        defending against. There is also no question that MPP failed to clear the asylum backlog.
        Over the course of the program (and even looking only at 2019 before asylum offices and
        immigration courts closed as a result of COVID-19), affirmative and defensive asylum


K-, 23 I&N Dec. 731 (BIA 2005). A federal court blocked the Attorney General’s decision in Matter of M-S- from
taking effect approximately two-and-a-half months after it was issued but before it was set to go into effect, see
Padilla v. U.S. Immigration & Customs Enf’t, 953 F.3d 1134, 1143 (9th Cir. 2020). The Attorney General’s
decision remains subject to challenge in ongoing litigation.
20
   Exec. Order No. 14010, 86 Fed. Reg. 8267, Creating a Comprehensive Regional Framework to Address the
Causes of Migration, to Manage Migration Throughout North and Central America, and to Provide Safe and
Orderly Processing of Asylum Seekers at the United States Border, 86 Fed. Reg. 8267 (Feb. 2, 2021).
21
   Source: DHS Office of Immigration Statistics Enforcement Lifecycle. Results based on source data as of
December 31, 2020 and OIS Enforcement Lifecycle methodology as of February 1, 2021.
22
   Id.


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        backlogs both grew.23 Immigration court backlogs (encompassing all individuals in
        proceedings) surpassed 1 million for the first time in FY 2019 and continued to grow
        thereafter.24

        Fourth, the Department originally believed that MPP would free up border security
        personnel and resources. Over time, however, MPP imposed significant new
        responsibilities that detracted from the Department’s overall mission and thus increased
        resource requirements. While the program was operational, DHS needed to expend
        resources and take on non-traditional roles, such as building, managing, staffing, and
        securing specialized immigration hearing facilities (IHFs) to support EOIR; processing
        and temporarily paroling individuals into and out of the United States multiple times to
        attend immigration court hearings; and providing regular transportation to and from ports
        of entry in certain locations. Each of these functions took time and effort away from
        other mandated DHS mission sets. In addition, as noted earlier, the fact that individuals
        enrolled in MPP nevertheless sought to reenter the country without inspection at high
        rates also meant that CBP continued to expend resources processing these additional
        encounters.

        Fifth, the Department originally anticipated that MPP enrollees would receive temporary
        immigration status in Mexico and the ability to request certain Mexican social services
        while awaiting the resolution of their U.S. immigration proceedings. Though the
        Government of Mexico (GOM) did make good on these commitments, the lack of
        durable housing arrangements, unstable income, and security concerns made it
        challenging for many migrants to remain in Mexico for the duration of their
        proceedings—particularly once immigration court proceedings were halted indefinitely
        due to COVID-19 (more than 14 months ago). Further, the GOM offer of support was
        not sufficiently augmented by the U.S. Government’s provision of foreign assistance,
        which was limited in scope and did not address security-related matters along the
        Northern Border of Mexico. The result, contrary to the anticipated benefit of MPP, was
        that many people enrolled in the program were not well-situated to remain in Mexico for
        the time required to conclude their proceedings.

     II. Goals for MPP (July 2020)

In July 2020, some 18 months after the program started, the Department first published goals for
the program on a dedicated webpage, which were supported by measures and metrics that were
updated at regular intervals.25 The latest published data are through December 31, 2020. The

23
   The affirmative asylum backlog grew during this period due to the number of asylum officers assigned to conduct
credible and reasonable fear, MPP, and Asylum Cooperative Agreement interviews.
24
   Priscilla Alvarez, “Immigration court backlog exceeds 1 million cases, data group says,” CNN, Sept. 18, 2019,
available at https://www.cnn.com/2019/09/18/politics/immigration-court-backlog/index.html.
25
   See “Migrant Protection Protocols Metrics and Measures,” Jan. 21.2021, available at
https://www.dhs.gov/publications/metrics-and-measures.


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July 2020 goals were similar to, but not exactly the same as, several of the anticipated benefits
articulated by the Department at the outset in December 2018. The July 2020 goals were to: (1)
streamline avenues for individuals who qualify for humanitarian protection to receive it, (2)
support orderly and timely completion of immigration processes, (3) prevent releases into the
United States, and (4) deter illegal entry.

Just as MPP failed to adequately achieve the original anticipated benefits of MPP in comparison
to the resources required to sustain the program, MPP also did not adequately deliver on the July
2020 set of goals. Moreover, based upon the evidence that PLCY reviewed, including the
Department’s own reviews of the program and data produced by the DHS Office of Immigration
Statistics, serious concerns were raised early and continuously, but only limited corrective
actions were taken.

        First, a key goal of the program was to prevent releases into the United States. It is likely
        MPP was initially successful in achieving this goal with respect to some portion of the
        tens of thousands of individuals who were enrolled in the program, but that is because the
        program was specifically designed to deny their entry into the United States by returning
        them to Mexico for the duration of their removal proceedings. As approximately 27
        percent of MPP enrollees were subsequently re-encountered attempting to enter without
        inspection—and it is fair to assume some additional share successfully evaded detection
        and completed their entries—it is ultimately unclear to what extent this objective was
        met. More importantly perhaps, the policy determinations undergirding this goal are that
        (1) allowing people to pursue removal proceedings from within the United States and
        releasing them from DHS custody while they do so, where appropriate, should be
        minimized; and (2) the only options typically available are releasing individuals into the
        United States or returning them to Mexico. To the first point, it has long been ICE’s
        policy—including throughout the last Administration—that the detention of certain
        noncitizens is not always in the public interest and that release into the United States,
        including for asylum seekers who have established a credible fear of persecution or
        torture, can be the most appropriate decision in some situations.26 To the second point,
        other enforcement and supervision options like detention, alternatives to detention, and
        case management have long been, and remain, available to DHS, and allow for a far more
        nuanced approach to migration management than the MPP goal presumes.27 ICE provides case
        management programs through its extended case management services (ECMS) and wraparound stabilization services (WSS),
        programs designed to increase compliance, and the evidence indicates that case management is successful. E
                                                                                                CMS
        incorporates a number of the principles developed in the Family Case Management Program that was
        terminated in 2017 despite producing a nearly perfect compliance rate of 99% with both ICE check-ins and
        immigration court appearances.28
                                         A recent analysis of EOIR data found that from 2008 to 2018, 83

26
   See, e.g., ICE Directive No. 11002.1, “Parole of Arriving Aliens Found to Have a Credible Fear of Persecution or
Torture” (Dec. 8, 2009); see 8 C.F.R. § 212.5(b)(5).
27
   See, e.g., INA § 212(d)(5)(A), 8 U.S.C. § 1182(d)(5)(A) (allowing for the imposition of reasonable conditions on
parole from custody); 8 C.F.R. § 212.5(d) (same – providing examples of such conditions).
28
   “As of March 30, 2017, ICE reported that it expended $17.5 million in program costs to enroll 781 active
participants in FCMP across all five locations. According to ICE, overall program compliance for all five regions is


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        percent of non-detained individuals with completed or pending removal cases attended all
        of their hearings; that figure jumped to 96 percent when looking at those noncitizens who
        were represented by counsel.29

        Second, the July 2020 goals reiterated that MPP would reduce illegal immigration.
        However, as noted above, there is inadequate evidence to conclude that the program
        adequately deterred people from traveling to the SWB to seek entry to justify the resource
        commitments required for the program, and strong evidence that a substantial percentage
        of individuals (at least 27 percent) sought to reenter the country without inspection even
        after being enrolled into MPP. The high rate of in absentia removal orders raises
        additional questions about how many of these individuals might have successfully
        entered the country without inspection.

        Third, the July 2020 goals stated that MPP would promote the orderly and timely
        completion of immigration processes and streamline the process by which eligible
        individuals could access humanitarian protections. It appears that a large percentage of
        MPP cases were brought to conclusion, thus suggesting that immigration processes under
        MPP may have been more timely than those unrelated to MPP. However, based on our
        review, the program’s implementation did not satisfactorily account for: (1) the quality of
        the processes available to ensure that all individuals enrolled in MPP were able to appear
        at their hearings; (2) difficulties faced by some MPP enrollees with respect to access to
        counsel; (3) the high level of resources required to achieve streamlined outcomes and the
        source of those resources; and (4) whether the finality of case completions attained
        through MPP was vulnerable to being disrupted by appeals, petitions for review, and
        collateral challenges in federal court.

        DHS data show that 626 individuals in MPP were granted relief—a grant rate of just 1.4
        percent.30 Comparing the high rate of in absentia removal orders in MPP cases (44
        percent) to that of non-MPP cases (11 percent) also raises concerns.31 While in absentia
        removal orders are legitimate outcomes in removal proceedings (they provide the
        government recourse for when migrants fail to abide by their summons to appear), the
        fact that they were four times more likely to occur in MPP proceedings than in other non-
        detained proceedings raises serious questions about the program’s design and operation.
        In particular, a disproportionately high rate of in absentia removal orders raises key
        questions about whether the process provided individuals an adequate opportunity to

an average of 99 percent for ICE check-ins and appointments, as well as 100 percent attendance at court hearings.”
U.S. Immigration and Customs Enforcement’s Award of the Family Case Management Program Contract
(Redacted),” Nov. 30, 2017, OIG-18-22.
29
   Ingrid Eagly and Steven Shafer, “Measuring In Absentia Removal in Immigration Court,” American Immigration
Council (Jan. 2021), available at https://www.americanimmigrationcouncil.org/research/measuring-absentia-
removal-immigration-court.
30
   Source: DHS Office of Immigration Statistics Enforcement Lifecycle. Results based on source data as of
December 31, 2020 and OIS Enforcement Lifecycle methodology as of February 1, 2021.
31
   Id.


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         appear in court and present their cases, and whether conditions in Mexico alone may have
         caused migrants with potentially legitimate claims to abandon those claims. In a number
         of cases—including several involving petitions for review currently being litigated by
         DHS—individuals reportedly failed to appear for their removal proceedings due to
         extenuating circumstances outside of their control, including the need for hospitalization
         after a violent assault or being a victim of kidnapping.32 Court challenges like these not
         only command government resources, but they threaten to undermine the finality of case
         completions obtained through MPP, further calling into question whether the anticipated
         efficiency gains were achieved. Beyond the issue of whether individuals in MPP had
         adequate access to appear in court, the high in absentia rate has fueled a perception
         among many that the program is inconsistent with our country’s values.

     III. DHS’ Prior Assessment of MPP (July 2019 - December 2020)

In 2019, the Department formed a committee of senior leaders across multiple components
(known as a “Red Team”) to conduct a “top-down review of MPP’s policies and implementation
strategy and provide overall recommendations to increase the effectiveness of the program.”33
This Red Team review was intentionally composed of individuals who had “little to no
involvement developing policy or with implementing MPP.”34 The Red Team was a laudable
effort that implicitly acknowledged MPP’s programmatic challenges and identified 16
recommendations organized around Initial Screening and Processing; Access to Counsel and
Due Process; Protection Claims; Treatment in Mexico; and Administration and Logistics.35 In
December 2020, the Department issued supplementary policy36 and operational guidance37 as a
result of the Red Team’s recommendations.

As a threshold matter, although the Red Team process offered recommendations for
improvement, there were significant delays in addressing what appear to have been fundamental
concerns relating to program integrity, and the delays in addressing those recommendations
further undermined their value. For example, DHS launched a dedicated webpage to improve
32
   See, e.g., Tabera-Columbi v. Garland, No. 20-60978 (5th Cir. filed Oct. 26, 2020) (noting that MPP enrollee had
been sexually assaulted by the police and was in a hospital as a result on the morning of the hearing); Quinones
Rodriguez v. Garland, No. 20-61204 (5th Cir. filed Dec. 17, 2020) (describing an individual who did not attend the
MPP hearing because he was hiding from gangs who threatened to kidnap him on his way to the hearing); Miranda-
Cruz, et al., v. Garland, No. 21-60065 (5th Cir. filed Feb. 1, 2021) (describing a family that was kidnapped en route
to an MPP hearing and held for ransom).
33
   Memorandum from Kevin McAleenan, Acting Sec’y of Homeland Sec., Review of Migrant Protection Protocols
Policy and Implementation (June 12, 2019).
34
   Id.
35
   DHS Office of Operations Coordination, The Migrant Protection Protocols Red Team Report (Oct. 25, 2019).
36
   U.S. Department of Homeland Security, “Supplemental Policy Guidance for Implementation of the Migrant
Protection Protocols,” (Dec. 7, 2020), available at https://www.dhs.gov/publication/supplemental-policy-guidance-
implementation-migrant-protection-protocols.
37
   See Supplemental Migrant Protection Protocols Guidance on Initial Document Service and MPP Amenability
(Dec. 7, 2020) https://www.dhs.gov/publication/supplemental-policy-guidance-implementation-migrant-protection-
protocols.


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information awareness about the program approximately 18 months after beginning the
program,38 and issued supplementary guidance to promote standardization in procedures across
sectors and ports of entry approximately 22 months after the program’s initiation.39 These delays
meant that the program operated for nearly two years without the benefit of those improvements.

Beyond the recommendations themselves, the Red Team review also revealed certain operational
and structural challenges that were either under-addressed or remained unaddressed, including
the following:

        Use of a novel mechanism for ensuring non-refoulement. For MPP, DHS developed a
        new and unique method for assessing whether individuals could be subject to persecution
        or torture if they were returned to Mexico. Unlike with expedited removal, which
        similarly can result in rapid return from the United States, individuals in MPP were not
        questioned about their fear of persecution or torture but were instead required to
        affirmatively articulate such a fear with respect to return to Mexico.40 Additionally,
        rather than using a legal screening standard familiar to asylum officers (such as the
        “significant possibility” standard used in credible fear interviews or the “reasonable
        possibility” standard used in reasonable fear interviews), non-refoulement screenings for
        MPP applied the “more likely than not” standard previously used almost exclusively by
        immigration judges to fully adjudicate statutory withholding of removal or withholding
        or deferral of removal under regulations implementing the Convention Against Torture
        (CAT).41 That policy decision resulted in additional, burdensome training requirements.

        Meaningful access to counsel. Regardless of whether access to counsel under MPP was
        sufficient to comply with due process, the challenges faced by program participants due
        to the unique design of MPP run counter to the Biden Administration’s dedicated
        commitment to promoting access to justice.42 Before issuing the December 7, 2020,
        supplementary policy guidance,43 DHS did not allow counsel to participate in non-

38
   U.S. Department of Homeland Security, Migrant Protection Protocols (Archive), available at
https://www.dhs.gov/archive/migrant-protection-protocols.
39
   See U.S. Department of Homeland Security, Supplemental Migrant Protection Protocols Guidance on Initial
Document Service and MPP Amenability (Dec. 7, 2020), available at
https://www.dhs.gov/publication/supplemental-policy-guidance-implementation-migrant-protection-protocols.
40
   U.S. Citizenship and Immigration Services, Guidance for Implementing Section 235(b)(2)(C) of the Immigration
and Nationality Act and the Migrant Protection Protocols, (Jan. 28, 2019).
41
   See 8 C.F.R. § 208.16(b)(2), (c)(2); Regulations Concerning the Convention Against Torture, 64 Fed. Reg. 8478,
8480 (1999).
42
   Presidential Memorandum, Restoring the Department of Justice’s Access-to-Justice Function and Reinvigorating
the White House Legal Aid Interagency Roundtable, 86 Fed. Reg. 27,793 (May 21, 2021), available at
https://www.federalregister.gov/documents/2021/05/21/2021-10973/restoring-the-department-of-justices-access-to--
justice-function-and-reinvigorating-the-white-house.
43
   U.S. Department of Homeland Security, “Supplemental Policy Guidance for Implementation of the Migrant
Protection Protocols,” (Dec. 7, 2020), available at https://www.dhs.gov/publication/supplemental-policy-guidance-
implementation-migrant-protection-protocols.


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        refoulement interviews conducted by USCIS when those interviews occurred in areas
        outside the Ninth Circuit. Additionally, while individuals in MPP were given time to
        meet with counsel at hearing locations prior to their hearings, these meetings were limited
        to a single hour. Any attorney-client meetings that occurred outside of those organized at
        the hearing locations required the navigation of complications associated with cross-
        border communication and access to a telephone with international coverage or other
        forms of technology that were not always available for migrants in Mexico. Moreover,
        because U.S. lawyers were generally prohibited from practicing law in Mexico without
        the appropriate immigration status or accreditation, it was challenging for MPP enrollees
        to receive in-person legal advice while in Mexico.

        Burdens placed on migrants in Mexico. Migrants returned to Mexico from the United
        States were drawing on the same finite level of support that other newly arriving migrants
        were seeking to use in border communities in Mexico, including limited shelter capacity,
        cash-based assistance, and transportation challenges to access ports of entry for hearings.
        As a practical matter, the result was crowding along the U.S.-Mexico border and the
        creation of the informal migrant camp in Matamoros.44 Since January 2021, the U.S.
        Government has endeavored to improve those conditions, including by facilitating the
        entry into the United States of MPP enrollees. By partnering with Mexico and
        international organizations, the Government was able to build a system allowing such
        individuals to be tested, processed, and transported to a port of entry safely and out of the
        hands of traffickers, and the Government succeeded in processing the individuals who
        were in the Matamoros camp in Mexico. As a policy matter, the Government remains
        committed to building on this progress rather than taking steps that could exacerbate the
        challenges in Mexican border communities.

Viewed cumulatively, PLCY’s review has determined that the operational and policy scaffolding
that DHS created to support MPP was insufficient when the program began. Moreover, while
some problems were identified in prior departmental reviews, remedial measures were delayed
and incomplete. Finally, the program as constituted when suspended in January 2021 remains
inconsistent with the Administration’s current approach and anticipated future activities.

     IV. Impact of COVID-19

Based on our review, the COVID-19 pandemic has exacerbated the previously identified
challenges and made the operational challenges and burdens placed on migrants far worse. Any
benefit the program may have offered is now far outweighed by the challenges, risks, and costs it
presents in a COVID-19 environment. Further, between March 2020 (when the immigration
courts hearing MPP cases were closed) until April 2021, DHS continued to spend millions of
dollars each month to maintain the IHFs even though they were not being used for the intended
purpose of holding court proceedings. Without court hearings taking place since March 2020,

44
   Laura Gottesdiener, “Mexican camp that was symbol of migrant misery empties out under Biden,” Reuters, Mar.
7, 2021, available at https://www.reuters.com/article/us-usa-immigration-mexico-feature-idUSKBN2AZ0GB.


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MPP has been completely incapable of delivering on the goal of efficiently processing legitimate
claims by asylum seekers and has instead left large numbers of people in challenging
circumstances in Mexico for a prolonged and indefinite length of time.

Assessment of Alternative Options versus Termination

For the reasons articulated in this memorandum, it is PLCY’s recommendation that DHS
terminate MPP. Based on our review, PLCY believes termination is the best policy decision that
is consistent with the Administration’s objectives and considering the operational challenges
presented by the program. Alternative options, including maintaining current MPP operations or
modifying the program in certain respects, would not sufficiently address either consideration.
Moreover, given the policy approach of the current Administration and its direction to pursue a
comprehensive strategy to managing migration throughout North and Central America, including
by restoring and strengthening the U.S. asylum system in a way that achieves outcomes that are
both efficient and accurate, PLCY believes the strategy that the Administration is currently
developing through policy and rulemaking is preferable to resuming MPP with or without
modification.45

    I. Alternative Option of Maintaining MPP Without Change or Resuming New Enrollments

At present, if DHS maintains the program but retains the current suspension on new enrollments,
individuals will continue to be subjected to prolonged uncertainty in Mexico as all but one of the
immigration courts that would hear MPP cases remain closed. Retaining the program and lifting
the suspension—even if it were to make sense to do this when the CDC’s Title 42 Order remains
in effect—would simply increase the number of people returned to Mexico to wait for an
indefinite and extended period of time for their future immigration court hearings. Either option
could increase instability and insecurity along Mexico’s northern border and continue straining
community resources, such as shelters and cash-based support.

Further, such a decision would show that the Department, upon its review of MPP and fully
aware of persistent challenges, chose to proceed without making any changes to the program.
Such an approach would undoubtedly exacerbate frequent concerns raised by elected officials,
non-governmental organizations, and members of the public; increase the pressures caused by
litigation challenging the program and its manner of operation; and result in significant burdens
for the Department that would limit DHS’s opportunities to make other needed reforms
consistent with this Administration’s policy priorities. Moreover, continuing to divert significant
DHS personnel and resources to handle the necessary tasks of managing immigration court
proceedings as part of MPP is unsustainable in light of current Administration priorities.
Accordingly, PLCY does not recommend preserving the current version of MPP as a mechanism
for operationalizing the authority at Section 235(b)(2)(C).
45
   Nothing in this memorandum is intended to foreclose the Department, at a future date, from considering the
possibility of utilizing its Section 235(b)(2)(C) authority as appropriate. The recommendation contained herein is
based on the unique features of MPP and the policy approach of the Biden Administration to the situation that the
country is presently facing.


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     II. Alternative Option of Modifying MPP

Were DHS to consider programmatically utilizing the Section 235(b)(2)(C) authority in a way
that is consistent with this Administration’s vision of migration management, it would need to
make significant modifications to the current operational and policy structure of MPP. In fact,
many of these changes would be substantial enough that it would effectively be a new program.
Such an effort would likely require significant financial and personnel resources to ensure
migrants can meaningfully access the U.S. immigration system; doing this would come at a
significant opportunity cost and would inhibit other efforts that are currently underway and, in
our judgment, are expected to sustainably address migration flows in a manner fully consistent
with President Biden’s direction in Executive Order 14010.

Further, any effort to create an alternative largescale program under Section 235(b)(2)(C) would
require the provision of significant U.S. foreign assistance to counterparts operating in Mexico.
Such funds would be needed to enhance conditions for migrants returned to northern Mexico to
help alleviate the challenges inherent with displacement and ensure that proceedings conducted
pursuant to the program are as fair and accessible as they are timely and orderly. Doing this
would, however, limit the ability of the Department of State to support the broader
Administration strategy that includes addressing the root causes of migration in Central America
and managing resulting outflows comprehensively. Finally, the related diplomatic work it would
take with GOM to augment U.S. engagement on Mexico’s border region for MPP would detract
from work with GOM on other critical border and immigration priorities.

Assessment of the Impact of Termination

PLCY has included in our review an assessment of the potential impacts of termination and
concluded that DHS should nevertheless terminate MPP.

     I. Border Impact

In FY 2021, DHS has encountered through April 2021 more than 749,000 individuals at the
SWB.46 While this has been a challenge for the Department, DHS has expended significant effort
to provide assistance in implementing important health authorities like Title 42 and to ensure that
enforcement resources are focused on those who present national security or public safety risks
or who are recent border crossers. Further, current trend data suggest that encounters are
leveling off and that today’s surge is being driven largely by single adults.47 As more countries
in the region begin to accept removal flights, DHS will have the ability to increase the removal
of single adults (for instance), who currently have high rates of recidivism, to their home
countries.

46
   U.S. Customs and Border Protection, “Southwest Land Border Encounters,” Dep’t of Homeland Security,
available at https://www.cbp.gov/newsroom/stats/southwest-land-border-encounters.
47
   Id.


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PLCY believes the termination of MPP will eliminate the challenges discussed in this
memorandum and allow the current Administration to execute a more effective approach to
managing irregular migration comprehensively. As outlined in EO 14010, this strategy includes
addressing root causes of migration in the region, strengthening protection pathways and other
legal immigration opportunities to the United States and to third countries, and rebuilding the
U.S. asylum system. To accomplish this rebuilding, the Department is working on new
regulations and taking other measures to implement the long-needed systemic reforms to our
asylum system. One goal of the new regulations will be to shorten the time it takes to adjudicate
a defensive asylum application from years to months while ensuring procedural safeguards and
enhancing access to counsel.

The Department has additionally worked together with EOIR to establish a Dedicated Docket to
process cases involving certain families arriving between ports of entry at the SWB in a fair and
timely manner.48 This Dedicated Docket policy is being established in 10 common destination
cities (Denver, Detroit, El Paso, Los Angeles, Miami, Newark, New York City, San Diego, San
Francisco, and Seattle) that have robust communities of legal service providers, and is designed
to combine the wraparound stabilization and case management services provided through the
Alternatives to Detention program with Legal Orientation Program supports. The combination
of efficient court processing with robust access to legal information and other support is expected
to result in high appearance rates and restored confidence in the immigration court process.
PLCY believes these efforts will have a more sustainable impact on border flows and result in a
more sustainable approach to managing migration.

    II. Operational Impact

The COVID-19 pandemic undisputedly presents challenges for DHS operations at our nation’s
borders. DHS currently assists the CDC in enforcing its Order under Title 42 to prevent the
introduction of COVID-19 into the United States. Through the processing of individuals
returned to Mexico under MPP, as well as a more recent effort, in consultation with the CDC, to
except certain individuals from Title 42 for humanitarian reasons, DHS is rebuilding processing
at ports of entry consistent with the Department’s capacity to do so safely and working to reduce
flows between the ports. This effort involves partnering with international organizations,
domestic non-governmental organizations, and local officials to ensure that processing can be
coordinated to reduce any burden on border communities and connect migrants to efforts that
assist with travel to final destinations away from border communities.

Consistent with DHS’ implementation of public health protocols, and based in part on our
experience with the phased processing of those in MPP, the Department has demonstrated that
individuals enrolled in MPP can be processed at ports of entry in a safe and orderly manner.

48
   U.S. Department of Homeland Security, “DHS and DOJ Announce Dedicated Docket Process for More Efficient
Immigration Hearings,” May 28, 2021, available at https://www.dhs.gov/news/2021/05/28/dhs-and-doj-announce-
dedicated-docket-process-more-efficient-immigration-hearings.


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Recognizing the toll the pandemic has taken on individuals and the prolonged uncertainty they
face in Mexico, approximately 11,193 have been successfully processed into the United States to
continue their immigration proceedings.49 Several thousand registrants are currently pending
processing, with the potential for more if interagency partners expand eligibility.

This phased approach—which began at the San Ysidro port of entry on February 19, 2021 and
has since expanded to six ports of entry—has demonstrated how DHS can safely and orderly
process individuals through ports of entry. DHS created this process in coordination with
interagency partners, international organizations and domestic non-governmental organizations,
and in coordination with GOM. Individuals are registered and staged in Mexico, where they
receive additional information and are screened and tested for COVID-19 before being scheduled
and facilitated to present at a port of entry. DHS has worked collaboratively with domestic non-
governmental organizations and local officials to ensure individuals in MPP are received and
assisted with onward travel to a final destination. To promote the use of the safe and orderly
process described above, DHS has occasionally used the Section 235(b)(2)(C) authority to return
to Mexico individuals currently enrolled in MPP who attempt to enter the United States between
ports of entry.

The process established through the phased approach, combined with an effective
communication strategy to migrants regarding the need to use the established processes as well
as the continued use of Section 235(b)(2)(C), where appropriate, will ensure that the termination
of MPP does not cause further influx at the border. This approach reduces the burden on border
communities and allows migrants to more quickly arrive at their final destinations. In this way,
the termination of MPP should not disrupt any reliance interests that may have been formed by
states or other interested parties in the continuation of the program because it will be
accomplished in connection with a broader policy strategy to managing border processing and
adjudication of claims for immigration relief. This is not to say that the Department has any
particular obligation to consider reliance interests formed by states or others on this program, nor
does it mean any such reliance interests would be reasonable given that the new enrollments in
the program have been suspended for more than four months and the actual operation of the
program—including court hearings and the adjudication of claims—has been suspended for
more than 14 months.

     III. Foreign Affairs Impact

A significant amount of DHS and U.S. diplomatic engagement with GOM over the past two-and-
a-half years has been focused on various port processing programs and plans, including MPP.
Certainly, this will continue for a period of time, particularly as the Department considers
whether and how to expand the process of allowing certain individuals who were enrolled in
MPP to enter the United States in a safe and orderly manner. DHS is, however, eager to focus
collaboration with GOM on other mechanisms to address migration flows to and through

49
  Data on the number of people enrolled in MPP permitted to enter the United States, February 19-May 25,
provided by the Department of State on May 26, 2021.


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Subject: Review and Recommendation on Migrant Protection Protocols (MPP)
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Mexico. These efforts include collaboratively addressing the root causes of migration from
Central America; strengthening regional migration management in Central America;
strengthening protection and asylum systems in the region, in Mexico, and in the United States;
increasing the flow of lawful trade, travel, and immigration; and expanding cooperative efforts to
address smuggling and trafficking networks. MPP has been a major focus of the bilateral
relationship since 2018 and does not deliver adequate return for the significant attention that it
draws away from other elements necessary to the bilateral relationship.

PLCY has reviewed MPP, has gained insight from the successful phased and orderly approach to
processing individuals in MPP into the United States through ports of entry, and is executing on
the Administration’s broader migration management strategy, as outlined in EO 14010. PLCY
assesses that MPP is no longer a viable or necessary tool for the Department since DHS is
pursuing a new strategy.

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                           PREDECISIONAL / DELIBERATIVE
                                                                                        AR00061
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                                                                   AR00062
Case 2:21-cv-00067-Z Document 162 Filed 09/02/22                        Page Secretary
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                                                                                U.S. Department of Homeland Security
                                                                                Washington, DC 20528




                                                                               Homeland
                                                                               Security

                                                  June 1, 2021


  MEMORANDUM FOR:                 Troy A. Miller
                                  Acting Commissioner
                                  U.S. Customs and Border Protection

                                  Tae D. Johnson
                                  Acting Director
                                  U.S. Immigration and Customs Enforcement

                                   Tracy L. Renaud
                                   Acting Director
                                   U.S. Citizenship and Immigrati

  FROM:                            Alejandro N. Mayorkaf\
                                   Secretary          -,--, "I
                                                                   1
  SUBJECT:                         Termination of the Migrant Protection Protocols Program


  On January 25, 2019, Secretary of Homeland Security Kirstjen Nielsen issued a memorandum
  entitled "Policy Guidance for Implementation of the Migrant Protection Protocols." Over the course
  of the Migrant Protection Protocols (MPP) program, the Department of Homeland Security and its
  components issued further policy guidance relating to its implementation. In total, approximately
  68,000 individuals were returned to Mexico following their enrollment in MPP. 1

  On January 20, 2021, then-Acting Secretary David Pekoske issued a memorandum suspending new
  enrollments in MPP, effective the following day. 2 On February 2, 2021 , President Biden issued
  Executive Order 14010, 86 Fed. Reg. 8267, Creating a Comprehensive Regional Framework To
  Address the Causes ofMigration, To Manage Migration Throughout North and Central America,
  and To Provide Safe and Orderly Processing ofAsylum Seekers at the United States Border. In this
  Executive Order, President Biden directed me, in coordination with the Secretary of State, the
  Attorney General, and the Director of the Centers for Disease Control and Prevention, to "promptly

   1
    See "Migrant Protection Protocols Metrics and Measures," Jan. 21 , 2021 , available at
  https://www.dhs.gov/publication/metrics-and-measures.
  2
    Memorandum from David Pekoske, Acting Sec' y of Homeland Sec., Suspension ofEnrollment in the Migrant
  Protection Protocols Program (Jan. 20, 2021).




                                                                                                    AR00063
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consider a phased strategy for the safe and orderly entry into the United States, consistent with
public health and safety and capacity constraints, of those individuals who have been subjected to
MPP for further processing of their asylum claims,” and “to promptly review and determine whether
to terminate or modify the program known as the Migrant Protection Protocols.” 3

On February 11, the Department announced that it would begin the first phase of a program to
restore safe and orderly processing at the Southwest Border of certain individuals enrolled in MPP
whose immigration proceedings remained pending before the Department of Justice’s Executive
Office for Immigration Review (EOIR). 4 According to Department of State data, between February
19 and May 25, 2021, through this program’s first phase approximately 11,200 individuals were
processed into the United States. The Department is continuing to work with interagency partners to
carry out this phased effort and to consider expansion to additional populations enrolled in MPP.

Having now completed the further review undertaken pursuant to Executive Order 14010 to
determine whether to terminate or modify MPP, and for the reasons outlined below, I am by this
memorandum terminating the MPP program. I direct DHS personnel to take all appropriate actions
to terminate MPP, including taking all steps necessary to rescind implementing guidance and other
directives or policy guidance issued to implement the program.

Background

Section 235(b)(2)(C) of the Immigration and Nationality Act (INA), 8 U.S.C. § 1225(b)(2)(C),
authorizes DHS to return to Mexico or Canada certain noncitizens who are arriving on land from
those contiguous countries pending their removal proceedings before an immigration judge under
Section 240 of the INA, 8 U.S.C. § 1229a. Historically, DHS and the legacy Immigration and
Naturalization Service primarily used this authority on an ad-hoc basis to return certain Mexican and
Canadian nationals who were arriving at land border ports of entry, though the provision was
occasionally used for third country nationals under certain circumstances provided they did not have
a fear of persecution or torture related to return to Canada or Mexico.

On December 20, 2018, the Department announced the initiation of a novel program, the Migrant
Protection Protocols, to implement the contiguous-territory-return authority under Section
235(b)(2)(C) on a wide-scale basis along the Southwest Border. On January 25, 2019, DHS issued
policy guidance for implementing MPP, which was subsequently augmented a few days later by
guidance from U.S. Customs and Border Protection, U.S. Immigration and Customs Enforcement,
and U.S. Citizenship and Immigration Services. During the course of MPP, DHS and its
components continued to update and supplement the policy, including through the “Supplemental
Policy Guidance for Implementation of the Migrant Protection Protocols” issued on December 7,

3
  Executive Order 14010, Creating a Comprehensive Regional Framework To Address the Causes of Migration, To
Manage Migration Throughout North and Central America, and To Provide Safe and Orderly Processing of Asylum
Seekers at the United States Border, 86 Fed. Reg. 8267 (Feb. 2, 2021), available at
https://www.federalregister.gov/documents/2021/02/05/2021-02561/creating-a-comprehensive-regional-framework-to-
address-the-causes-of-migration-to-manage-migration.
4
  U.S. Department of Homeland Security, DHS Announces Process to Address Individuals in Mexico with Active MPP
Cases, Feb. 11, 2021, available at https://www.dhs.gov/news/2021/02/11/dhs-announces-process-address-individuals-
mexico-active-mpp-cases.




                                                                                                   AR00064
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2020 by the Senior Official Performing the Duties of the Under Secretary for Strategy, Policy, and
Plans.

Under MPP, it was DHS policy that certain non-Mexican applicants for admission who arrived on
land at the Southwest Border could be returned to Mexico to await their removal proceedings under
INA Section 240. To attend removal proceedings, which were prioritized by EOIR on the non-
detained docket, DHS facilitated program participants’ entry into and exit from the United States.
Due to public health measures necessitated by the ongoing COVID-19 pandemic, however, DHS and
EOIR stopped being able to facilitate and conduct immigration court hearings for individuals
enrolled in MPP beginning in March 2020. 5

Following the Department’s suspension of new enrollments in MPP, and in accordance with the
President’s direction in Executive Order 14010, DHS has worked with interagency partners and
facilitating organizations to implement a phased process for the safe and orderly entry into the
United States of certain individuals who had been enrolled in MPP.

Determination

In conducting my review of MPP, I have carefully evaluated the program’s implementation guidance
and programmatic elements; prior DHS assessments of the program, including a top-down review
conducted in 2019 by senior leaders across the Department, and the effectiveness of related efforts
by DHS to address identified challenges; the personnel and resource investments required of DHS to
implement the program; and MPP’s performance against the anticipated benefits and goals
articulated at the outset of the program and over the course of the program. I have additionally
considered the Department’s experience to date carrying out its phased strategy for the safe and
orderly entry into the United States of certain individuals enrolled in MPP. In weighing whether to
terminate or modify the program, I considered whether and to what extent MPP is consistent with
the Administration’s broader strategy and policy objectives for creating a comprehensive regional
framework to address the root causes of migration, managing migration throughout North and
Central America, providing alternative protection solutions in the region, enhancing lawful pathways
for migration to the United States, and—importantly—processing asylum seekers at the United
States border in a safe and orderly manner consistent with the Nation’s highest values.

As an initial matter, my review confirmed that MPP had mixed effectiveness in achieving several of
its central goals and that the program experienced significant challenges.

        I have determined that MPP does not adequately or sustainably enhance border management
        in such a way as to justify the program’s extensive operational burdens and other shortfalls.
        Over the course of the program, border encounters increased during certain periods and
        decreased during others. Moreover, in making my assessment, I share the belief that we can
        only manage migration in an effective, responsible, and durable manner if we approach the
        issue comprehensively, looking well beyond our own borders.



5
 See “Joint DHS/EOIR Statement on MPP Rescheduling,” Mar. 23, 2020, available at
https://www.dhs.gov/news/2020/03/23/joint-statement-mpp-rescheduling.




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       Based on Department policy documents, DHS originally intended the program to more
       quickly adjudicate legitimate asylum claims and clear asylum backlogs. It is certainly true
       that some removal proceedings conducted pursuant to MPP were completed more
       expeditiously than is typical for non-detained cases, but this came with certain significant
       drawbacks that are cause for concern. The focus on speed was not always matched with
       sufficient efforts to ensure that conditions in Mexico enabled migrants to attend their
       immigration proceedings. In particular, the high percentage of cases completed through the
       entry of in absentia removal orders (approximately 44 percent, based on DHS data) raises
       questions for me about the design and operation of the program, whether the process
       provided enrollees an adequate opportunity to appear for proceedings to present their claims
       for relief, and whether conditions faced by some MPP enrollees in Mexico, including the lack
       of stable access to housing, income, and safety, resulted in the abandonment of potentially
       meritorious protection claims. I am also mindful of the fact that, rather than helping to clear
       asylum backlogs, over the course of the program backlogs increased before both the USCIS
       Asylum Offices and EOIR.

       MPP was also intended to reduce burdens on border security personnel and resources, but
       over time the program imposed additional responsibilities that detracted from the
       Department’s critically important mission sets. The Department devoted resources and
       personnel to building, managing, staffing, and securing specialized immigration hearing
       facilities to support EOIR; facilitating the parole of individuals into and out of the United
       States multiple times in order to attend immigration court hearings; and providing
       transportation to and from ports of entry in certain locations related to such hearings.
       Additionally, as more than one-quarter of individuals enrolled in MPP were subsequently re-
       encountered attempting to enter the United States between ports of entry, substantial border
       security resources were still devoted to these encounters.

A number of the challenges faced by MPP have been compounded by the COVID-19 pandemic. As
immigration courts designated to hear MPP cases were closed for public health reasons between
March 2020 and April 2021, DHS spent millions of dollars each month to maintain facilities
incapable of serving their intended purpose. Throughout this time, of course, tens of thousands of
MPP enrollees were living with uncertainty in Mexico as court hearings were postponed indefinitely.
As a result, any benefits the program may have offered are now far outweighed by the challenges,
risks, and costs that it presents.

In deciding whether to maintain, modify, or terminate MPP, I have reflected on my own deeply held
belief, which is shared throughout this Administration, that the United States is both a nation of laws
and a nation of immigrants, committed to increasing access to justice and offering protection to
people fleeing persecution and torture through an asylum system that reaches decisions in a fair and
timely manner. To that end, the Department is currently considering ways to implement long-
needed reforms to our asylum system that are designed to shorten the amount of time it takes for
migrants, including those seeking asylum, to have their cases adjudicated, while still ensuring
adequate procedural safeguards and increasing access to counsel. One such initiative that DHS
recently announced together with the Department of Justice is the creation of a Dedicated Docket to




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process the cases of certain families arriving between ports of entry at the Southwest Border. 6 This
process, which will take place in ten cities that have well-established communities of legal service
providers, will aim to complete removal proceedings within 300 days—a marked improvement over
the current case completion rate for non-detained cases. To ensure that fairness is not compromised,
noncitizens placed on the Dedicated Docket will receive access to legal orientation and other
supports, including potential referrals for pro bono legal services. By enrolling individuals placed on
the Dedicated Docket in Alternatives to Detention programs, this initiative is designed to promote
compliance and increase appearances throughout proceedings. I believe these reforms will improve
border management and reduce migration surges more effectively and more sustainably than MPP,
while better ensuring procedural safeguards and enhancing migrants’ access to counsel. We will
closely monitor the outcomes of these reforms, and make adjustments, as needed, to ensure they
deliver justice as intended: fairly and expeditiously.

In arriving at my decision to now terminate MPP, I also considered various alternatives, including
maintaining the status quo or resuming new enrollments in the program. For the reasons articulated
in this memorandum, however, preserving MPP in this manner would not be consistent with this
Administration’s vision and values and would be a poor use of the Department’s resources. I also
considered whether the program could be modified in some fashion, but I believe that addressing the
deficiencies identified in my review would require a total redesign that would involve significant
additional investments in personnel and resources. Perhaps more importantly, that approach would
come at tremendous opportunity cost, detracting from the work taking place to advance the vision
for migration management and humanitarian protection articulated in Executive Order 14010.

Moreover, I carefully considered and weighed the possible impacts of my decision to terminate MPP
as well as steps that are underway to mitigate any potential negative consequences.

        In considering the impact such a decision could have on border management and border
        communities, among other potential stakeholders, I considered the Department’s experience
        designing and operating a phased process, together with interagency and nongovernmental
        partners, to facilitate the safe and orderly entry into the United States of certain individuals
        who had been placed in MPP. Throughout this effort, the Department has innovated and
        achieved greater efficiencies that will enhance port processing operations in other contexts.
        The Department has also worked in close partnership with nongovernmental organizations
        and local officials in border communities to connect migrants with short-term supports that
        have facilitated their onward movement to final destinations away from the border. The
        Department’s partnership with the Government of Mexico has been an integral part of the
        phased process’s success. To maintain the integrity of this safe and orderly entry process for
        individuals enrolled in MPP and to encourage its use, the Department has communicated the
        terms of the process clearly to all stakeholders and has continued to use, on occasion and
        where appropriate, the return-to-contiguous-territory authority in INA Section 235(b)(2)(C)
        for MPP enrollees who nevertheless attempt to enter between ports of entry instead of
        through the government’s process.


6
 See U.S. Department of Homeland Security, “DHS and DOJ Announce Dedicated Docket Process for More Efficient
Immigration Hearings,” May 28, 2011, available at https://www.dhs.gov/news/2021/05/28/dhs-and-doj-announce-
dedicated-docket-process-more-efficient-immigration-hearings.




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       In the absence of MPP, I have additionally considered other tools the Department may utilize
       to address future migration flows in a manner that is consistent with the Administration’s
       values and goals. I have further considered the potential impact to DHS operations in the
       event that current entry restrictions imposed pursuant to the Centers for Disease Control and
       Prevention’s Title 42 Order are no longer required as a public health measure. At the outset,
       the Administration has been—and will continue to be—unambiguous that the immigration
       laws of the United States will be enforced. The Department has at its disposal various
       options that can be tailored to the needs of individuals and circumstances, including
       detention, alternatives to detention, and case management programs that provide
       sophisticated wraparound stabilization services. Many of these detention alternatives have
       been shown to be successful in promoting compliance with immigration requirements. This
       Administration’s broader strategy for managing border processing and adjudicating claims
       for immigration relief—which includes the Dedicated Docket and additional anticipated
       regulatory and policy changes—will further address multifaceted border dynamics by
       facilitating both timely and fair final determinations.

       I additionally considered the Administration’s important bilateral relationship with the
       Government of Mexico, our neighbor to the south and a key foreign policy partner. Over the
       past two-and-a-half years, MPP played an outsized role in the Department’s engagement with
       the Government of Mexico. Given the mixed results produced by the program, it is my belief
       that MPP cannot deliver adequate return for the significant attention that it draws away from
       other elements that necessarily must be more central to the bilateral relationship. During my
       tenure, for instance, a significant amount of DHS and U.S. diplomatic engagement with the
       Government of Mexico has focused on port processing programs and plans, including MPP.
       The Government of Mexico was a critically important partner in the first phase of our efforts
       to permit certain MPP participants to enter the United States in a safe and orderly fashion and
       will be an important partner in any future conversations regarding such efforts. But the
       Department is eager to expand the focus of the relationship with the Government of Mexico
       to address broader issues related to migration to and through Mexico. This would include
       collaboratively addressing the root causes of migration from Central America; improving
       regional migration management; enhancing protection and asylum systems throughout North
       and Central America; and expanding cooperative efforts to combat smuggling and trafficking
       networks, and more. Terminating MPP will, over time, help to broaden our engagement with
       the Government of Mexico, which we expect will improve collaborative efforts that produce
       more effective and sustainable results than what we achieved through MPP.

Given the analysis set forth in this memorandum, and having reviewed all relevant evidence and
weighed the costs and benefits of either continuing MPP, modifying it in certain respects, or
terminating it altogether, I have determined that, on balance, any benefits of maintaining or now
modifying MPP are far outweighed by the benefits of terminating the program. Furthermore,
termination is most consistent with the Administration’s broader policy objectives and the
Department’s operational needs. Alternative options would not sufficiently address either
consideration.

Therefore, in accordance with the strategy and direction in Executive Order 14010, following my
review, and informed by the current phased strategy for the safe and orderly entry into the United
States of certain individuals enrolled in MPP, I have concluded that, on balance, MPP is no longer a



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necessary or viable tool for the Department. Because my decision is informed by my assessment
that MPP is not the best strategy for implementing the goals and objectives of the Biden-Harris
Administration, I have no intention to resume MPP in any manner similar to the program as outlined
in the January 25, 2019 Memorandum and supplemental guidance.

Accordingly, for the reasons outlined above, I hereby rescind, effective immediately, the
Memorandum issued by Secretary Nielsen dated January 25, 2019 entitled “Policy Guidance for
Implementation of the Migrant Protection Protocols,” and the Memorandum issued by Acting
Secretary Pekoske dated January 20, 2021 entitled “Suspension of Enrollment in the Migrant
Protection Protocols Program.” I further direct DHS personnel, effective immediately, to take all
appropriate actions to terminate MPP, including taking all steps necessary to rescind implementing
guidance and other directives issued to carry out MPP. Furthermore, DHS personnel should
continue to participate in the ongoing phased strategy for the safe and orderly entry into the United
States of individuals enrolled in MPP.

The termination of MPP does not impact the status of individuals who were enrolled in MPP at any
stage of their proceedings before EOIR or the phased entry process describe above.

                                          *    *   *   *   *

This memorandum is not intended to, and does not, create any right or benefit, substantive or
procedural, enforceable at law or in equity by any party against the United States, its departments,
agencies, or entities, its officers, employees, or agents, or any other person.



CC:    Kelli Ann Burriesci
       Acting Under Secretary
       Office of Strategy, Policy, and Plans




                                                                                         AR00069
1/21/22, 9:46 AM         FACT SHEET: President Biden to Sign Presidential Memorandum to Expand Access to Legal Representation and the Courts | Th
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                                                                 BRIEFING ROOM



        FACT SHEET: President Biden to Sign Presidential
      Memorandum to Expand Access to Legal Representation
                       and the Courts
                                                 MAY 18, 2021 • STATEMENTS AND RELEASES




    Today, President Biden will sign a Presidential Memorandum to expand access to legal
    representation and the courts. As President Biden knows from his experience as a public
    defender, timely and aﬀordable access to the legal system can make all the diﬀerence in a
    person’s life—including by keeping an individual out of poverty, keeping an individual in his or
    her home, helping an unaccompanied child seek asylum, helping someone ﬁght a consumer
    scam, or ensuring that an individual charged with a crime can mount a strong defense and
    receive a fair trial. But low-income people have long struggled to secure quality access to the
    legal system. Those challenges have only increased during the public health and economic
    crises caused by the COVID-19 pandemic. At the same time, civil legal aid providers and public
    defenders have been under-resourced, understaﬀed, and unable to reach some of the people in
    greatest need of their services.


    The federal government has a critical role to play in expanding access to the nation’s legal
    system and supporting the work of civil legal aid providers and public defenders. President
    Biden’s executive action today will reinvigorate the federal government’s role in advancing
    access to justice, and help ensure that the Administration’s policies and recovery eﬀorts can
    reach as many individuals as possible.


    The Presidential Memorandum is the Biden-Harris Administration’s latest action to protect
    vulnerable Americans, reform the justice system, and advance racial equity. On his ﬁrst day in
    oﬃce, the President issued an executive order establishing a government-wide initiative to put
    equity at the heart of each agency’s priorities and management agenda. His discretionary
    budget request called for $1.5 billion in funding for grants to strengthen state and local
    criminal justice systems, including by investing in public defenders. Improving access to
    counsel in civil and criminal proceedings builds on each of these eﬀorts.


    Speciﬁcally, President Biden is directing the following actions:
                                                                                                                             AR00070
https://www.whitehouse.gov/briefing-room/statements-releases/2021/05/18/fact-sheet-president-biden-to-sign-presidential-memorandum-to-expand-ac   1/2
1/21/22, 9:46 AM         FACT SHEET: President Biden to Sign Presidential Memorandum to Expand Access to Legal Representation and the Courts | Th
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    The Attorney General will, within 120 days, submit a plan to expand the Department of
    Justice’s access to justice work. During the prior administration, the Department of Justice’s
    access to justice work, formally launched as an initiative in 2010, was eﬀectively shuttered. To
    restore the Department of Justice’s leadership in this area, President Biden is directing
    Attorney General Garland to submit a report to the President within 120 days that outlines the
    Department’s plan to expand its access to justice work. As Attorney General Garland will
    make clear in a memorandum that he will issue today, the Justice Department will start this
    work immediately.


    The Biden-Harris Administration will re-establish the White House Legal Aid Interagency
    Roundtable to prioritize civil legal aid and expand access to federal programs. The Biden-
    Harris Administration is re-committing to the mission of the White House Legal Aid
    Interagency Roundtable, which was initially established in 2015 to raise federal agencies’
    awareness of how civil legal aid could increase employment, family stability, housing security,
    consumer protection, and public safety. The White House Legal Aid Interagency Roundtable
    will be co-chaired by the Attorney General and the Counsel to the President, or their
    designees, and will convene federal agencies to identify ways to address some of the most
    pressing legal services challenges that we face today—including those posed by the COVID-19
    pandemic.


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https://www.whitehouse.gov/briefing-room/statements-releases/2021/05/18/fact-sheet-president-biden-to-sign-presidential-memorandum-to-expand-ac   2/2
1/21/22, 9:57 AM              FACT SHEET: The Biden Administration Blueprint for a Fair, Orderly and Humane Immigration System | The White House
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                                                                  BRIEFING ROOM



       FACT SHEET: The Biden Administration Blueprint for a
          Fair, Orderly and Humane Immigration System
                                                 JULY 27, 2021 • STATEMENTS AND RELEASES




    The United States can have an orderly, secure, and well-managed border while treating people
    fairly and humanely.


    In January, the Biden-Harris Administration launched a broad, whole of government eﬀort to
    reform our immigration system, including sending to Congress legislation that creates a new
    system to responsibly manage and secure our border, provide a pathway to citizenship, and
    better manage migration across the Hemisphere.


    In the six months since, the Administration has made considerable progress to build a fair,
    orderly, and humane immigration system while continuing to call on Congress to make long
    overdue reforms to U.S. immigration laws. We successfully processed over 12,500 people who
    had been returned to Mexico under the Migrant Protection Protocols. We expanded lawful
    pathways for protection and opportunity, including the Central American Minors (CAM)
    program to reunite children with their parents in the United States. We strengthened
    collaborative migration management with regional partners, including through a new Human
    Smuggling and Traﬃcking Task Force to disrupt and prevent migrant smuggling and human
    traﬃcking operations. And we continue to deter irregular migration at our Southern border.


    The Biden-Harris Administration has accomplished this and more while reckoning with the
    prior Administration’s cruel and reckless immigration policies, which exacerbated long-
    standing challenges and failed to securely manage our border. Case in point: the total number
    of unique encounters at the Southern border to date this ﬁscal year remains below the total
    number of unique encounters to date during ﬁscal year 2019 under the Trump Administration.


    Today the Administration is releasing a blueprint that outlines the next steps Federal agencies
    will be taking to continue implementing the President’s transformative vision for a 21st
    century immigration system that secures the border, fairly and eﬃciently considers asylum
    claims, strengthens regional migration management eﬀorts in North and Central America, and
    addresses the root causes of migration from Central America. Success in building this fair,
                                                                                                                                AR00072
https://www.whitehouse.gov/briefing-room/statements-releases/2021/07/27/fact-sheet-the-biden-administration-blueprint-for-a-fair-orderly-and-humane…   1/6
1/21/22, 9:57 AM              FACT SHEET: The Biden Administration Blueprint for a Fair, Orderly and Humane Immigration System | The White House
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    orderly, and humane immigration system won’t be achieved overnight, especially after the
    prior Administration’s irrational and inhumane policies, but this Administration has a
    blueprint to get there and is making real progress.


    We will always be a nation of borders, and we will enforce our immigration laws in a way that
    is fair and just. We will continue to work to fortify an orderly immigration system.


    ENSURING A SECURE, HUMANE AND WELL-MANAGED BORDER


    The United States can allow people to exercise their legal right to apply for asylum while also
    reducing irregular migration and maintaining an orderly, secure, and well-managed border.

          Making better use of existing enforcement resources. Since ﬁscal year 2011, U.S.
          Customs and Border Protection’s (CBP) discretionary budget has grown from $9.9 billion
          to $15 billion in FY 2021. The President’s Budget redirects resources from a needless
          border wall to make robust investments in smarter border security measures, like border
          technology and modernization of land ports of entry, that are proven to be more eﬀective
          at improving safety and security at the border. These investments will serve as a force
          multiplier to the over 19,500 Border Patrol Agents currently helping secure our Nation’s
          borders and the over 25,500 CBP Oﬃcers working at our land, air, and sea ports. The
          investments will also facilitate more robust and eﬀective security screening to combat
          human smuggling and traﬃcking and the entry of undocumented migrants.

          Improving the expedited removal process for those who arrive at the border. The
          Administration is working to improve the expedited removal process at the border to fairly
          and eﬃciently determine which individuals have legitimate claims for asylum and other
          forms of protection. Asylum and other legal migration pathways should remain available to
          those seeking protection. Those not seeking protection or who don’t qualify will be
          promptly removed to their countries of origin.

          Facilitating secure management of borders in the region by providing training and
          technical assistance, supporting the improvement of border infrastructure and technology,
          and promoting collaborative migration and border management approaches.

          Strengthening anti-smuggling and anti-traﬃcking operations by working with regional
          governments to investigate and prosecute individuals involved in migrant smuggling,
          human traﬃcking, and other crimes against migrants. In April 2021, DHS announced
          Operation Sentinel, a new operation targeting organizations involved in criminal
          smuggling.


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https://www.whitehouse.gov/briefing-room/statements-releases/2021/07/27/fact-sheet-the-biden-administration-blueprint-for-a-fair-orderly-and-humane…   2/6
1/21/22, 9:57 AM              FACT SHEET: The Biden Administration Blueprint for a Fair, Orderly and Humane Immigration System | The White House
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          Bolstering public messaging on migration by ensuring consistent messages to discourage
          irregular migration and promote safe, legal, and orderly migration.


    IMPLEMENTING ORDERLY AND FAIR PROCESSING OF ASYLUM APPLICATIONS


    The Administration is committed to fairly and eﬃciently considering asylum claims. Asylum
    and other legal migration pathways should remain available to those seeking protection. But
    those not seeking protection or who don’t qualify will be returned to their country of origin.


          Establishing a dedicated docket to consider asylum claims. The Administration has set
          up a special immigration court docket to promptly and fairly consider the protection
          claims of certain recent arrivals.

          Further improving the eﬃciency and fairness of the U.S. asylum system by authorizing
          asylum oﬃcers to adjudicate asylum claims for those arriving at the border and
          establishing clear and just eligibility standards that harmonize the U.S. approach with
          international standards. The Administration has already begun to rescind Trump
          administration policies and decisions that unjustly prevent individuals from obtaining
          asylum. On June 16, the Department of Justice reversed two of the former administration’s
          rulings severely restricting asylum protections for victims of domestic and gang violence.

          Maximizing legal representation and legal orientation programs by working closelywith
          pro bono legal service providers. The President’s FY 2022 Budget requests $15 million to
          provide representation to families and vulnerable individuals, as well as $23 million to
          support DOJ legal orientation programs.

          Reducing immigration court backlogs by ensuring priority cases are considered in a
          timely manner and hiring more immigration judges. The FY 2022 Budget requests an
          additional 100 immigration judges and provides support for additional court staﬀ to ensure
          the eﬃcient and fair processing of cases. The Department of Justice also restored the
          discretion of immigration judges to administratively close cases in another step to ensure
          priority cases are considered in a timely manner.


    STRENGTHENING COLLABORATIVE MIGRATION MANAGEMENT WITH REGIONAL
    PARTNERS


    The United States seeks to expand U.S. and multilateral eﬀorts to address the dire
    humanitarian situation in Central America and strengthen regional collaborative migration
    management. The United States believes that all individuals should be able to have a safe,


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    stable and digniﬁed life within their own countries, while ensuring that asylum and other legal
    migration pathways remain available to those who need them.


          Providing humanitarian support to address the acute needs that pressure individuals
          to abandon their homes. U.S. eﬀorts will address food insecurity and malnutrition,
          mitigate the impacts of successive droughts and food shortages, promote protection for
          vulnerable individuals, and provide materials to support rebuilding of homes and schools
          damaged by the hurricanes. The United States will also work with the United Nations to
          mobilize international support for the deteriorating situation in the Northern Triangle. As
          part of these eﬀorts, the United States in April provided                                $255 million in assistance to
          meet immediate and urgent humanitarian needs for people in El Salvador, Guatemala, and
          Honduras, refugees, other displaced people, and vulnerable migrants in the region.

          Expanding access to international protection to provide safety to individuals closer to
          their homes by building and improving national asylum systems, enhancing eﬀorts to
          resettle refugees, and scaling up protection eﬀorts for at-risk groups.

          Establishing Migration Resource Centers in the Northern Triangle countries with the
          support of international organizations and in coordination with governments in Central
          America to provide referrals to services for people seeking lawful pathways for migration
          and protection. The centers also provide referrals to reintegration support for migrants
          returned from the United States and other countries.

          Restarting and expanding the Central American Minors (CAM) program to provide
          children the opportunity to receive protection and reunite with parents in the United
          States. In March 2021, the United States reopened the CAM program and, in June 2021,
          expanded it to additional categories of eligible U.S.-based relatives who can petition for
          their children.

          Expanding refugee processing in the region, including in-country processing in
          Northern Triangle countries, and helping international organizations and local non-
          governmental organizations to identify and refer individuals with urgent protection needs
          to the U.S. Refugee Admissions Program and other resettlement countries. The U.S.
          Department of State and Department of Homeland Security have resumed interviewing
          individuals via the Protection Transfer Arrangement (PTA) to expand protection for
          vulnerable nationals of El Salvador, Guatemala, and Honduras.

          Expanding access to temporary work visas in the region. DHS announced a
          supplemental increase of 6,000 H-2B visas for temporary non-agricultural workers from
          Honduras, Guatemala and El Salvador in FY 2021. The Administration is also exploring
                                                                                                                                AR00075
https://www.whitehouse.gov/briefing-room/statements-releases/2021/07/27/fact-sheet-the-biden-administration-blueprint-for-a-fair-orderly-and-humane…   4/6
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          ways to enhance access to H-2A visas for temporary agricultural workers when there are
          insuﬃcient qualiﬁed U.S. workers to ﬁll these jobs, while ensuring strong labor protections
          for all workers. The Administration will also encourage other governments to develop and
          expand regional labor migration programs that protect workers’ rights and allow access
          for individuals to ﬁnd meaningful, temporary work.

          Reducing immigrant visa backlogs. The United States aims to reduce the backlog of
          immigrant visa applications for Northern Triangle nationals as quickly as possible.


    INVESTING IN CENTRAL AMERICA TO ADDRESS THE ROOT CAUSES OF
    MIGRATION


    We cannot solve the challenge at our border without addressing the lack of economic
    opportunity, weak governance and corruption, and violence and insecurity that compel people
    to ﬂee their homes in the ﬁrst place. The impact of two major hurricanes in late 2020, a
    prolonged drought, and COVID-19 have aggravated these long-standing challenges. The FY
    2022 Budget requests $861 million to address the root causes of migration.

          Addressing economic insecurity and inequality by investing in programs that foster a
          business-enabling environment for inclusive economic growth; enhancing workforce
          development, health, and education; and building resilience to climate change and food
          insecurity so individuals can ﬁnd economic opportunity at home. The U.S. will also work
          with stakeholders to increase trade and diversify industry, as well as with the private
          sector to build on the Call to Action to catalyze investments in the region and support
          economic development.

          Combatting corruption and strengthening democratic governance by working with
          governments, civil society, and independent media to improve government services,
          increase transparency, promote accountability and respect for human rights, sanction
          corrupt actors, and provide protection to at-risk youth, victims of violence, and other
          marginalized populations.

          Promoting respect for human rights, labor rights and a free press by working with
          governments and civil society to strengthen legal frameworks and build institutional
          capacity, hold perpetrators accountable, promote labor rights compliance, and ensure
          citizens have access to information from independent sources to inform their choices.

          Countering and preventing violence, extortion, and other crimes by strengthening
          accountable law enforcement, focusing on crime prevention, and encouraging regional
          cooperation to address shared criminal threats.
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https://www.whitehouse.gov/briefing-room/statements-releases/2021/07/27/fact-sheet-the-biden-administration-blueprint-for-a-fair-orderly-and-humane…   5/6
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          Combatting sexual, gender-based and domestic violence by working with governments
          and civil society to prevent and prosecute violence and support victims.


    While President Biden can implement signiﬁcant parts of this strategy within his executive
    authority, Congress must also act. Millions of noncitizens call our country home. Immigrants
    are key a key part of our communities and make signiﬁcant contributions to our economy.
    Over the past year, millions of immigrants have risked their health to work side by side with
    other Americans to perform jobs that are essential to the functioning of the country. They are
    Americans in every way but on paper. The American public supports a path to citizenship and
    a fair and eﬃcient legal immigration system that welcomes talent from around the globe and
    allows families to reunite and make a life in our country.


    Congress should pass through reconciliation or other means:


          The U.S. Citizenship Act (H.R. 1177/S. 348) that reunites families, gives businesses access to
          a workforce with full labor rights, and creates a path to citizenship for those already living
          and working in the United States. These critical reforms, coupled with measures to
          address the root causes of migration from Central America, will relieve pressure at the
          border by dissuading irregular migration.


          The Dream and Promise Act (H.R. 6) and Farm Workforce Modernization Act (H.R. 1603)
          to create a path to citizenship for Dreamers, TPS recipients, and farmworkers. Both bills
          passed the House with bipartisan support. They will protect millions of families, children,
          and essential workers who live, work, study, and worship in our communities.


    FACT SHEET: Strategy to Address the Root Causes of Migration in Central America


    FACT SHEET: The Collaborative Migration Management Strategy




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https://www.whitehouse.gov/briefing-room/statements-releases/2021/07/27/fact-sheet-the-biden-administration-blueprint-for-a-fair-orderly-and-humane…   6/6
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                                                                 BRIEFING ROOM



                           FACT SHEET: U.S. – Mexico High-Level
                                   Economic Dialogue
                                            SEPTEMBER 09, 2021 • STATEMENTS AND RELEASES




    The HLED Vision


    United States President Joseph R. Biden and Mexican President Andrés Manuel López
    Obrador agreed to relaunch the U.S.-Mexico High-Level Economic Dialogue (HLED) in
    recognition of our broad strategic economic relationship. Established in 2013, the HLED
    advances strategic economic and commercial priorities for both countries, with the shared
    goal of fostering economic development and growth, job creation, global competitiveness, and
    reduction of poverty and inequality. The Biden-Harris Administration recognizes the
    importance of the dynamic, deep, and integrated commercial relationship with Mexico,
    currently our largest trading partner in goods, including as a top market for U.S. agricultural
    exports. As our countries face new challenges, the HLED will allow us to rebuild and grow as
    dynamic partners.


    The relaunched HLED features four central pillars:


          Building Back Together

          Promoting Sustainable Economic and Social Development in Southern Mexico and Central
          America

          Securing the Tools for Future Prosperity

          Investing in Our People


    Together, we will build back from the impact of the global pandemic, promote inclusive trade
    and investment, prepare our workforces for the future, and strengthen regional supply chains.
    As an ongoing forum to address priority issues, the HLED’s agenda will be enhanced by regular
    input and engagement with key stakeholders from civil society and business.


    The HLED Work Plan
                                                                                                                              AR00078
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1/21/22, 9:55 AM                                  FACT SHEET: U.S. - Mexico High-Level Economic Dialogue | The White House
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    Pillar I: Building Back Together
    The United States and Mexico will build back together in an environment informed by the
    pandemic by improving the regional business environment and strengthening the resilience of
    U.S.-Mexico supply chains. Work under this pillar will include how to best facilitate economic
    recovery and strengthen infrastructure, trade facilitation, and innovation.


          Strengthening Existing and New Supply Chains

              Coordinate on critical industries to mitigate supply chain disruptions.

              Explore opportunities to complement supply chain needs in both countries, assessing
              prospects to increase competitiveness, attract investment, and reduce vulnerabilities
              in critical sectors.

              Promote environmental technologies through exchanges of information and trade
              missions.


          Trade Facilitation and Infrastructure

              Build on the principles of co-responsibility and co-management of our shared border
              via the 21st Century Border Management Initiative.

              Promote U.S.-Mexico economic competitiveness through innovation and by improving
              land border-crossing and marine port infrastructure, and better understanding and
              expediting cross-border trade ﬂows.

              Improve access to medical devices and supplies for public health emergencies.


    Pillar II: Promoting Sustainable Economic and Social Development in Southern Mexico
    and Central America
    The United States and Mexico will identify complementary and cooperative opportunities to
    improve livelihoods through the creation of jobs and opportunities in the short, medium, and
    long term in El Salvador, Honduras, Guatemala, and southern Mexico, increasing its trade
    potential and spurring investment.


          Increased technical cooperation between U.S. and Mexican international development
          agencies, promotion of value chains, clean energy, and rural development.

          Promote increased trade potential and spur investment in the region by mutually
          identifying projects of interest drawing on relevant research and analysis, including any
          present or future research or missions conducted by the two governments.
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1/21/22, 9:55 AM                                  FACT SHEET: U.S. - Mexico High-Level Economic Dialogue | The White House
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    Pillar III: Securing the Tools for Future Prosperity
    The United States and Mexico will support regulatory compatibility and risk mitigation on
    issues related to information and communication technologies, networks, cybersecurity,
    telecom and infrastructure, among others.


          Mitigating Threats and Enhancing Data Flows

              Develop opportunities to strengthen cybersecurity protections in global supply chains.
              Facilitate collaboration and cooperation in tackling cybersecurity challenges through
              international industry practices and standards.

              Enhance cross-border data ﬂows and interoperability between the United States and
              Mexico.


    Pillar IV: Investing in Our People
    The United States and Mexico will foster cooperation towards a more inclusive workforce that
    is better educated, more competitive, and better trained with the necessary skills to meet the

    needs of the 21st Century economy.


          Inclusiveness and Training

          Coordinate joint eﬀorts to promote an innovation ethos.

          Promote initiatives to invest in entrepreneurs and small-and medium-sized enterprises
          (SMEs).

          Collaborate to enhance access to economic opportunity for women, youth, Indigenous, and
          LGBTQ+ community.

          Consider options for joint technical training and educational programs across priority
          sectors.


    The HLED will strengthen our partnership to better ensure that the United States and Mexico
    meet the challenges of our time and ensure that our peoples can thrive. Mexico and the United
    States will regularly consult with civil society, private sector, academia, and other non-
    governmental organizations to contribute to the HLED, fostering an open dialogue that values
    inclusion and diverse viewpoints while ensuring transparency in decision-making.


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1/21/22, 9:44 AM                          Asylum-Seekers Protesting Squalid Conditions Shut Down A US Border Crossing For 15 Hours
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   Asylum-Seekers Protesting Squalid Conditions
   Shut Down A US Border Crossing For 15 Hours
   "This is an injustice," said one asylum-seeker.

   by Adolfo Flores

             Reporting From
             Matamoros, Mexico
   Updated on October 11, 2019, 11:58 am
   Posted on October 10, 2019, 10:04 pm
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   Asylum-seekers block the Puerta Mexico international border crossing bridge in Matamoros, Mexico.

   Veronica Cardenas / Reuters



   MATAMOROS, Mexico — Asylum-seekers frustrated over increasingly squalid
   conditions at the southern border — where they have been forced to wait until
   their US immigration court dates — shut down a normally busy international
   border crossing Thursday.

   At about 1:30 a.m., a group of up to 300 immigrants marched to the middle of
   the Gateway International Bridge, which connects Brownsville, Texas, and
   Matamoros, Mexico, and sat down in the roadway, blocking trafﬁc in both
   directions for nearly 15 hours. The group remained there through the
   afternoon until shortly after 4 p.m. when US Customs and Border Protection
   (CPB) ofﬁcials reopened the bridge.

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   On the southern side of the bridge is an ever-growing encampment of asylum-
   seekers sent back to Mexico until their immigration cases are adjudicated
   under the Trump administration's "remain in Mexico" policy. More than 51,000
   asylum-seekers have been returned to Mexico under the Migrant Protection
   Protocols (MPP) across the southern border.

   In Matamoros, where about 1,000 asylum-seekers sent back under the program
   are living on the streets under tents and blankets, many rely on donated food.




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   Guatemalan asylum seeker Biviana, 20, blows the neck of her one-year old daughter Maylin, which has a rash.
   Veronica Cardenas / Reuters



   Celia, a 42-year-old asylum-seeker from Honduras, said living in the
   encampment is difﬁcult, in part, because there is no clean water to bathe in or
   to wash clothes. Immigrants often use the Rio Grande, the dangerous and
   polluted waterway that has claimed the lives of immigrants attempting to
   cross. Adults and children have developed rashes after bathing in the river.

   "This is an injustice," Celia said.

   All of the immigrants who spoke to BuzzFeed News for this story declined to
   use their full names due to concerns for their safety.

   Other immigrants said they were frustrated by the lengthy duration they must
   wait for their asylum cases to be decided by an immigration judge. Some who
   believed they would receive a determination at their ﬁrst court date, despite
                                                                                                                           AR00084
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   proceedings requiring multiple hearings, have grown desperate after being
   sent back to Matamoros with court dates weeks or months in the future.

   Sara, a 35-year-old Honduran asylum-seeker who was among the protesters on
   the bridge, said she's been living on the streets of Matamoros for two months
   with her three children.

   "If [the US] is going to give us an opportunity we want them to tell us because I
   have three kids I have to ﬁght for," Sara said. "They keep telling us we have to
   wait longer and longer. When will it end?"




   US Customs and Border Protection police agents keep watch as asylum-seekers block the Puerta Mexico
   international border crossing bridge.
   Alejandro Hernandez / Reuters


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   Critics of MPP have said forcing asylum-seekers to wait with few resources and
   access to legal information in dangerous Mexican cities like Matamoros is part
   of the Trump administration's plan to wear down immigrants.

   In addition to squalid conditions and long wait times, asylum-seekers returned
   to Mexico also face the threat of violence and kidnappings. A State
   Department advisory for the Mexican state of Tamaulipas, which includes
   cities like Matamoros and Nuevo Laredo, warns US citizens about threats to
   safety when traveling to the area, noting that murder, kidnapping, and sexual
   assault are common.

   Asylum-seekers returned to Mexico under MPP have reported more than 340
   incidents of rape, kidnapping, torture, and other violent attacks, according to a
   report from Human Rights First.

   At a White House press brieﬁng on Tuesday, Mark Morgan, acting
   commissioner of CBP said Mexico was providing humanitarian protection to
   asylum-seekers.




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   Asylum-seekers block the Puerta Mexico international border crossing bridge in Matamoros, Mexico.
   Veronica Cardenas / Reuters



   “With MPP, migrants are receiving due process and protection while the
   United States is restoring integrity to our immigration system,” Morgan told
   reporters.

   Also on the bridge was Jilma, a 26-year-old Honduran asylum-seeker who was
   sent to Nuevo Laredo after presenting herself at the US border. Along with a
   group of other immigrants, she was transported to a shelter at the direction of
   Mexican immigration agents.

   Along the way, the bus was stopped by federal police, Jilma said, who ordered
   all of the immigrants off the vehicle. Moments later the group was boarded
   onto trucks at gunpoint by men who took them to a large house with about
   300 kidnapped immigrants. When Jilma and two other women couldn't
   provide phone numbers for family members who could pay a ransom, some of
   the men took them to another room and took turns raping them, she said.

   "While they raped us they told us they would do the same things to our
   children," Jilma told BuzzFeed News. "They let us go, but before they left they
   took photos of us and told us to never return to Nuevo Laredo."
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1/21/22, 9:44 AM                          Asylum-Seekers Protesting Squalid Conditions Shut Down A US Border Crossing For 15 Hours
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   Jilma has since made her way to Matamoros where she hopes she will be safe,
   but is fearful of returning to Nuevo Laredo in January for her court hearing on
   the other side of the border.




   Asylum-seekers block the Puerta Mexico international border crossing bridge in Matamoros, Mexico.
   Alejandro Hernandez / Reuters


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   Because the protest shutdown the bridge, asylum-seekers who had hearings
   inside newly erected tent courts on the other side of the Rio Grande were
   unable to see the immigration judge and CBP said their hearings would be
   rescheduled to a later date, potentially months down the line.

   "It is so hard to get ahead," said Claire Noone, an immigration attorney who
   has worked with asylum-seekers in Matamoros. "Protesting abhorrent
   conditions leads to individuals being forced to exist in those conditions
   longer."

   Henri Vinet-Martin, another immigration attorney who was worked with
   immigrants in Matamoros, said the other "travesty" is asylum-seekers in MPP
   ﬁnd it nearly impossible to ﬁnd US attorneys who can take their cases.

   "How can you even think about your case when you're trying to ﬁgure out how
   to feed your baby?" Vinet-Martin told BuzzFeed News. "They're being denied
   access to their right to have an attorney not paid for by the US government."

   One estimate from July found that only 1.2% of MPP cases that had already
   been decided had legal representation. The odds of an asylum-seeker winning
   their case increase exponentially if they have an attorney.

   At one point the mayor of Matamoros, Mario López Villarreal, went to speak
   with the protesters about their concerns of living on the streets and, in an
   attempt to talk them off the bridge, offered them space at a shelter. Some of
   the immigrants balked at the offer while others accepted an invitation to speak
   to city ofﬁcials about their concerns.

   "He's never come to speak to us and only came after we shut down the bridge,"
   said Alex, a 25-year-old from El Salvador. "I don't trust him."

                                                                                                                           AR00089
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   Julián Castro Escorted 12 Asylum-Seekers To The US Border. They
   Were All Sent Back To Mexico.
   Adolfo Flores · Oct. 8, 2019


   Mexican Immigrants Are Accusing Border Patrol Agents Of Denying
   Asylum And Illegally Deporting Them
   Adolfo Flores · Oct. 4, 2019


   Asylum-Seekers Are Trying To Flee Violence In Mexico. The US Is
   Sending Them Right Back.
   Adolfo Flores · Oct. 1, 2019




                   Adolfo Flores is a reporter for BuzzFeed News and is based in McAllen, Texas..

                   Contact Adolfo Flores at adolfo.flores@buzzfeed.com.

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           Case 2:21-cv-00067-Z Document 162 Filed 09/02/22                                              Page 109 of 400 PageID 4302


        "Leave me in a cell": The desperate pleas of
        asylum seekers inside El Paso's immigration
        court
        This story is the first installment in a three-part series on the Trump administration's controversial
        "Remain in Mexico" program and its impact on thousands of asylum-seeking families. Read parts two
        and three here.

        El Paso, Texas — Like most of the other migrants seeking asylum in court that day, Ana, a young
        indigenous woman from Guatemala's western highlands, sat alone at the defendant's desk, without a
        lawyer at her side.

        Soon after she took her seat in one of the small, cold courtrooms in the seventh floor immigration court
        in downtown El Paso, the visibly distressed asylum seeker from Guatemala begged the presiding judge
        in her fast-moving, fragmented Spanish not to return her to Mexico.

        "Leave me in a cell, please. Leave me in a cell," she told Judge Nathan Herbert, who listened to her
        plea through a court translator.

        Ana was referring to a detention cell in a Border Patrol station in the U.S., where migrants like her —
        who cross the southern border illegally to seek asylum but otherwise don't have criminal records — are
        typically detained for a few days or weeks, and then released with a notice to appear in court.

        But under a controversial policy known as "Remain in Mexico," the Trump administration has been
        requiring tens of thousands of migrants who seek asylum near El Paso and other highly transited parts
        of the southwestern border to wait in Mexico while their cases are processed in the U.S.

        The program, which the administration is expanding across the entire border, is officially called the
        Migrant Protection Protocols (MPP).

        But interviews CBS News conducted in El Paso in late July with migrants, advocates and attorneys —
        along with courtroom testimony from more than a dozen asylum seekers — depict a different policy.

        Their accounts paint a picture of a program that places often vulnerable migrants, including families
        with small children and single women, in precarious situations in Mexico, where the chances of
        securing legal counsel are slim.

        Herbert, one of four immigration judges in El Paso, has been hearing the testimony of these asylum
        seekers on a weekly basis since "Remain in Mexico" was first implemented in the El Paso sector in
        March.

                                                                            dsc-0356.jpg
        In the seventh floor of this federal building in downtown El Paso, asylum seekers — most of them without lawyers — plead with a judge to allow them to
        stay in the U.S. Camilo Montoya-Galvez/CBS News


        During her second hearing in late July, Ana reiterated to Herbert that she feared going back to the city
        across the border, Ciudad Juárez, one of the most dangerous communities in Mexico and the Western
        Hemisphere.
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1/21/22, 9:49 AM                      "Leave me in a cell": The desperate pleas of asylum seekers inside El Paso's immigration court

        "InCase 2:21-cv-00067-Z
            Mexico, nobody wants toDocument   162said,
                                   help me," Ana    Filed 09/02/22
                                                       adding          Page
                                                              later, "What   110me
                                                                           hurts ofthe
                                                                                    400most
                                                                                         PageID     4303
                                                                                            is that no one
        wants to help me."

        Herbert told Ana there was little he could do to remove her from the MPP program. But he asked the
        Department of Homeland Security lawyer in the room to refer the Guatemalan migrant to a so-called
        non-refoulement interview, offered when asylum seekers express fear about returning to the country
        that the government seeks to send them to.

        The judge does this every time asylum seekers in his courtroom express fear of returning to Mexico.
        The interviews they go through after court are purportedly designed to ensure migrants are not returned
        by the government to places where they may face persecution — a longstanding standard in U.S. and
        international refugee law.

        But advocates, attorneys and even some of the asylum officers conducting these non-refoulement
        interviews say it is almost impossible to satisfy the stringent requirements for the government to allow
        fearful migrants to stay in the U.S.

        When Herbert informed Ana of the interview referral, she noted it would be her second one. "When I
        came to my first appointment, I said I was afraid of going back to Mexico and they still sent me back
        to Mexico," she told Herbert.

        Midway through her hearing, Herbert realized that Spanish was not Ana's best language, as she
        initially indicated. She told him her native tongue was Q'anjob'al, a language of Mayan origins spoken
        primarily in western Guatemala.

        After the judge told her he would get an interpreter through the phone, and struggled for a several
        minutes to find one, Ana, discernibly anxious, said she could continue in Spanish, seemingly worried a
        delay could jeopardize her case. She told Herbert she learned more Spanish while in Mexico.

        But the Q'anjob'al interpreter was eventually found and through him, Herbert told Ana he could give
        her more time to find an attorney. She again told him she's been trying for weeks to find one to no
        avail.

        "Is there any attorney who can help me?" she asked Herbert, this time in Q'anjob'al.

        "The government cannot provide you with an attorney," the judge replied, offering her instead a paper
        list of legal organizations in the El Paso area.

        Immigrants and migrants in the U.S. immigration court system — which is a branch of the Justice
        Department — do not have the right to a government-appointed lawyer if they can't afford counsel,
        unlike the independent judicial system.

        Towards the end of the hearing with Ana, Herbert said it was of paramount importance for her to show
        up to her next court date because she could be ordered deported — even if she was technically living in
        Mexico — "in absentia." Along with nullifying her asylum claim, a deportation order also usually
        entails a multi-year ban from entering the U.S.

        The sole mention of "deportation" rattled Ana.

        "I'm pleading with you to help me," she said minutes before the next asylum seeker on the docket was
        escorted inside the courtroom. "Help me."


        "I'm afraid to go back to Mexico. Will I be sent back?"
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                                                               18 other asylum 111 of in
                                                                                       400   PageID 4304
                                                                                         the "Remain in
        Mexico" program — the majority families with small children — were brought to the El Paso
        immigration court.

        The group of migrants, like thousands of others subject to the policy, are temporarily allowed to enter
        the U.S. to attend their court hearings. They enter through one of the ports of entry that connect El
        Paso and Ciudad Juárez, where most of them stay in shelters run by community organizers and the
        local Catholic church.

        From there, they are escorted by DHS-contracted security guards, who keep the migrants under tight
        scrutiny, even when they use the restroom. Before noon, after most of the cases for migrant children
        are heard by another judge, the guards effectively take control of the 7th floor, placing the MPP
        program asylum seekers in the small waiting room and restricting access to them by blocking entry
        into the court until their hearings start.

                                                                           dsc-0383.jpg
        El Paso shares a bustling international border with Ciudad Juárez, where the U.S. government has returned thousands of asylum seekers since March
        through the controversial "Remain in Mexico" program. Camilo Montoya-Galvez/CBS News


        In the waiting room, filled with several maroon-colored chairs, the adult migrants and their children
        eagerly and quickly eat their lunch — a selection of snacks from the building's vending machines — as
        about a dozen guards stand watch.

        Unlike the migrant children in the morning hearings, who are represented by attorneys from the
        Diocesan Migrant and Refugee Services, most families and single adults in the MPP docket do not
        have counsel.

        According to Syracuse University's Transactional Records Access Clearinghouse center, only 1.3% of
        the nearly 13,000 migrants in the "Remain in Mexico" program had legal representation as of June.

        During Ana's day in court, only three families and individuals were represented by attorneys.

        One was a family that was absent from the courtroom. After months of waiting in Mexico, the family
        had given up on its asylum case and returned to Honduras. The family's lawyer was in court to prove
        they had voluntarily returned to Honduras.

        The family's time in Ciudad Juárez, the lawyer said, was "untenable," and she wanted to ensure they
        did not receive a 10-year ban on entering the U.S.

        For the migrants who were not represented, their hearings were strikingly similar.

        One mother, who came to court in crutches, told the judge she, her husband and young son were
        frightened about returning to Ciudad Juárez, where she said she was assaulted.

        Herbert's responses to the pleas of migrants in his courtroom — who were convinced he wielded the
        categorical power to take them out of the "Remain in Mexico" program and allow them to stay in the
        U.S. — were nearly identical.

        "I don't have the authority to let you stay here," the judge told one young father who came to court
        with his 3-year-old son.

        "I don't have the authority to take you out of this program," he told one family after the father said they
        feared being returned to Mexico and wanted to stay in El Paso.

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1/21/22, 9:49 AM                               "Leave me in a cell": The desperate pleas of asylum seekers inside El Paso's immigration court

        "I Case  2:21-cv-00067-Z
           have no                    Document
                   control over that process,"    162 said
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                                                             when          Pagewho
                                                                  another father, 112 sat
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                                                                                          alongside      4305
                                                                                                    his wife and
        4-year-old son, asked, "I'm afraid to go back to Mexico. Will I be sent back?"

                                                                               dsc-0380.jpg
        Once of the first things asylum seekers in the "Remain in Mexico" program see when they are briefly escorted into the U.S. and to El Paso's immigration
        court is this replica of the "The Great Seal of the United States." It contains one of the nation's mottos in Latin, E pluribus unum — out of many, one.
        Camilo Montoya-Galvez/CBS News


        For most cases on that July day, Herbert gave the migrants more time to find counsel, even after nearly
        all told him their efforts to do so in Mexico had been futile. A few, citing growing desperation, opted to
        represent themselves — a move immigration attorneys say usually dooms asylum claims in a
        byzantine immigration system.

        Those who claimed they feared returning to Mexico — nearly all — were referred to complete the
        non-refoulement interview. But most were likely returned to Mexico.


        "Magnets for kidnappers"
        Taylor Levy, an independent lawyer in the El Paso area who does not represent those returned under
        MPP but actively works to help and guide them, said there's "roughly a 1%" chance of "winning" the
        non-refoulement interview.

        Because of this, she said most migrants are stranded in Mexican border cities like Ciudad Juárez for
        months, where they struggle to find shelter and employment, with some facing persecution and
        extortion.

        Some, Levy noted, choose to go home. "You have people get so desperate that they have decided to go
        home instead of remaining in Mexico, where they're just in so much danger."

        "I keep thinking if it was my kids. I wouldn't want them in the shelters. And I work in the shelters a lot.
        I go there all the time. And the shelters are run by wonderful, loving, caring people," she added,
        referring to the shelters in Juárez. "But if it was my kids, I'd want them as far as humanly possible
        away from the shelters, because the shelters are targets — they're magnets for kidnappers."

                                                             MEXICO-CUBA-US-MIGRATION
        Cuban and Central American migrants leave the Casa del Migrante shelter in Ciudad Juarez, Chihuahua State, Mexico, to head to the border to request
        political asylum in the United States, on Jan. 9, 2019. Getty


        Others attempt to cross illegally for a second time or for the first time if they first claimed asylum at a
        port of entry. Late last month, a 20-year-old Guatemalan woman drowned trying to re-enter the U.S.
        after she had been sent to Mexico under the MPP program.

        Because of the dangers faced by these migrants in Mexico, Levy said the deterrence effect she believes
        underpins the policy has been working.

        "In that sense, yes, I think it's been effective in violating people's rights and forcing them into such a
        dire situation that they give up their lawful claims," she said.

        The Trump administration seems to agree, with acting U.S. Citizenship and Immigration Services
        director Ken Cuccinelli recently bragging about the "spectacular success" of the policy. When
        announcing the second consecutive drop in apprehensions at the southern border during July, Customs

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        Mexico's amped up enforcement and the MPP program.

        What concerns Levy the most is that she believes many Americans consider the "Remain in Mexico"
        policy "innocuous."

        "It feels like such not a big deal to people, you know, it's like, 'Uh, that seems fair, they wait their
        turn,'" she said. "But that's just quite simply not how it plays out on the ground."

        Editor's note: The names of migrants featured in this series have been omitted because they currently
        have ongoing cases in immigration court.




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    POLITICS


    "I fear for our lives": Asylum seekers forced to wait in
    Mexico face danger and desperation

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    This is the second installment in a three-part series on the
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    controversial "Remain in Mexico" program and its impact
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    El Paso, Texas — One afternoon in late March, as Ricci walked through the markets in
    Ciudad Juárez looking for somewhere to buy lunch for her 4-year-old son, a man
    approached the boy and tried to snatch him away.

    "Because there were a lot people, I pleaded for help," Ricci said of the brazen kidnapping
    attempt. She spoke in Spanish with CBS News in the federal building in El Paso, minutes
    before her hearing in immigration court. "People helped me, and the man was not able to
    take my son."



    Living in Ciudad Juárez, one of the most dangerous cities in the world, was harrowing for
    Ricci, a 25-year-old single mother from an indigenous community in Honduras. It wasn't
    her choice to be in Mexico.

    Like tens of thousands of other migrants, mostly from Central America, she was placed in
    the "Remain in Mexico" program when she arrived at the border earlier this year. The
    controversial program, which the Trump administration is expanding despite a court
    challenge, requires asylum seekers to wait in Mexico for months while their claims are
    reviewed in the U.S.

    Ciudad Juárez is the destination for migrants like Ricci who seek asylum at a port of entry
    or another part of the border in the El Paso sector. Beyond the obvious hazards of living in
    the crime-ridden city, migrants struggle to nd shelter, employment and, perhaps most


    importantly, lawyers who are key to helping them navigate the byzantine U.S. immigration
    system.

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    Ricci          f t    t tthan
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    the Honduran mother, helped by her family in the U.S., was
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    A general view of Ciudad Juárez on a windy, dusty afternoon on May 20, 2019.
    P A U L R A TJ E / A F P / G E T T Y I M A G E S



    In late July, Ricci was temporarily allowed back into the U.S. to attend a hearing, where
    she and her lawyer, Danielle Escontrias of the Catholic Charities of Southern New Mexico,
    formally led her asylum petition. Ricci was also there to tell the judge she feared being
    sent back to Mexico — a sentiment echoed by most families and individuals in the program
    over the course of hours of court hearings.

    "I feel a lot of fear. I can't go out," Ricci said inside a small room where the security guards
    allow the small number of represented migrants to talk to their lawyers for a few minutes
    before the judge hears their cases.


    "I fear losing my life or my son losing his, or something that can happen to both of us. I
    fear for our lives," she added, turning to 4-year-old Binsel, who wore a plaid shirt and
    jeans and wobbled on a chair almost twice his size.

                                                            c She is shy and mild-mannered,
    Life in her native Honduras was also very di cult for Ricci.
    and talks with
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                                     about her husband's gruesome murder late last year.

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    eastern Honduras, nestled between the Agalta mountain
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    the largest swath of wilderness in the region. But like many
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    indigenous communities in Central America, the couple faced ethnic persecution.

    Ricci's home village is plagued by poverty and violent crime carried out with impunity.
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    Horri   c homicides headline local newspapers, including the story of a young mother
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    murdered while she was breastfeeding her 11-month-old child and the apparent murder of
    an 8-year-old boy.

    Ricci's 25-year-old husband, Arlynton, was shot and killed last December in a crime
    deemed a homicide, according to a local police report. Forensic photos seen by CBS News
    showed his body with gunshot wounds in his torso.

    Soon after his murder, Ricci said she began to receive death threats. A letter left on her
    doorstep read, "I want blood to continue running. After your husband, you are next, Ricci,
    and your son. And then your family."

    That prompted the young widow to take her son on the perilous, weeks-long journey to
    the U.S.-Mexico border, where she sought asylum at a port of entry in El Paso in March —
    the same month that the "Remain in Mexico" program was implemented in that sector.

    Ricci claimed asylum based on her husband's assassination and the threats she faced in
    Honduras. But the U.S. government does not take those circumstances into consideration
    when determining whether to return her to Mexico.

    After her rst two hearings in El Paso, Ricci was referred to asylum o cers for so-called
    "non-refoulement" interviews, o ered when asylum seekers express fear about returning
    to the country to which the government seeks to send them.



    On both occasions, she said she told the o cers about her husband's murder in Honduras
    and the attempted kidnapping of her son in Mexico. And yet, after both interviews, she
    was still sent back to Mexico.

    "She's in a very di cult situation because she is having a hard time in Mexico but she's also
    really afraid Be
                  of going
                      the back
                           rst to
                                toher                      ia said, noting her client's growing
                                      own country," Escontrias
                                   know
    desperation.Get
                 "She's very fearful and stuck between very, v
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                                                                  very di cult choices."
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    Minutes before Ricci went in to see the judge for a third ttime, Binsel was growing
    impatient. "Mama, where are we going?" he murmured.
                       Not Now                                     Turn On

    Asked if she believed she could survive more months wai
                                                        waiting in Mexico, Ricci paused and
    began rubbing her legs with her hands in agitation. "I don't know," she said, breaking
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    down   into tears.
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    Escontrias, her lawyer, said Ricci was referred to a third non-refoulement interview during
    her hearing, which CBS News was barred from observing. But she did not hear from her
    client for a week.



    "The people themselves are being burned out"

    Escontrias is only one of a handful of attorneys in the El Paso area representing a few of
    the thousands of migrants sent to Ciudad Juárez under the "Remain in Mexico" policy.

    Along with Ricci, she had also been representing another asylum seeker, a 21-year-old
    woman from El Salvador named Cindis, whom she began representing in April, the same
    month Cindis was placed in the Migrant Protection Protocols (MPP) program, the Trump
    administration's o cial name for Remain in Mexico.

    In early August — a week after Ricci's third hearing — Escontrias went to the El Paso
    immigration court on behalf of Cindis, who was to have her second asylum hearing. She
    knew that it was unlikely Cindis would show up.

    Cindis had already told one of Escontrias' colleagues at Catholic Charities that she had
    received death threats in El Salvador from a gang, which she said tried to coerce her into
    prostitution. While she waited in Ciudad Juárez, Cindis said she was robbed, assaulted and
    targeted with anti-immigrant slurs.
    Cindis had only met Escontrias once, during her rst court hearing in El Paso. Because
    Cindis didn't have a cell phone, their communication was very limited. She was also
    staying in a shelter and had no access to a phone. Over the past weeks, Escontrias had
    tried unsuccessfully to reach Cindis.

    "It's extremely
                 Befrustrating,"
                     the rst to  Escontrias                 r
                                   know said. "And it's the reason why people don't want to
    take these cases,                                             pr
                      because it's a pretty terrible way to represent
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                                                                      someone. You're putting
    your name on all these
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                                            and you can't really communicate
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    On that August day, the judge order Cindis deported "in a
                                                            absentia," e ectively nullifying her
    asylum cclaim
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    Yolanda, a migrant from El Salvador, shows her documents from Migrant Protection Protocols inside a shelter in Ciudad Juárez
    on June 16, 2019.
    P A U L R A TJ E / A F P / G E T T Y I M A G E S



    Escontrias was livid about the judge's ruling, telling him that the U.S. government's
    implementation of the program hinders her ability to represent migrants like Cindis. "I



    had a lot to say on the record about how unfairly we're sending people to third countries
    that are unsafe and then giving them in absentia orders. It just seems really cruel."

    ""That's
      Th t' nott jjustice,"
                     ti " she
                            h added.
                               dd d

                                                              Ci
    A few days later, a friend of Cindis told Escontrias that Cindis had — out of desperation —
                              Be the rst to know
                                                             c
    decided to return to El Salvador. For Escontrias, the outcome of Cindis' case is a clear
                              Get browser notifications for breaking news, live
    illustration of the way
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                          and exclusive                        de
                                        program is designed to deter asylum seekers and those
    who try to help them.

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                                                             do
    "This is a very e ective program," she said. "There's no doubt that they are succeeding,
                                                          ng out the attorneys. They're
    because they're burning out the judges. They are burning
    making representation so hard. And then the people themselves are being burned out."
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    "Work, ght"

    After seven days, Escontrias nally received a WhatsApp message from Ricci. The U.S.
    government had removed her from the MPP program and granted her release into the
    U.S.

    Escontrias was happy for Ricci but confused. After her two previous interviews, she had
    still been sent back to Mexico. Even some of the asylum o cers conducting the non-
    refoulement interviews have acknowledged it is almost impossible for migrants to satisfy
    the burden of proof.

    "It was her third shot at it and facts had not changed. So, it could've been luck of the draw.
    It could've been that she just got an asylum o cer who felt bad for her," Escontrias said.
    "Or they could've gotten wind that she talked to a reporter. It's very unusual."

    Ricci, too, was surprised she was allowed to say in the U.S. But she also said there was
    something di erent about her third plea.

    "I say it was because the one who interviewed me was a woman. Previously, it had been
    men," Ricci told CBS News in a phone call from Austin. "She also interviewed my son and
    he started crying. He told her he did not want to go back to Juárez, that he was really
    scared and wanted to be with his grandfather."


    After her third interview, the young Honduran mother said she was detained for three
    days in the U.S. before being tted with an ankle bracelet and released. She spent a few
    days in an El Paso shelter, where volunteers helped her board a bus to Dallas and then to
    Austin, where her father lives.

    Unlike her interview
                 Be the inrst
                           thatto
                                small
                                  know                     a courthouse, Ricci sounded
                                      room outside the El Paso
    relieved andGet
                calm   during the phone call last week. She a
                    browser notifications for breaking news, live
                                                                   d
                                                                  admitted she had been growing
    desperate inevents,
                 Ciudad andJuárez.  Now,
                            exclusive                          py mostly because of him,"
                                          she said she was "happy,
                                      reporting.

    referring to Binsel, her son.
                       Not Now                                     Turn On




                                                                                                                           AR00102
https://www.cbsnews.com/news/remain-in-mexico-asylum-seekers-forced-to-wait-in-mexico-face-danger-and-desperation/                       7/10
8/10/22, 11:12 AM                     Remain in Mexico: Asylum seekers forced to wait in Mexico face danger and desperation - CBS News
           Case 2:21-cv-00067-Z Document 162 Filed 09/02/22                                 Page 121 of 400 PageID 4314
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    Ricci and her son Binsel.
    COURTESY



    "He feels very good. He's very happy to be here," Ricci added, referring to her father's
    home in Texas. "He says it is very pretty here. He really likes going to the park. And he says
    he's not scared here."

    Ricci is scheduled to have a fourth and de nitive hearing on her asylum case in early
    October. It's scheduled in El Paso but Escontrias is working to move it to the immigration
    court in San Antonio, closer to Ricci's new home.

    Asked about her plans now that she's nally in America, Ricci said, "work, ght to provide
    for him," referring to her son, who, imitating her, could be heard yelling "work!" in the

    background.



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    omitted because they currently have ongoing cases in immigration court.

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8/10/22, 11:12 AM                      Remain in Mexico: Asylum seekers forced to wait in Mexico face danger and desperation - CBS News
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    In:     Immigration       Mexico      Remain in Mexico         United States Department of Homeland Security




    Camilo Montoya-Galvez

    Camilo Montoya-Galvez is the immigration reporter at CBS News. Based in Washington, he covers
    immigration policy and politics.

          Twitter



    First published on August 13, 2019 / 5:55 AM

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8/10/22, 11:12 AM                     Remain in Mexico: Asylum seekers forced to wait in Mexico face danger and desperation - CBS News
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8/10/22, 11:13 AM                    "Remain in Mexico": Advocates say controversial policy turns migrants into a "marketable commodity" - CBS News
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    POLITICS


    Advocates say "Remain in Mexico" policy turns migrants
    into a "marketable commodity"

    B Y C A M I L O M O N T O Y A - G A LV E Z
    AUGUST 15, 2019 / 6:42 AM / CBS NEWS




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    This is the third and nal installment in a series on the Trump
                                                             Tr    administration's
                          Not Now                                       Turn On
    controversial "Remain in Mexico" program and its impact
                                                         ct on thousands of asylum-seeking
    ffamilies.
      amilies. Read
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8/10/22, 11:13 AM                "Remain in Mexico": Advocates say controversial policy turns migrants into a "marketable commodity" - CBS News
           Case 2:21-cv-00067-Z Document 162 Filed 09/02/22                                  Page 125 of 400 PageID 4318
    Watch CBS News
    El Paso, Texas — In the late
                            la
                             ate w
                                 winter and spring of this year, the migrant shelters in this
    Texas border city were over
                           overwhelmed. Local immigration authorities were releasing
                         ek
                          king families, most of them from Central America.
    hundreds of asylum-seeking

    "We were
    "We were dealing
             dealing with
                     with 800,
                          800, 900, 1,000 people that were being released to us per day,"
    Ruben Garcia, the executive director of the Annunciation House network of shelters, told
    CBS News.



    For years, Garcia and his organization have been communicating with the Immigration
    and Customs Enforcement (ICE) and Border Patrol units in this sector to ensure the
    families released by the agencies get temporary housing and assistance while they arrange
    for travel to reunify with family members living across the U.S.

    Although he acknowledged that helping such large groups of migrants was a monumental
    task, Garcia stressed that his organization and local partners were able to do so, including
    by paying more than $1 million in hotel room fees when there was no space at the shelters.
    Over the past 10 months, he said Annunciation House has housed more than 150,000
    migrants, most of whom left El Paso within two days of their release from detention.




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8/10/22, 11:13 AM                        "Remain in Mexico": Advocates say controversial policy turns migrants into a "marketable commodity" - CBS News
            Case 2:21-cv-00067-Z Document 162 Filed 09/02/22                                         Page 126 of 400 PageID 4319
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    A group of migrants board a bus at the G
                                           Greyhound station in El Paso. After being detained, most migrant families are released by
    immigration authorities and transported to local shelters, where volunteers help them arrange travel to reunify with family across
    the U.S.
    C A M I L O M O N T O Y A - G A LV E Z



    In recent months, however, the U.S government has been keeping most asylum seekers on
    the other side of the border, in Ciudad Juárez, Mexico — where advocates like Garcia say
    they can't help them. Under a controversial program known as "Remain in Mexico," the
    Trump administration has been requiring tens of thousands of migrants who seek asylum
    at certain sectors of the border, including El Paso, to wait in Mexico while their cases are
    processed in the U.S.

    Along with amped up immigration enforcement by the Mexican government, the
    administration has directly pointed to this policy as one the main reasons apprehension
    numbers along the southern border have dwindled in the past two months from the
    height of the recent surge in May. The Annunciation House is now receiving between 50
    and 150 migrants per day — a sharp drop from the 1,000 peak — and has closed all but two
    shelters.




    But Garcia said he "utterly" disagrees with the notion that the "Remain in Mexico" policy,
    formally called the Migrant Protection Protocols (MPP), should continue because it has
    contributed to lower numbers of families staying at his shelters.

                                                          t lighten the load, be it on us or
    "I don't accept that we should do MPP because we need to
    Border Patrol,"
                Behe  said rst
                    the    during                          de Refugiado, a former warehouse
                                  an interview at the Casa del
                               to know
    that now serves  as the main shelter for most migrant families
                Get browser notifications for breaking news, live
                                                                  m released by immigration
    authorities inevents,
                    the El  Paso
                          and     area.reporting.
                              exclusive                           w
                                         "My response to that is: when you have human need, you
                                                         ."
    invite more people to help respond to that human need."
                            Not Now                                         Turn On




                                                                                                                                      AR00108
https://www.cbsnews.com/news/remain-in-mexico-advocates-say-controversial-policy-turns-migrants-into-a-marketable-commodity/                              3/10
8/10/22, 11:13 AM                        "Remain in Mexico": Advocates say controversial policy turns migrants into a "marketable commodity" - CBS News
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    There are 550 cots at the Casa del Refugiado shelter in El Paso for migrant families. But in recent months, many of them are not
    being used as the U.S. has been keeping most asylum seekers on the Mexican side of the border.
    C A M I L O M O N T O Y A - G A LV E Z



    Garcia's main concerns about the policy are shared by attorneys, other advocates in the El
    Paso area and even some of the asylum o cers interviewing migrants in the MPP program
    who express fear of returning to Mexico. They've all denounced the policy as one that
    forces desperate migrants — many of them vulnerable families with small children and
    single women — to wait months in Mexico, where they struggle to nd housing and
    lawyers and sometimes face persecution.

    "It's especially dangerous for refugees," Garcia said, referring to Ciudad Juárez, as locals
    refer to the city, one of the most dangerous in Mexico. "There are gangs that would kidnap
    a refugee and hold the refugee for ransom: 'I've got this woman and her child from
    Guatemala, Honduras, El Salvador. Give me the numberr ffor relatives. Send me $2,000,
    send $4,000, send me $5,000 or I'll kill them.'"
                            Be the rst to know
    According toGet
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                            Department,                           an activity are "widespread" in
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    Chihuahua, the state
               events, andwhere   Ciudad
                          exclusive                             he U.S. has also recently begun to
                                            Juárez is located. The
                                    reporting.

                                                        ri near Brownsville and
    place asylum seekers in the MPP program when they arrive
    Laredo, returning them to Tamaulipas, one
                Not Now                       ofOnve Mexican
                                           Turn          ca states the State Department
                                                           nd the risk of being kidnapped.
    warns travelers not to visit because of rampant crime and

    ""They
      They are a m
           are    arketable commodity
                 marketable co m      and our State Department knows that," Garcia added,
                                                                              AR00109
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           Case 2:21-cv-00067-Z Document 162 Filed 09/02/22
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                                                                                             Page 128 of 400 PageID 4321
                                                                                                                                                  ,
    referring  to asylum seekers.
    Watch CBS News          kers.



    "This places us in danger"
                       dang
                         n

    Byron,
    Byron, 32,
           32, a native
                 nattive off G
                             Guatemala,
                               uatem    was walking alongside his daughter Alexandra, 10, in the
    streets of Ciudad Juárez when he said two men began following them.

    "We ran, but I told her we were exercising so she wouldn't get scared," he told CBS News.
    "When we got home, I still didn't tell her."

    Byron is sure the two strangers were kidnappers, whom he said are known to target the
    thousands of Central American, Cuban and Venezuelan migrants stranded in Ciudad
    Juárez. Last week, the advocacy group Human Rights First released a report that
    documented 110 "cases of rape, kidnapping, sexual exploitation, assault, and other violent
    crimes" against asylum seekers sent to Mexico by the U.S. government.

    "This places us in danger, us Central Americans and people from other countries," Byron
    said of the "Remain in Mexico" policy. "Here in Juárez, it is dangerous. You can't walk
    outside and feel safe."

    The Guatemalan father and his daughter have their rst hearing in El Paso's immigration
    court in mid-September, but he's contemplating returning to Guatemala. He said he can't
    work in Mexico because he has no one he trusts to take care of Alexandra. Like the vast


    majority of migrants in the program, he also has not been able to nd a lawyer to take up
    his case.

    D   it tthese
    Despite  h    b   i
                  barriers, B
                            Byron   id he
                                  said h will
                                          ill remain
                                                  i in
                                                     i Juárez
                                                       J áre for as long as he can for one
                                                            s
    reason: His wife, Sandra, 32, and other two children, Yoshua, 13, and Angelina, 8, are in
    Alabama with
               Behisthe
                     mother.
                         rst                  to know
                       Get browser notifications for breaking news, live
    After leavingevents,
                  their and
                         home  in Guatemala's
                            exclusive                         en the family arrived together in
                                      reporting. Petén Department,
                                                           e
    Ciudad Juárez in early July, but Sandra, Yoshua and Angelina were detained by Mexican
                                                       n and
    immigration o cials and deported to Guatemala. Byron a Alexandra waited for them to
                       Not Now                                      Turn On
    come back to Juárez, where they reunited in late July forr a few hours. But they became
    separated o
    separated   nce a
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8/10/22, 11:13 AM                "Remain in Mexico": Advocates say controversial policy turns migrants into a "marketable commodity" - CBS News
           Case 2:21-cv-00067-Z Document 162 Filed 09/02/22                                  Page 129 of 400 PageID 4322
    Sandra,   Yoshua and Angelina
    Watch CBS News
                           gelin crossed the border in the El Paso sector without Byron and
                           ed by the people they paid for the journey — and were brie y
    Alexandra — as instructed
                           assed b
    detained but later released  by U.S. authorities.

    Byron and
    Byron and Alexandra
              Alexandra did
                        did the same a few hours afterwards, but after being detained, they
    were placed in the MPP program
                           prog    and returned to Mexico, where they have been waiting
    ever since. Sandra, Yoshua and Angelina, meanwhile, boarded a series of buses to get from
    El Paso to Florence, a city in northwestern Alabama where Byron's mother has been living
    for a few years.

    Although the program has guidelines as to who can and can't be returned to Mexico,
    advocates and attorneys say the decision by U.S. border o cials to place someone in MPP
    is completely discretionary, ensuring that some fortunate migrants, like Sandra and her
    two children, are allowed to stay in the U.S. as their cases are adjudicated, while others,
    like Byron and Alexandra, aren't.

    "It appears to be completely random, like roughly a duck-duck-goose type of a thing," said
    Taylor Levy, an immigration attorney in El Paso. "There's no explanation or rhyme or
    reason for why they were not put into the program. It appears to be just luck."




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    At the Greyhound station in El Paso,
                                   Paso San
                                         Sandra, 32, middle, and her children Yoshua, 13, and Angelina, 8, prepare to board the first
    of a series of buses to Florence, Alabama.
    C A M I L O M O N T O Y A - G A LV E Z



    Despite being sad about the family's separation and his current predicament in Ciudad
    Juárez, Byron said he's happy that his wife and two of his children are now in the U.S.

    Sandra, however, said the family did not make a weeks-long, perilous trek to the U.S.-
    Mexico border to be separated. "Right now, we are all desperate," she told CBS News.
    "We've never been separated for such a long time. My little girl misses her dad."

    This week, Sandra has been taking Yoshua and Angelina to a local clinic to get their
    vaccines. The two children will be starting school in Alabama next week. They do not
    want leave the U.S., but Sandra knows returning to Guatemala is a possibility if her
    husband's stay in Ciudad Juárez is prolonged or if he and Alexandra are denied asylum.

    "I don't know what we will do," she said, referring to the potential scenario in which Byron
    and Alexandra are not allowed to the enter the U.S. "We might return to Guatemala."



    "Playing politics with the lives of human beings"
    Unlike most of the administration's unilateral e orts to deter migration — including two
    sweeping regulations to restrict asylum at the border — the courts have allowed the
    "Remain in Mexico" policy to continue. It was brie y blocked by a federal judge but the
    Ninth Circuit ruled in May that the administration could p
                                                             proceed with the policy as it
                                                           se
    considers the merits of the legal challenge mounted by several advocacy groups.
                            Be the rst to know
    The Ninth Circuit  is scheduled to hear oral arguments in
                Get browser notifications for breaking news, live
                                                                  n early October, meaning the MPP
    program willevents,
                 most and
                        likely remain
                            exclusive    in place in the coming m
                                      reporting.                months.

    Along with El Paso, the policy has been implemented at b
                                                           border sectors near San Diego,
                            Not Now                                         Turn On
                                                           r
    Calexico, Laredo and Brownsville — located in the Rio Grande Valley, the most heavily
    patrolled ssection
    patrolled   ection o
                       off tthe
                             he ffrontier.
                                  rontier. Since iitt rreached
                                           Since        eached ana
                                                               an agreement
                                                                   gree     in June with the Mexican
    government
    government to
               to avert
                  avert President
                        Preside Trump's threats to impose tari s on Mexican goods, the
                                                                             AR00112
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8/10/22, 11:13 AM                "Remain in Mexico": Advocates say controversial policy turns migrants into a "marketable commodity" - CBS News
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                                                             p                        p      Page 131 of 400 PageID 4324
                                                                                                                           g         ,
    Trump
    Watch CBSadministration
             News                       h as p
                                        has  pledged to expand the MPP program along the entire border.

    When the policy made it
                          ts de
                         its debut in San Diego in December of last year, the Department of
                        HS) cited
    Homeland Security (DHS) ci    a "migration crisis" at U.S.-Mexico border stemming
    primarily from
    primarily from the
                   the months-long,
                       months-l     unprecedented in ux of Central American families and
              i d children.
    unaccompanied  hild     Th agency said the program was designed, in part, to deter
                            The
    "false" asylum claims and devote "more attention on those who are actually eeing
    persecution."

    CBS News reached out DHS with a series of questions regarding where the policy would be
    implemented next and whether the program would continue inde nitely, even with
    signi cant declines in apprehension numbers. CBS News has not received a response.




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8/10/22, 11:13 AM                        "Remain in Mexico": Advocates say controversial policy turns migrants into a "marketable commodity" - CBS News
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    Ruben Garcia,
          Garcia left,
                  left
                    f the director of the An
                                          Annunciation House network of shelters in El Paso, shows Sens. Mazie Hirono of Hawaii
    and Tim Kaine of Virginia the food pantry at the "Casa del Refugiado" facility.
    C A M I L O M O N T O Y A - G A LV E Z



    Unless blocked by the courts, Garcia, Annunciation House's director, said the "Remain in
    Mexico" policy will continue to place asylum seekers in harm's way and prompt many of
    them to give up on their claims and return home. The Mexican government has already
    been operating a program to transport asylum seekers turned back by U.S. border o cials
    back to their home countries in Central America.

    "MPP has absolutely nothing to do with immigration policy, it has nothing to do with
    asylum, it has nothing do with justice. It has everything to do with politics," Garcia said.
    "We are playing politics with the lives of human beings."



    Editor's note: The names or surnames of migrants featured in this series have been
    omitted because they currently have ongoing cases in immigration court.


    Immigration

    Dozens of people missing after packed migrant boat sinks



    6,500 Afghan evacuees stuck in limbo awaiting U.S. resettlement




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    In:     Immigration       Mexico       Remain
                                           Rem    in Mexico        United States Border Patrol



          United States Department off Homeland
                                       Home     Security




    Camilo Montoya-Galvez

    Camilo Montoya-Galvez is the immigration reporter at CBS News. Based in Washington, he covers
    immigration policy and politics.

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    First published on August 15, 2019 / 6:42 AM

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1/21/22, 9:40 AM                         Trump's Asylum Policies Sent Him Back to Mexico. He Was Kidnapped 5 Hours Later by a Cartel.
           Case 2:21-cv-00067-Z Document 162 Filed 09/02/22                                    Page 134 of 400 PageID 4327




    Trump's Asylum Policies Sent Him Back to
    Mexico. He Was Kidnapped 5 Hours Later by
                                                                                                                                AR00116
https://www.vice.com/en/article/pa7kkg/trumps-asylum-policies-sent-him-back-to-mexico-he-was-kidnapped-five-hours-later-by-a-cartel       1/21
1/21/22, 9:40 AM                         Trump's Asylum Policies Sent Him Back to Mexico. He Was Kidnapped 5 Hours Later by a Cartel.
            Case 2:21-cv-00067-Z Document 162 Filed 09/02/22                                   Page 135 of 400 PageID 4328
    a Cartel.

    David's story is not unique.

       EG      By Emily Green



    September 16, 2019, 7:23am



            NUEVO LAREDO, Mexico — David wept as U.S. immigration agents marched
            him and his child across the bridge into Mexico. “They say here in this
            country, where we are, they kidnap a lot of people," he said.


            They didn't even last the night. Hours later and just three miles away, cartel
            members surrounded David and a dozen other migrants at a bus station.
            They were forced into trucks and abducted.


            David is among the estimated 42,000 asylum-seekers who’ve been returned
            to Mexico in recent months under President Trump’s new asylum policies.
            The Trump administration calls the policy “Migrant Protection Protocols,”
            but far from offering protection, the policy has led to a brutal wave of
            kidnappings in some of Mexico’s most dangerous border cities.


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                                                                                                                                AR00117
https://www.vice.com/en/article/pa7kkg/trumps-asylum-policies-sent-him-back-to-mexico-he-was-kidnapped-five-hours-later-by-a-cartel       2/21
1/21/22, 9:40 AM                         Trump's Asylum Policies Sent Him Back to Mexico. He Was Kidnapped 5 Hours Later by a Cartel.
           Case 2:21-cv-00067-Z Document 162 Filed 09/02/22                                    Page 136 of 400 PageID 4329
           “They are sending them to a place that is too dangerous,” Laura, David’s
           sister, told VICE News. “Why
                                    Why are they doing this? Why, if Mexico is a place
           that is so dangerous?”


           Powerful criminal organizations have seized on Trump’s changes, targeting
           asylum-seekers with family in the U.S. by holding them hostage until their
           relatives come up with thousands of dollars to pay for their release.


           VICE News spoke with multiple asylum-seekers who have been kidnapped
           or narrowly escaped being kidnapped upon being returned to Mexico. All of
           them said they suspected Mexican immigration of cials were working in
           coordination with the cartels. Often, they were grabbed at the bus station or
           along the three-mile stretch from the Mexican immigration of ce to their
           shelter. The stretch between the border and the shelters may be a few miles,
           but it is among the most dangerous part of a migrant’s journey.


           “[The U.S. agents] told us they were going to bring us to a shelter,” David
           told VICE News, a few hours before he and his child were kidnapped. “They
           lied.” VICE News has changed names and withheld certain details of David’s
           story to protect the identity of him and his family.


           The Phone Call




                                                                                                                                AR00118
https://www.vice.com/en/article/pa7kkg/trumps-asylum-policies-sent-him-back-to-mexico-he-was-kidnapped-five-hours-later-by-a-cartel       3/21
1/21/22, 9:40 AM                         Trump's Asylum Policies Sent Him Back to Mexico. He Was Kidnapped 5 Hours Later by a Cartel.
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           CLOTHES AND SHOES ARE SET OUT TO DRY INSIDE A PHONE BOOTH AT A MIGRANT SHELTER IN IN NUEVO
           LAREDO, MEXICO. SERGIO FLORES/VICE NEWS




           Instead, once across the border, Mexican immigration of cials gave David
           and the other 120 migrants sent back that day two options: The government
           would provide them a bus ride for free to Tapachula, a city 30 hours away,
           on the border with Guatemala, or they could go it alone in Nuevo Laredo.


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                                                                                                                                AR00119
https://www.vice.com/en/article/pa7kkg/trumps-asylum-policies-sent-him-back-to-mexico-he-was-kidnapped-five-hours-later-by-a-cartel       4/21
1/21/22, 9:40 AM                         Trump's Asylum Policies Sent Him Back to Mexico. He Was Kidnapped 5 Hours Later by a Cartel.
           Case 2:21-cv-00067-Z Document 162 Filed 09/02/22                                    Page 138 of 400 PageID 4331
           Those who took the government’s offer did so with the understanding that
           they would never make it back to their court hearing in the U.S., which had
           been scheduled for three or four months down the road.


           Those who stayed did so at their own risk.


           David, without a cellphone or any money, was among them.


           Nuevo Laredo is one of the most dangerous cities in one of the most
           dangerous regions of Mexico. It’s marked not only by the near-constant
           crime that fuels the city but also by the impunity with which criminals here
           operate. The corruption and crime is so prevalent that local news barely
           covered the recent kidnapping in broad daylight of a minister who ran a
           shelter for migrants, deeming it too dangerous to report on.


               “Why are they doing this? Why, if
               Mexico is a place that is so
               dangerous?”
           At the Mexican immigration of ces, David was frazzled and desperate to
           reach Laura, who lives in the U.S., and was prepared to wire him money so
           he could get a bus ticket to a safer city nearby. He borrowed the cellphone
           of a man he said identi ed himself as an immigration agent and wore the
           agency’s typical white-shirt uniform. Outside the of ce, men in a white
           four-door truck kept an eye on who came and left the building’s parking lot.


           The man who lent David his phone spoke with Laura, also identifying
           himself to her as an immigration agent. He told her he would help David and
           instructed her to send the money directly to his account. David didn’t have a
           Mexican ID or passport to receive a wire transfer on his own, but the man
           assured them their money was in safe hands.
                                                                                                                                AR00120
https://www.vice.com/en/article/pa7kkg/trumps-asylum-policies-sent-him-back-to-mexico-he-was-kidnapped-five-hours-later-by-a-cartel       5/21
1/21/22, 9:40 AM                         Trump's Asylum Policies Sent Him Back to Mexico. He Was Kidnapped 5 Hours Later by a Cartel.
           Case 2:21-cv-00067-Z Document 162 Filed 09/02/22                                    Page 139 of 400 PageID 4332
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           But after Laura sent the money, the man stopped picking up. At 8 p.m. that
           night, Laura received a call from a different number. “A man got on the line
           and said my brother had been turned over to him.”


           David believes the immigration agents never intended to help them.




                                                                                                                                AR00121
https://www.vice.com/en/article/pa7kkg/trumps-asylum-policies-sent-him-back-to-mexico-he-was-kidnapped-five-hours-later-by-a-cartel       6/21
1/21/22, 9:40 AM                         Trump's Asylum Policies Sent Him Back to Mexico. He Was Kidnapped 5 Hours Later by a Cartel.
           Case 2:21-cv-00067-Z Document 162 Filed 09/02/22 Page 140 of 400 PageID 4333
           A GROUP OF MIGRANTS CROSS BACK INTO MEXICO AFTER BEING SENT BACK UNDER THE MIGRANT PROTECTION
           PROTOCOLS. SERGIO FLORES/VICE NEWS




           He said when he and another dozen or so asylum seekers who had been
           returned that day to Mexico arrived at the bus station in Nuevo Laredo, a
           group of 20 men were already waiting for them. Immediately, the men
           forced David, his child, and the other migrants into trucks, as an
           immigration of cial looked their way but did nothing.


           “The people in migration turned us over to the cartels,” he said. “They know
           what they are doing. They don’t care if you’re killed or not.”


           Mexico’s Institute of Migration, which is in charge of carrying out Mexico’s
           immigration policies, said it is “committed to combating any behavior that
           violates the rights and integrity of migrants,” and that it has not received any
           recent complaints regarding Mexican immigration of cials turning migrants
           over to cartels or turning a blind eye to their kidnapping.


           Foreign Minister Marcelo Ebrard downplayed the issue on Thursday, saying
           he didn’t see the kidnapping of migrants “as a massive phenomenon.” But
           minutes later, Mexican President Andrés Manuel López Obrador said the
           government was attentive to the issue. “The more migrants that arrive at
           the [border], the more criminal groups there are, and the higher the risks.”
           Ebrard’s of ce later contacted VICE News to say it was looking into the
           problem.


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                                                                                                                                AR00122
https://www.vice.com/en/article/pa7kkg/trumps-asylum-policies-sent-him-back-to-mexico-he-was-kidnapped-five-hours-later-by-a-cartel       7/21
1/21/22, 9:40 AM                         Trump's Asylum Policies Sent Him Back to Mexico. He Was Kidnapped 5 Hours Later by a Cartel.
           Case 2:21-cv-00067-Z Document 162 Filed 09/02/22                                    Page 141 of 400 PageID 4334




           David said the kidnappers took his few belongings, including the paperwork
           U.S. Customs and Border Protection had given him. Without it, he and his
           child can’t enter the U.S. to attend their hearing in December.


           The kidnappers took a dozen pictures of each of the migrants who were
           being held, and they took notes on everyone — their full names, where they
           were from, their family members. The cartel was also holding at least 20
           other men, plus dozens of children and women, who “were treated like
           pieces of meat,” David said.


           They separated the women from the men, and beat any of the men who
           turned to look. David said one man tried to escape and they shot him dead.


           Back in the U.S., Laura was desperately trying to negotiate the release of her
           brother and his child. But she works in a factory, earning $10.50 an hour. She
           didn’t have a dollar to spare, much less the thousands the kidnappers were
           demanding.


               “It’s absolutely pointless to go to the
               police”

           Over the course of several days, Laura received up to three calls a day from
           them, recordings of which VICE News has reviewed. She was passed
           between an underling and his boss, as they alternately comforted and
           threatened her while demanding money.


           “I need you to send me the money as fast as possible, Grandma,” one of the
           men told her. When she told them there was no way she could pay the
                                                                                                                                AR00123
https://www.vice.com/en/article/pa7kkg/trumps-asylum-policies-sent-him-back-to-mexico-he-was-kidnapped-five-hours-later-by-a-cartel       8/21
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           Case 2:21-cv-00067-Z Document 162 Filed 09/02/22                                    Page 142 of 400 PageID 4335
           extortion fee, they said she didn’t need all the money at once and could start
           depositing it in pieces. “You’ll
                                     Y u ll get all the money, mother, don
                                     Yo                                don’tt worry.
                                                                              worry.”


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           MIGRANTS PLAY TABLE TENNIS AT A SHELTER IN NUEVO LAREDO, MEXICO. SERGIO FLORES/VICE NEWS




           Kidnapping and extortion stories like these have become the norm in Nuevo
           Laredo since the U.S. started returning migrants there in mid-July.
                                                                                                                                AR00124
https://www.vice.com/en/article/pa7kkg/trumps-asylum-policies-sent-him-back-to-mexico-he-was-kidnapped-five-hours-later-by-a-cartel       9/21
1/21/22, 9:40 AM                         Trump's Asylum Policies Sent Him Back to Mexico. He Was Kidnapped 5 Hours Later by a Cartel.
           Case 2:21-cv-00067-Z Document 162 Filed 09/02/22                                    Page 143 of 400 PageID 4336
           There is no way to know exactly how many migrants have been kidnapped
           because most victims and family members are too terri ed to le a report to
           the police, who are also believed to have ties with the cartels. It’s estimated
           that hundreds, if not thousands, of migrants have been kidnapped, raped,
           and targeted for extortion after being returned to Mexico under Migrant
           Protection Protocols.


           “It’s pretty clear that the Department of Homeland Security is essentially
           delivering asylum-seekers and migrants into the hands of kidnappers, and
           people who are attacking the refugees and migrants when they return,” said
           Eleanor Acer, senior director for refugee protection at Human Rights First.
           She added that in these regions of Mexico, “it’s absolutely pointless to go to
           the police.”


           The U.S. Department of Homeland Security didn’t respond to queries about
           whether it was aware of the widespread kidnapping of migrants returned
           under Migrant Protection Protocols. Acting U.S. Customs and Border
           Protection Commissioner Mark Morgan said earlier this month that he has
           heard “anecdotal allegations” of migrants being kidnapped, but that “Mexico
           has provided nothing to the United States corroborating or verifying those
           allegations.”


           The Business of Kidnapping




                                                                                                                                AR00125
https://www.vice.com/en/article/pa7kkg/trumps-asylum-policies-sent-him-back-to-mexico-he-was-kidnapped-five-hours-later-by-a-cartel       10/21
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           Case 2:21-cv-00067-Z Document 162 Filed 09/02/22                                    Page 144 of 400 PageID 4337




           A SHELTER IN NUEVO LAREDO. SERGIO FLORES/VICE NEWS




           The business of kidnapping migrants is so entrenched in Nuevo Laredo that
           it’s referred to as “passing through the of ce,” according to victims and one
           person with knowledge of the process.


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           One woman, whom VICE News is calling Ana to protect her identity, was
           kidnapped with her husband and two children the day after the U.S. sent
           them back. She said they were at the bus terminal buying a ticket for a


                                                                                                                                AR00126
https://www.vice.com/en/article/pa7kkg/trumps-asylum-policies-sent-him-back-to-mexico-he-was-kidnapped-five-hours-later-by-a-cartel       11/21
1/21/22, 9:40 AM                         Trump's Asylum Policies Sent Him Back to Mexico. He Was Kidnapped 5 Hours Later by a Cartel.
           Case 2:21-cv-00067-Z Document 162 Filed 09/02/22                                    Page 145 of 400 PageID 4338
           nearby city when a group of men surrounded them and said the family
           needed to go with the men.


           The rst night, they stayed at an abandoned house. Then they were taken to
           a hotel, where they spent the next six nights. Ana, her husband, and the
           children slept in one bed. Many others were forced to sleep on the oor, she
           said. Every day captives were taken out and more were brought in. The
           hotel door was guarded by a single man. Meals were provided daily.


           Unlike David, Ana said the kidnappers never showed force. But they didn’t
           need to. She said the man guarding the door made clear the consequences if
           they tried to escape. “I promise you won’t make it two blocks before we will
           catch you again and the situation will be much worse for you,” he told them.


           The kidnappers searched Ana, looking for slips of paper with U.S. telephone
           numbers. They didn’t nd any and demanded she give them numbers of
           family members. She gave them Honduran phone numbers. “We don’t want
           those. We want numbers from the U.S.,” they chastised.


           Ana gave her the number of a brother in the U.S. In a separate room, hidden
           from her, the kidnappers negotiated over the phone. Over the next week,
           the brother scraped together more than $15,000 for their release and wired
           the money.


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1/21/22, 9:40 AM                         Trump's Asylum Policies Sent Him Back to Mexico. He Was Kidnapped 5 Hours Later by a Cartel.
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           A WOMAN WASHES DISHES AT A MIGRANT SHELTER IN NUEVO LAREDO, MEXICO. SERGIO FLORES/VICE NEWS




           Ana said when they were released, they were given a keyword as a form of
           security: If they were kidnapped again, the keyword would indicate what
           cartel they pertained to and that they had already paid the ransom fee.


           The cartels keep records of the people they kidnap, according to the person
           with knowledge of their operations. That includes how many people they
           have kidnapped, where they are from, who could pay, who couldn’t pay,
           where they crossed into the U.S., and how many opportunities the coyotes
           gave them to cross.


           Throughout Mexico, migrants who travel with smugglers are given
           keywords that indicate what smugglers they have traveled with — and by
           extension, what cartels have been paid off. If the migrants don’t have a
                                                                                                                                AR00128
https://www.vice.com/en/article/pa7kkg/trumps-asylum-policies-sent-him-back-to-mexico-he-was-kidnapped-five-hours-later-by-a-cartel       13/21
1/21/22, 9:40 AM                         Trump's Asylum Policies Sent Him Back to Mexico. He Was Kidnapped 5 Hours Later by a Cartel.
           Case 2:21-cv-00067-Z Document 162 Filed 09/02/22                                    Page 147 of 400 PageID 4340
           keyword, or the keyword corresponds to the wrong region, they are
           vulnerable.


           “Here, organized crime is actually organized,” said the person with
           knowledge of the cartel’s operations. “It’s a company that functions like a
           clock. Exactly like it should.”



           The Threat

           In the U.S., Laura was getting desperate. The kidnappers had promised to
           call back at 3 p.m. but hadn’t.


           She managed to pull together a few thousand dollars from family members
           to pay the kidnappers. When they called the following afternoon, the man
           on the other end of the line berated her for not having more.


           Still, he told Laura that she should deposit what she had into Mexican bank
           accounts, and that he would talk to the boss. VICE News has reviewed
           records of the money deposits.


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                                                                                                                                AR00129
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1/21/22, 9:40 AM                         Trump's Asylum Policies Sent Him Back to Mexico. He Was Kidnapped 5 Hours Later by a Cartel.
           Case 2:21-cv-00067-Z Document 162 Filed 09/02/22                                    Page 148 of 400 PageID 4341
               “I can’t sleep thinking about it. Every
               night,
                i ht I ddream about
                                b t everything
                                          thi th  thatt
               has happened to us”

           After Laura deposited the money, members of the cartel drove David and his
           child back to the bus station. They told him the cartel would be watching
           him from there, that they had people everywhere. Dozens of migrants
           remained behind, including at least 10 children, he said.


           “They told me they would kill me if I talked,” he said.


           He has no idea how he will pursue his asylum claim in the U.S. since the
           cartel took away his paperwork that allows him to enter the U.S. for a
           hearing before a judge. But even then, the idea of staying in Mexico until
           December is untenable.


           David can’t stop crying, and his young child has stopped talking altogether.


           “One of the kidnappers told me that the kidneys of my [child] were good for
           removal,” David said, sobbing so hard he could barely get the words out. “I
           can’t sleep thinking about it. Every night, I dream about everything that has
           happened to us.”


           Cover: Migrants who were returned to Mexico under Migrant Protection
           Protocols prepare to be taken to a processing center in Nuevo Laredo, Mexico.
           Sergio Flores/VICE News


           Design and illustrations by Hunter French.


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1/21/22, 9:40 AM                         Trump's Asylum Policies Sent Him Back to Mexico. He Was Kidnapped 5 Hours Later by a Cartel.
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1/21/22, 9:40 AM                         Trump's Asylum Policies Sent Him Back to Mexico. He Was Kidnapped 5 Hours Later by a Cartel.
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1/21/22, 9:40 AM                         Trump's Asylum Policies Sent Him Back to Mexico. He Was Kidnapped 5 Hours Later by a Cartel.
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1/21/22, 9:40 AM                         Trump's Asylum Policies Sent Him Back to Mexico. He Was Kidnapped 5 Hours Later by a Cartel.
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1/21/22, 9:43 AM                                         Migrants stuck in lawless limbo within sight of America
           Case 2:21-cv-00067-Z Document 162 Filed 09/02/22                                Page 155 of 400 PageID 4348


        Migrants stuck in lawless limbo within sight of
        America
           In this Oct. 12, 2019 photo, a Cuban exits a migrant shelter in Reynosa, Mexico. In years past,
        migrants seeking asylum in the United States moved quickly through this violent territory on their way
        to the U.S., but now due to Trump administration policies, they remain here for weeks and sometimes
        months as they await their U.S. court dates, often in the hands of gangsters who hold Tamaulipas state
        in a vice-like grip. (AP Photo/Fernando Llano)

        NUEVO LAREDO, Mexico (AP) — The gangsters trawling Nuevo Laredo know just what they’re
        looking for: men and women missing their shoelaces.

        Those are migrants who made it to the United States to ask for asylum, only to be taken into custody
        and stripped of their laces — to keep them from hurting themselves. And then they were thrust into
        danger, sent back to the lawless border state of Tamaulipas.

        In years past, migrants moved quickly through this violent territory on their way to the United States.
        Now, due to Trump administration policies, they remain there for weeks and sometimes months as they
        await their U.S. court dates, often in the hands of the gangsters who hold the area in a vise-like grip.

        Here, migrants in limbo are prey, and a boon to smugglers.

        ___

        This story is part of an occasional series, “Outsourcing Migrants,” produced with the support of the
        Pulitzer Center on Crisis Reporting.

        ___

        They recount harrowing stories of robbery, extortion by criminals and crooked officials, and
        kidnappings by competing cartels. They tell of being captured by armed bandits who demand a
        ransom: They can pay for illegal passage to the border, or merely for their freedom, but either way they
        must pay.

        And then they might be nabbed again by another gang. Or, desperate not to return to the homes they
        fled in the first place, they might willingly pay smugglers again.
           In this Oct. 10, 2019 photo, a Mexican migrant points to a map of U.S.-Mexico border cities,
        hanging on display at a migrant shelter in Reynosa, Mexico. The Mexican state of Tamaulipas used to
        be a crossroads. Its dangers are well known; the U.S. has warned its citizens to stay away, assigning it
        the same alert level as war-torn countries such as Afghanistan and Syria. (AP Photo/Fernando Llano)
        a Mexican migrant points to a map of U.S.-Mexico border cities, hanging on display at a migrant
        shelter in Reynosa, Mexico. (AP Photo/Fernando Llano)

        That’s what a 32-year-old Honduran accountant was contemplating. She had twice paid coyotes to help
        her cross into the U.S. only to be returned. Most recently, in September, she was sent back across the
        bridge from Brownsville to Matamoros.

        Now, biding her time with her daughter in the city of Monterrey, she said one thing is for sure: “We are
        a little gold mine for the criminals.”

                                                                                                                     AR00137
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1/21/22, 9:43 AM                                         Migrants stuck in lawless limbo within sight of America
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        Tamaulipas used to be a crossroads. Its dangers are well known; the U.S. has warned its citizens to stay
        away, assigning it the same alert level as war-torn countries such as Afghanistan and Syria.

        Whenever possible, migrants heading north immediately crossed the river to Texas or presented
        themselves at a U.S. port of entry to file an asylum claim, which would allow them to stay in the U.S.
        while their cases played out.

        But the U.S. has set limits on applicants for asylum, slowing the number to a mere trickle, while the
        policy known colloquially as “Remain in Mexico,” has meant the return of more than 55,000 asylum-
        seekers to the country while their requests meander through backlogged courts.

        The Mexican government is ill-prepared to handle the influx along the border, especially in
        Tamaulipas, where it has been arranging bus rides south to the relative safety of the northern city of
        Monterrey or all the way to the Guatemala border, citing security concerns — tacit acknowledgement,
        some analysts say, of the state of anarchy.

        The gangs have adapted quickly to the new reality of masses of vulnerable people parking in the heart
        of their fiefdom, experts say, treating the travelers, often families with young children, like ATMs,
        ramping up kidnapping, extortion, and illegal crossings to extract money and fuel their empires.

        “There’s probably nothing worse you could do in terms of overall security along the border,” said
        Jeremy Slack, a geographer at the University of Texas at El Paso who studies the border region, crime
        and migration in Mexico. “I mean, it really is like the nightmare scenario.”

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        Full Coverage: Outsourcing Migrants

        Yohan, a 31-year-old Nicaraguan security guard, trudged back across the border bridge from Laredo,
        Texas, in July with his wife and two children in tow, clutching a plastic case full of documents
        including one with a court date to return and make their asylum claim to a U.S. immigration judge two
        months later.

        Penniless, with little more than a cellphone, the family was entering Nuevo Laredo, dominated by the
        Northeast cartel, a splinter of the brutal and once-powerful Zetas gang.

        This is the way he tells the story now, in an interview at a nonprofit in Monterrey that provides the
        family with shelter and food:

        The plan was to call and ask help from the only people they knew in the area — the “coyotes,” or
        people smugglers, who earlier helped them cross the Rio Grande on an inflatable raft and had treated
        them well. Only that was in Ciudad Miguel Aleman, about a two-hour drive south parallel to the river.

        On their way to the bus station, two strange men stopped Yohan while another group grabbed his loved
        ones. At least one of them had a gun. They were hustled into a van, relieved of their belongings and
        told they had a choice: Pay thousands of dollars for their freedom, or for another illegal crossing.

        All along the border, there have abuses and crimes against migrants by Mexican organized crime,
        which has long profited off them. But Tamaulipas is especially troubling. It is both the location of most
        illegal crossings, and the state where the United States has returned the most asylum seekers — 20,700
        through Nuevo Laredo and Matamoros as of early October.


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        asylum-seekers, has documented 212 abductions in the state from mid-July through Oct. 15. And that’s
        surely an undercount.

        Of the documented kidnappings in Tamaulipas, 197 occurred in Nuevo Laredo, a city of about 500,000
        whose international bridges fuel the trade economy.

        Yohan’s family was among them.

        They had left Esteli in northwestern Nicaragua over three months earlier after armed, government-
        aligned civilian militias learned that Yohan had witnessed the killing of a government opponent, he
        said. They followed him and painted death threats on the walls of their home.

        He is identified only by his middle name, because he and others quoted in this story fear for their lives
        and spoke to The Associated Press on condition of anonymity.

        Yohan borrowed against his mother’s house to pay smugglers $18,000 for the family’s trip. But he had
        not bargained on the closed door at the border, or the ordeal in Nuevo Laredo, and his bankroll was
        depleted.

        The men who grabbed the family “told us they were from the cartel, that they were not kidnappers, that
        their job was to get people across and that they would take us to the smuggler to explain,” Yohan said.
        Then they connected a cable to his cellphone to download its contents.

        Yohan’s first instinct was to give the passphrase that his previous smugglers used to identify “their”
        migrants. “‘That doesn’t mean anything to us,’ one of them told me,” Yohan said — this lot belonged
        to a different group.

        Gangs in Tamaulipas have fragmented in the last decade and now cartel cells there operate on a
        franchise model, with contacts across Mexico and Central America, said Guadalupe Correa-Cabrera, a
        political scientist specializing in organized crime, immigration, border security and human trafficking
        at George Mason University.

        “They are contractors. They provide a service, control the territory, operate safe houses and charge for
        all that,” she said.

        Yohan’s family was held in a series of what appeared to be private homes or offices, along with a
        family from El Salvador, two Cubans and two Mexicans. Everyone slept on the floor.

        One captor, a 16-year-old, told him, “We have 15 smugglers, the cartel brings the people to us here and
        we take them across paying the cartel for the river crossing.”

        The gang had been hiring lately: “Since the United States is deporting so many through here, we are
        capturing them and that has meant more work,” the teen told him. “We’re saturated.”

        Initially the captors demanded $16,000. They gave Yohan and his wife a list of names and accounts;
        relatives were supposed to deposit $450 into each one without using companies seen as traceable by
        authorities.

        But they were able to scrape together just $3,000, and that angered the gangsters.

        “I’m going to give you to the cartel,” one shouted.


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        milk for him in exchange for his daughter’s little gold ring, but the boy wasn’t getting better and they
        abruptly released the family.

        “They told us that the cartel doesn’t allow them to hold sick children,” Yohan said.

        This is a matter of business, not humanity: A dead child could bring attention from the media, and then
        authorities, says George Mason’s Correa-Cabrera.

        After 14 days captive and before leaving the safe house, Yohan was given a code phrase: “We already
        passed through the office, checking.” Only hours later they would need to use it. Arriving at the bus
        station, a group of strange men tried to grab them. Yohan spoke the six words in Spanish, and they
        were let go, and they went on to Monterrey.

        On Sept. 22, Yohan’s family returned to Nuevo Laredo for their court date, bringing with them a report
        on the family’s kidnapping. Though U.S. law allows at-risk people to stay, they were sent back to the
        parking lot of a Mexican immigration facility, surrounded by seedy cantinas and watching eyes.

        Mexican authorities organized bus transportation for those who wanted to return to their home
        countries. The family did not intend to go back to Nicaragua, so they asked the driver to leave them in
        Monterrey where they would await the next hearing.

        After they were under way, the driver demanded $200. They couldn’t pay, so he dumped them about
        60 miles (100 kilometers) from the city at 1 a.m., along with four others.

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        Unlike other border cities such as Tijuana or Ciudad Juarez, migrants and asylum seekers are rarely
        seen on the streets in Nuevo Laredo. Fear keeps them in hiding, and safety isn’t a sure thing even
        inside shelters. This summer pastor Aarón Méndez was abducted from the shelter he ran. He has not
        been heard from since.

        Nor is it safe on the streets going to and from the station. A couple of months after Méndez
        disappeared, gunmen intercepted some people who were helping migrants make those trips; those
        being transported were taken away, and the helpers were told they would be killed if they persisted.

        Kennji Kizuka, a researcher for New York-based Human Rights First, told of one woman who crossed
        into the U.S. for a hearing date, where she had to surrender her phone. While she was incommunicado
        for hours, calls were placed to relatives in the United States claiming she had been kidnapped and
        aggressively demanding a ransom.

        “It’s clear that they have a very sophisticated system to target people,” Kizuka said.

        In another instance, Kizuka said, cartel members were in the Nuevo Laredo office of Mexican
        migration, openly abducting asylum seekers who had just been sent back from the United States.

        One woman hid in the bathroom with her daughter and called a local pastor for help; he tried to drive
        them away, but they were blocked by cartel members blocks way. The two were taken from the car and
        held by the gangsters, though they eventually were released unharmed.

        A spokesperson for the Mexican foreign affairs secretary declined comment on allegations that Mexico
        cannot guarantee safety for immigrants returned from U.S.


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        border, and that includes Nuevo Laredo. The number of people returned there has been reduced
        recently, but that was related to a decrease in migrants arriving at the border — and not violence in
        Tamaulipas.

        In an interview, Brian Hastings, Border Patrol chief of law enforcement operations, told AP that
        officials didn’t see a “threat to that population” in Tamaulipas and “there was basically a small war
        between the cartel and the state police” there.

        But the numbers indicate the danger is real.

        As of August, Human Rights First had tabulated 100 violent crimes against returnees. By October,
        after it rolled out to Tamaulipas, that had more than tripled to 340. Most involved kidnapping and
        extortion. Kizuka said the danger is even greater than the numbers reflect because they are based solely
        on accounts his organization or reporters have been able to document.

        Of dozens of people interviewed by AP who said they had been victimized in Nuevo Laredo, Reynosa,
        Matamoros and Monterrey, just one had filed a police report.

        Kidnappings of migrants are not a new phenomenon. According to Mexico’s National Human Rights
        Commission, in just six months in 2009 nearly 10,000 migrants were abducted while passing through
        the country.

        Back then the cartels were splintering amid a government policy targeting their top bosses, leading
        them to fight among themselves in the people-smuggling business to fill two needs: money and labor.
        Kidnapped migrants generally were told they could avoid being killed by either paying ransom or
        working for the cartel.

        Tamaulipas became a bloody emblem of the problem in 2010 when 72 migrants were found slain at a
        ranch in San Fernando, and a year later when the bodies of 193 migrants were found in the same area
        in clandestine mass graves — apparently murdered by a cartel to damage a rival’s people-smuggling
        business.

        Raymundo Ramos of the Nuevo Laredo Human Rights Committee said gangs today are more
        interested in squeezing cash from migrants: “They have to recover a lot of the money lost in those
        wars.”

        President Andrés Manuel López Obrador has acknowledged that another massacre or escalation of
        violence is a major fear and has deployed more than 25,000 troops and National Guard agents to police
        people-trafficking in border regions and along smuggling routes. But all the accounts of violence in
        this account took place after that deployment.

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        Reynosa, a factory city of about 650,000, is the largest in Tamaulipas and home to some of the worst
        drug war violence. It’s also a key part of the migratory route and one of the busiest crossing points
        along with Ciudad Miguel Aleman.

        Disputed by rival gangs, Reynosa has the feel of a place with invisible fences demarcating their
        territories, and numerous migrants said they had to pay to get past checkpoints at the main entrances to
        the city.

        Lawyer and human rights worker Fortino López Balcázar said the gangs first took control of the river,
        attacking and beating migrants. Then they started grabbing them from bus stations, and then from the
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        streets.                                                                           Page 160 of 400 PageID 4353

        The airport is also tightly controlled.

        A 46-year-old teacher from Havana recalled arriving with her 16-year-old son Aug. 13 by plane from
        Mexico City with the phone number for a taxi driver, provided by a lawyer who arranged their trip. As
        they drove into Reynosa, two other taxis cut the vehicle off. Two men got in, took away her cellphone
        and money and whisked them to a home that was under construction.

        The lawyer “sold us out,” the woman said.

        That night they were moved to a thicket near the Rio Grande where they were held captive in an
        outdoor camp for a week with dozens of others. They met another group of Cubans, who were also
        abducted shortly after flying into Reynosa: Several taxi and vans brazenly intercepted them in broad
        daylight, bringing traffic to a halt.

        “It was as if we were terrorists and the FBI had swooped down on us,” one of the men said. He
        speculated they may have been betrayed by an airport immigration agent with whom they had argued
        over their travel documents.

        López Obrador’s government has said the National Immigration Institute is one of Mexico’s most
        corrupt agencies. In early 2019 the institute announced the firing of more than 500 workers
        nationwide. According to a person with knowledge of the purge, Tamaulipas was one of four states
        where the most firings took place. Some worked in airports, others in the city of Reynosa.

        In February the institute’s deputy delegate to the city was fired and accused of charging detained
        migrants over $3,000 to avoid deportation. Later new complaints surfaced of people being shaken
        down for $1,500 to be put at the top of wait lists to present claims in the United States.

        At the riverside camp, the Cuban teacher was introduced to its “commander” who demanded “rent”
        and a fine for not traveling with a guide. The ransom was set at $1,000.

        Previously the Cuban woman’s only exposure to the world of organized crime came from movies she
        watched on the illegal satellite TV hookup that caused her to run afoul of authorities back home. Now,
        they were witnessing things both terrifying and hard to understand.

        There was the time a man tried to suffocate another with a plastic bag, or when the kidnappers, some
        barely in their teens, beat a “coyote” for working for a rival outfit. From what she was able to
        understand from the shouting, he had been kidnapped along with clients he was guiding and they
        wanted him to switch loyalties.

        The captors at the thicket referred to themselves as “the corporation,” the teacher said. People came
        and went, some delivered by men in uniforms who may or may not have been police.

        Edith Garrido, a nun who works at the Casa del Migrante shelter in Reynosa, said both crooked
        officers and criminals dressed as police — known as “black cops” or “the clones” — are mixed up in
        the racket, making the rounds of safe houses to buy and sell kidnap victims.

        “They say ‘give me 10, 15, 25.’ They tell them they are going to take them to a safer place, and they
        give them to the highest bidder,” Garrido explained. “A migrant is money for them, not a person.”

        The captors let the Cubans use their cellphones for a few hours to coordinate ransom payments with
        relatives, always small amounts to different bank accounts. Weeping, the teacher recalled how her 25-
        year-old daughter in Cuba had to pawn all her belongings.
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                                                                                                    woman were
        put in a taxi and driven off. The cabbie stopped the car along a highway, took her cellphone and said
        they could go.

        She and her son now await their immigration court date in Reynosa, where she has found temporary
        construction work to pay for rent and food.

        There’s not enough space for everyone at the shelters, so many rent rooms, and that demand has
        pushed prices up. It can range from $35 per person per month for a spot in a cramped five-person
        bedroom in a seedy area, to $300-$500 for a more secure home.

        But nowhere is truly safe. Last month a family from El Salvador missed their turn to present
        themselves for U.S. asylum after a shootout erupted in the streets and they were afraid to leave their
        home.

        Garrido said some pay protection fees so they are not bothered in their homes, while others rent
        directly from the gangs.

        “So one way or another,” she said, “they make money.”

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        Associated Press writers Peter Orsi in Mexico City and Colleen Long in Washington contributed to this
        report.




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                       U.S. Customs and Border Protection

CBP Directive No. 3340-043                             Date: September 3, 2008
                                                       ORIGINATING OFFICE: OFO: APP
                                                       SUPERSEDES:
                                                       REVIEW DATE: September 2011


SUBJECT:       THE EXERCISE OF DISCRETIONARY AUTHORITY

1. Purpose. To provide guidance and direction to promote the fair, objective and consistent
application of U.S. Customs and Border Protection (CBP) discretionary authority in the
enforcement of immigration laws nationwide.

2. Policy.

2.1     It is the policy of CBP to protect the United States of America from threats posed by
terrorist organizations and to prevent terrorists as well as suspected terrorists, terrorist funding,
weapons, and instruments, including Weapons of Mass Effects (WME), and their precursors
from entering the United States.

2.2      It is the policy of CBP, consistent with the Immigration and Nationality Act (INA) to
verify the identity, citizenship and admissibility of persons seeking entry into the United States.
Where there is a belief, based on an evaluation of available information, that an alien may have
ties to or presents a threat related to terrorism, has criminality rendering him or her inadmissible,
or is likely to add to the illegal population of the United States, the alien will be denied
admission where there is a legal basis to do so.

2.3     It is the policy of CBP that, through the use of all authorities and sanctions provided by
law and procedure, enforcement actions will be vigorously pursued against any individual where
there exists any reasonable suspicion of association with terrorism, criminality, illegal migration,
smuggling or any other activity contrary to national interests or in violation of U.S. statutes.

2.4     It is the policy of CBP to consider the exercise of discretionary measures in favor of
aliens who are inadmissible due to a minor or technical violation of the INA. This includes the
use of the waiver and parole processes to allow such aliens into the United States, where
appropriate and permissible by law. In keeping with the CBP strategy of risk management, CBP
will focus resources on those cases that pose the greatest risk.

2.5     It is the policy of CBP that in individual cases involving technical inadmissibility, minor
violations, and apparent bona fide travel, where refusal of admission or withdrawal of
application for admission would involve detention or undue hardship, it is appropriate to
expansively consider the exercise of discretionary authority. This principle must be applied on a
case-by-case basis and may not be interpreted to provide relief from the visa requirement in any
systemic manner to any particular class of aliens.

2.6     It is the policy of CBP that supervisors and managers will responsibly assess every case
involving a prospective adverse action. This will ensure that CBP’s legal and discretionary
authority is being exercised judiciously and in a manner consistent with the facts of the case.

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                                                                           CBP Form 232C (04/03)
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3. Authority/References. Immigration and Nationality Act (INA); Title 8 United States Code
(USC); Title 19 USC; Title 8 Code of Federal Regulations (CFR); Inspector’s Field Manual
(IFM) Chapters 16.1 (Parole); 17.1 (Deferred Inspection); 17.2 (Withdrawal of Application for
Admission); and 17.5 (Waivers).

4. Definitions.

4.1     “Admission,” means, with respect to an alien, the lawful entry of the alien into the United
States after inspection and authorization by a CBP officer.

4.2    “Brief overstay,” generally means an overstay of approved nonimmigrant status,
unintentional in nature or beyond the control of the alien, covering a period of                     or
less.

4.3     “Hardship,” must be determined based on the factors presented. Applicants must be
encouraged to describe and document all applicable factors, since there is no guarantee that any
particular reason will result in a finding that an adverse action would cause extreme or undue
hardship.

4.4      “Minor or technical violation,” means a single infraction of a CBP statute that does not
rise to a level of such a serious nature that would preclude the offering of a form of discretion.

4.5    “Significant public benefit,” means that the inadmissibility of an alien is outweighed by
the public interest in allowing the alien to enter the United States.

4.6     “Unforeseen emergency,” as used in 8 CFR § 212.1(g) generally means:

4.6.1 An alien arriving for a medical emergency (an injury or illness that requires immediate
medical attention to prevent life-threatening or disabling conditions);

4.6.2 An emergency or rescue worker arriving in response to a community disaster or
catastrophe in the United States;

4.6.3   An alien accompanying or following to join a person arriving for a medical emergency;

4.6.4 An alien arriving to visit a spouse, child, parent, or sibling who within the past 5 days has
unexpectedly become critically ill or who within the past 5 days has died; or,

4.6.5 An alien whose passport or visa was lost or stolen within 48 hours of departing the last
port of embarkation for the United States.

5. Responsibilities.

5.1    The Assistant Commissioner, Office of Field Operations, is responsible for policy
oversight, which includes the formulation and implementation of guidelines and procedures.



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5.2     The Executive Director, Admissibility and Passenger Programs (APP), is responsible for
the formulation and implementation of the guidelines set forth by the Assistant Commissioner.
In addition, the Executive Director, APP, will be responsible for conducting national reviews to
ensure compliance with implemented guidelines outlined in this directive.

5.3    Directors, Field Operations (DFOs) are responsible for the overall management and
implementation of this program. DFOs will also be responsible for the overall monitoring of the
exercise of discretionary authority within their areas of responsibility.

5.4     Port Directors (PDs) are responsible for performing periodic reviews of cases to ensure
that the exercise of discretionary authority is being applied in accordance with this directive. PDs
are also responsible to ensure that any exercise of discretionary authority is fully warranted.

5.5     Field managers and supervisors are responsible for ensuring that the Discretionary
Checklist is utilized in every case involving a prospective adverse action. They are further
responsible for assessing every case involving a prospective adverse action to ensure that any
exercise of discretionary authority is done judiciously and in a manner consistent with the facts
of the case.

5.6     Supervisors are responsible for ensuring that the Discretionary Checklist is completed
during case processing. Supervisors are further responsible for ensuring that CBP officers under
their supervision are familiar with the policies and procedures established by this directive.

5.7     CBP officers are responsible for knowing, understanding and adhering to the contents of
this directive. CBP officers are further responsible for accurately presenting all facts and
circumstances resulting from an inspection that may involve a prospective adverse action to the
appropriate level of management, through the chain of command.

5.8     CBP officers are responsible for immediately forwarding information to the appropriate
level of management, through the chain of command, regarding time-critical situations, including
medical emergencies.

6. Port of Entry Environments.

6.1    Land Border and Preclearance Ports of Entry

6.1.1 In these environments, an inadmissible alien can normally be returned to a contiguous
country immediately or without the need to arrange for additional transportation or to be taken
into federal custody. Ports may need to consider additional factors where refused aliens must be
transported to a designated return location.

6.1.2 In these environments, it is generally reasonable to refuse admission, or accept a
withdrawal of application, as it would not create an undue hardship on an alien. If necessary, an
alien can access a United States Embassy or Consulate in an attempt to correct any documentary
deficiencies, or can secure additional evidence to support a subsequent application for admission.



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8.1.3 The Form I-193 application fee may be waived for aliens granted a waiver for the first
time under INA § 211(b) or INA § 212(d)(4). Such determination shall be made by port
management at the GS-13 level and above, or a port director at the GS-12 level. Previous
beneficiaries of a fee-exempt waiver may be considered for subsequent fee-exempt waivers on a
case-by-case basis.

8.1.4 Ports of entry encountering returning lawful permanent residents lacking evidence of
alien registration, and thus inadmissible under INA § 212(a)(7)(A)(i), may offer a visa waiver
pursuant to INA § 211(b), if otherwise admissible.

8.1.4.1 If a lawful permanent resident claims his or her evidence of registration has been lost or
stolen, the port may accept Form I-90, with fee.

8.1.5 Ports of entry encountering nonimmigrant aliens seeking admission to the United States
determined to be inadmissible under INA § 212(a)(7)(B), may offer a waiver pursuant to INA §
212(d)(4).

8.1.5.1 Waivers approved pursuant to INA § 212(d)(4) should generally be for unforeseen
emergency situations. Such waivers may also be approved for aliens who fall outside the scope
of an unforeseen emergency on a case-by-case basis where it is determined that humanitarian
factors support the decision. The following scenarios are a few examples of situations in which a
waiver may be appropriate.

8.1.5.2 An alien is not in possession of a proper visa due to governmental error (e.g., the
consulate issued an L-2 instead of an L-1 nonimmigrant visa).

8.1.5.3 An alien is not in possession of a proper visa, but has the requisite documentation for an
employment based nonimmigrant visa (e.g., presents an I-797 confirming that a petition has been
approved; however, the nonimmigrant visa presented has expired). Note: CBP cannot waive the
underlying documentary requirement for another agency (such as a Department of Labor (DOL)
labor certification or petition).

8.1.5.4 An alien with a brief overstay that rendered his or her visa invalid pursuant to INA §
222(g).

8.1.5.5 An alien issued a valid and appropriate visa, but who is unable to present the visa at the
time of his or her application for admission. This often occurs when the visa is contained in a
previously issued passport that is not in the alien’s possession.

8.1.5.6 Representatives of foreign information media without appropriate visas.


8.2    Parole.

8.2.1 Generally, cases requiring parole authorization will present more complex circumstances
than those in which a waiver would be considered. Parole authority is normally exercised when



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8.7.1 When a form of discretion under consideration requires the payment of an associated fee
(such as waiver applications and certain paroles), CBP should determine if the action taken is
solely for the benefit of the alien. If the discretionary action is taken for reasons of significant
public benefit, CBP should not charge a fee.

8.7.2 Situations resulting from an action at the port of entry in which it would not be
appropriate to charge a fee include the following:

8.7.2.1 Parole for criminal prosecution;

8.7.2.2 Parole for incarceration after conviction for a crime;

8.7.2.3 Parole into the custody of another agency;

8.7.2.4 Parole for INA § 240 proceedings, if detention is not appropriate or feasible;

8.7.2.5 Parole of a stowaway for a medical emergency or legitimate law enforcement objective;

8.7.2.6 Parole of a witness in a judicial, administrative or legislative proceeding being conducted,
        or to be conducted in the United States;

8.7.2.7 Parole for deferred inspection; and,

8.7.2.8 Parole for deportation from another country through the United States.

8.7.3 Nothing in this directive is intended to diminish the authority of port management to
waive fees under other circumstances, where appropriate, in accordance with 8 CFR § 103.7(c).

9. No Private Right Created. The procedures set forth in this Directive are for CBP internal
use only and create no private rights, benefits, or privileges for any private person or party.



/s/
Assistant Commissioner
Office of Field Operations




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                                     13


Discretionary Authority Checklist for Alien Applicants

Applicant’s Name:                                                               Port #:

Date of Birth:                                                       Date of Action:

Citizenship:                                                         Passport / A-#:

1) Identity / Citizenship:                                    2) Age, Health and Notoriety of Applicant:

Identity sufficiently determined: Yes      No                 Are age or health relevant factors? Yes     No
Citizenship sufficiently determined:Yes    No                 Is the applicant a public figure?   Yes     No
                                                              Congressional or media interest? Yes        No

**NOTE: Discretionary authority should generally not be exercised if identity or citizenship can not be established.
REMARKS (to include origin, destination and intended length of stay):




3) Intended Purpose of Entry:                                 4) Database queries:

Emergency:                         Yes     No
Medical:                           Yes     No
Pleasure:                          Yes     No
Business/Official:                 Yes     No
Other:                             Yes     No




5) Previous Immigration Violations or Inadmissibility:        6) Nature of Inadmissibility:

Previous Immigration Violation(s): Yes     No
Previous Inadmissibility:           Yes    No
Previous Beneficiary of Discretion: Yes    No

REMARKS:




7) Threat posed to the United States:                     **NOTE: Discretionary authority should generally not be
                                                          exercised if a threat is posed to the United States.
                                                              REMARKS:




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                                     14

8) Other Factors to Consider:

Legitimate reason for entering the United States:                      Yes     No
Documentary (Passport / Visa) deficiency only:                         Yes     No
Credible claim of official misinformation:                             Yes     No
Relationship to a U.S. employer or resident:                           Yes     No
Intent to circumvent admissibility requirements:                       Yes     No
Misrepresentations made during processing:                             Yes     No
Minor children accompanying or already in the United States:           Yes     No
Unaware of visa voidance or consequences of VWP overstay:              Yes     No
Relief available through the parole or waiver process:                 Yes     No

REMARKS:




Examining CBP Officer:

Applicable Ground(s) of Inadmissibility:

Applicable Discretionary Action(s):
Withdrawal of Application for Admission:             Yes       No
Parole to Depart Foreign / Voluntary Return:         Yes       No      Length of parole sought: __________
Humanitarian Parole:                                 Yes       No      Length of parole sought: __________
Waiver of Passport Requirement:                      Yes       No      Period of admission sought: __________
Waiver of Non-Immigrant Visa Requirement:            Yes       No
                  Classification: __________                           Period of admission sought: __________
Waiver of Immigrant Visa Requirement:                Yes       No
Waiver of processing fee (if applicable):            Yes       No
Deferred Inspection:                                 Yes       No      Deferral Period and Location: __________


Supervisory CBP Officer:

Recommendation:
Approve:     Yes         No
Disapprove:  Yes         No

Justification for recommendation (to include alternatives, if disapproval is recommended):




Reviewing 2nd Line Manager:
(GS13 or Above)

Decision:
Approved:                 Disapproved:

Justification for decision (to include final disposition, if disapproved):




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                                                                     AR00158
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                                                                     AR00159
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                                                                   AR00160
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                                                                     AR00161
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                                                                     AR00162
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                                                                     AR00163
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 From:           ERO Taskings
 Subject:        UPDATED GUIDANCE: Implementation of the Modified Nationwide Preliminary Injunction in Padilla v. ICE, No.
                 18-928, 2019 WL 2766720 (W.D. Wash. July 2, 2019).
 Date:           Monday, July 22, 2019 10:26:08 PM
 Attachments:    Interim Notice Authorizing Parole (Final 7.15.19).docx
                 Interim Notice Declining Parole (Final 7.15.19).docx
                 Draft Padilla bond notice 07.22.19 OPLA DRAFT.docx
 Importance:     High


 The following message is sent on behalf of Nathalie R. Asher, Executive Associate Director
 for Enforcement and Removal Operations:

 To: ERO Assistant Directors, Deputy Assistant Directors, Field Office Directors, and
 Deputy Field Office Directors

 Subject: UPDATED GUIDANCE: Implementation of the Modified Nationwide
 Preliminary Injunction in Padilla v. ICE, No. 18-928, 2019 WL 2766720 (W.D. Wash.
 July 2, 2019).

 Please immediately distribute this guidance to your employees. This guidance supplements
 and replaces the guidance included in the July 15, 2019 broadcast message below.

 Today, the U.S. Court of Appeals for the Ninth Circuit lifted the temporary stay of the
 nationwide preliminary injunction in Padilla v. ICE, No. 18-928, 2019 WL 2766720 (W.D.
 Wash. July 2, 2019), and issued a permanent stay pending appeal with regard to only part of
 the preliminary injunction.

 The Ninth Circuit declined to stay the district court’s ruling that class members must continue
 to receive bond hearings before the Executive Office for Immigration Review (EOIR), even
 though the Attorney General held in Matter of M-S-, 27 I&N Dec. 509 (A.G. 2019) that the
 expedited removal statute gives no jurisdiction to EOIR to conduct such hearings. The Ninth
 Circuit did, however, stay the requirements imposed by the district court to conduct bond
 hearings within seven (7) days of a bond hearing request by a class member, and to release
 such aliens if a bond hearing is not conducted within seven (7) days. So, despite the decision
 of the Attorney General in Matter of M-S-, class members are entitled to a bond hearing before
 an immigration judge if requested.

 The class of aliens to whom the preliminary injunction applies includes: “All detained asylum
 seekers who entered the United States without inspection, were initially subject to expedited
 removal proceedings under [INA § 235(b)], were determined to have a credible fear of
 persecution, but are not provided a bond hearing with a verbatim transcript or recording of the
 hearing within seven days of requesting a bond hearing.” Aliens pending a credible fear
 determination or who have received a negative credible fear determination are not part of the
 class. Arriving aliens are not part of the class, even if they have been found to have a credible
 fear. To reiterate, the preliminary injunction just applies to non-arriving aliens processed
 through expedited removal who are determined to have a credible fear of persecution or
 torture.

 Unless and until the preliminary injunction is vacated, ERO Field Personnel and ERO
 Supervisors will apply the following guidance with regard to aliens subject to expedited
 removal who are transferred to full removal proceedings under Section 240 of the
 Immigration and Nationality Act (INA).

                                                                                                                  AR00164
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            1. Update EARM: All expedited removal cases with a positive credible fear
               determination must continue to be accurately recorded in EARM. The new 8K
               Case Category: Expedited Removal Terminated due to Credible Fear
               Finding/NTA Issued will be used to track these cases. Additionally, the five (5)
               new Actions and Decisions codes (A/Ds) created to track parole requests and
               determinations should continue to be utilized.
            2. Arriving Aliens: Arriving aliens subject to expedited removal who are found
               to have a credible fear are not a part of the Padilla litigation and must continue
               to be considered for parole according to ICE Directive No. 11002.1, Parole of
               Arriving Aliens Found to Have a Credible Fear of Persecution of Torture (Dec.
               8, 2009), unless and until further guidance regarding such aliens is issued.
            3. Certain Other Aliens Subject to Expedited Removal: For all aliens subject
               to expedited removal who are not arriving aliens and are referred for Section
               240 removal proceedings after being determined to have a credible fear, ERO
               Field Personnel and ERO Supervisors:

             Must facilitate the alien’s appearance at any bond hearing scheduled by EOIR.

             Must, absent a stay issued by the Board of Immigration Appeals (Board), comply
             with an immigration judge or Board order under Padilla to release the alien from
             custody. However, because neither the district court nor Ninth Circuit altered the
             Attorney General’s legal conclusion that the detention authority for aliens
             determined to have a credible fear is found in Section 235(b)(1) of the INA, rather
             than Section 236, aliens released pursuant to the order of an immigration judge
             pursuant to Padilla should not be released on parole or on an order of release
             on recognizance (OREC). Instead, ERO Field Personnel and ERO Supervisors
             should utilize the attached template Padilla Release Letter.

             May exercise their discretion to release such aliens on parole pursuant to the
             guidance contained in the July 15, 2019 broadcast message below.


        o If ERO wishes to exercise its own discretion to release a Padilla class member
            from custody while Section 240 removal proceedings are pending (rather than
            because EOIR has ordered such a release as part of a Padilla bond hearing), ERO
            must not release these aliens: (i) on an order of release on recognizance (OREC),
            including on a bond issued by ERO based upon section 236(a) of the INA, or (ii)
            under an order of supervision (OSUP). Instead, such aliens may only be released
            from custody on discretionary parole pursuant to section 212(d)(5)(A) of the
            INA and 8 C.F.R. § 212.5, and subject to reasonable conditions. When granting
            parole to such aliens, ERO Field Personnel and ERO Supervisors should use the
            Interim Notice Authorizing Parole as set forth in the July 15, 2019 guidance
            below. The letter is issued in lieu of Form I-94, Arrival-Departure Record. See 8
            C.F.R. § 235.1(h)(2).
        4. EARM Release Code: Use the following release codes so that these cases can be
            adequately tracked.
            o If an alien is paroled by ERO in the agency’s discretion, the correct release code
                is: Paroled. This code should be used for all cases where ICE grants a parole
                release, including where ERO sets a bond or any other condition, pursuant to a
                release on parole.

                                                                                        AR00165
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             o   If the immigration judge or Board orders release under Padilla, the correct
                   release code is: Bonded Out.

 Until further notice, please follow the guidance issued above. If you have any questions
 concerning this guidance, please contact your ERO Field Operations Headquarters point of
 contact.

 Limitation on the Applicability of this Guidance. This guidance is not intended to limit the
 appropriate exercise of prosecutorial discretion in other contexts. Moreover, this message
 provides only internal guidance to ICE and does not, is not intended to, shall not be construed
 to, and may not be relied upon to create any rights, substantive or procedural, enforceable at
 law by any person in any matter, civil or criminal.


 From: ERO Taskings
 Sent: Monday, July 15, 2019 7:55 PM
 Subject: CORRECTED: Interim Guidance for Implementation of Matter of M-S, 27 I&N
 Dec. 509 (A.G. 2019) During the Stay of the Modified Nationwide Preliminary Injunction in
 Padilla v. ICE, No. 18-928, 2019 WL 2766720 (W.D. Wash. July 2, 2019): Parole of Aliens

 The following message is sent on behalf of Nathalie R. Asher, Executive Associate Director
 for Enforcement and Removal Operations:

 To:          Assistant Directors, Deputy Assistant Directors, Field Office Directors,
 and Deputy Field Office Directors

 Subject:        Interim Guidance for Implementation of Matter of M-S, 27 I&N Dec. 509
                 (A.G. 2019) During the Stay of the Modified Nationwide Preliminary
                 Injunction in Padilla v. ICE, No. 18-928, 2019 WL 2766720 (W.D. Wash.
                 July 2, 2019): Parole of Aliens Who Entered Without Inspection, Were
                 Subject to Expedited Removal, and Were Found to Have a Credible Fear
                 of Persecution or Torture

 THIS IS A CORRECTED COPY – REFERENCE TO 8 C.F.R. § 235.1(h)(2) IN THE
 BODY OF THE MESSAGE AND ATTACHMENT: INTERIM NOTICE
 AUTHORIZING PAROLE

 Please immediately distribute this interim guidance, which is effective immediately, to your
 employees.

 Background

 On April 16, 2019, the Attorney General issued a decision in Matter of M-S-, 27 I&N Dec.
 509 (A.G. 2019), in which he overruled the Board of Immigration Appeals decision in Matter
 of X-K-, 23 I&N Dec. 731 (BIA 2005), and concluded that all aliens subject to expedited
 removal (including those encountered between the ports-of-entry and in the interior of the
 United States), who are referred for full removal proceedings under section 240 of the
 Immigration and Nationality Act (INA) after being found to have a credible fear are ineligible
 for release on bond. The Attorney General recognized that although these aliens must be
 detained and have no right to bond or a bond hearing, they may be released on parole by the


                                                                                         AR00166
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                                                                      AR00167
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 the first four categories are relatively self-explanatory, the term “public interest” is not
 amenable to a single, standard definition, and the discretionary decision must be based on a
 case-specific justification.

 Parole on public interest grounds requires careful consideration of whether, consistent with
 ICE’s mission, a specific alien’s case is appropriate for parole. Based upon an individualized
 review of the facts of a particular case, detention may not be in the public interest in the
 following non-exhaustive list of circumstances, including where: (1) the alien is the sole
 caretaker of a minor child, elderly family member, or family member with a serious illness;
 (2) the alien has established that he or she will serve as an organ donor in the near future; (3)
 the alien has a disability rendering detention inappropriate or has been the victim of sexual
 abuse or assault; or (4) where, in light of available detention resources, detention of the subject
 alien would limit the ability of ICE to detain another alien whose release may pose a greater
 risk of flight or danger to the community.

 In exercising the Secretary’s delegated parole authority, Field Office Directors should remain
 mindful of the need to properly manage the agency’s limited detention resources and
 appropriately prioritize the utilization of detention beds. Without question, ICE has
 insufficient detention resources to detain throughout removal proceedings all aliens amenable
 to detention under the immigration laws. As of July 6, 2019, in Fiscal Year 2019, ERO has
 released more than 233,000 aliens pursuant to its discretionary authority. Maintaining custody
 of an alien subject to this interim guidance would likely not be in the public interest where
 doing so would render a detention bed unavailable for another alien who poses a greater
 potential danger to public safety or a greater risk of flight that would need to be mitigated with
 burdensome release conditions (e.g., GPS monitoring or recurring reporting). In light of finite
 detention resources, it is expected that a significant number of these individuals will ultimately
 need to be paroled from custody.

 If ERO releases such an alien on parole, ERO Field Personnel and ERO Supervisors must not
 utilize Form I-220A, Order of Release on Recognizance, which applies only to releases
 pursuant to section 236 of the INA, but instead must utilize the attached Interim Notice
 Authorizing Parole. The letter is issued in lieu of Form I-94, Arrival-Departure Record. See 8
 C.F.R. § 235.1(h)(2). If ERO declines to parole such an alien when requested, ERO Field
 Personnel and ERO Supervisors must utilize the attached Interim Notice Declining Parole.

 Special Rule for Family Units: Members of family units detained together who are subject
 to expedited removal and who have been found to have a credible fear of persecution or
 torture shall be considered for parole regardless of whether any member of the family unit
 requests such consideration. As soon as practicable, but not more than two business days after
 learning that the alien has been found to have a credible fear of persecution or torture, ERO
 Field Personnel shall begin parole consideration for all associated family unit members who
 are detained together and promptly elevate to an ERO Supervisor their recommendation
 whether the family unit should be authorized for parole. If a member of the family unit is
 subject to reinstatement of a final removal order (rather than expedited removal) and it is
 necessary to release them, that family member should instead be considered for release under
 an OSUP.

 Re-detention of Aliens Previously Released on OREC: Given representations made to the
 district court in Padilla, ERO should not re-detain aliens who were released from immigration
 detention prior to July 15, 2019, solely on account of the Attorney General’s decision in


                                                                                           AR00168
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 Matter of M-S-. However, if an alien previously released on bond or other conditions violates
 the terms of his or her release (e.g., by engaging in criminal activity), the original custody
 determination is revoked and cancelled based on an intervening event and ICE may re-detain
 the alien pursuant to detention authorities and legal precedents which are in effect on the date
 of the encounter.

 Arriving Aliens: Arriving aliens subject to expedited removal who are found to have a
 credible fear must continue to be considered for parole according to the processes and
 standards set forth in ICE Directive No. 11002.1, Parole of Arriving Aliens Found to Have a
 Credible Fear of Persecution of Torture (Dec. 8, 2009). As explained above, efforts to issue
 consistent, unified ICE parole policy and procedures are on hold pending developments in the
 Padilla litigation.

 EARM Update: Effective July 15, 2019, all expedited removal cases with a positive credible
 fear determination must be accurately recorded in EARM using the new 8K Case Category:
 Expedited Removal Terminated due to Credible Fear Finding/NTA Issued. It is imperative
 that cases be accurately recorded in EARM to enable appropriate tracking and statistical
 reporting, including to ensure the availability of reliable information to defend against the
 Padilla litigation. Five (5) new Actions and Decisions codes (A/Ds) were created to track
 parole requests and determinations. Training on these changes will be forthcoming.

 EARM Release Code: If an alien is paroled by ICE, the correct release code is: Paroled.
 This code should be used for all cases where ICE grants a parole release, including where
 ERO sets a bond or any other condition of release on parole.

 If you have any questions concerning this guidance, please contact your ERO Field Operations
 Headquarters point of contact.

 Limitation on the Applicability of this Guidance. This guidance is not intended to limit the
 appropriate exercise of discretion in other contexts. Moreover, this message provides only
 internal guidance to ICE and does not, is not intended to, shall not be construed to, and may
 not be relied upon to create any rights, substantive or procedural, enforceable at law by any
 person in any matter, civil or criminal.

 NOTICE: This communication may contain privileged or otherwise confidential information. If you are not an intended
 recipient or believe you have received this communication in error, please do not print, copy, retransmit, disseminate, or
 otherwise use this information. Please inform the sender that you received this message in error and delete the message from
 your system.




                                                                                                                   AR00169
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                                                                      AR00170
1/19/22, 6:32 PM                                    ‘I’m Kidnapped’: A Father’s Nightmare on the Border - The New York Times
            Case 2:21-cv-00067-Z Document 162 Filed 09/02/22                                  Page 189 of 400 PageID 4382
                            https://www.nytimes.com/2019/12/21/us/border-migrants-kidnapping-mexico.html



Iʼm Kidnappedʼ: A Fatherʼs Nightmare on the Border
A father was tortured in front of his 3-year-old son until his wife in New Jersey paid $2,000 to his captors. Chilling audio of the
negotiations for his release shows how migrants, turned back by the U.S., are facing new dangers in Mexico.




         By Miriam Jordan


Dec. 21, 2019


REYNOSA, Mexico — He remembers being on his knees, gagged and blinded with duct tape, his hands tied behind his back. One of his
captors struck his left thigh with a bat and scraped his neck with an ax, threatening to cut him.

His 3-year-old son watched and wailed.

“Tell the boy to shut up. Make him shut up,” one of the men barked, ripping the duct tape from his mouth.

A few hours earlier, the 28-year-old migrant from Honduras, whose name is José, had been walking with his son down a street in Reynosa,
Mexico, having been turned back at the border by the United States. Suddenly three men grabbed him, shoved a hood over his head and
thrust him and his son into a vehicle.

The abduction on Nov. 25 set off hours of intense negotiations as José’s wife in the United States, forced to listen to the sounds of her
husband being tortured, tearfully negotiated a ransom over the phone.

In a series of phone conversations, and in several voice messages reviewed by The New York Times, the wife, a woman named Cindy who
works at a bakery in Elizabeth, N.J., promised to get the $3,000 the kidnappers were demanding. “I will do everything to get it,” she said,
sobbing into the phone. “But don’t let them hurt him. Take care of the child.”

Hundreds of thousands of people fled Central America over the past year, many of them seeking asylum in the United States from threats
of extortion, murder and forced recruitment into gangs. But instead of allowing them to enter, the Trump administration has forced more
than 55,000 asylum seekers to wait for months in lawless Mexican border towns like Reynosa while it considers their requests for
protection, according to Mexican officials and those who study the border.

Drug-related violence has long plagued these areas but this bottleneck of migrants is new — and because many asylum seekers have
relatives in the United States, criminal cartels have begun kidnapping them and demanding ransoms, sometimes subjecting them to
violence as bad or worse than what they fled.

In the past, migrants from places like Central America, Africa and Asia seeking asylum were allowed to enter the United States while
their claims were adjudicated. Those who could not demonstrate a fear of persecution usually were ordered deported to their home
countries. That changed earlier this year with the adoption of the “Remain in Mexico” policy, under which most asylum applicants are
prevented from entering the United States except for their court hearings.

With the Mexican government struggling to contain crime and violence, and ramshackle camps full of vulnerable migrants cropping up
on the border, kidnappings have spiked. “Families on this side of the border, regardless of social status, will manage to pay ransom,” said
Octavio Rodriguez, a scholar at the University of San Diego who studies violence in Mexico and the border region.

The authorities have doubled the number of police officers in the past three years in the state of Tamaulipas, which includes Reynosa, but
it is not enough, said Aldo Hernandez, the state’s communications director. “Neither the municipal nor state governments have the
resources to fight this situation,” he said.

Some are blaming Mexico’s president, Andrés Manuel López Obrador, and his government’s decision to step back from confrontations
with drug cartels.

“The López Obrador administration has sent the message to organized crime that police and national guard will not confront you. That
emboldens them to target this population,” said Tony Payan, a scholar at the Baker Institute of Rice University who studies the United
States-Mexico border.

Mark A. Morgan, acting commissioner for Customs and Border Protection, said that those awaiting asylum hearings who fear for their
safety should “work with the government of Mexico” to keep themselves safe.


                                                                                                                               AR00171
https://www.nytimes.com/2019/12/21/us/border-migrants-kidnapping-mexico.html                                                                1/5
1/19/22, 6:32 PM                                            ‘I’m Kidnapped’: A Father’s Nightmare on the Border - The New York Times
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“I have heard reports the same as you of violence,” he told reporters last week, noting that it is well known that dangerous drug cartels
target migrants south of the border. “We encourage these people first of all not to even put themselves in the hands of the cartels to begin
with.”

In the border towns of the Rio Grande Valley, the busiest migrant crossing point into the United States, kidnappers have struck in recent
months near shelters, at bus stops and outside grocery stores.

A 35-year-old Salvadoran man who was waiting with his family in Tijuana after claiming asylum near San Diego was kidnapped, fatally
stabbed and dismembered on Nov. 20, Mexican authorities reported. His lawyer said he had been pursued by “criminal organizations” in
his home country.

A 28-year-old woman from El Salvador and her 3-year-old son were abducted — not once but twice — after arriving at the border. The
woman, who gave her name as Nora, said that in August they were held hostage until a family member in Houston transferred $2,200 to
their captors.

Then in October, Nora said, she took her son to use the bathroom outside the encampment where they were staying and encountered
three men. She was blindfolded, she said, and the men took turns raping her over several hours, in front of her son, before dumping the
two of them on the side of a road.

“I surrendered to American immigration and thought we would be safe,” she said in a recent interview at a shelter in Reynosa.




   Nora was kidnapped and raped in front of her 3-year-old son in Mexico. Ilana Panich-Linsman for The New York Times



There have been 636 documented cases of violent attacks, including abduction and rape, against migrants who were returned to Mexico
by United States authorities since the Remain in Mexico policy began in January, with 293 attacks in the last month alone, according to
Human Rights First. The advocacy group based its tally on credible reports from researchers, lawyers and media outlets, but said the
actual numbers were likely higher because most incidents go unreported.



                                                                                                                                       AR00172
https://www.nytimes.com/2019/12/21/us/border-migrants-kidnapping-mexico.html                                                                     2/5
1/19/22, 6:32 PM                                             ‘I’m Kidnapped’: A Father’s Nightmare on the Border - The New York Times
         Case 2:21-cv-00067-Z Document 162 Filed 09/02/22 Page 191 of 400 PageID 4384
The story of José and his family began in Honduras earlier this year, when they decided to seek safe haven in the United States. Gang
members had demanded a “war tax” to allow him to keep operating his carwash and dropped notes at the family’s doorstep, threatening
to kill them.

Cindy, who had a valid tourist visa, flew to the United States with their older son in June. José and their younger child, who lacked visas,
made their trek over land. They arrived at the Texas border in July and applied for asylum, but were told to wait in Mexico and return for
a series of court hearings in the ensuing months.

The kidnappers struck in November, after José and his son had already attended two court hearings in the United States.

His captors ordered him to contact any family he had in the United States, he said, and when he denied knowing anyone there, the
beatings began.

“You’re lying. This bat is thirsty for blood,” he recalled one of them saying.

José dictated his wife’s number to the men, and they called her from his cellphone. When she did not pick up, they clubbed him, causing
him to keel over in pain.

When they called again, Cindy answered.

“I’m kidnapped,” Cindy, who, like her husband, did not want her last name published because of fear of reprisals, recalled José uttering in
agony over the phone.




   Cindy with her 5 year-old son in New Jersey. Desiree Rios for The New York Times

                                                                                                                                        AR00173
https://www.nytimes.com/2019/12/21/us/border-migrants-kidnapping-mexico.html                                                                      3/5
1/19/22, 6:32 PM                                  ‘I’m Kidnapped’: A Father’s Nightmare on the Border - The New York Times
         Case 2:21-cv-00067-Z Document 162 Filed 09/02/22 Page 192 of 400 PageID 4385
Then the captors hung up, apparently hoping to ratchet up the pressure. When they called again, they told Cindy to come up with $3,000
within an hour if she wanted to spare the lives of her son and husband.

“I was completely desperate. I could hear my son crying in the background,” Cindy recalled. “I told them I didn’t have the money; I’d
have to borrow it. Give me more time.”

Cindy sprinted to the home of the babysitter who cares for her 5-year-old son and collapsed there, pleading for help.

A fusillade of calls and texts with threats from the kidnappers soon followed.

“If you don’t deposit the money fast, we’ll disappear with your son,” the men told her.

Cindy called her husband’s cellphone again and left a voice message.

“José, send me — send me an audio. I want to know how the child is doing,” she said, her voice rising in anguish. “Respond! Respond!”

While she was driving to the bank with the babysitter to withdraw cash, one of the men in Reynosa taunted her husband and scraped his
neck with the blunt side of an ax, he said, while another put a gun to his head.

On the next call, Cindy told the men she could manage no more than $2,000, and they relented. She rushed to a money-transfer kiosk to
send the cash, and as the one-hour deadline approached, the captors urged her to hurry. “Si, I am here. Right now,” she typed back.

There was a problem, though. She could not complete the transaction without their names, so they texted them to her — unfamiliar
names belonging to a man and a woman. In the text, they urged her to use Moneygram or Western Union and send “one thousand to
each.”

“This is the first one,” she texted, sending the kidnappers a photograph of the invoice for $1,009.99, including a $9.99 transfer fee.

Because the money-transfer outlet would not allow her to send more than $1,000, she rushed to another shop to send the rest of the
money.

“As soon as all the money is here, we’ll free them,” one of the captors typed.

“O.K., gracias,” Cindy replied.

Back at home, though, she received a call from the kidnappers: They had been unable to access the money. “We give you 20 minutes to fix
this,” a kidnapper typed.

Eight minutes later, another text message popped up: “Hurry up. It’s getting late.”

Back in Reynosa, one of the men struck José’s right arm with the bat and kicked him in the stomach, and he began to vomit. The man
brought a bucket and shoved his head inside.




                                                                                                                             AR00174
https://www.nytimes.com/2019/12/21/us/border-migrants-kidnapping-mexico.html                                                             4/5
1/19/22, 6:32 PM                                             ‘I’m Kidnapped’: A Father’s Nightmare on the Border - The New York Times
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   Jose’s thigh was covered in bruises days after being beaten while held captive. Ilana Panich-Linsman for The New York Times



After visits to three money senders, Cindy managed to transfer the rest of the money. José’s abductors stripped the tape from his eyes
and put the hood back over his head. They dropped him and his son at the Reynosa bus station, warning that if he notified the police,
“You’re both dead. We have pictures of you.”

With no phone and no money, José said, he staggered across the bridge that leads to the United States to seek out Border Patrol agents.
He pleaded to stay in the United States. “Our lives depend on it. I swear I am telling the truth,” he told them.

He said the agents took him to an office, where he remembers that they photographed his wounds and gave him a tranquilizer before
sending them to spend the night at a holding facility.

The next day, José was escorted to a room where, over the phone, he expressed fear of returning to Mexico to an asylum officer.

About 40 minutes later, an immigration official told José that they would have to go back to Mexico. He handed him a document that said
that José “did not establish a clear probability of persecution or torture in Mexico.”

Recently, José described his ordeal from a migrant shelter in Reynosa. He still had bruises and scrapes on his neck, arms and legs, and
said his right arm, the one that received most of the blows from the bat, was still numb.

His son, who just turned 4, was playing with another child near the picnic table where he sat. That day, José said, he had been able to
borrow a phone to call Cindy, who was crying when she heard his voice. He was crying, too. They did not know when they would meet
again.
Zolan Kanno-Youngs contributed reporting from Washington.




                                                                                                                                        AR00175
https://www.nytimes.com/2019/12/21/us/border-migrants-kidnapping-mexico.html                                                                      5/5
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                                                                      AR00176
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 Best,



 From:
 Sent: Monday, October 25, 2021 1:01 PM
 To:

 Subject: RE: quick q: re Dedicated Docket

 CAUTION: This email originated from outside of DHS. DO NOT click links or open attachments unless you recognize
 and/or trust the sender. Contact your component SOC with questions or concerns.

 Good afternoon.

 This data is current as of 10/25.

 Leads: 10,501
 Riders: 18,730
 Masters held: 11,647

 In absentia orders: 528

 I hope this was helpful. Have a nice afternoon.




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 Subject: [EXTERNAL] RE: quick q: re Dedicated Docket




                                                                                                                      AR00177
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                                                                      AR00178
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ISAP IV EOIR Court Appearance Rates through 8/31/
The following document was created based on Court Appearance data from BI Inc
Court Appearance data from BI, Inc. FY14 & FY15 & FY16 & FY17 & FY18 &
FAMU Participants Defined as OBP FAMU Apprehensions, between 5/1/2014-7/
FAMU Participant Data received from OBP
Some participants may have had multiple hearings



Total Hearings
Total Hearings
Attended
Not Attended
Attendance Rate




                                                                                              AR00179
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/2021--FAMU Participants Apprehended Since May 1, 2014
c. and BI Inc. Population Report, 7/31/2021
 FY19 & FY20 & FY21 through 7/31/2021
/31/2021 that had been subsequently enrolled into ATD as of 7/31/2021




                                          192,439
                                          190,324
                                            2,115
                                            98.9%




                                                                                           AR00180
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                                                                                                                U. S .   C O M M I S S I O N   O N   C I V I L   R I G HT S
                                                                                                       TRAUMA AT THE BORDER
                                                                                                       THE HUMAN COST OF INHUMANE IMMIGR ATION POLICIES
Case 2:21-cv-00067-Z Document 162 Filed 09/02/22




                                                                                                                                                                                 BRIEFING
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                                                   U.S. COM M I SS ION ON CIVI L R IG HTS                            M E M B E RS OF TH E COM M I SS ION
                                                   The U.S. Commission on Civil Rights is an                         Catherine E. Lhamon, Chairperson*
                                                   independent, bipartisan agency established                        Patricia Timmons-Goodson, Vice Chairperson
                                                   by Congress in 1957. It is directed to:                           Debo P. Adegbile
                                                                                                                     Gail L. Heriot
                                                   • Investigate complaints alleging that citizens are
                                                                                                                     Peter N. Kirsanow
                                                     being deprived of their right to vote by reason of their
                                                                                                                     David Kladney
                                                     race, color, religion, sex, age, disability, or national
                                                                                                                     Karen Narasaki
                                                     origin, or by reason of fraudulent practices.
                                                                                                                     Michael Yaki
                                                   • Study and collect information relating to discrimination or a
                                                     denial of equal protection of the laws under the Constitution   Mauro Morales, Staff Director
Case 2:21-cv-00067-Z Document 162 Filed 09/02/22




                                                     because of race, color, religion, sex, age, disability, or
                                                     national origin, or in the administration of justice.           U.S. Commission on Civil Rights
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                                                     because of race, color, religion, sex, age, disability, or      (202) 376-8128 voice
                                                     national origin, or in the administration of justice.           TTY Relay: 711
                                                   • Serve as a national clearinghouse for information               www.usccr.gov
                                                     in respect to discrimination or denial of equal
                                                     protection of the laws because of race, color,
                                                     religion, sex, age, disability, or national origin.
                                                   • Submit reports, findings, and recommendations
                                                     to the President and Congress.
                                                   • Issue public service announcements to discourage
                                                     discrimination or denial of equal protection of the laws.
                                                   1
                                                       42 U.S.C. §1975a.                                             *recused
                                                                                                                                                                  AR00182
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                  Trauma at the Border:
                     The Human Cost of
                 Inhumane Immigration
                                Policies

                     The United States Commission on Civil Rights
                                                        Washington, D.C.



                                                                     Report


                                                                      [Date]




                                                                      AR00183
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                       UNITED STATES COMMISSION ON CIVIL RIGHTS
                       1331 Pennsylvania Ave., NW Suite 1150 Washington, DC 20425 www.usccr.gov



                                      Letter of Transmittal

October 24, 2019

President Donald J. Trump
Vice President Mike Pence
Speaker of the House Nancy Pelosi

On behalf of the United States Commission on Civil Rights (“the Commission”), I am pleased to
transmit our report, Trauma at the Border: The Human Cost of Inhumane Immigration Policies.
The report is also available in full on the Commission’s website at www.usccr.gov.

For this report, the Commission reopened our 2015 report on the condition of immigration
detention centers, amid renewed concerns about worsening conditions. Based on media reports,
government investigations, eyewitness accounts, and public testimony received by the
Commission, the report details how the current Administration’s changes to asylum, the detention
of children, and certain other immigration policies, practices, and procedures have created an
unnecessary human and civil rights crisis at the southern border. The report does not rely on
information provided directly by the relevant federal agencies as, regretfully, they did not respond
to our discovery requests.

The institution of the Zero Tolerance policy and decision to forcibly and deliberately separate
children, including infants and toddlers, from parents or adult family members on a mass scale,
which proceeded with no plans or coordination to reunite families, is a gross human and civil rights
violation. The impact of separating immigrant families and indefinite detention is widespread,
long-term, and perhaps irreversible physical, mental and emotional childhood trauma.
Disturbingly, there remain credible allegations that family separations continue, despite an
Executive Order halting them. Immigrant children, as well as adults, experienced trauma as a
result of the Administration’s policies. The Commission heard directly from immigrant detainees
who confirmed traumatic experiences as a result of not only being separated from their families,
but also the trauma they suffered as a result of enduring inhumane conditions at detention facilities
and sometimes on account of the cruel treatment by Department of Homeland Security personnel.

In addition, the new testimony and data indicate that federal agencies have not heeded the
Commission’s recommendations from its 2015 report. Agencies continue not to provide
appropriate and critical legal and medical services to detainees, or transparency about the
government’s policies in detaining individuals. Further, agencies continue inequitable treatment
of Lesbian, Gay, Bisexual, and Transgender (LGBT) individuals, individuals with disabilities, and
non-English speakers. The Commission found that detention conditions have significantly
deteriorated under the current Administration’s policies. Some child detention facilities lack basic
hygiene and sleeping arrangements; they sometimes lack soap, blankets, dental hygiene, potable


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water, clean clothing, and nutritious food. The Commission received evidence and testimony that
child detention facilities lack appropriately trained medical personnel and medicine, medical staff
are not routinely present at detention facilities, and wait times to see a doctor can be weeks long,
regardless of how dire the situation. Language barriers pose an immense hurdle to staff’s ability
to offer adequate and appropriate medical and mental health treatment to children while detained.

The Commission majority voted for key recommendations, including the following: the
Administration must immediately reunify any remaining children with their parents, including
parents who were deported before, during, and after Zero Tolerance, unless there is a proven
serious risk to the best interests of the child. The Administration should immediately remedy
conditions in detention centers regarding overcrowding, food, and sanitation so as not to further
traumatize children forced to flee their homes.

The Department of Homeland Security should conduct greater oversight and inspection of
detention centers, specifically those relating to child detention centers, and should enforce
detention center standards up to and including the closure of a detention facility for violating
detention center standards and other applicable laws. Congress should expand the authority of
Department of Homeland Security Office for Civil Rights and Civil Liberties to respond directly
to complainants and enforce civil rights protections. New immigration policies should be
precleared by Office for Civil Rights and Civil Liberties or another independent body to ensure
they do not violate civil rights, prior to causing harm.

Due to the inconsistent and inhumane treatment of children, Congress should pass legislation that
sets minimum safe, sanitary and humane detention conditions, and provide sufficient funding to
address the crisis in detention facilities for both children and adults. Because the purpose of
immigration detention is not punitive, the standard of care should be based on providing reasonable
care and safety, and not on incarceration standards. Congress should require that no funds should
be used for the detention of any asylum seeker who has been found to establish a credible fear of
persecution, apart from narrow exceptions.

Congress must provide sufficient funding to address the need for hiring, full training, and retention
of experienced and qualified administrative law judges and related staff to process asylum and
other immigration claims, to ensure asylum seekers and other immigrants are accorded full due
process. Congress should pass legislation allowing members of Congress and members of this
Commission to conduct independent inspections of detention facilities with minimal notice (no
more than 24 hours) and be given full access to detainees to interview them.

We at the Commission are pleased to share our views, informed by careful research and
investigation as well as civil rights expertise, to help ensure that all Americans enjoy civil rights
protections to which we are entitled.

For the Commission,



Patricia Timmons Goodson
Vice Chair


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ACKNOWLEDGEMENTS

This report was produced under the direction of Commissioners and Commissioner Special
Assistants. Special Assistant Jason T. Lagria coordinated the drafting of this report, as well as the
review of public comments with the help of Special Assistants Amy Royce and Carissa Mulder
and law clerks Erin Drolet (J.D Candidate 2021, George Washington University), Kori Pruett (J.D.
Candidate 2021, Georgetown University), and Mark Saunders (J.D. Candidate 2021, Duke
University). Special Assistants Alec Deull, Alison Somin, Amy Royce, Irena Vidulovic, Jason T.
Lagria, and Rukku Singla and Law Clerks Erin Drolet, Kori Pruett, and Patrick Williamson (J.D.
Candidate 2021, Georgetown University) also reviewed, edited, and offered editorial comments
for the report, or findings and recommendations, or both.

Katherine Culliton-González, Esq., the Commission’s Office of Civil Rights Evaluation (OCRE)
Director, conducted substantial principal research and drafting on the background of this report
and also reviewed, edited, and offered editorial comments for the report.

With the assistance of Attorney-Advisor Pilar Velasquez McLaughlin, and Law Clerks Christine
Kumar (J.D. Candidate 2020, George Washington University), Lilian Ofili (J.D. Candidate 2021,
George Washington University), Benjamin Falstein (J.D. Candidate 2021, George Washington
University), and Brooke Schwartz (J.D. Candidate 2021, George Washington University), the
Commission’s General Counsel Maureen E. Rudolph reviewed and approved the report for legal
sufficiency. Attorney-Advisor Pilar Velasquez McLaughlin, Law Clerks Christine Kumar, Lilian
Ofili, Benjamin Falstein, and Brooke Schwartz, and the Commission’s General Counsel Maureen
E. Rudolph also provided valuable legal research assistance and writing for the report.




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                                                                             EXECUTIVE SUMMARY                           1


EXECUTIVE SUMMARY

The U.S. Commission on Civil Rights last addressed civil rights and constitutional concerns in
connection with the immigration detention of families and children, including conditions of
detention centers in its 2015 report, With Liberty and Justice for All: The State of Civil Rights at
Immigration Detention Facilities (“2015 Report”).1 In 2018, public reports documented worsening
conditions at the southern border. Changes in federal policy further resulted in substantially
increased law enforcement activity at the southern border and the separation of thousands of
migrant children from their parents.

Recent developments have resulted in serious civil rights implications, including the protection of
the physical and mental well-being of both adult and child immigration detainees and their due
process rights. In light of these concerns the Commission formed a bipartisan subcommittee and
reopened its 2015 Report to update its investigation of the immigration detention of families and
children.2 The subcommittee 1) sought information from the Departments of Homeland Security
and Health and Human Services, 3 2) held a public comment session where it took in testimony
from experts, impacted individuals, witnesses to the impacts of family separation, and other
interested members of the public, and 3) solicited written comments from the public.

This report first provides context and background for the current situation of immigrant arrivals at
the southern border and a summary of recent federal policy changes that triggered this
investigation. 4 The report then summarizes and analyzes the testimony the Commission received.


1
  U.S. Comm’n on Civil Rights, With Liberty and Justice for All: The State of Civil Rights at Immigration Detention
Facilities, 2015, https://www.usccr.gov/pubs/docs/Statutory_Enforcement_Report2015.pdf (hereinafter 2015
Report). The 2015 Report found that many immigration detention center facilities at the time failed to comply with
various laws, regulations, court settlements, and Department of Homeland Security standards for medical care,
proper nutrition, the treatment of LGBT individuals, and the detention of children, and practices at detention
facilities inhibited detainees’ due process rights. Ibid., 124-25.
2
 U.S. Comm’n on Civil Rights, Telephonic Business Meeting, U.S. Commission on Civil Rights, Washington, D.C.,
June 26, 2018, transcript, pp. 17-18. The Subcommittee was chaired by Commissioner Michael Yaki; additional
members included Commissioners Adegbile, Kirsanow, Kladney, and Narasaki. While initially a member of the
subcommittee, Chair Lhamon was recused from the project in January 2019 and took no further part in the project.
3
  As of publication of this report, the Commission has not received any responses or documents in connection with
these requests. See note 50 for additional information.

4
  In parallel with the Commission’s work on this report, the Commission undertook a two-year investigation into
federal civil rights enforcement across the federal government, including an assessment of the Office of Civil Rights
and Civil Liberties at the Department of Homeland Security and the Office of Civil Rights at the Department of
Health and Human Services from Fiscal Years 2016 – 2018. The Commission’s report, Are Rights Reality?
Evaluating Federal Civil Rights Enforcement, which was adopted by majority vote of the Commission on August
29, 2019, addresses some similar issues to those discussed in this report, and some of the text that appears here also
appears in Chapter 8 of that report.




                                                                                                          AR00192
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2    Trauma at the Border: The Human Cost of Inhumane Immigration Policies

    As confirmed by media reports, government investigations, eyewitness accounts, and public
    testimony received by the Commission, the Trump Administration has implemented immigration
    policies that appear to violate constitutional due process rights and basic standards of medical and
    mental health care, and seemingly target migrants based on demographics including national
    origin, language status, and gender. These new policies have resulted in the separation of family
    units, lasting trauma and heartache, and shocking detention conditions for both children and adults.

    In addition, the new testimony and data indicate that federal agencies have not heeded the
    Commission’s recommendations from its 2015 report. Agencies continue not to provide
    appropriate and critical legal and medical services to detainees, or transparency about the
    government’s policies in detaining individuals. Further, agencies continue inequitable treatment
    of LGBT individuals, individuals with disabilities, and non-English speakers.

    Current Immigration Policies

    Multiple executive branch policies under the Trump Administration are directly impacting the
    treatment of migrants at the southern border, most of whom are asylum seekers, including families
    with children: zero tolerance (or criminally prosecuting all who cross the southern border without
    authorization); metering (or only allowing a certain number of asylum claims per day to be filed);
    migration protection protocols (requiring asylum seekers to return to Mexico while their claim is
    processed); and the decision that domestic violence is not a basis upon which asylum will be
    granted in the U.S.

    Functionally, what has resulted from the Administration’s policies is the separation of more than
    2,700 migrant families and children (including the separation of infants and toddlers from their
    parents), massive overcrowding of poorly run detention facilities that lack resources and fail to
    uphold basic standards of medical and mental health care, the forced return to Mexico of over
    11,000 migrants waiting to be heard on asylum claims, and other conditions that give rise to
    concerns of civil and human rights violations. 5 These policies put the lives of migrants and their
    families in danger and at times resulted in their needless deaths. 6




    5
      Order Granting Plf.’s Mot. for Classwide Prelim. Inj. 7, Ms. L v. ICE, No. 18cv0428 DMS (MDD) (S.D. Cal. June
    26, 2018); Deanna Paul, “U.N. human rights chief ‘deeply shocked’ by migrant detention center conditions in
    Texas,” Washington Post, July 8, 2019, https://www.washingtonpost.com/immigration/2019/07/08/un-human-
    rights-chief-deeply-shocked-by-migrant-detention-center-conditions-texas/?utm_term=.939980bb7bf1; Dep’t of
    Homeland Security, Office of Immigration Statistics, Annual Flow Report, Refugees and Asylees: 2017, March
    2019, Table 6a, p. 7, https://www.dhs.gov/sites/default/files/publications/Refugees_Asylees_2017.pdf.
    6
     Hannah Rappleye and Lisa Riordan Seville, “24 Immigrants Have Died in ICE Custody During the Trump
    Administration,” NBC News, June 9, 2019, https://www.nbcnews.com/politics/immigration/24-immigrants-have-
    died-ice-custody-during-trump-administration-n1015291.




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Perhaps the most egregious ramification is the long-lasting and possibly irreparable emotional and
psychological harm these policies have had and will continue to have on migrant families and their
children.7 When families are separated at the border, children do not have contact with their parents
or other family members, even if those family members live in the U.S. 8 According to public
reports, the federal government is not providing mental health or emotional support, which in turn
causes extreme stress, which can lead to depression, anxiety, and other abnormal psychological
functioning.9 The trauma that migrants and their children face as a result of detention and
separation was confirmed through testimony received by the Commission:

           Many families crossing the United State border are fleeing war and violence
           in their home countries and are already coping with the effects of stress and
           trauma. . . . A substantial body of research links the trauma of childhood
           detention with lasting adverse outcomes, including an increased risk of
           mental illness, such as depression, anxiety, and post-traumatic stress
           disorder. . . . These migration-related and postmigration stressors can
           produce demoralization, grief, loneliness, loss of dignity, and feelings of
           helplessness as normal syndromes of distress that impede refugees from
           living healthy and productive lives. 10

           We know without a doubt that these practices cause physical and emotional
           harm and that this trauma may be long term. It is appalling that, in a country
           that purports to protect children, that we would, at the same time, victimize
           children seeking our care and protection.11

Implementation of these policies has taken place primarily at the southern border between the
United States and Mexico. 12 The overwhelming majority of persons crossing the southern border

7
 Hurley Riley, “The Impact of Parent-Child Separation at the Border,” Pursuit, Sept. 7, 2018,
https://sph.umich.edu/pursuit/2018posts/family-separation-US-border.html.

8
    See Ms. L v. ICE, 310 F.Supp.3d 1133 (S.D. Cal. 2018).
9
    Riley, “The Impact of Parent-Child Separation.”
10
  See American Psychiatric Association, Written Statement for the Public Comment Session on Immigration
Detention before the U.S. Commission on Civil Rights, May 13, 2019, at 2, (hereinafter American Psychiatric
Association Statement); see also Pepper Black, Written Statement for the Public Comment Session on Immigration
Detention before the U.S. Commission on Civil Rights, Apr. 25, 2019, at 1 (hereinafter Black Statement) (detailing
the shock responses and extreme distress of children who have been detained).
11
  Mariela Olivares, Professor, Howard University School of Law, Testimony, Public Comment Session on
Immigration Detention before the U.S. Commission on Civil Rights, Washington, D.C., Apr. 12, 2019, transcript, pp.
152 (hereinafter Public Comment Session).
12
   Dep’t of Justice, Office of Public Affairs, “Attorney General Announces Zero-Tolerance Policy for Criminal
Illegal Entry,” press release no. 18-417, Apr. 6, 2018, https://www.justice.gov/opa/pr/attorney-general-announces-
zero-tolerance-policy-criminal-illegal-entry.




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    are persons of color from Latin America. 13 The United States has a long and ongoing history of
    discrimination against immigrants of color from non-European countries, which the Commission
    has documented with regard to Latin American immigrants in particular. 14 Currently, in
    conjunction with xenophobic rhetoric about who crosses the southern border, the implementation
    of zero tolerance, family separation, Migration Protection Protocols, and metering at the southern
    border raise civil rights issues as to whether these policies target certain groups based on national
    origin and language status.

    Detention Conditions

    The conditions in which the United States houses migrant children remains of high concern, and
    the landscape of protections may be changing. In 1993, the Supreme Court stated “‘legal custody’
    rather than ‘detention’ more accurately describes the arrangement” for migrant children then being
    housed by the federal government. 15 Given that conditions for migrant children held in federal
    custody in the 1990s included state child custody law protections as well as the clear ability for


    13
       From 2010-2014, 71% of unauthorized immigrants in the U.S. were from Mexico and Central America, and 4%
    were from South America, such that 75% were from Latin American countries. See Jie Zong, Jeanne Batalova, and
    Jeffrey Hallock, “Frequently Requested Statistics on Immigrants and Immigration in the United States,
    Unauthorized Immigrants,” Migration Policy Institute, Feb. 8, 2018,
    https://www.migrationpolicy.org/article/frequently-requested-statistics-immigrants-and-immigration-united-
    states#Unauthorized.
    14
         See infra notes 54-102.
    15
      Reno v. Flores, 507 U.S. 292, 298 (1993). The Court held that because migrant children were not in correctional
    institutions and were subject to the provisions of state child welfare laws, and because they could be released to a
    parent or legal guardian, they did not enjoy the full range of due process rights that pertain to persons who are
    detained by the government. Id. at 302:

               “Substantive due process” analysis must begin with a careful description of the asserted
               right, for "[t]he doctrine of judicial self-restraint requires us to exercise the utmost care
               whenever we are asked to break new ground in this field." Collins, supra, at 125;
               see Bowers v. Hardwick, supra, at 194-195. The “freedom from physical restraint”
               invoked by respondents is not at issue in this case. Surely not in the sense of shackles,
               chains, or barred cells, given the Juvenile Care Agreement. Nor even in the sense of a right
               to come and go at will, since, as we have said elsewhere, “juveniles, unlike adults, are
               always in some form of custody,” Schall, 467 U. S., at 265, and where the custody of the
               parent or legal guardian fails, the government may (indeed, we have said must) either
               exercise custody itself or appoint someone else to do so. Ibid. Nor is the right asserted the
               right of a child to be released from all other custody into the custody of its parents, legal
               guardian, or even close relatives:

               The challenged regulation requires such release when it is sought. Rather, the right at issue
               is the alleged right of a child who has no available parent, close relative, or legal guardian,
               and for whom the government is responsible, to be placed in the custody of a willing-and-
               able private custodian rather than of a government-operated or government selected child-
               care institution.




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children to be released to their parents or guardians, the Supreme Court considered that those
children had fewer due process rights. 16 As discussed herein, those conditions are changing as
children cannot be released to their parents and some detention facilities may be housed on federal
lands, including military bases. 17 Under these conditions, migrant children would arguably have
more due process rights than those whose rights were defined by the law in the 1990s. 18

In 1997, the federal government agreed in the Flores settlement agreement to provide “safe and
sanitary” conditions for detained children, 19 and that agreement has recently been enforced by
federal courts. 20 Contrary to this minimal requirement, court filings and media accounts report
basic needs at certain southern border facilities are not being met. Examples include lack of shower
facilities, soap, diapers, and nutritious food. 21 Additionally, there are multiple reports of sexual
violence by staff at facilities, lack of addressing trauma, use of solitary confinement to address
mental health, and deaths of children while detained. As this report discusses, these conditions
raise concerns under the Flores agreement, U.S. Constitution, and federal detention standards. 22

According to current news and U.S. Government Accountability Office reports, Department of
Health and Human Services shelters, which house migrant children after their initial detainment
by Customs and Border Protection, are still facing challenges of overcrowding; many are at
maximum capacity and there is now additional construction of emergency shelters for thousands



16
     Reno v. Flores, 507 U.S. at 302.
17
     See infra notes 300-309, 670-671.
18
  See also infra notes 610-613 (discussing Zadvydas v. Davis, 533 U.S. 678 (2001) (except in narrow circumstances
unreasonable to detain undocumented immigrants for over six months)).
19
  Stipulated Settlement Agreement, Flores v. Reno, No.CV 85-4544-RJK (Px) (C.D. Cal. Jan. 17, 1997) (hereinafter
Flores Agreement).

20
     See infra notes 277; 282; 288-290.
21
   Lizzie O’Leary, “Children Were Dirty, They Were Scared, and They Were Hungry,” The Atlantic, June 25, 2019,
https://www.theatlantic.com/family/archive/2019/06/child-detention-centersimmigration-attorney-
interview/592540/; Isaac Chotiner, “Inside a Texas Building Where the Government is Holding Immigrant
Children,” New Yorker, June 22, 2019, https://www.newyorker.com/news/q-and-a/inside-a-texas-building-where-
the-government-is-holding-immigrant-children; Cedar Attanasio, Garance Burke and Martha Mendoza, “Attorneys:
Texas Border Facility is Neglecting Migrant Kids,” AP News, June 21, 2019
https://www.apnews.com/46da2dbe04f54adbb875cfbc06bbc615.
22
   See infra notes 312-322 (discussing U.S. Immigration and Customs Enforcement, Performance-Based National
Detention Standards 2011, Revised December 2016, V. Expected Practices (hereinafter Immigration and Customs
Enforcement, Performance-Based National Detention Standards 2011) https://www.ice.gov/doclib/detention-
standards/2011/pbnds2011r2016.pdf)); See also infra notes 452-463 discussing constitutional concerns (deliberate
indifference discussion).




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    of children.23 There are also serious problems of overcrowding and lack of access to proper care,
    along with prolonged detention, of both adults and children at Border Patrol facilities, documented
    by the Department of Homeland Security, Office of Inspector General and corroborated by
    testimony received by the Commission. 24

    Bearing Witness: Voices from the Southern Border

    The most compelling voices heard by the Commission were those of formerly detained individuals
    who spoke out about the treatment they endured at border detention facilities and offered first-
    hand accounts of humiliation, trauma, fear, and courage.

    A migrant from El Salvador described his experience at a detention center in Texas and another
    detention center in New Jersey to which he was later transferred.

                 After crossing the border, Immigration put me in the hielera, a small cold
                 room with 40 other people. We had to sit on the floor because they did not
                 have beds or chairs. They only gave us aluminum blankets. The border
                 patrol agents shouted at us. They accused us of being smugglers. The
                 Immigration officers sent me to a detention center in Pearsall, Texas. The
                 guards humiliated us. We had to strip in front of one another and put prison
                 clothes on. The officers laughed and made fun of us. 25

                 The conditions [in New Jersey] were terrible. They gave us used underwear.
                 The meals were very small portions and sometimes we were hungry. Many
                 people got sick from the food they gave us. I remember well the meat was
                 like cardboard. In the detention center, a detainee hurt and threatened me. I
                 tried to speak to a supervisor but she shouted speak English and she didn't
                 even try to call an interpreter. I had to wait two days for an official who
                 spoke Spanish to accept my complaint. They took me to a hospital in
                 handcuffs and put me in solitary confinement in the detention center, as if I
                 had done something wrong. I felt very bad. I could not eat and I was shaking
                 with fear.26


    23
      See Maria Sacchetti, “HHS to House Thousands of Unaccompanied Minor Migrants on Military Bases and at
    Texas Facility,” Washington Post, June 7, 2019, https://www.washingtonpost.com/immigration/hhs-to-house-
    thousands-of-unaccompanied-minor-migrants-on-military-bases-at-texas-facility/2019/06/07/a6c2c95c-8938-11e9-
    a491-25df61c78dc4_story.html?utm_term=.7c65250890c2; See also, e.g., U.S. Gov’t Accountability Office,
    Unaccompanied Children DHS and HHS Have Taken Steps to Improve Transfers and Monitoring of Care, but
    Actions Still Needed, GAO-18-506T, Apr. 26, 2018, https://www.gao.gov/products/GAO-18-506T.

    24
         See infra notes 149; 325-329; 440-441; 424-425; 473-486; 538.
    25
         Robin A. Testimony, Public Comment Session, pp. 106-108.

    26
         Ibid.




                                                                                                      AR00197
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Another formerly detained migrant originally from Mexico explained that:

           My experience in jail was that I was detained in Orange County. My
           experience, what I saw there, it was horrible, terrible. What I experienced
           was the worst experience in my life. I was not allowed to eat for weeks. And
           I was not allowed to bathe. I lost my dignity as a human being there. I was
           sexually abused and psychologically abused as well. I tried to ask, to talk
           the immigration officers asking for help. I needed that someone listen to me,
           to listen to what was happening to me at that moment. I talked to the
           officers. They didn't listen to me.

           They ma[d]e fun of me. They did whatever they wanted with my dignity.
           They threw the food, my food, to the floor. I had to pick it up.27

These stories, like many others the Commission heard, demonstrate the concerns of the
Commission regarding a lack of due process and inhumane treatment at the hands of the U.S.
government.




27
     Eduardo Jiménez Testimony, Public Comment Session, p. 116.




                                                                                           AR00198
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    CHAPTER 1: Commission’s National Origin Jurisdiction, Prior Report, and
    Current Fact-Finding Investigation
    Congress has tasked the Commission with jurisdiction to investigate potential discrimination and
    violations of equal protection, including those based on national origin.28 “National origin” means
    “the country where a person was born, or, more broadly, the country from which plaintiff’s
    ancestors came.”29 The U.S. Citizenship and Immigration Services defines national origin as “the
    individual’s place of birth, country of origin, ethnicity, ancestry, native language, accent, or the
    perception that they look or sound ‘foreign.’” 30 Many other agencies similarly define national
    origin, including in guidance for federal law enforcement. 31

    Discrimination based on national origin happens when people are singled out and denied equal
    opportunity because “they or their family are from another country, because they have a name or
    accent associated with a national origin group, because they are limited English proficient, or
    because they participate in certain customs associated with a national origin group.” 32 Likewise,
    the Equal Employment Opportunity Commission defines discrimination on a basis of national
    origin as “including, but not limited to, the denial of equal employment opportunity because of an
    individual’s, or his or her ancestor’s, place of origin; or because an individual has the physical,
    cultural or linguistic characteristics of a national origin group.”33 Additionally, while the Supreme

    28
      See 42 U.S.C. § 1975a(a)(2)(A)-(D). Congress has tasked the Commission with “study[ing] and collect[ing]
    information relating to . . . discrimination or denials of equal protection . . . because of color, race, religion, sex, age,
    disability, or national origin, or in the administration of justice.”

    29
         Espinoza v. Farah Mfg. Co., 414 U.S. 86, 88-89 (1973).
    30
      U.S. Citizenship and Immigration Services, Handbook for Employers M-274: 11.2.3 National Origin
    Discrimination, July 2017, https://www.uscis.gov/i-9-central/1123-national-origin-discrimination.
    31
       The U.S. Customs and Border Protection follows guidance provided by the Department of Justice regarding the
    “Use of Race, Ethnicity, Gender, National Origin, Religion, Sexual Orientation, or Gender Identity.” See Dep’t. of
    Justice, Guidance for Federal Law Enforcement Agencies Regarding the Use of Race, Ethnicity, Gender, National
    Origin, Religion, Sexual Orientation, or Gender Identity, December 2014,
    https://www.justice.gov/sites/default/files/ag/pages/attachments/2014/12/08/use-of-race-
    policy.pdf?utm_source=google&utm_medium=google&utm_term=(not%20provided)&utm_content=undefined&ut
    m_campaign=(not%20set)&gclid=undefined&dclid=undefined&GAID=248423598.1569429947. In guidance for
    federal law enforcement, the Department. of Justice defines national origin as “an individual’s, or his or her
    ancestor’s, country of birth or origin, or an individual’s possession of the physical, cultural or linguistic
    characteristics commonly associated with a particular country.” Ibid., 2. The Department of Justice, Civil Rights
    Division defines national origin as someone’s “birthplace, ancestry, culture, or language.” Dep’t. of Justice, Civil
    Rights Division, Federal Protections Against National Origin Discrimination, August 2010, p. 1,
    http://www.justice.gov/sites/default/files/crt/legacy/2011/04/07/natorigin2.pdf.

    32
         Dep’t. of Justice, Federal Protections Against National Origin Discrimination, p. 1.
    33
      29 C.F.R. § 1606.1. The Equal Employment Opportunity Commission issued updated guidance in 2016, generally
    defining national origin discrimination as mentioned above, and provided further guidance on examples of national




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Court has distinguished between citizenship and national origin discrimination, the Court clarified
that the Civil Rights Act prohibits “discrimination on the basis of citizenship whenever it has the
purpose or effect of discriminating on the basis of national origin.” 34

In 2015, the Commission examined “civil rights and constitutional concerns” at immigration
detention centers, 35 and published “With Liberty and Justice for All: The State of Civil Rights at
Immigration Detention Facilities.” 36 The Commission’s 2015 report focused on the federal
government’s response to an increase in migration of children, and the “growing concerns over
federal apprehension of immigrants and inhumane detention conditions detained immigrants suffer
that are inconsistent with American values.”37 The Commission’s investigation included
background research and analysis, a briefing held in Washington, D.C., and fact-finding site visits
to the Karnes Immigration Family Detention Center in Karnes City, Texas and the Port Isabel
Immigration Detention Center in Los Fresnos, Texas. 38 Through this process:

             [T]he Commission gathered facts and data to analyze whether [the
             Department of Homeland Security], its component agencies, and private
             detention corporations with whom the federal government contracts to
             detain immigrants were complying with the Performance Based National
             Detention Standards, Prison Rape Elimination Act Standards, the Flores
             Settlement Agreement and other related immigrant child detention policies,
             and the United States Constitution. 39

In 2015, the Commission found that the federal government was not respecting the civil rights and
due process rights of immigrant detainees. 40 The Commission made several recommendations,
regarding families in detention, including that 1) Department of Homeland Security should act




origin discrimination. See U.S. Equal Emp. Opportunity Comm’n, EEOC Enforcement Guidance on National Origin
Discrimination, Nov. 18, 2016, https://www.eeoc.gov/laws/guidance/national-origin-guidance.cfm.

34
     Espinoza v. Farah Mfg. Co., 414 U.S. 86, 92 (1973).
35
     2015 Report, supra note 1.

36
     Ibid.
37
     Ibid., 2.

38
     Ibid., Letter of Transmittal, 1.
39
     Ibid.

40
     Ibid., 125.




                                                                                                          AR00200
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     immediately to release families from detention, 41 2) Congress should no longer fund family
     detention and should reduce its funding for immigration detention generally, in favor of
     alternatives to detention, 42 and 3) Department of Homeland Security must ensure the provision of
     appropriate education and mental and medical health care for all detained adults, children, and
     youth. 43 In response to the 2015 Report, a Department of Homeland Security spokesperson stated
     “[Department of Homeland Security] takes very seriously the health, safety and welfare of those
     in our care. The Department is committed to ensuring that individuals housed in our all of our
     centers have the proper care and appropriate resources, that they are held and treated in a safe,
     secure and humane manner, and that their civil and due process rights are respected. We have
     consistently improved and updated our standards and policies to reflect this commitment.”44

     Now, Department of Homeland Security’s 2018 zero tolerance policy and resulting separation of
     migrant children from their parents at the southern border (hereinafter “border”) have raised even
     more serious civil rights issues. On June 15, 2018, the Commission majority sent a letter to the
     Departments of Justice and Homeland Security, urging the ending of separating families at the
     border and the zero tolerance policy.45 The zero tolerance policy, the Commission noted, coerced
     parents into withdrawing valid asylum applications and impaired their legal immigration
     proceedings for fear of what would happen to their children if they did not comply. 46 The
     Commission emphasized its concern that these policies, directed at Mexican and Central American
     immigrants coming to the U.S. through the border, raised questions of unwarranted discrimination
     of the basis of national origin.47 In addition, the Commission noted that the policy disregarded that
     many of those individuals coming to the U.S. are fleeing dangerous situations in their home
     countries and are seeking asylum within the parameters of our nation’s immigration laws. 48 On



     41
          Ibid., Letter of Transmittal, 2.

     42
          Ibid., 129.
     43
          Ibid., 162.
     44
        Franco Ordóñez, “Civil Rights Commission: Release Migrant Children, Parents,” McClatchy DC, Sept. 17, 2015,
     https://www.mcclatchydc.com/news/nation-world/national/article35612661.html (citing: Dep’t. of Homeland
     Security spokesperson Marsha Catron).
     45
       U.S. Comm’n on Civil Rights Commissioners, letter to former Attorney General Jeff Sessions and former Dep’t.
     of Homeland Security Secretary, June 15, 2018, https://www.usccr.gov/press/2018/06-15-18-letter.pdf (hereinafter
     June 15 letter).

     46
          Ibid., 1.
     47
          Ibid., 1-2.

     48
          Ibid., 2.




                                                                                                           AR00201
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June 26, 2018, the Commission voted to reopen the 2015 investigation, and formed a bipartisan
subcommittee to facilitate discovery to update the 2015 report. 49

To gather information for this investigation, the subcommittee held a public forum on April 12,
2019, and solicited public comments in order to solicit information on the “condition of
immigration detention centers and status of treatment of immigrants, including children.”50 The
responses from the public forum and public comment period are documented in the third chapter
of this report. The Commission also sought formal discovery of information and documents from
the Departments of Homeland Security and Health and Human Services, but as of the publication
of this report the Commission has not received any responses or documents in connection with
these discovery requests. 51

Since the 1960s the Commission and its state advisory committees have chronicled the civil rights
implications of our nation’s immigration laws and policies.52 Herein, the Commission adds to this
record by examining the due process rights of detainees (including children) regarding the right to
family integrity/unity, rights related to conditions of confinement, and the right to counsel during
immigration proceedings. In addition, the Commission seeks to determine if national origin
discrimination underlie any of the federal government’s actions in separating families. The
Commission also considers language access and whether the federal government is apprising
migrants of their rights or inquiring about their status at crossing, while detained, and throughout
any legal proceedings.

49
  U.S. Comm’n on Civil Rights, Telephonic Business Meeting, U.S. Commission on Civil Rights, Washington, D.C.,
June 26, 2018, transcript, p. 17.
50
     U.S. Comm’n on Civil Rights, Sunshine Act Meeting Notice, 84 Fed. Reg. 13003 (Apr. 3, 2019).
51
   Under the Commission’s authorizing statute, “[a]ll Federal agencies shall cooperate fully with the Commission to
the end that it may effectively carry out its functions and duties.” 42 U.S.C. § 1975b(e). On August 16, 2018, the
Commission served discovery requests to Dep’t. of Homeland Security seeking information regarding the conditions
of detention of undocumented immigrant children and families. See Maureen Rudolph, General Counsel, U.S.
Comm’n on Civil Rights to Kirstjen Nielsen, Secretary, Dep’t. of Homeland Security, Aug. 16, 2018,
https://www.usccr.gov/press/2018/12-12-DHS-letter.pdf (a copy of this discovery request can be found in Appendix
B). On September 17, 2018, Dep’t. of Homeland Security wrote a letter objecting to the Commission’s jurisdiction
to collect such information. On October 18, 2018, the Commission replied to Dep’t. of Homeland Security’s letter
explaining how the Commission had jurisdiction. The Commission also served similar discovery requests to
Department of Health and Human Services on December 11, 2018, and followed up with a letter on February 15,
2019, after not receiving a response. See Interrogatories sent from Maureen Rudolph, General Counsel, U.S.
Comm’n on Civil Rights to Alex M. Azar, Secretary, U.S. Dep’t of Health and Human Services, Dec. 11, 2018,
https://www.usccr.gov/press/2018/12-12-HHS-letter.pdf (a copy of this discovery request can be found in Appendix
C).
52
  See U.S. Comm’n on Civil Rights, The Mexican American; A Paper Prepared for the U.S. Commission on Civil
Rights, 1968, https://www2.law.umaryland.edu/marshall/usccr/documents/cr12m57.pdf; U.S. Comm’n on Civil
Rights, U.S. Commission on Civil Rights Commends President Obama on Issuance of Immigration Accountability
Executive Action, Nov. 21, 2014, http://www.usccr.gov/press/2014/Immigration_letter.pdf (summarizing history of
U.S. Comm’n on Civil Rights immigration investigations).




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     CHAPTER 2: Historic and Current Treatment of Migrants at the Southern
     Border
     This chapter provides context and background for the current situation of immigrant arrivals at the
     southern border, conditions at detention facilities, treatment of immigrant detainees, and recent
     policy changes that triggered the Commission’s investigation. The federal response to migrants at
     the border involves multiple federal departments and agencies, whose actions are governed by
     various federal statutes, the U.S. Constitution, case law, consent decrees, policies, and standards.53
     This chapter provides a brief summary of the various roles of federal departments and agencies
     federal policies that affect federal immigration detention practices.

     Historic Treatment of Migrants from Central and South America

     The current immigration policies are the latest in a long history of the U.S. government’s pattern
     of inviting and then reversing course to deport migrants. When the U.S. agricultural economy
     needed laborers to fill work shortages in the early 1900s, there was a large push to establish the
     first guest-worker program to fill those needs. 54 As migration from Europe declined, the U.S.
     increasingly turned to Mexico to fill the void by bringing more than 70,000 Mexican workers into
     the U.S., providing Mexican migrants with temporary legal status that lasted for decades. 55 But in
     the late 1920s to the mid-1930s, as the U.S. attempted to rebuild after the Great Depression, more
     than 50,000 Mexican American immigrants, including those who had become U.S. citizens as well
     as U.S. citizen children, were rounded up and sent back to Mexico - known as the Mexican
     Repatriations - under the belief that deporting them would provide job opportunities for native-
     born citizens. 56 What ensued was a “racially motivated program to create jobs by getting rid of
     people.”57 This targeted effort consisted of raids in cities that were heavily populated by Latino




     53
          A summary of federal agency roles in immigration is provided in Appendix A.
     54
        “Timeline of Agricultural Labor,” National Farm Worker Ministry, http://nfwm.org/farm-workers/farm-worker-
     issues/timeline-of-agricultural-labor/ (accessed July 9, 2019).

     55
          Ibid.
     56
       Steven Mintz, “Historical Context: Mexican Americans and the Great Depression,” Gilder Lehrman Institute of
     American History, https://www.gilderlehrman.org/content/historical-context-mexican-americans-and-great-
     depression (accessed July 10, 2019).
     57
        Alex Wagner, “America’s Forgotten History of Illegal Deportations,” The Atlantic, Mar. 6, 2017,
     https://www.theatlantic.com/politics/archive/2017/03/americas-brutal-forgotten-history-of-illegal-
     deportations/517971/.




                                                                                                          AR00203
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people and resulted in the deportation by train and busloads of thousands of Mexican Americans,
who were sent to regions of Mexico without regard to where their family originated. 58

In 1929, Congress passed the law which made entering the U.S. without authorization a criminal
misdemeanor. 59 The law, originally constructed by Senator Coleman Livingston Blease, a white
supremacist who also defended lynching and segregation, and then Secretary of Labor, James
Davis, who oversaw immigration under the Department, was done so with two goals in mind –
deterrence and punishment.60 Between 1920 and 1930 close to 7,000 illegal entry and re-entry
entrants were prosecuted under the new law. 61 Along with the Quota Acts of 1921 and 1924
severely limiting immigration from Asia, “[I]mmigration policy [during this period] rearticulated
the U.S.-Mexico border as a cultural and racial boundary, as a creator of illegal immigration.
Federal officials self-consciously understood their task as creating a barrier where, in a practical
sense, none had existed before.” 62

In the 1940s and continuing through the 1960s, the U.S. government reopened its doors and invited
close to 400,000 temporary workers from Mexico through a series of bi-lateral agreements with
Mexico that became known as the Bracero Program. 63 Notwithstanding the Bracero Program,
many Mexicans chose to enter the U.S. without authorization (versus through the Bracero
Program), and by late 1948 the Department of Justice convicted nearly 8,000 individuals for illegal



58
  Ibid.; see also Francisco E. Balderrama and Raymond Rodríguez, Decade of Betrayal: Mexican Repatriation in
the 1930s (New Mexico: University of New Mexico Press, 2006) (describing the injustice and discrimination that
the Mexican American community experienced in 1930s).
59
   See 8 U.S.C. § 1325; Act of Mar. 4, 1929, Pub. L. No. 70-1018, § 2, 45 Stat. 1551 (final version of the law),
http://legisworks.org/congress/70/publaw-1018.pdf; see also Ian MacDougall, “Behind the Criminal Immigration
Law: Eugenics and White Supremacy,” ProPublica, June 19, 2018, https://www.propublica.org/article/behind-the-
criminal-immigration-law-eugenics-and-white-supremacy; Jasmine Aguilera, “Section 1325 of U.S. Immigration
Law was a Hot Topic in Wednesday’s Debate. Here’s Why it’s a Big Deal,” Time, June 27, 2019,
https://time.com/5615757/section-1325-immigration-law-2020-debate/.

60
     MacDougall, “Behind the Criminal Immigration Law.”
61
   See U.S. Dep’t of Labor, Annual Report of the Commissioner General of Immigration, (Washington, DC.
Government Printing Office, 1930), p. 21,
https://archive.org/stream/annualreportofco1930unit/annualreportofco1930unit_djvu.txt; see also Doug Keller, Re-
thinking Illegal Entry and Re-entry, 44 LOY. U. CHI. L. J. 65, 76 (2012),
https://lawecommons.luc.edu/luclj/vol44/iss1/2/?utm_source=lawecommons.luc.edu%2Fluclj%2Fvol44%2Fiss1%2
F2&utm_medium=PDF&utm_campaign=PDFCoverPages.
62
 Keller, supra note 61, at 72 (quoting Mae M. Ngai, Impossible Subjects: Illegal Aliens and the Making of Modern
America 67 (2004)).
63
  “The Bracero Program: Bracero History Archive,” UCLA Labor Center, https://www.labor.ucla.edu/what-we-
do/research-tools/the-bracero-program/ (accessed July 9, 2019).




                                                                                                      AR00204
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     entry and re-entry and by 1951, that number grew close to 15,000. 64 Most of the individuals
     entering without authorization, however, were not actually criminally prosecuted and were offered
     voluntary departure.65 And despite their contributions to U.S. agriculture and labor market,
     Mexican laborers were continually treated as a “temporary fix for the domestic economy’s current
     labor needs.”66

                 [B]y treating the immigrant as a temporary fix for the domestic economy’s
                 current labor needs, guest worker programs encourage the receiving society
                 to treat immigrants as mere means to an end rather than as potentially
                 permanent members of its communities. By labeling the immigrant a
                 temporary guest, such programs contribute to a climate of inflexibility and
                 intolerance vis-a-vis the cultural pluralism immigrants inevitably
                 generate—a belief that immigrants should be temporary and should not
                 change the “character” of our communities. 67

     In 1952, Congress passed a number of immigration reforms in the McCarran-Walter Act, which
     re-codified all of the immigration law, repealing some laws and creating new ones including
     revised illegal entry and re-entry provisions. 68 The revised illegal entry offense was categorized
     as misdemeanor punishable by up to six months in prison, 69 and the second offense deemed a
     felony punishable by up to two years in prison. 70 Two years later, in 1954, the U.S. government
     undertook “Operation Wetback” -- a plan instituted by President Eisenhower who ordered Border
     Patrol to round up millions of undocumented immigrants (and U.S. citizens of Mexican descent),



     64
       See U.S. Dep’t of Labor, Annual Report of the Commissioner General of Immigration, 81 tbl.49A, (noting that
     there were nearly 3500 convictions for illegal entry and over 4100 convictions for illegal re-entry); see also Keller,
     supra note 61, at 80.
     65
          Keller, supra note 61, at 80-81.
     66
      Cristina M. Rodríguez, Guest Workers and Integration: Toward a Theory of What Immigrants and Americans
     Owe One Another, 2007 U. CHI. LEGAL F. 219 (2007).

     67
          Id. at 224.
     68
        See generally Act of June 27, 1952, Pub. L. No. 82-414, ch. 477, § 275, 66 Stat. 163; see also Keller supra note
     61, at 83. Under the revised illegal entry provision, an “alien” (i.e., a noncitizen) who “(1) enters the United States at
     any time or place other than as designated by immigration officers, or (2) eludes examination or inspection by
     immigration officers, or (3) obtains entry to the United States by a willfully false or misleading representation or the
     willful concealment of a material fact.” Thus, consistent with the initial enactment of the law, illegal entry was a
     criminal offense, but illegal presence in the U.S. was merely a civil offense.
     69
        Act of March 4, 1929, Pub. L. No. 70-1018, ch. 690, § 2, 45 Stat. 1551 (The 1929 version of the law made the
     first offense punishable by up to a year.).
     70
       Act of June 27, 1952, Pub. L. No. 82-414, ch. 477, § 275, 66 Stat. 163, 229 (The illegal entry provision was
     codified at 8 U.S.C. § 1325, where it remains.).




                                                                                                                   AR00205
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and begin deportation efforts. 71 By 1964, the Bracero program ended. Despite the program’s
termination, less expensive Mexican labor remained in high demand, but many Mexican workers
no longer had legal status to work in the U.S. 72

The 1965 Immigration and Nationality Act was the first immigration-related statute to be revised
after the 1964 Civil Rights Act.73 The Immigration and Nationality Act previously included
discriminatory national origin quotas that permitted large numbers of immigrants from Europe,
while limiting immigration from other regions of the world. 74 The current Immigration and
Nationality Act prohibits such national origin discrimination and permits that each country receive
seven percent of available visas. 75 This has resulted in a disparate impact on individuals who would
seek to migrate legally from India, China, the Philippines, and Mexico, as their wait list for the
major categories of legal visas stretches for decades, while wait lists from most European countries
are non-existent. 76 However, the Immigration and Nationality Act also remedied the more extreme
prior disparities caused by the former discriminatory quotas, resulting in changing demographics
of immigration to the U.S. In 1960, 75% of immigrants came from Europe, whereas by 2012, that

71
  Juan Ramón García, Operation Wetback: The Mass Deportation of Mexican Undocumented Workers in 1954,
(United States: Praeger 1980); Ian F. Haney-López, Racism on Trial: The Chicano Fight for Justice,
(Massachusetts: Belknap Press, 2003); see also “Depression War, and Civil Rights, Hispanics in the Southwest,”
U.S. House of Representatives: History, Art, and Archives, https://history.house.gov/Exhibitions-and-
Publications/HAIC/Historical-Essays/Separate-Interests/Depression-War-Civil-Rights/ (accessed July 9, 2019).

72
     Keller, supra note 61, at 88-89.
73
     Immigration and Nationality Act of 1952, Pub. L. 82-414, 66 Stat. 163 (codified at 8 U.S.C. ch.12).
74
  See Quota Act of 1921, Pub. L. No. 67-5, ch. 8, § 2, 42 Stat. 5; Immigration Act of 1924, Pub. L. No. 68-139, ch.
190, § 11, 43 Stat. 153.
75
  8 U.S.C. §§ 1152(a)(1)(nondiscrimination) and 1152(a)(2)(with limited exceptions, family-sponsored and
employment-based visas given to natives of each foreign state not exceed 7 percent of worldwide total).
76
   See, e.g., David J. Bier, “Immigration Wait Times from Quotas Have Doubled: Green Card Backlogs are Long,
Growing and Inequitable,” Cato Institute, June 18, 2019, pp. 2-3
https://object.cato.org/sites/cato.org/files/pubs/pdf/pa-873-updated.pdf (reviewing United States Citizenship and
Immigration Services processing times and finding that:

           The country limits result in each nationality waiting in lines that move at different speeds
           within each category. The wait time for Mexican siblings of U.S. citizens is different from
           that of Filipino siblings of U.S. citizens, and both wait times differ from those of Mexican
           or Filipino spouses of legal permanent residents. For the most part, just four nationalities—
           Indians, Chinese, Filipinos, and Mexicans—reach the country limits. When a nationality
           reaches the country limit, nationals of other countries pass them in the line. Each month,
           the State Department publishes the Visa Bulletin, which informs immigrants who entered
           the line before a certain date that they may now apply for a green card. For example, in
           October 2018, the date for Mexican-born siblings of U.S. citizens was January 22, 1998,
           meaning that Mexican-born siblings had waited about two decades for the chance to apply
           for a green card.




                                                                                                           AR00206
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     number dropped to less than 12%. 77 As the following Census data analyzed by Migration Policy
     Institute illustrates, from 1965 to 2017, immigration has changed from largely European to largely
     non-European:
                Table 1: Regions of Birth for Immigrants in the United States, 1960-Present 78




     Source: Migration Policy Institute tabulation of data from U.S. Census Bureau, 2010 and 2017 American
     Community Surveys, and 2000 Decennial Census; data for 1960 to 1990 were from Campbell J. Gibson
     and Emily Lennon, "Historical Census Statistics on the Foreign-Born Population of the United States:
     1850-1990" (Working Paper No. 29, U.S. Census Bureau, Washington, D.C., February 1999).


     77
        “The Facts on Immigration Today,” Center for American Progress, Oct. 23, 2014,
     https://www.americanprogress.org/issues/immigration/reports/2014/10/23/59040/the-facts-on-immigration-today-3/.

     78
        Migration Policy Institute, Regions of Birth for Immigrants in the United States, 1960-Present,
     https://www.migrationpolicy.org/programs/data-hub/us-immigration-trends (accessed July 9, 2019) (noting “[t]his
     bar chart displays the immigrant population in the United States, between 1960 and 2017, by region of birth. The
     chart demonstrates the significant shift in origins—from mostly European to predominantly Latin American and
     Asian, and more recently African—that resulted after enactment of the 1965 amendments to the Immigration and
     Nationality Act.”).




                                                                                                            AR00207
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During the same period of time, and particularly since the 1990s, U.S. immigration policy became
stricter.79 An example of such stringent legislation came in 1996 when Congress passed the Illegal
Immigration Reform and Immigration Responsibility Act. 80 This legislation amended 8 U.S.C. §
1325 to make it possible for a noncitizen “apprehended while entering or attempting to enter the
United States at a time or place other than as designated by immigration officers” to be charged
with a civil penalty. 81 The Illegal Immigration Reform and Immigration Responsibility Act also
introduced bars to reentry to the U.S. for individuals who had previously accrued unlawful
presence in the U.S., such that persons who would otherwise have access to legal status under other
provisions under the Immigration and Nationality Act could no longer enter the U.S. legally. 82
Scholars have also documented that stricter immigration controls have been pushed by xenophobic
reactions to non-white immigrants. 83 In particular, scholars have pointed to policies like “Secure
Communities” and state laws like Arizona’s S.B. 1070 as targeting Latino immigrants. 84




79
  See, e.g., Yolanda Vázquez, Constructing Crimmigration: Latino Subordination in A “Post-Racial” World, 76
OHIO ST. L.J. 599, 636-37 (2015) (tracing the history of immigration policy developments from the 1980s to today);
David Alan Sklansky, Crime, Immigration, and Ad Hoc Instrumentalism, 15 NEW CRIM. L. REV. 157, 157 (2012)
(describing the “rise of an intertwined regime of “crimmigration” law. . . attributed to some combination of
nativism, overcriminalization”); César Cuauhtémoc García Hernández, Creating Crimmigration, 2013 B.Y.U. L.
REV. 1457, 1461-67 (2013) (assessing the disparate racial impacts of the criminal justice system on contemporary
immigration enforcement); see also Yolanda Vázquez, Perpetuating the Marginalization of Latinos: A Collateral
Consequence of the Incorporation of Immigration Law into the Criminal Justice System, 54 HOW. L.J. 639, 666
(2011) (examining the disparate deportation of Latinos; in 2009 comprising ninety-four percent of deportations).
80
  Immigration Reform and Immigration Responsibility Act, Division C of Pub. L. No. 104-208, 110 Stat. 3009-546
(1996).
81
     Id. § 105, 110 Stat. 3009-556 (codified at 8 U.S.C. § 1325).
82
  Id. § 301, 110 Stat. 3009-576 (codified at 8 U.S.C. § 1182(a)) (introducing 3- and 10-year bars to reenter the U.S.
for certain individuals who have accrued various lengths of unlawful presence in the U.S.).
83
  See, e.g., Kevin Johnson, Doubling Down on Racial Discrimination: The Racially Disparate Impacts of Crime-
Based Removals, 66 CASE W. RES. L. REV. 993, 1000-01, 1002, 1017 (2016) (the people most directly affected by
the failure of comprehensive immigration reform and increased removals are noncitizens of color); Doris Marie
Provine and Roxanne Lynn Doty, “The Criminalization of Immigrants as a Racial Project,” JOURNAL OF
CONTEMPORARY CRIMINAL JUSTICE 27(3), 261-77 (2011) (examining how contemporary immigration policies
“reinforce racialized anxieties”); see generally Karla Mari McKanders, The Constitutionality of State and Local
Laws Targeting Immigrants, 31 U. ARK. LITTLE ROCK L. REV. 579 (2009).
84
  See Mariela Olivares, Intersectionality at the Intersection of Profiteering and Immigration Detention, 94 NEB. L.
REV. 963, 1010-12 (2015) (reviewing state and federal immigration policies passed between 1965-2015, including
“Secure Communities” and Arizona’s S.B. 1070 and observing that more recent “historical and contemporary efforts
highlight the fact that, although neither federal nor local laws explicitly and formally include racially or
ethnocentrically prohibitive provisions, the practical effect of law and policy is to continue to disparately oppress
immigrants of color and, particularly, Latina/os.”).




                                                                                                          AR00208
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     As discussed above, the criminalization of illegal entry under 8 U.S.C. § 1325 has been around for
     exactly 90 years. 85 Yet, because enforcement is at the discretion of the president, each
     administration has applied it with varying degrees of intensity. For the first decade after Congress
     passed 8 U.S.C. § 1325, the U.S. prosecuted more than 44,000 illegal entry cases. 86 Due to the
     implementation of various economic and social programs in addition to the fact that the southern
     border was largely unguarded, the years between 1987 and 1992 saw a slump in the rate of
     apprehension and subsequent prosecutions for illegal entry. 87 From 1996 to 2000, the Clinton
     Administration remained under 20,000 immigration prosecutions a year. 88 From 2001-2002, the
     Bush Administration prosecuted a similar amount of immigration cases, holding fairly steady at
     around 20,000 prosecutions a year. 89 In November of 2002, Congress passed the Homeland
     Security Act, officially creating the Department of Homeland Security giving it the power to refer
     the prosecution of immigrants. 90 The year 2003 was subsequently marked by a slight increase of
     immigration prosecutions, and by 2008 this slight increase in prosecutions peaked to 80,000 cases
     a year. 91 In 2009, the Obama Administration continued with increasing immigration prosecutions
     and in 2013 at its peak, prosecuted over 95,000 immigration violation cases in a single year. 92 In
     2016, the criminal prosecutions for immigration violations accounted for 52 percent of all federal
     criminal prosecutions. 93 Of the prosecutions involving immigration violations, 35,367 out of the
     69,298 cases involved charges under 8 U.S.C. § 1325. 94

     85
       See supra note 59; 8 U.S.C. § 1325; Act of Mar. 4, 1929, Pub. L. No. 70-1018, § 2, 45 Stat. 1551 (final version of
     the law), http://legisworks.org/congress/70/publaw-1018.pdf.
     86
       Gaby Del Valle, “The Dark, Racist History of Section 1325 of U.S. Immigration Law,” VICE News, June 27,
     2019, https://news.vice.com/en_us/article/a3x8x8/the-dark-racist-history-of-section-1325-of-us-immigration-law.

     87
          Keller, supra note 61, at 76.
     88
       Transactional Records Access Clearinghouse Reports, Immigration Now 52 Percent of All Federal Crime
     Prosecutions, https://trac.syr.edu/tracreports/crim/446/ (accessed July 28, 2019).
     89
          Ibid.

     90
          Homeland Security Act of 2002, Pub. L. 107-296 (codified at 6 U.S.C. § 101).
     91
       Transactional Records Access Clearinghouse Reports, Immigration Now 52 Percent of All Federal Crime
     Prosecutions.
     92
          Ibid.

     93
          Ibid.
     94
        Ibid. Other immigration violation charges in the 69,298 figure include those under: 8 U.S.C. § 1326 (Reentry of a
     deported noncitizen), 8 U.S.C. § 1324 (Bringing in and harboring certain noncitizens), 8 U.S.C. § 1546 (Fraud and
     misuse of visas, permits, and other documents), 18 U.S.C. § 1544 (Misuse of passport), 18 U.S.C. § 1028 (Fraud and
     related activity – Id documents), 18 U.S.C. § 1542 (False statements in application and use of passport), 18 U.S.C. §
     922 (Firearms; Unlawful acts), 21 U.S.C. § 841 (Drug abuse Prevention & Control-Prohibited acts A), & 18 U.S.C.
     § 371 (Conspiracy to commit offense or to defraud the U.S.).




                                                                                                              AR00209
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At present, the overwhelming majority of persons crossing the southern border are people of color,
primarily from Latin America.95 Border Patrol data about arrests at the southern border with
Mexico and northern border with Canada from FY 2015-2018, show that a total of 837,518
individuals were arrested, the great majority of whom were arrested at the southern border. 96 Of
the people arrested by the Border Patrol, 537,650 (64.2%) were from Mexico, 110,802 (13.2%)
were from Guatemala, 72,402 (8.6%) were from El Salvador, 68,088 (8.1%) were from Honduras,
and 11,600 (0.01%) were from India. 97

In addition, the Trump Administration’s characterization of certain countries exacerbates harmful
and untrue stereotypes about immigrants of color, including Latino immigrants. Recent comments
from political leaders single out immigrants of color as somehow being less desirable than those
from countries where the population is primarily white.98 Then candidate Trump’s characterization
of Mexicans as “rapists and murderers”99 further inflames negative and untrue connotations
about Mexicans and immigrants from Mexico and these statements have been considered
by federal courts as indicia of discriminatory intent. 100 Likewise, the Administration’s

95
  From 2010-2014, 71% of unauthorized immigrants in the U.S. were from Mexico and Central America, and 4%
were from South America, such that 75% were from Latin American countries. Zong et al., “Frequently Requested
Statistics”; see also Dara Sharif, “Haitians and Africans Are Increasingly Among Those Stranded Along US –
Mexico Border by Trump Immigration Policies,” The Root, July 9, 2019, https://www.theroot.com/haitians-and-
africans-are-increasingly-among-those-stra-1836201429.
96
   Transactional Records Access Clearinghouse Reports, Border Patrol Arrests,
https://trac.syr.edu/phptools/immigration/cbparrest/ (accessed July 11, 2019) (“The data currently begin in October
2014 and track Border Patrol apprehensions through April 2018. (Data for two months - August and September
2017 - has not as yet been received.) Additional FOIA requests are currently outstanding for more recent time
periods. As more data become available, the App will continue to be updated.”).
97
     Ibid.
98
   For example, President Trump reportedly expressed frustration with lawmakers who wished to protect immigrants
from “shithole” countries such as Haiti, El Salvador, and African countries, and suggested the United States bring
more people from countries like Norway. Josh Dawsey, “Trump Derides Protections for Immigrants from ‘Shithole’
Countries,” Washington Post, Jan. 12, 2018, https://www.washingtonpost.com/politics/trump-attacks-protections-
for-immigrants-from-shithole-countries-in-oval-office-meeting/2018/01/11/bfc0725c-f711-11e7-91af-
31ac729add94_story.html; see also Ibram X. Kendi, “The Day ‘Shithole’ Entered the Presidential Lexicon,” The
Atlantic, Jan. 13, 2019, https://www.theatlantic.com/politics/archive/2019/01/shithole-countries/580054/; Terje
Solsvik and Camilla Knudsen, “‘Thanks, but no thanks’ – Norwegians Reject Trump’s Immigration Offer,” Reuters,
Jan. 12, 2018, https://www.reuters.com/article/us-usa-trump-immigration-norway/thanks-but-no-thanks-norwegians-
reject-trumps-immigration-offer-idUSKBN1F11QK.
99
   See Centro Presente v. U.S. Dep’t of Homeland Sec., 332 F.Supp.3d 393, 400-01 (D. Mass. 2018) (allegations
quoting then-candidate Trump regarding Mexican immigrants and alleging they are sending criminals and rapists);
Katie Reilly, “Here Are All the Times Donald Trump Insulted Mexicans,” Time Magazine, Aug. 31, 2016,
https://time.com/4473972/donald-trump-mexico-meeting-insult/.
100
   See Centro Presente v. U.S. Dep’t of Homeland Sec., 332 F.Supp.3d 393, 412 (finding that Temporary Protective
Status (TPS) recipients adequately alleged that the change in TPS policy raised a serious question of equal
protection and due process); Ramos v. Nielsen, 336 F.Supp.3d 1075, 1098 (N.D. Cal. 2018) (“Plaintiffs have
provided sufficient evidence to raise serious questions as to whether a discriminatory purpose was a motivating
factor in the decisions to terminate the [Temporary Protective Status] designations. In particular, Plaintiffs have




                                                                                                         AR00210
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     rhetoric about building a wall between the U.S. and Mexico in order to keep Mexican immigrants
     out of the U.S. has been considered as additional evidence of the bias against Latino individuals
     and Latino immigrants. 101 These statements add to historic and unfortunately ongoing
     discriminatory treatment of immigrants of color (including immigrants from Latin America) in the
     United States. 102

     Other Changes in Demographics of Migrants and Factors for Migration

     The typical migrant crossing the southern boarder used to be a single man from Mexico looking
     for work in the United States, but today, there are actually more Mexicans leaving the United
     States than entering.103 In recent years, typical migrants are families or children escaping violent
     crime, unrestrained gangs, and failing economies in their home countries in Central America. 104
     These families seeking asylum turn themselves into Border Patrol at a higher rate, attempting to


     provided evidence indicating that (1) the [Dep’t. Of Homeland Security] Acting Secretary or Secretary was
     influenced by President Trump and/or the White House in her [Temporary Protective Status] decision-making and
     (2) President Trump has expressed animus against non-white, non-European immigrants. As this Court noted, even
     if the [Dep’t. Of Homeland Security] Secretary or Acting Secretary did not “personally harbor animus . . ., their
     actions may violate the equal protection guarantee if President Trump’s alleged animus influenced or manipulated
     their decision making process.”); Regents of the Univ. of California v. U.S. Dep’t of Homeland Sec., 908 F.3d 476,
     514-15 (9th Cir. 2018) (holding that because U.S. Citizenship and Immigration Services retained ultimate
     discretionary authority over protections granted by Deferred Action for Childhood Arrivals, illegal immigrants did
     not possess a liberty or property interest protected by due process; but upholding plaintiff’s equal protection claim
     given that the recession of Deferred Action for Childhood Arrivals was motivated by discriminatory animus).

     In fact, studies have shown that immigrants (who are majority Mexican nationals) commit fewer crimes than U.S.
     citizens. See, e.g., Anna Flagg, “Is There a Connection Between Undocumented Immigrants and Crime?,” The
     Marshall Project, May 13, 2019, https://www.themarshallproject.org/2019/05/13/is-there-a-connection-between-
     undocumented-immigrants-and-crime (citing various studies and adding her own study comparing FBI crime data to
     immigration data).
     101
       Kristen Martnez-Gugerli, “Xenophobia and the American Immigration Debate: The Way We View Latino
     Immigrants,” Panorama, Oct. 11, 2018, https://www.panoramas.pitt.edu/health-and-society/xenophobia-and-
     american-immigration-debate-way-we-view-latino-immigrants.
     102
        Lee J. Terán, “Civil Rights and Immigration: Fifty Years of Failed U.S. Immigration Laws,” Holding up the
     Mirror 50 Years Later, Mexican American in Texas: 1968-2019, Reports and Recommendations to the U.S.
     Commission Civil Rights,” Nov. 18, 2018, ch. 3: “Civil Rights and Immigration: Fifty Years of Failed U.S.
     Immigration Laws” (includes list of relevant past Commission and advisory committee reports including “The
     Tarnished Golden Door: Civil Rights Issues in Immigration” (1980), “Federal Immigration Law Enforcement in the
     Southwest: Civil Rights Impacts on Border Communities” (1997) (joint report of Arizona, California, New Mexico,
     and Texas Advisory Committees), and “Migrant Civil Rights Issues Along the Southwest Border” (2003)).
     103
         Miriam Jordan, “More Migrants Are Crossing the Border This Year. What’s Changed?,” New York Times, Mar.
     5, 2019, https://www.nytimes.com/2019/03/05/us/crossing-the-border-statistics.html (hereinafter Jordan, “More
     Migrants Are Crossing the Border.”).
     104
        Adam Isacson, “The U.S. Government’s 2018 Border Data Clearly Shows Why the Trump Administration is on
     the Wrong Track,” Washington Office on Latin America, Nov. 9, 2018, https://www.wola.org/analysis/us-
     government-2018-border-data-trump-immigration-asylum-policy/ (hereinafter, Isacson, “2018 Border Data.”).




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enter with a legal claim of asylum. 105 In 2018, although the total number of migrants apprehended
by Border Patrol was the fifth lowest total it had been since 1973, the proportion of migrants who
were children and families reached a record high. 106 In 2012, only 10% of apprehended migrants
were children and families whereas in 2018, it had grown to 40%. 107 From the beginning of the
fiscal year in October 2018 to March 2019, Border Patrol detained 136,150 people traveling in
families with children, compared with 107,212 detained during all of fiscal year 2018. 108

The changing demographics of migrants reflects the changing living conditions in Central
America, particularly El Salvador, Guatemala and Honduras, three countries with some of the
world’s highest levels of violent crime and homicide. 109 Although the number of unaccompanied
children peaked in FY 2014 and has declined slightly since, the number of female migrants has
been increasing.110 From FY 1995 to FY 2017, female Mexican migrants averaged about 13% of
all Mexican migrants. 111 Today, migrants from Central America are more likely to be female than
in previous years, with women accounting for 48% of all Salvadoran migrants and 43% of all
Honduran migrants in FY 2017. 112

The Obama Administration directed aid and funding to the Northern Triangle countries of El
Salvador, Guatemala, and Honduras. 113 This money was primarily distributed to U.S. agencies,
international organizations, and non-profits and aimed at fostering economic growth, improving
governance, and improving security in these three countries. 114 In order to receive the aid, each
country’s government was required to meet multiple benchmarks established by the State
Department that proved they were working to combat corruption, expand their economies, and



105
      Ibid.

106
      Ibid.
107
      Ibid.

108
      Jordan, “More Migrants Are Crossing the Border.”
109
      Ibid; Isacson, “2018 Border Data.”
110
   Stephanie Leutert, “Who’s Really Crossing the U.S. Border, and Why They’re Coming,” Lawfare, June 23, 2018,
https://www.lawfareblog.com/whos-really-crossing-us-border-and-why-theyre-coming.

111
      Ibid.
112
      Ibid.
113
   Ted Hesson, “White House Slow-walking Aid to Central America,” Politico, Mar. 27, 2019,
https://www.politico.com/story/2019/03/27/central-america-aid-1292760.

114
      Ibid.




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     focus on judicial reform.115 According to a July 2019 report by the Congressional Research Office,
     the U.S. had allocated $2.6 billion to Central America since fiscal year 2016. 116

     In March 2019, President Trump declared that the U.S. would no longer be giving aid to Central
     American countries, in part because he believed the countries were encouraging migrants to come
     to the United States. 117 Following President Trump’s declaration, the State Department determined
     that about $432 million in aid from prior projects (from the Fiscal Year 2017 budget) would stay
     in place but further funding (approximately $370 million from the Fiscal Year 2018 budget) would
     be held back, pending further review. 118 Immigration policy experts state that the lack of aid would
     likely increase the number of migrants fleeing Central America for the U.S. 119

     Policy Changes and Their Impact on Enforcement at the Southern Border

     Several executive branch immigration policies directly impact the treatment of asylum seekers,
     families, and children: zero tolerance; metering; Migration Protection Protocols (remain in
     Mexico); Third Country Asylum Rule; and the decision that domestic violence is not a basis upon
     which asylum will be granted in the U.S.

     Zero Tolerance: Prosecute All Who Cross

     Zero tolerance has resulted in the separation of thousands of migrant children, including infants
     and toddlers, from their parents, converted them into unaccompanied minors, and forced them into
     shelters for 6-8 months, or more. On April 6, 2018, then-Attorney General Jeff Sessions issued the
     zero tolerance policy memorandum for attempted entry or reentry into the United States along the
     Southwest border (defined as the border between Mexico and California, Arizona, New Mexico,




     115
           Ibid.
     116
        Congressional Research Service, U.S. Strategy for Engagement in Central America: An Overview, by Peter J.
     Meyer, July 2019, p. 1, https://crsreports.congress.gov/product/pdf/IF/IF10371; Samantha Raphelson, “U.S.
     Decision to Cut Central America Aid Could Worsen Migrant Crisis, Experts Say,” NPR, Apr. 2, 2019,
     https://www.npr.org/2019/04/02/709089322/u-s-decision-to-cut-central-american-aid-could-worsen-migrant-crisis-
     experts-say.
     117
        Hesson, “White House Slow-walking Aid.”; Julian Borger, “Trump Plans to Cut Central America Aid, Blaming
     Countries for Migrant Caravans,” The Guardian, Apr. 2, 2019,
     https://www.theguardian.com/world/2019/apr/03/trump-to-sanction-central-american-nations-with-aid-cuts.
     118
        Matthew Lee, “US Restores Some Aid to El Salvador, Honduras, Guatemala,” Associated Press, Jun. 18, 2019,
     https://www.apnews.com/0eaa42865d974e46ba04a51e21e1a81b.
     119
           Raphelson, “U.S. Decision to Cut Central America.”




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and Texas). 120 Under the revised policy, federal prosecutors were directed to criminally prosecute
all border crossers apprehended between U.S. ports of entry as criminal misdemeanors and charge
them for “improper entry” under 8 U.S.C. § 1325(a). 121 A recent decision by the Ninth Circuit has
called into question many of the criminal prosecutions that occurred of asylum seekers under 8
U.S.C. § 1325(a). 122 But under the zero tolerance policy, federal prosecutors began criminally
prosecuting all adult noncitizens apprehended crossing the border regardless of whether they were
seeking asylum or accompanied by minor children. 123 Adults were detained in adult criminal
detention facilities, and their children “consequently” were transferred separately to shelters in a
marked shift in policy. 124

The policy was implemented when Border Patrol and Immigration and Customs Enforcement
asked for guidance from the Secretary of Homeland Security “regarding various approaches for



120
    Dep’t of Justice, Office of Public Affairs, “Attorney General Announces Zero-Tolerance Policy for Criminal
Illegal Entry,” press release No. 18-417, Apr. 6, 2018, https://www.justice.gov/opa/pr/attorney-general-announces-
zero-tolerance-policy-criminal-illegal-entry.
121
   Dep’t of Justice, Office of the Attorney General, Memorandum from the Office of the Attorney General to
Federal Prosecutors Along the Southwest Border; Zero-Tolerance for Offenses Under 8 U.S.C. § 1325(a), Apr. 6,
2018, https://www.justice.gov/opa/press-release/file/1049751/download (hereinafter Dep’t of Justice, Zero-
Tolerance Memorandum). The Attorney General’s memorandum “direct[ed] each United States Attorney’s Office
along the Southwest Border— to the extent practicable, and in consultation with [Dep’t. of Homeland Security]—
adopt immediately a zero-tolerance policy for all offenses referred for prosecution under section 8 U.S.C. § 1325(a).
This zero-tolerance policy shall supersede any existing policies.” Ibid. Congress made improper entry, i.e., not at a
port of entry, a misdemeanor offense in 8 U.S.C. § 1325.
122
   United States v. Corrales-Vázquez, No. 18-50206, 2019 WL 3311349 (9th Cir. July 25, 2019),
http://cdn.ca9.uscourts.gov/datastore/opinions/2019/07/24/18-50206.pdf.
123
    Congressional Research Service, The Trump Administration’s “Zero Tolerance” Immigration Enforcement
Policy, by William A. Kandel, Feb. 26, 2019, pp. 7-8, https://crsreports.congress.gov/product/pdf/R/R45266
(hereinafter CRS, Zero Tolerance); see also Oversight of Family Separation and U.S. Customs and Border
Protection Short-Term Custody under the Trump Administration: Hearing Before the H. Comm. on the Judiciary,
116th Cong. 1 (2019) (testimony of Brian S. Hastings, Chief, Law Enforcement Operations Directorate, U.S. Border
Patrol, U.S. Customs and Border Protection), https://docs.house.gov/meetings/JU/JU00/20190725/109852/HHRG-
116-JU00-Wstate-HastingsB-20190725.pdf. (“Consequently, when a parent or legal guardian traveling with his or
her child was accepted for prosecution by [Department of Justice] under Zero Tolerance and was transferred to U.S.
Marshals Service custody for the duration of their criminal proceedings, the child could not remain with the parent
or legal guardian during criminal proceedings or subsequent incarceration. This is standard for criminal prosecutions
when the defendant is incarcerated. Because the detained parent was not able to provide care and physical custody to
the child, the child became an Unaccompanied Alien Child, as defined by 6 U.S.C. § 279(g). Section 235(b)(3) of
the William Wilberforce Trafficking Victims Protection Reauthorization Act of 2008 which generally requires an
[Unaccompanied Alien Child] in the custody of [Dep’t of Homeland Security] be referred to the custody and care of
the [Department of Health and Human Services Office of Refugee Resettlement].”)
124
   Ibid., 8; see “Where Are the Migrant Children Facilities? Scattered Across America,” Washington Post, June 25,
2018, https://www.washingtonpost.com/graphics/2018/national/migrant-child-shelters/.




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     implementing Department of Justice’s April 2018 memo.”125 In response, then Secretary of
     Homeland Security Kirstjen Nielsen approved Department of Justice’s recommended policy on
     May 4, and subsequently issued internal guidance on May 11, 2018, implementing the family
     separation policy.126

     Shortly thereafter, at the news conference in San Diego, California near the Southern border with
     Tijuana, Mexico, then-Attorney General Sessions acknowledged that the zero tolerance policy
     does not have exceptions for those seeking asylum or accompanying minors:

                I have put in place a “zero tolerance” policy for illegal entry on our
                Southwest border. If you cross this border unlawfully, then we will
                prosecute you. It’s that simple. . . . I have no doubt that many of those
                crossing our border illegally are leaving difficult situations. But we cannot
                take everyone on Earth who is in a difficult situation. 127

     Prior to zero tolerance, only a small number of migrant children were separated from their parents
     if the relationship could not be confirmed, or if they were a threat to the safety of the child. 128 The
     exact number of family separations prior to zero tolerance is unknown given the fact that
     Department of Health and Human Services, Office of Refugee and Resettlement staff had only
     begun informally tracking family separations in 2016. 129 Then-Department of Homeland Security
     Secretary Nielsen admitted, however, that the rate of family separation under the Obama

     125
        U.S. Dep’t of Justice, Justice News, “Attorney General Sessions Delivers Remarks Discussing the Immigration
     Actions of the Trump Administration,” May 7, 2018, https://www.justice.gov/opa/speech/attorney-general-sessions-
     delivers-remarks-discussing-immigration-enforcement-actions (hereinafter Justice News, “Sessions Delivers
     Remarks.”).
     126
         U.S. Gov’t Accountability Office, Unaccompanied Children: Agency Efforts to Reunify Children With Parents
     Separated at the Border, GAO 19-163, Oct. 2018, p. 7, https://www.gao.gov/assets/700/694963.pdf (hereinafter
     GAO 19-163, Unaccompanied Children) (“Prior to the Attorney General’s April 2018 memo, according to
     [Department of Homeland Security] officials, accompanied children at the border were generally held with their
     parents in [U.S. Customs and Border Protection] custody for a limited time before being transferred to ICE and
     released pending removal proceedings in immigration court. However, according to [Department of Homeland
     Security] and [Department of Health and Human Services] officials, [Department of Homeland Security] has
     historically separated a small number of children from accompanying adults at the border and transferred them to
     [Office of Refugee Resettlement] custody for reasons such as if the parental relationship could not be confirmed,
     there was reason to believe the adult was participating in human trafficking or otherwise a threat to the safety of the
     child, or if the child crossed the border with other family members such as grandparents without proof of legal
     guardianship. [The Office of Refugee and Resettlement] has traditionally treated these children the same as other
     UAC [Unaccompanied Minor].”)

     127
           Justice News, “Sessions Delivers Remarks.”
     128
           GAO 19-163, Unaccompanied Children, p. 7.
     129
        Dep’t of Health and Human Services, Office of Inspector General, Separated Children Placed in Office of
     Refugee Resettlement Care, OEI-BL-18-00511, January 2019, p. 6, https://oig.hhs.gov/oei/reports/oei-BL-18-
     00511.pdf. (hereinafter Dep’t. of Health and Human Services, OEI-BL-18-00511, Separated Children).




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Administration was less than it is under the Trump Administration.130 According to an
investigation by the Department of Health and Human Services, Office of Inspector General
separated children accounted for 0.3% of all unaccompanied minors taken into Department of
Health and Human Services custody near the end of the Obama Administration in late 2016, and
by August 2017 that number had increased to 3.6%. 131 Under zero tolerance, relevant agencies
began the wholesale separation of children from families as the norm, rather than the exception.
Some parents were not provided with clear notice that their children were being taken from them,
and some parents have been deported without their children, making reunification extremely
difficult. 132 The removal of children from their families without a determination of the parent’s
fitness raises civil rights concerns, including constitutional due process rights to family
integrity. 133

Immediately after implementation, the separation of children from their parents at the border led
to “international condemnation,” and widespread protest in the U.S. 134 In response, on June 20,
2018, President Trump signed an Executive Order amending the policy to include “preservation
of the ‘family unit’ by keeping migrant families together during criminal and immigration
proceedings to the extent permitted by law.” 135 The Executive Order does not require family
reunification of the thousands of children that had already been separated from their parents and
does not prohibit family separation. Despite the Executive Order ending the policy and ongoing
litigation resulting in federal court orders to reunify migrant children with their families, 136 family
separation, as well as accounts that the government is using the threat of family separation to force


130
   Lori Robertson, “Did the Obama Administration Separate Families,” Factcheck, June 20, 2018,
https://www.factcheck.org/2018/06/did-the-obama-administration-separate-families/. Members of the Obama
Administration recall considering all possible options for dealing with the surge of unaccompanied minors in 2014,
but could not bring themselves to implement family separation because they believed it to be morally wrong.
131
   Dep’t of Health and Human Services, OEI-BL-18-00511, Separated Children, p. 6.; Amy Goldstein, “IG: Trump
Administration Took Thousands More Migrant Children From Parents,” Washington Post, Jan. 17, 2019,
https://www.washingtonpost.com/local/immigration/ig-trump-administration-took-thousands-more-migrant-
children-from-parents/2019/01/17/c05f51e6-19c6-11e9-8813-cb9dec761e73_story.html?utm_term=.f2f021e51995.
132
   Dep’t of Homeland Security, Office of the Inspector General, Special Review – Initial Observations Regarding
Family Separation Issues Under the Zero Tolerance Policy, Sept. 27, 2018, pp. 12-15,
https://www.oig.dhs.gov/sites/default/files/assets/2018-10/OIG-18-84-Sep18.pdf (hereinafter Dep’t. of Homeland
Security, Office of the Inspector General, Special Review).

133
      See infra note 263.
134
      Prelim. Inj., Ms. L. v. ICE, 310 F.Supp.3d 1133 (S.D. Cal. 2018), at 2.
135
   Affording Congress an Opportunity to Address Family Separation, 2018 DAILY COMP. PRES. DOC. 1 (June 20,
2018), https://www.whitehouse.gov/presidential-actions/affording-congress-opportunity-address-family-separation/.

136
      Ibid.




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     parents to abandon asylum claims, have continued. 137 Miriam Abaya from the Young Center for
     Immigrant Children’s Rights told the Commission that:

                   Department of Homeland Security officials with no child welfare expertise
                   are making split-second decisions and these decisions have traumatic
                   lifelong consequences that take months to undo. We are deeply concerned
                   that family separation continues to be used solely to deter families from
                   exercising their legal right to seek protection. 138

     The practice of family separation actually started a year before then-Attorney Sessions’ public
     announcement on zero tolerance in April 2018 when Department of Homeland Security operated
     a “pilot program” for zero tolerance in El Paso. 139 According to a Government Accountability
     Office report, the El Paso program “processed approximately 1,800 individuals in families and
     281 individuals in families were separated under this initiative.”140 The program ended in
     November 2017 and Border Patrol officials informed Government Accountability Office that there
     were no other similar local initiatives that occurred prior to the Attorney General’s April 2018 zero
     tolerance memo.141

     No Plan for Reunification of Migrant Children

     The Departments of Homeland Security and Health and Human Services did not coordinate plans
     or communicate prior to the Administration’s zero tolerance announcement and were not prepared


     137
        Laura Peña, “The Real National Emergency: Zero Tolerance & the Continuing Horrors of Family Separation at
     the Border,” Texas Civil Rights Project, Feb. 2019, https://texascivilrightsproject.org/wp-
     content/uploads/2019/02/FamilySeparations-Report-Final.pdf.

     138
           Miriam Abaya Testimony, Public Comment Session, pp. 104-105.
     139
         Lomi Kriel, “Trump Moves to End 'Catch and Release', Prosecuting Parents and Removing Children Who Cross
     Border,” Houston Chronicle, Nov. 25, 2017, https://www.houstonchronicle.com/news/houston-
     texas/houston/article/Trump-moves-to-end-catch-and-release-12383666.php; Alan Gómez, “Democrats Grill Trump
     Administration Officials Over Family Separation Policy on the Border,” USA Today, Feb. 7, 2019,
     https://www.usatoday.com/story/news/politics/2019/02/07/democrats-trump-administration-family-separation-
     policy-border-immigration/2794324002/; Lisa Riordan Seville and Hannah Rappleye, “Trump Admin Ran 'Pilot
     Program' for Separating Migrant Families in 2017,” NBC News, June 29, 2018,
     https://www.nbcnews.com/storyline/immigration-border-crisis/trump-admin-ran-pilot-program-separating-migrant-
     families-2017-n887616 (“More than 1,000 children were separated between October 2016 and September 2017, and
     703 were separated between October 2017 and February 2018, according to [the Department of Homeland Security].
     It's unclear how many of those 1,768 children were separated after President Donald Trump's inauguration in
     January 2017. NBC repeatedly asked [the Department of Homeland Security] for comprehensive data, but the
     agency declined to provide month-by-month figures, did not provide data prior to October 2016 and did not supply
     any numbers for March and April 2018.”).
     140
           GAO 19-163, Unaccompanied Children, p. 8.

     141
           Ibid.




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for the increased number of children who would be in the care of Health and Human Services. 142
Brian Hastings, Chief of Law Enforcement Operations for Customs and Border Protection,
recently testified at a Judiciary Committee hearing that Customs and Border Protection did not
have a plan to reunify children with their parents once it had been determined that the parent was
to be deported. 143 While Border Patrol was responsible for the deportation of parents, Hastings
reported that whether or not the parent would be reunited with their child was not a consideration
before deportation. 144

Due to the lack of coordination, for its part, Health and Human Services was not fully prepared to
reunite the separated families. 145 A Government Accountability Office report found that Health
and Human Services has no “specific procedure” for reuniting separated children with their
families. 146 Kevin McAleenan, Acting Secretary of the Department of Homeland Security,
recently testified before the House Oversight Committee that while Border Patrol does track the
relationship of the child and adult when entering the border, it requires coordination of other
immigration agencies, such as Department of Health and Human Services and Immigration and
Customs Enforcement, in order to actually reunify a child with their parent.147 McAleenan went
on to testify that additional funding would be used to create an “immigration portal” to consolidate
all the data from the different immigration agencies to more efficiently reunite the separated
families. 148

Media accounts have also reported that the Department of Homeland Security has continuously
failed to comply with the Flores agreement which requires Border Patrol to transfer

142
      Ibid., 13.
143
   Oversight of Family Separation and U.S. Customs and Border Protection Short-Term Custody under the Trump
Administration, Hearing Before the H. Comm. On the Judiciary, 116th Cong. (July 25, 2019), 1:15:50-1:16:25,
https://judiciary.house.gov/legislation/hearings/oversight-family-separation-and-us-customs-and-border-protection-
short-term.
144
   Ibid., 1:16:18 (video testimony of Chief Brian Hastings to House Judiciary Committee. Question: “You would do
the deportation before reunification without any knowledge of whether the parents are being reunified? Answer:
Yes.”).
145
      GAO 19-163, Unaccompanied Children, p. 22.
146
   Nomaan Merchant and Colleen Long, “No Clear Plan Yet on How to Reunite Parents with Children,” AP News,
June 20, 2018, https://apnews.com/8c3d79185d904b2abcc6f3debb9eb870.
147
   Hearing with Acting Secretary of Homeland Security Kevin K. McAleenan: Hearing Before the H. Comm. on
Oversight and Reform, 116th Cong. (2019) (statement of Kevin K.McAleenan, Acting Director, Department of
Homeland Security), https://oversight.house.gov/legislation/hearings/with-the-acting-secretary-of-homeland-
security-kevin-k-mcaleenan.

148
      Ibid.




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     unaccompanied minors to Health and Human Services within 72 hours of making the
     determination that a child is in fact an unaccompanied child.149

     Metering: Not Allowing Asylum-Seeking Families to Enter

     Concurrent with the zero tolerance policy, the federal government also regulated the flow of entry
     of asylum seekers through the policy of “metering,” or not allowing asylum-seeking families to
     enter at ports of entry if space is unavailable at the port of entry processing site,150 resulting in
     many asylum seekers being turned away. 151 Under U.S. law, once an individual is physically
     present in the U.S., he or she can apply for asylum regardless of whether or not that individual
     entered at a port of entry. 152 The Border Patrol metering policy may have led to an increase in
     illegal border crossing by asylum seekers who could not have otherwise entered at a port of entry
     processing site where they would then be susceptible to prosecution under zero tolerance.153 An
     increase in illegal border crossings could include asylum seekers taking more dangerous paths to

     149
         Ibid.; Caitlin Dickerson, “‘There Is a Stench’: Soiled Clothes and No Baths for Migrant Children at a Texas
     Center,” New York Times, June 21, 2019, https://www.nytimes.com/2019/06/21/us/migrant-children-border-
     soap.html; Abigail Hauslohner, “U.S. Returns 100 Migrant Children to Overcrowded Border Facility as HHS Says it
     is Out of Space,” Washington Post, June 25, 2019, https://www.washingtonpost.com/immigration/us-returns-100-
     migrant-children-to-overcrowded-border-facility-as-hhs-says-it-is-out-of-space/2019/06/25/397b0cb6-96b6-11e9-
     830a-21b9b36b64ad_story.html?utm_term=.ffe72d5a16f9; Isaac Chotiner, “Children Remain in Dangerous
     Conditions on the Texas Border,” New Yorker, June 25, 2019, https://www.newyorker.com/news/q-and-a/children-
     remain-in-dangerous-conditions-on-the-texas-border; see also Paul LeBlanc & Pricilla Álvarez, “U.S. Moves 249
     Migrant Children from Texas Facility After Reports of Poor Conditions,” CNN, June 25, 2019,
     https://www.cnn.com/2019/06/24/politics/hhs-children-border-facility-clint-texas/index.html; see also Dep’t. of
     Homeland Security, Office of the Inspector General, OIG-19-51, Management Alert – DHS Needs to Address
     Dangerous Overcrowding and Prolonged Detention of Children and Adults in the Rio Grande Valley, July, 2, 2019,
     https://www.oig.dhs.gov/sites/default/files/assets/2019-07/OIG-19-51-Jul19_.pdf
     150
        Dep’t. of Homeland Security, Office of the Inspector General, Special Review, pp. 5-7; “When metering, [Border
     Patrol] officers stand at the international line out in the middle of the footbridges. Before an alien without proper
     travel documents (most of whom are asylum-seekers) can cross the international line onto U.S. soil, those [Border
     Patrol] officers radio the ports of entry to check for available space to hold the individual while being processed.
     According to [Border Patrol], the officers only allow the asylum-seeker to cross the line if space is available,” Ibid.,
     6.
     151
        Adam Isacson, “New Border Apprehension Numbers Show Brutal Effect of ‘Metering’ at Ports of Entry,”
     WOLA, May 9, 2019, https://www.wola.org/analysis/new-border-apprehensions-numbers-metering-effect-ports-of-
     entry/.
     152
        Immigration and Nationality Act, 8 U.S.C. § 1158(a)(1)(2012); American Immigration Council, Asylum in the
     United States, May 14, 2018, https://www.americanimmigrationcouncil.org/research/asylum-united-states (“Asylum
     seekers who arrive at a U.S. port of entry or enter the United States without inspection generally must apply through
     the defensive asylum process.”).
     153
        Dep’t. of Homeland Security, Office of the Inspector General, Special Review, p. 7 (“[T]he practice [of metering]
     may have unintended consequences. For instance, [the Office of Inspector General] saw evidence that limiting the
     volume of asylum-seekers entering at ports of entry leads some aliens who would otherwise seek legal entry into the
     United States to cross the border illegally”).




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reach the U.S. This was the case for Óscar Alberto Martínez Ramírez and his one-year old
daughter, Valeria, who attempted to enter the U.S. at the official port of entry at Matamoros, Texas
were told it was closed, and subsequently drowned while attempting to cross the Río Grande
River. 154

Migration Protection Protocols

One of the most drastic policy shifts undertaken in regard to asylum is the practice of sending legal
asylum seekers back to Mexico while their asylum cases are pending – this is also known as
“Remain in Mexico”155 or more formally, the “Migration Protection Protocols” (MPP). 156
According to the Department of Homeland Security’s website, this policy is a “U.S. Government
action whereby certain foreign individuals entering or seeking admission to the U.S. from Mexico
– illegally or without proper documentation – may be returned to Mexico and wait outside of the
U.S. for the duration of their immigration proceedings, where Mexico will provide them with all
appropriate humanitarian protections for the duration of their stay.”157

According the Department of Homeland Security this policy, with certain exceptions, applies to
noncitizens “arriving in the U.S. on land from Mexico (including those apprehended along the
border) who are not clearly admissible and who are placed in removal proceedings under
Immigration and Nationality Act § 240.” 158 The policy includes noncitizens “who claim a fear of
return to Mexico at any point during apprehension, processing, or such proceedings, but who have
been assessed not to be more likely than not to face persecution or torture in Mexico.” 159 Some
have criticized this new policy because when asylum seekers come to the border, instead of
pleading their case in front of an asylum officer they are instead first put in front of a Border Patrol


154
   Reis Thebault, Luis Velarde, and Abigail Hauslohner, “The Father and Daughter Who Drowned at the Border
Were Desperate for a Better Life, Family Says,” Washington Post, June 26, 2019,
https://www.washingtonpost.com/world/2019/06/26/father-daughter-who-drowned-border-dove-into-river-
desperation/?utm_term=.75c49688ac75.
155
  Azam Ahmed and Michael Tackett, “U.S. Will Send Migrants Back to Mexico as They Wait on Asylum Claims,”
New York Times, Dec. 20, 2018, https://www.nytimes.com/2018/12/20/world/americas/us-mexico-asylum-
migrants.html?module=inline.
156
    Dep’t. of Homeland Security, “Migrant Protection Protocols,” press release, Jan. 24, 2019,
https://www.dhs.gov/news/2019/01/24/migrant-protection-protocols (The Dep’t. Of Homeland Security website
states that the policy makes some exceptions for unaccompanied migrant children and migrants in expedited
removal proceedings.).

157
      Ibid.
158
      Ibid.

159
      Ibid.




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     officer who determines if they have a sufficient fear of returning to Mexico, despite the officer not
     likely being trained to elicit or assess relevant statements about whether the person has a credible
     fear of returning to their country of origin. 160 Recent data also indicate fewer asylum applicants
     have an attorney compared to regular court cases. 161 As of the end of June 2019, a total of 1,155
     MPP cases had already been decided but asylum seekers were represented in only 14 of those
     cases—only 1.2 percent had legal representation.162

     The Migrant Protection Protocols policy was resisted for many years due to lack of proof that
     Mexico was a safe place for migrants, 163 and it was only recently announced in December of
     2018. 164 On May 7, 2019, the Ninth Circuit allowed the policy to go forward stating that the
     Immigration and Nationality Act granted immigration officials discretion whether to allow foreign
     nations to remain in the U.S. or force them to stay in Mexico while they wait for their hearing.165
     According to news reports, as well as an amicus brief filed by the labor union for federal asylum




     160
         Charles Tjersland Jr., “I became an Asylum Officer to Help People. Now I Put Them Back in Harm’s Way,”
     Washington Post, July 19, 2019, https://www.washingtonpost.com/outlook/i-became-an-asylum-officer-to-help-
     people-now-i-put-them-back-in-harms-way/2019/07/19/1c9f98f0-a962-11e9-9214-
     246e594de5d5_story.html?utm_term=.f771f00c22b4. (The author argues many asylum seekers have not prepared to
     answer questions about their time in Mexico and are unaware that the standard of proof is higher in an MPP
     interview with Border Patrol than it is in a regular asylum hearing, thus making it nearly impossible for them to
     prove a fear of returning to Mexico.); Ibid.
     161
       Transactional Records Access Clearinghouse Reports, Access to Attorneys Difficult for Those Required to
     Remain in Mexico, July 29, 2019, https://trac.syr.edu/immigration/reports/568/.
     162
           Ibid.
     163
        According to the U.S. Dep’t. of State, Mexico is not safe for migrants as they face violence, abuse and extortion,
     from police, immigration officers, other criminal groups, and even the gangs they sought to escape in their home
     countries. U.S. Dep’t of State, 2018 Country Reports on Human Rights Practices: Mexico, Mar. 13, 2019, pp. 20-21,
     https://www.state.gov/reports/2018-country-reports-on-human-rights-practices/mexico/. The U.S. Dep’t. of State
     also reports that the asylum system in Guatemala is inadequate stating that migration authorities and the police did
     not have sufficient training regarding the rules for establishing refugee status and that the process for referring
     asylum seekers was deficient. U.S. Dep’t of State, 2018 Country Reports on Human Rights Practices: Guatemala,
     Mar. 13, 2019, pp. 20-21, https://www.state.gov/reports/2018-country-reports-on-human-rights-
     practices/guatemala/.
     164
        Tanvi Misra, “An Expanded ‘Remain in Mexico’ Policy May Cause More Suffering, Not Curb Migration,” Roll
     Call, June 10, 2019, https://reimagine.rollcall.com/news/expanded-remain-mexico-policy-may-cause-suffering-not-
     curb-migration.
     165
         Innovation Law Lab v. McAleenan, 924 F.3d 503 (9th Cir. 2019) (order denying stay of migrant protection
     protocols, allowing for them to take effect).




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workers, 166 more than 11,000 migrants167 have been returned to Mexico to wait out their asylum
cases pending in the U.S., burdening migrant shelters in Mexico and putting asylum seekers at
increased risk of violence. Several asylum seekers who were turned away from U.S. ports-of-entry
have been killed, women have been raped, and children have been kidnapped, calling into question
the relative safety of Central Americans in Mexico. 168

Third Country Rule (Designation of Mexico and Guatemala)

On July 15, 2019, the Department of Justice’s Executive Office for Immigration Review and the
Department of Homeland Security’s U.S. Citizenship and Immigration Services announced plans
to adopt a joint interim final rule regarding asylum claims. 169 The new rule (“Third-Country
Asylum Rule”) revises 8 C.F.R. § 208.13(c) and 8 C.F.R. § 1208.13(c), requiring immigrants
seeking asylum from the U.S.-Mexico border to first “apply for protection in a third country
outside of the [immigrant’s] country of citizenship, nationality, or last lawful habitual residence
through which the [immigrant] transited en route to the United States.” 170 The Department of
Justice and Department of Homeland Security state that the interim rule is in response to the
“dramatic increase in the number of aliens encountered along or near the southern land border with

166
   Bobby Allyn, “Asylum Officers: Trump’s ‘Remain in Mexico’ Policy is Against ‘Moral Fabric’ of U.S.,” NPR
June 27, 2019, https://www.npr.org/2019/06/27/736461700/asylum-officers-trumps-remain-in-mexico-policy-is-
against-moral-fabric-of-u-s; Br. for The National Federation of Government Employees Local 1924 as Amici Curiae
Supporting Pls.-Appellees, Innovation Law Lab v. McAleenan, 924 F.3d 503 (9th Cir. 2019),
https://www.documentcloud.org/documents/6172520-Local-1924-Amicus-Brief.html.
167
   As of June 14, 2019, the U.S. government has sent more than 11,000 Central American asylum seekers back to
Mexico. See Camilo Montoya-Gálvez, “Trump’s Plan to Deter Migrants with ‘Remain in Mexico’ Faces Logistical
and Legal Hurdles,” CBS News, June 14, 2019, https://www.cbsnews.com/news/remain-in-mexico-trumps-plan-to-
deter-migrants-faces-logistical-and-legal-hurdles/.
168
    “Safe Third Countries for Asylum-Seekers; Why Mexico Does Not Qualify as a Safe Third Country,” Women’s
Refugee Commission, p. 2, https://www.womensrefugeecommission.org/images/zdocs/SafeThirdCountries.pdf;
Kevin Sieff, “When Death Awaits Deported Asylum Seekers,” Washington Post, Dec. 26, 2018,
https://www.washingtonpost.com/graphics/2018/world/when-death-awaits-deported-asylum-
seekers/?utm_term=.8c8b2c1f5b80; Debbie Nathan, “Trump’s ‘Remain in Mexico' Policy Exposes Migrants to
Rape, Kidnapping and Murder in Dangerous Border Cities,” The Intercept, July 14, 2019,
https://theintercept.com/2019/07/14/trump-remain-in-mexico-policy/; Amnesty International also reports that
Mexico’s asylum procuress does not provide adequate protection to refugees, finding that “the Mexican government
is routinely failing in its obligations under international law to protect those who are in need of international
protection, as well as repeatedly violating the non-refoulement principle, a binding pillar of international law that
prohibits the return of people to a real risk of persecution or other serious human rights violations. These failures by
the Mexican government in many cases can cost the lives of those returned to the country from which they fled.”
Amnesty International, Overlooked, Under-Protected; Mexico’s Deadly Refoulement of Central Americans Seeking
Asylum, 2018, p. 4, https://www.amnestyusa.org/wp-content/uploads/2018/01/AMR4176022018-ENGLISH-05.pdf.
169
   Dep’t. of Homeland Security, “DHS and DOJ Issue Third-Country Asylum Rule,” July 15, 2019,
https://www.dhs.gov/news/2019/07/15/dhs-and-doj-issue-third-country-asylum-rule.

170
      Ibid.; Establishing Asylum Eligibility, 8 C.F.R. § 208.13; Establishing Asylum Eligibility, 8 C.F.R. § 1208.13.




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     Mexico,” and specifically in the rise of immigrants seeking asylum when confronted with
     Department of Homeland Security officials. 171

     The Third Country Asylum Rule is a departure from past asylum policy, which previously allowed
     immigrants to apply for asylum at the U.S. border without first applying for protections in other
     countries before coming to the U.S. border. 172 Under this new rule, immigrants seeking protections
     at the U.S.-Mexico border only have viable claims under statutory withholding or Convention
     Against Torture protections, pursuant to 8 C.F.R. § 208.30, and thus must meet the higher
     reasonable-fear standard as opposed to the credible-fear standard used for determining asylum
     eligibility. 173 The Third Country Asylum Rule includes three exceptions to the bar to asylum
     eligibility: (1) if the immigrant demonstrates application for protection in at least one of the
     countries traveled through to get to the United States; (2) if the immigrant demonstrates they are a
     “victim of a severe form of trafficking in persons,” 174; or (3) the immigrant has traveled only
     through a country or countries that are not parties to the 1951 Refugee Convention175 or the 1967
     Convention Against Torture176 to get to the United States. 177

     On July 24, 2019, Jon S. Tigar, United States District Court Judge for the Northern District of
     California, issued a preliminary injunction temporarily barring the Administration’s ‘Third-

     171
        Dep’t. of Homeland Security and Dep’t. of Justice, Asylum Eligibility and Procedural Modifications: Interim
     Final Rule; Request for Comment, July 15, 2019, p. 5, https://s3.amazonaws.com/public-
     inspection.federalregister.gov/2019-15246.pdf (hereinafter Third Country Asylum Interim Final Rule).

     172
           Third Country Asylum Interim Final Rule, p. 30.
     173
         Ibid.; Credible fear determinations involving stowaways and applicants for admission who are found
     inadmissible pursuant to section 212(a)(6)(C) or 212(a)(7) of the Act of whose entry is limited or suspended under
     section 212(f) or 215(a)(1) of the Act, 8 C.F.R. § 208.30(e)(2) (“An alien will be found to have a credible fear of
     persecution if there is a significant possibility, taking into account the credibility of the statements made by the alien
     in support of the alien’s claim and such other facts as are known to the officer, the alien can establish eligibility for
     asylum….or for withholding of removal.”) (emphasis added). Cf. Reasonable fear of persecution or torture
     determinations involving aliens ordered removed under section 238(b) of the Act and aliens whose removal is
     reinstated under section 241(a)(5) of the Act, 8 C.F.R. § 203.31(c) (“The alien shall be determined to have a
     reasonable fear of persecution or torture if the alien establishes a reasonable possibility that he or she would be
     persecuted on account of his or her race, religion, nationality, membership in a particular social group or political
     opinion, or a reasonable possibility that he or she would be tortured in the country of removal.”) (emphasis added);
     “Vindicating the Rights of Asylum Seekers at the Border and Beyond,” Asylum Advocacy, June 2018, p. 14,
     https://asylumadvocacy.org/wp-content/uploads/2018/06/ASAP-Expedited-Removal-Guide.pdf.

     174
           8 C.F.R. § 214.11.
     175
           Convention relating to the Status of Refugees, July 28, 1951, 189 U.N.T.S. 1954.
     176
        Convention against Torture and Other Cruel, Inhuman or Degrading Treatment or Punishment, Dec. 10, 1984,
     1465 U.N.T.S. 85.

     177
           Third Country Asylum Interim Final Rule, p. 22.




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Country Asylum Rule’ from taking effect and ordered the previous asylum system, in which only
safe third countries could be considered in the process of reviewing claims to asylum in the U.S.,
restored. 178 Judge Tigar granted the injunction on the grounds that: the new third country rule is
inconsistent with current U.S. asylum laws and provides none of the statutory protections ensuring
the country is safe, 179 the administration had not complied with the Administrative Procedures
Act’s notice-and-comment rules thus calling into question its validity, and that the rule does not
take into account the special requirements of unaccompanied minors. The Judge also found that
the government’s decision to promulgate the rule was arbitrary and capricious in that it reasoned
to offer asylum seekers a safe alternative – Mexico – which is neither safe nor offers a complete
and equitable asylum process, and finally, the public has a strong interest in ensuring that the U.S.
does not subject asylum seekers to greater harm. 180

On July 26, 2019, after threatening increased tariffs and a ban on entry of Guatemalan migrants,
among other negative consequences, the Trump Administration announced an agreement with
Guatemala that would require other migrants who had passed through its border to first seek
asylum there.181 According to Voice of America, under the new agreement, in exchange for $40
million, El Salvadoran and Honduran asylum seekers would be flown from the U.S. border to
Guatemala.182 U.S. Department of Homeland Security Director McAleenan described the
document signed on July 26, 2019 as a “safe third country agreement,”183 apparently referring to
the Immigration and Nationality Act’s statutory rule that to be designated so, a country must be
safe for asylum seekers and moreover, persons sent there would “have access to a full and fair

178
   East Bay Sanctuary Covenant v. Barr, No. 19-cv-04073-JST (N.D. Cal. July 24, 2019) (order granting
preliminary injunction), at 1 (“First, Congress has already created a bar to asylum for an applicant who may be
removed to a "safe third country." The safe third country bar requires a third country's formal agreement to accept
refugees and process their claims pursuant to safeguards negotiated with the United States. As part of that process,
the United States must determine that (1) the alien's life or freedom would not be threatened on account of a
protected characteristic if removed to that third country and (2) the alien would have access to a full and fair
procedure for determining a claim to asylum or equivalent temporary protection there. Thus, Congress has ensured
that the United States will remove an asylum applicant to a third country only if that country would be safe for the
applicant and the country provides equivalent asylum protections to those offered here. The Rule provides none of
these protections.”).

179
      Id. at § I.A.1, citing 8 U.S.C. § 1158(a)(Safe Third Country Rule).
180
      Id. at 1-2.
181
   See Michael D. Shear, Zolan Kanno-Youngs, and Elisabeth Malkin, “After Tariff Threat, Trump Says Guatemala
Has Agreed to New Asylum Rules,” New York Times, July 26, 2019,
https://www.nytimes.com/2019/07/26/world/americas/trump-guatemala-asylum.html.
182
    See Aline Barros, “Acting DHS Secretary in Guatemala to Promote Safe Third Country Agreement,” Voice of
America, Aug. 1, 2019, https://www.voanews.com/usa/immigration/acting-dhs-secretary-guatemala-promote-safe-
third-country-agreement.

183
      Shear et al., “After Tariff Threat.”




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     procedure for determining a claim to asylum or equivalent temporary protection there.”184 U.S.
     State Department Human Rights Reports indicate that Guatemala is objectively unsafe for asylum
     seekers and the government, which has “widespread corruption,” is unable to protect many
     Guatemalans who are fleeing and seeking asylum from human rights violations. 185 The New York
     Times reported that safe third country agreements are rare and that experts say that “it appears that
     no such agreement has been signed with a nation that is as ill-equipped as Guatemala to deal with
     asylum seekers and keep them safe.” 186

     Before the agreement can be enforced, the U.S. must certify that Guatemala is able to provide
     safety and a full and fair asylum process. 187 The agreement was made by the outgoing Guatemalan
     president, and is still subject to possible litigation, as well as amendment by the new president
     elected in August 2019.188

     Removing Domestic Violence as a Basis for Political Asylum

     Under previous administrations, women fleeing gang violence and domestic violence in their home
     countries, from which the government did not protect them, were permitted to file asylum claims
     citing a credible fear of physical violence and/or sexual abuse. 189 On June 11, 2018, then-Attorney
     General Sessions issued a ruling reversing a 2016 Board of Immigration Appeals (BIA) decision
     granting an El Salvadorian woman asylum based on her claim of domestic abuse, including




     184
           8 U.S.C. § 1158(a).
     185
        See generally U.S. Dep’t of State, 2018 Country Reports on Human Rights Practices: Mexico (Human rights
     issues included reports of harsh and life-threatening prison conditions; widespread corruption; trafficking in persons;
     crimes involving violence against lesbian, gay, bisexual, transgender, and intersex (LGBTI) persons, persons with
     disabilities, and members of other minority groups; and use of forced or compulsory or child labor. Corruption and
     inadequate investigations made prosecution difficult, and impunity continued to be widespread.),
     https://www.state.gov/wp-content/uploads/2019/03/MEXICO-2018.pdf .
     186
        See Kirk Semple, “The U.S. and Guatemala Reached an Asylum Deal: Here’s What it Means,” New York Times,
     July 28, 2019, https://www.nytimes.com/2019/07/28/world/americas/guatemala-safe-third-asylum.html.
     187
        See Michael D. Shear and Zolan Kanno-Youngs, “Trump Officials Argued Over Asylum Deal with Guatemala.
     Now Both Countries Must Make It Work.,” New York Times, Aug. 2, 2019,
     https://www.nytimes.com/2019/08/02/us/politics/safe-third-guatemala.html.
     188
        See Elisabeth Malkin, “Alejandro Giammettei, a Conservative, Wins Guatemala’s Presidency,” New York Times,
     Aug. 11, 2019, https://www.nytimes.com/2019/08/11/world/americas/guatemala-election.html (discussing the
     agreement and predicting continued pressure to enforce it); Reuters News Service, “Guatemala Election Winner
     Alejandro Giammattei Says He Wants To Rewrite Controversial Trump Migration Deal,” Telegraph, Aug. 12, 2019,
     https://www.telegraph.co.uk/news/2019/08/12/guatemala-election-winner-alejandro-giammattei-says-wants-
     rewrite/.

     189
           Matter of A-R-C-G-, 26 I. & N. Dec. 388 (BIA 2014).




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physical and sexual violence, she endured at the hands of her husband in her country. 190 The
Matter of A-B- decision held that being a victim of domestic abuse or gang violence will not be
accepted as a basis to claim asylum.191

After the decision in Matter of A-B-, the Department of Homeland Security issued guidance for
asylum officers stating that “few gang-based or domestic violence claims involving particular
social groups defined by the members’ vulnerability to harm may . . . pass the ‘significant
probability’ test in credible fear screenings.” 192 In practice, this guidance meant that individuals
seeking asylum in the United States based on domestic violence or gang-violence were unlikely
to make it past the first step in seeking asylum – the initial credible fear determination – and
would be deported without any review of their asylum claim. 193 In December of 2018, a federal
district court found that this policy violated the Refugee Act and the Immigration and Nationality
Act. 194 The district court’s decision barred the federal government from enforcing this policy. 195
In January 2019, the government requested a stay, pending appeal of the court’s order, which was
subsequently denied by the District Court, reinforcing that the government’s “unlawful policies”
would be “permanently enjoined from being applied in future cases.”196




190
   Matter of A-B-, 27 I. & N. Dec. 316 (A.G. 2018) (The Matter of A-B- decision also overrules a prior decision,
Matter of A-R-C-G-, 26 I&N Dec. 338 (BIA 2014), which held that in some circumstances, domestic violence
survivors could receive asylum protection.).
191
      Id.
192
   Dep’t. of Homeland Security, U.S. Citizenship and Immigration Services, Policy Memorandum, Guidance for
Processing Reasonable Fear, Credible Fear, Asylum, and Refugee Claims in Accordance with Matter of A-B-, July
11, 2018, https://www.uscis.gov/sites/default/files/USCIS/Laws/Memoranda/2018/2018-06-18-PM-602-0162-
USCIS-Memorandum-Matter-of-A-B.pdf.
193
    See Grace v. Whitaker, No. 18-cv-01853, 2019 WL 329572 (D.C. Cir. Dec. 17, 2018). The court held “that
Congress has not ‘spoken directly’ on the question of whether victims of domestic or gang-related persecution fall
into the particular social group category.” Id. at 52. The court held that Matter of A-B- “create[d] a general rule
against [domestic and/or gang violence] claims at the credible fear stage” and that the rule was “not a permissible
interpretation of the statute.” Id. at 56. Additionally, the general rule “impermissibly heighten[ed] the standard at the
credible fear stage[,]” rendering the rule arbitrary and capricious. Id.
194
   Id. In January 2019, the government requested a stay, pending appeal of the Court’s Order, which was
subsequently denied by the District Court, cementing that the governments “unlawful policies” would be
“permanently enjoined from being applied in future cases.” Grace v. Whitaker, No. 18-cv-01853, 2019 WL 329572.
195
      Id.

196
      Id.




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     Seeking Asylum and Credible Fear Determinations

     The 1996 immigration law reforms allowed for expedited removal of immigrants who have entered
     the United States with invalid entry documents in which they are ordered removed without further
     hearings, appeals, or reviews; however, expedited removal is subject to additional procedures
     should the migrant express an intention to apply for asylum. 197 Migrants who express an intention
     to apply for asylum 198 or a credible fear of persecution in their home country, must be interviewed
     by an asylum officer to determine whether they are eligible for asylum, and detained until a
     credible fear determination has been made. 199 Under the law, the Department of Homeland
     Security has discretion to parole noncitizens, or release them from detention, when urgent
     humanitarian reasons are present or there is a significant public interest in doing so. 200 This
     includes when immigrants have critical medical conditions, including pregnancy.201

     Under current Border Patrol procedures, immigrants on the southern border who are “apprehended
     between Ports of Entry and claim credible fear are processed for expedited removal by U.S. Border
     Patrol.” 202 Undocumented immigrants at the southern border who arrive at ports of entry who are
     found to be otherwise inadmissible into the U.S. (meaning they have not arrived with a visa), and
     claim credible fear of persecution are also processed for expedited removal. 203 The credible fear
     claims of undocumented immigrants are referred to asylum officers, where the immigrants are then
     interviewed to determine whether they are likely to be eligible for asylum.204 In making credible
     fear determinations of an asylum applicant, interviewers look to the totality of circumstances; if




     197
           8 U.S.C. § 1225(b)(1)(A)(i).

     198
           8 U.S.C. § 1158.
     199
           8 U.S.C. § 1225(b)(1)(B)(ii).
     200
         Aracely v. Nielsen, 319 F.Supp.3d 110, 121-22 (D.C. Cir. 2018); Immigration and Customs Enforcement, Parole
     of Arriving Aliens Found to Have a Credible Fear of Persecution or Torture, Dec. 8, 2009,
     https://www.ice.gov/doclib/dro/pdf/11002.1-hd-parole_of_arriving_aliens_found_credible_fear.pdf.
     201
           8 C.F.R. § 212.5(b).
     202
        “Claims of Fear: Customs and Border Patrol Southwest Border and Claims of Credible Fear Total
     Apprehensions/Inadmissibles (FY2017-FY2018),” U.S. Customs and Border Protection,
     https://www.cbp.gov/newsroom/stats/sw-border-migration/claims-fear (modified Dec. 10, 2018).
     203
         Ibid. Publicly available information does not confirm the extent to which these policies have been applied at
     airports around the United States or the northern border (as distinct from the southern border).
     204
       Dep’t.of Homeland Security, Office of Immigration Statistics, Annual Flow Report Refugees and Asylees: 2017,
     Mar. 2019, p. 7, https://www.dhs.gov/sites/default/files/publications/Refugees_Asylees_2017.pdf.




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the asylum application is deemed not credible based on the totality of the evidence presented, then
it is sufficient for an adverse credibility determination.205

When seeking asylum, an immigrant subject to expedited removal seeking asylum must inform
Border Patrol of the individual’s (1) wish to apply for asylum, (2) fear of persecution or torture,
and (3) fear of returning to the individual’s home country. 206 In seeking asylum, the asylum seeker
does not need to show it is more likely than not that he or she will be persecuted in his or her home
country. 207 Instead, the asylum seeker need only demonstrate “good reason” to fear persecution if
returning to his or her home country.208 If an asylum seeker succeeds in demonstrating a “well-
founded fear of persecution” they still may not be eligible for asylum, as that feared persecution
must be “on account of his [or her] race, religion, nationality, membership in a particular social
group, or political opinion.”209

If the asylum officer finds the individual has a credible fear of persecution or torture, the asylum
officer will refer the individual’s case to an Immigration Judge for a full hearing on the asylum
claim. 210 If the asylum officer finds the individual does not have a credible fear of persecution or
torture, the individual can request review by an Immigration Judge. 211 If the individual does not
request a review of the determination, Immigration and Customs Enforcement will remove the
individual from the United States. 212 While asylum seekers’ applications are processing, they are
afforded the right to be in the United States, however, there is ongoing debate as to whether they
should remain detained 213 and whether asylum seekers detained for several months during their
application process are entitled to a custody hearing.214 On July 2, a federal court preliminarily

205
      Xiu Xia Lin v. Mukasey, 534 F.3d 162, 167 (2d Cir. 2008).
206
   “Questions and Answers: Credible Fear Screening,” U.S. Citizenship and Immigration Services,
https://www.uscis.gov/humanitarian/refugees-asylum/asylum/questions-answers-credible-fear-screening (accessed
July 8, 2019).

207
      I.N.S. v. Cardoza-Fonseca, 480 U.S. 421, 442, 449 (1987).
208
      Id.
209
   Eduard v. Ashcroft, 379 F.3d 182, 190 (5th Cir. 2004) (quoting Matter of Mogharrabi, 19 I & N Dec. 439, 477
(BIA 1987)).

210
      “Questions and Answers,” United States Citizenship and Immigration Services.
211
      Ibid.

212
      Ibid.
213
      Damus v. Nielsen, 313 F.Supp.3d 317 (D.C. Cir. 2018).

214
      See Jennings v. Rodríguez, 138 S.Ct. 830 (2018).




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     enjoined the Attorney General’s decision that asylum seekers should be indefinitely detained, and
     at the time of this writing, if an asylum seeker is found to have a credible fear of persecution, they
     must be provided with a bond hearing and if not a risk, released on bond. 215

     The number of asylum claims filed from FY 2017 to FY 2018 increased by 12.5 percent, from
     144,053 to 162,060. 216 The process of seeking asylum is very difficult and the passage rates are
     low. In 2017, only 13.67 percent of total asylum applicants were granted asylum, followed by
     12.30 percent of applicants in 2018. 217 In 2018, 14.89 percent of El Salvadoran applicants were
     granted asylum and 51.28 percent were denied, 13.81 percent of Honduran applicants were granted
     asylum and 55.48 percent were denied, and 11.18 percent of Guatemalan applicants were granted
     asylum and 52.23 percent were denied.218 Despite the dangerous conditions in all three countries,
     these are lower rates of approval than persons from other countries. 219

     Increased Detention of Children

     During the current Administration, a high number of migrant children, including unaccompanied
     minors, have been held in custody. In November 2018, Department of Health and Human Services
     told reporters that 14,000 undocumented immigrant children have been held in custody, which is
     an all-time high.220 This record number is reportedly due in part to a new Department of Homeland
     Security policy requiring background checks, including immigration status information, of



     215
        On July 2, 2019, a federal court issued a nationwide preliminary injunction that immigrants who have entered the
     U.S. without inspection, requested asylum, and who the Government has determined to have a credible fear of
     persecution if they are returned home, have rights to a bond hearing with substantive due process. The bond hearing
     must occur within 7 days after being requested, and asylum seekers who have passed a credible fear interview must
     also be released if the bond hearing so indicates. The court found that “it is unconstitutional to deny these class
     members a bond hearing while they await a final determination of their asylum request.” Order on Motions RE
     Preliminary Injunction, Padilla v. ICE, No. 2:18-cv-00928 (W.D. Wash. July 2, 2019),
     https://americanimmigrationcouncil.org/sites/default/files/litigation_documents/challenging_credible_fear_interview
     _and_bond_hearing_delays_preliminary_injunction_order.pdf.
     216
        Dep’t. of Justice, Exec. Office for Immigration Review, Adjudication Statistics: Total Asylum Applications, Apr.
     23, 2019, https://www.justice.gov/eoir/page/file/1163606/download.
     217
           Ibid.
     218
        Dep’t. of Justice, Exec. Office for Immigration Review, Adjudication Statistics: Asylum Decision Rates by
     Nationality, Oct. 24, 2018, https://www.justice.gov/eoir/page/file/1107366/download (additional percentages are
     accounted for by abandonment, withholding of removal, withdrawal, failure to adjudicate, or other).
     219
           Ibid.
     220
       Tal Kopen, “More Than 14,000 Immigrant Children are in U.S. Custody, an All-time High,” San Francisco
     Chronicle, Nov. 26, 2018, https://www.sfchronicle.com/nation/article/More-than-14-000-immigrant-children-are-in-
     U-S-13399510.php.




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persons, including family members, to whom the children would be released. 221 “Previous
administrations didn’t look into people’s immigration status when deciding whether to release
children into their care, but that changed under President Trump.”222 The Administration’s
aggressive immigration enforcement policies, leading to deportation of persons who were not
previously prioritized (such as those without a criminal record or those with family ties, Deferred
Action for Childhood Arrivals, or humanitarian parole),223 have reportedly made parents afraid to
attempt to reunite with their children. 224 In the month of September 2018, Department of
Homeland Security reportedly arrested 41 family members seeking to have their children released
to them. 225 In December 2018, an Immigration and Customs Enforcement spokesman said that
Immigration and Customs Enforcement arrested 170 immigrants when they applied to take a child
from government custody, from July to November, and of those, 109 (64.1%) had no criminal
record. 226 On December 18, 2018, Department of Health and Human Services changed its policy
to no longer require that potential sponsors for unaccompanied children submit to fingerprint
background checks when they apply to sponsor a child.227



221
   Ibid. (“The reason is that children who arrive unaccompanied in the U.S. are spending more time in holding
facilities before they can be released to suitable adults, often family members. One change that has especially
slowed that down is an agreement Health and Human Services signed earlier this year for Immigration and Customs
Enforcement to do background checks on potential sponsors. ICE confirmed in September that it had used that
information to arrest undocumented adults who came forward to take custody of children.”).

222
      Ibid.
223
   See Immigration and Customs Enforcement, Memorandum: Implementing the President’s Border Security and
Interior Enforcement Priorities, Feb. 21, 2017, p. 1, https://www.documentcloud.org/documents/3889695-
doc00801320170630123624.html (“Effective immediately, all [Enforcement and Removal] Officers will take
enforcement action against all removable aliens encountered in the course of their duties… Under the terms of the
E.O. [several 2017 executive orders from President Trump cited], [Dep’t. of Homeland Security] will no longer
exempt classes or categories of removable aliens from potential enforcement.”); Cf. Dep’t. of Homeland Security,
Policies for the Apprehension, Detention and Removal of Undocumented Immigrants, Nov. 20, 2014,
https://www.dhs.gov/sites/default/files/publications/14_1120_memo_prosecutorial_discretion.pdf (Obama
Administration policies prioritizing removal of persons who are threats to national security or public safety).
224
    See Chris Baines, “Record High of 14,000 Immigrant Children in US Custody as Potential Careers ‘Deterred by
Fears of Retribution,” Independent, Nov. 17, 2018, https://www.independent.co.uk/news/world/americas/us-
politics/record-high-immigrant-children-us-government-custody-ice-background-checks-a8638771.html.
(Immigration and Customs Enforcement arrests of parents seeking to have their children released to them
“confirming suspicions the agency was using the [new] vetting process to track down illegal immigrants.”).
225
    Ibid. (“Last month [Immigration and Customs Enforcement] confirmed it had arrested 41 people who came
forward to take care of unaccompanied minors.”).
226
   Tal Kopan, “ICE Arrested Undocumented Adults Who Sought to Take in Immigrant Children,” San Francisco
Chronicle, Dec. 10, 2018, https://www.sfchronicle.com/politics/article/ICE-arrested-undocumented-adults-who-
sought-to-13455142.php.
227
   Dep’t of Health and Human Services, Fact Sheet – Unaccompanied Alien Children Program, Dec. 20,
2018, https://www.hhs.gov/sites/default/files/Unaccompanied-Alien-Children-Program-Fact-Sheet.pdf; See also
Dianne Gallagher, Devon M. Sayers, and Geneva Sands, “Feds Reverse Fingerprint Policy in Move Expected to




                                                                                                        AR00230
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     Speed Release of Unaccompanied Children in HHS Custody,” CNN, Dec. 18,
     2018, https://www.cnn.com/2018/12/18/politics/hhs-fingerprint-policy/index.html.




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                                                                     U.S. Commission on Civil Rights Public Record   41

CHAPTER 3: U.S. Commission on Civil Rights Public Record

To collect information on the condition of immigration detention centers and the status of
treatment of immigrants, including children, on April 12, 2019, the Commission held a public
forum where 37 individuals shared their testimony. In addition, the Commission offered an
opportunity for the public to submit written public comments. The Commission received 280
email and 34 additional written submissions. The comments the Commission received came from
individuals who had experienced being detained in one of the southern border detention centers,
individuals and groups who had visited and volunteered at immigrant detention centers, and
individuals who had concerns about the treatment of immigrants in detention facilities. The
testimonies regarding detention facilities are not all about a single facility, but rather, are about
multiple detention centers throughout the country.

In this chapter, the Commission has compiled the comments received by subject matter. The
Commission has provided brief summaries for each category/sub-category along with contextual
information including applicable legal standards and background. In addition, we quote testimony
to highlight the comments received.

Overview of Comments

Those who submitted public comments and gave testimony at the public briefing expressed general
opposition to the use of immigration detention facilities for asylum seekers in particular, and
concern about inhumane conditions of immigration detention facilities. 228 Public commenters
expressed concern about many aspects of detention, particularly:

       •   Treatment of asylum seekers; 229
       •   Separation of children from their parents, resulting trauma, and lack of reunification; 230
       •   Detention of children;231

228
      All of the 280 emails except for 1 expressed opposition to immigration detention centers.
229
   See Charanya Krishnaswami, America’s Advocacy Director, Amnesty International USA, Public Comment
Session, p. 130; see also Olivares Testimony, Public Comment Session, p. 152; see also Yael Schacher, Senior U.S.
Domestic Advocate, Refugees International, Testimony, Public Comment Session, p. 96.
230
  Génesis Regalado, Written Statement for the Public Comment Session on Immigration Detention before the U.S.
Commission on Civil Rights, Mar. 25, 2019, at 1 (hereinafter Regalado Statement); Detained Migrant Solidarity
Committee, Written Statement for the Public Comment Session on Immigration Detention before the U.S.
Commission on Civil Rights, May 12, 2019, at 1 (hereinafter Detained Migrant Solidarity Committee Statement).
231
   Mel Hinebauch, Written Statement for the Public Comment Session on Immigration Detention before the U.S.
Commission on Civil Rights, May. 12, 2019, at 1 (hereinafter Hinebauch Statement); Maranda J. Anderson, Written
Statement for the Public Comment Session on Immigration Detention before the U.S. Commission on Civil Rights,
May 13, 2019, at 1 (“This will lead to lifelong damage for the children. I cannot imagine my own children being
taken away at the young age of many of these refugee children.”) (hereinafter Anderson Statement).




                                                                                                        AR00232
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            •   Language barriers and lack of legal representation for detainees; and
            •   Lack of effective oversight and substandard living conditions232

     In addition, many public commenters also believe that such conditions and separation policies are
     not an adequate deterrent to stop individuals from trying to enter the United States, because many
     are fleeing dangerous conditions in their home countries and are seeking asylum in the United
     States. 233 Many commenters were also concerned about the government outsourcing its
     responsibilities to private detention centers. 234

     Overview Testimony

                “Considering the peril that they are leaving and the ordeal of the transit,
                what level of cruelty would the U.S. have to attain in its policies to have
                changed their decision to seek asylum here, to have deterred them from
                coming? In the name of deterrence, how much punishment are we prepared
                to mete out to these men in order for them to give up their asylum claims?
                In doing this, are we meeting our legal and humanitarian obligations not to
                turn away, to push back to danger those who seek refuge in his country?”235
                “[W]e routinely require survivors of trauma to navigate a bureaucratic
                maze of proceedings, daunting for most licensed attorneys, all while behind
                bars, proceedings that could culminate in their return to countries where
                they fear grave harm, even death, is a travesty. 236
                “Please allow families to remain intact as they seek a better life in the USA.
                It is not illegal nor a crime to ask for asylum. In fact, many have arrived in
                America precisely because they had struggles in their homeland and they
     232
         Christine Kohnert, Written Statement for the Public Comment Session on Immigration Detention before the U.S.
     Commission on Civil Rights, May 13, 2019, at 1 (hereinafter Kohnert Statement); Eve Krief, Written Statement for
     the Public Comment Session on Immigration Detention before the U.S. Commission on Civil Rights, Apr. 12, 2019,
     at 1 (hereinafter Krief Statement).
     233
        Misty Kirby, Written Statement for the Public Comment Session on Immigration Detention before the U.S.
     Commission on Civil Rights, May 13, 2019, at 1 (hereinafter Kirby Statement); Donna Lannan, Written Statement
     for the Public Comment Session on Immigration Detention before the U.S. Commission on Civil Rights, May 8,
     2019, at 1 (hereinafter Lannan Statement); Sheryl Liberman, Written Statement for the Public Comment Session on
     Immigration Detention before the U.S. Commission on Civil Rights, May 13, 2019, at 1 (hereinafter Liberman
     Statement); Gretchen McClain, Written Statement for the Public Comment Session on Immigration Detention before
     the U.S. Commission on Civil Rights, Apr. 12, 2019, at 1 (hereinafter McClain Statement); Amy McIntyre, Written
     Statement for the Public Comment Session on Immigration Detention before the U.S. Commission on Civil Rights,
     May 13, 2019, at 1 (hereinafter McIntyre Statement).
     234
       Judi Hincks, Written Statement for the Public Comment Session on Immigration Detention before the U.S.
     Commission on Civil Rights, Apr. 12, 2019, at 1 (hereinafter Hincks Statement); Hinebauch Statement, at 1.
     235
           Schacher Testimony, Public Comment Session, p. 96.

     236
           Krishnaswami Testimony, Public Comment Session, p. 130.




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           knew their children could receive a better future in America. It is woven
           into our American Dream and welcomes travelers on the Statute of
           Liberty.”237

           “I was shocked to see that we are currently treating law-abiding asylum
           seekers like criminals. They are unable to communicate with the outside
           world – except at great expense; they are forced to wear color coded
           jumpsuits and live in prison-like conditions.” 238

           “A sensible immigration policy requires smart, thoughtful people to
           construct practical, compassionate solutions and to develop the needed
           resources to implement them. We don’t have to give up the principles we
           stand for to protect what we have. We don’t have to betray America to
           protect America.”239

           “There should be no for-profit detention centers – nobody should make
           money off the suffering and incarceration of children.”240


Family Separation

Recent reports have indicated that at least 2,737 children have been taken from their parents or
guardians, beginning even before zero tolerance was officially implemented. 241 The real total is
likely much higher. A July 2019 Staff Report of the U.S. House of Representatives Committee on
Oversight and Reform discussed partial data received from the Department of Justice, the
Department of Homeland Security, and the Department of Health and Human Services which
disclosed separation of 2,648 children, who do not include “children who were reunited with their


237
   Nathalie W. Chandra, Written Statement for the Public Comment Session on Immigration Detention before the
U.S. Commission on Civil Rights, May. 12, 2019, at 1 (hereinafter Chandra Statement).
238
  Elyse Wechterman, Written Statement for the Public Comment Session on Immigration Detention before the U.S.
Commission on Civil Rights, May 10, 2019, at 1 (hereinafter Wechterman Statement).
239
  Jody Frank, Written Statement for the Public Comment Session on Immigration Detention before the U.S.
Commission on Civil Rights, Mar. 24, 2019, at 2 (hereinafter Frank Statement).
240
      Hincks Statement, at 1.
241
   Ms. L. v. ICE, 310 F.Supp.3d 1133, 1139 (S.D. Cal. 2018); Olivares Testimony, Public Comment Session, pp.
148-49. Based on data provided by the relevant agencies, approximately 900 children were separated from their
parents between June 2018 and June 2019; these separations were largely based on allegations of prior criminal
conduct. Memorandum in Support of Motion to Enforce Preliminary Injunction, Ms. L. v. ICE et al., Case No. 18-
cv-00428-DMS-MDD, Dkt. 439-1 (S.D. Cal. Jul. 30, 2019) at 10. Litigation is ongoing about the sufficiency of
these concerns and whether the government had adequate basis to continue separating these families; Hincks
Statement.




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     parents [before June 26, 2018] or more than 700 additional children separated since June 2018.” 242
     Additionally, as of July 2019, another 149 children were known to have been separated from their
     parents. 243 Therefore, a bare minimum of 3,497 children appear to have been separated. Though
     an executive order has purported to end family separation, family separations have continued, and
     the federal government is reviewing thousands of further past cases in which migrant children may
     have been separated from their parents or guardians. 244

     The true number of children forcibly separated from their parents at the border appears unknowable
     absent full disclosure of the involved federal agencies, even assuming that the agencies kept and
     continue to keep accurate records. The government has admitted in court that there was no plan
     for reunification and a federal court has found there was no effective system for tracking the
     separated children.245 Moreover, the former head of at least one involved federal agency denied
     the very existence of the Administration’s child separation policy after it was already in effect.
     The U.S. House of Representatives Committee on Oversight and Reform reported that:

                   Then Secretary [of Homeland Security Kirstjen] Nielsen stated on multiple
                   occasions that there was no policy to separate children from their parents.
                   On May 15, 2018, she stated in testimony before the Senate Homeland
                   Security and Governmental Affairs Committee: “We do not have a policy
                   to separate children from their parents. On June 17, 2018, Secretary Nielsen




     242
        U.S. House of Representatives, Committee on Oversight and Reform, Staff Report: Child Separations by the
     Trump Administration, July 2019, pp. 5-6, (hereinafter Staff Report on Child Separations),
     https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2019-07-
     2019.%20Immigrant%20Child%20Separations-%20Staff%20Report.pdf.
     243
           Ibid.
     244
         Katharina Obser, Senior Policy Advisor, Women’s Refugee Commission, Testimony, Public Comment Session,
     p. 136.
     245
        See Ms. L. v. ICE, 310 F. Supp. 3d at 1137 (family separation with no reunification plan in place), 1140-41
     (“Government counsel explained the communication procedures that were in place, and represented, consistent with
     her earlier representation to the Court, that there was no procedure in place for the reunification of these families.”),
     Id at 1144 (“the practice of separating these families was implemented without any effective system or procedure for
     (1) tracking the children after they were separated from their parents, (2) enabling communication between the
     parents and their children after separation, and (3) reuniting the parents and children after the parents are returned to
     immigration custody following completion of their criminal sentence. This is a startling reality. The government
     readily keeps track of personal property of detainees in criminal and immigration proceedings. Money, important
     documents, and automobiles, to name a few, are routinely catalogued, stored, tracked and produced upon a
     detainees' release, at all levels — state and federal, citizen and alien. Yet, the government has no system in place to
     keep track of, provide effective communication with, and promptly produce alien children. The unfortunate reality is
     that under the present system migrant children are not accounted for with the same efficiency and accuracy
     as property. Certainly, that cannot satisfy the requirements of due process.” [internal citations omitted]).




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           tweeted: “We do not have a policy of separating families at the border.
           Period.” 246

According to testimony submitted to the Commission, these separations occur without the
involvement of child welfare specialists or with clear justifications and processes that would ensure
the best interests of the children and the due process rights of parents and legal guardians. 247 As
discussed below, the government cannot legally remove children from a parent without finding
that the parent or guardian is a danger to the child.

Regardless of the exact number of children who have been, are being, and likely will yet be
separated from their parents at the border, it is critical to note that the U.S. House of
Representatives Committee on Oversight and Reform determined that the Trump “Administration
[h]as [n]ot [b]een [c]andid [a]bout [i]ts [p]urpose in [s]eparating [c]hildren” from their parents. 248
Specifically:

           [t]he records obtained by the Committee indicate that the Trump
           Administration separated children unnecessarily—even under the
           Administration’s own rationale—and then failed to track separated families.
           These actions caused lengthy delays to reunification and, in some cases,
           separations that are still ongoing today.

           The Trump Administration claimed that child separations under the zero
           tolerance policy were necessary in order to criminally prosecute the parents
           and that such separations were no different than what occurs in the context
           of any criminal prosecution.

           ...

           However, the data shows that many child separations were unnecessary
           even under this claimed rationale. Some parents who were separated from
           their children were never sent to U.S. Marshals or other federal criminal
           custody, but instead went straight from [Customs and Border Protection]
           custody to [Immigration and Customs Enforcement] detention. Other
           parents were briefly taken into U.S. Marshals’ custody and then returned to
           [Customs and Border Protection] custody within a day or two. These parents
           were readmitted to the same facilities where they had been separated from

246
   Staff Report on Child Separations, pp. 11-12 (citing Senate Homeland Security and Governmental Affairs
Committee, Hearing on Authorities and Resources Needed to Protect and Secure the United States, 115th Cong.
(May 15, 2018) (online at www.hsgac.senate.gov/hearings/authorities-and-resources-needed-to-protect-and-secure-
the-united-states) and then-Secretary Kirstjen Nielsen, Department of Homeland Security, @SecNielsen, Twitter
(June 17, 2018) (online at www.twitter.com/SecNielsen/status/1008467414235992069).
247
      Obser Testimony, Public Comment Session, p. 136.

248
      Staff Report on Child Separations, p. 21.




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                their children days before, but the children had already been sent to [Office
                of Refugee Resettlement] custody. These parents were then sent to
                Immigration and Customs Enforcement detention and in some cases were
                deported without their children.

                These parents may have been in federal criminal custody for only a brief
                period—or not at all—because prosecutors declined to prosecute the cases,
                or because the parents’ only criminal offense was the misdemeanor of
                illegal entry and they were sentenced to time served when they immediately
                pleaded guilty. Yet their children were nevertheless taken from them and
                kept apart for weeks or months. 249

     This is layered on top of the apparent lack of candor about the underlying existence of family
     separation policies for which former Secretary Nielson is cited above.

     The Supreme Court has repeatedly found that as persons within the United States’ jurisdiction,
     noncitizens are entitled to substantive due process protections under the Fifth Amendment. 250 The
     language of the Fifth Amendment applies to all persons, regardless of citizenship. 251 The Court
     has also recognized a fundamental right to family integrity,252 which specifically includes the right
     of parents to have control over the upbringing, custody, and care of their children.253 Courts have
     even found that the separation of a child from their parent, “even for a short time, represents a
     serious impingement” on those fundamental parental rights. 254 Despite the Court articulating
     parental rights as fundamental, it has yet to establish a level of scrutiny for courts to use when
     reviewing familial integrity cases. 255 As such, lower courts have used varying levels in evaluating

     249
        Ibid., 21 (citing “Sessions: Parents, Children Entering U.S. Illegally Will be Separated,” NBC News, May 7,
     2018, https://www.nbcnews.com/politics/justice-department/sessions-parents-children-entering-us-illegally-will-be-
     separated-%20n872081)).
     250
        See Zadvydas v. Davis, 533 U.S. 678, 690 (2001) (finding Fifth Amendment protects all ‘persons’ within
     American borders); see also Mathews v. Díaz, 426 U.S. 67, 77 (1976); see generally Reno v. Flores, 507 U.S. 292,
     306 (1993); Plyler v. Doe, 457 U.S. 202, 210 (1982).
     251
        U.S. CONST. AMEND V (“No person shall be… deprived of life, liberty, or property, without due process of law;
     nor shall private property be taken for public use, without just compensation.”).
     252
           Troxel v. Granville, 530 U.S. 57 (2000).
     253
         See Troxel, 530 U.S. at 65-66; Santosky v. Kramer, 455 U.S. 745, 753 (1982); Quillion v. Walcott, 434 U.S. 246
     (1978) (finding relationship between parent and child constitutionally protected); D.B. v. Cardall, 826 F.3d 721, 740
     (4th Cir. 2016); Croft v. Westmoreland County Children & Youth Servs., 103 F.3d 1123, 1125 (3d Cir. 1997) (finding
     interference in family relationship unconstitutional unless there is some showing that children in danger of staying
     with parent).
     254
           Jordan v. Jackson, 15 F.3d 333, 346 (4th Cir. 1994).

     255
           Meyer v. Nebraska, 262 U.S. 390 (1923).




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different parental rights cases, such as rational basis or intermediate scrutiny.256 For family
separation in immigration cases specifically, some courts, such as the federal District Court for the
District of Columbia and the D.C. Federal Court of Appeals, which have jurisdiction over federal
questions, have used strict scrutiny review. Under strict scrutiny, they require that the government
action in question is narrowly tailored to achieve a compelling government interest in order to
meet constitutional standards. 257 In 2018, the D.C. federal district found that noncitizens do not
lose their fundamental right to family integrity when lawfully detained, and thus separating
children from parents “directly and substantially” burdens the right to family integrity. 258

Courts have also understood substantive due process to protect against government action that
“shocks the conscience.”259 This doctrine has been used particularly in due process challenges to
President Trump’s zero tolerance policy. 260 In its application, courts must determine whether the
executive action in question is “so extreme and egregious as to shock the contemporary
conscience,”261 which requires an examination into the totality of the circumstances as opposed to
requiring specific elements. 262 Executive actions can be challenged where impacted parties are
located, and the federal District Court of the Southern District of California has found that the
separation of children from families without a showing of parental unfitness plus the lack of
procedure to reunite or even facilitate communication between separated family members is likely
to meet the “shock the conscience” standard. 263

256
    Immediato v. Rye Neck Sch. Dist., 73 F.3d 454, 457 (2d Cir. 1996) (finding rational basis review, evaluating
whether the government action in question is rationally related to a legitimate state interest, appropriate when state
interest is education); New York Youth Club v. Smithtown, 867 F.Supp.2d 328, 332 (E.D.N.Y. 2012) (finding
intermediate scrutiny, evaluating whether the government action in question is substantially related to an important
government interest, is appropriate in evaluating an ordinance about curfews).
257
    Franz v. United States, 707 F.2d 582, 602 (D.C. Cir. 1983); M.G.U. v. Nielsen, 325 F.Supp.3d 111, 120 (D.C.
Cir. 2018) (holding that the Department of Health and Human Services “directly and substantially burdened
[defendant’s] right to family integrity.”); Nolasco v. ICE, 319 F.Supp.3d 491, 502 (D.C. Cir. 2018) (holding policy
of family separation not narrowly tailored to achieve compelling government interest in deterring unlawful
immigration.) not narrowly tailored to achieve compelling government interest in deterring unlawful immigration.).
258
      Nolasco, 319 F.Supp.3d at 500.
259
  Pittman v. Cuyahoga Cty. Dep’t of Children & Family Servs., 640 F.3d 716, 728 (6th Cir. 2011); Seegmiller v.
LaVerkin City, 528 F.3d 762, 769 (10th Cir. 2008) (finding two strands of substantive due process doctrine not
mutually exclusive).
260
      Dep’t. of Justice, Zero-Tolerance Memorandum.
261
   DePoutot v. Raffaelly, 424 F.3d 112, 118 (1st Cir. 2005) (citing County of Sacramento v. Lewis, 523 U.S. 833,
846 (1998)).
262
   County of Sacramento v. Lewis, 523 U.S. 833, 850 (1998); Armstrong v. Squadrito, 152 F.3d 564, 570 (7th Cir.
1998); Ms. L v. ICE, 310 F.Supp.3d 1133, 1143 (S.D. Cal. 2018).

263
      Ms. L, 310 F.Supp.3d at 1145; Lewis, 523 U.S. at 847.




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     In addition, despite courts ordering the federal government to stop family separation, migrants
     continue to allege that family separation is still used as a threat. For example, they say that
     Department of Homeland Security officials have been falsely informing them that their options
     are be separated from their children or face deportation.264

     Finally, for families that already have been separated, public testimony to the Commission
     revealed that there are no standard procedures in place to ensure reunification, which implicates
     continuing substantive due process concerns. 265 Though Department of Homeland Security
     implemented this separation, the lack of coordination between Department of Homeland Security
     and Department of Health and Human Services regarding the identities of the children and the
     identities and locations of their parents has resulted in an ongoing, substantial information
     deficiency. In January 2019, the Office of the Inspector General of the Department of Health and
     Human Services released a report showing that “thousands of children may have been separated
     during an influx that began in 2017, before the accounting required by the Court, and Department
     of Health and Human Services has faced challenges in identifying separated children.” 266 Even
     since the separation of these thousands of children came to light, no official numbers have been
     released by Department of Homeland Security due to the “lack of a coordinated formal tracking
     system between the Office of Refugee Resettlement . . . and the Department of Homeland
     Security.”267

     As of January 19, 2019, the Department of Homeland Security reportedly continued to “struggle[]
     to provide accurate, complete, reliable data on family separations . . ..”268 On September 27, 2018,
     after site visits, the Department of Homeland Security Office of the Inspector General issued a
     report finding that lack of preparation and lack of reliable information systems had led to parents
     being unable to contact or locate their children. 269 Among numerous findings regarding these
     information gaps making it challenging for parents to locate their children who had been taken
     from them, the Office of the Inspector General found that:

     264
           Abaya Testimony, Public Comment Session, p. 105

     265
           Obser Testimony, Public Comment Session, p. 137.
     266
        Dep’t. of Health and Human Services, Office of Inspector General, Separated Children Placed in Office of
     Refugee Resettlement Care, OEI-BL-18-00511, January 2019.
     267
        Miriam Jordan, “Family Separation May Have Hit Thousands More Migrant Children Than Reported,” New York
     Times, Jan. 17, 2019, https://www.nytimes.com/2019/01/17/us/family-separation-trump-administration-
     migrants.html.

     268
           Ibid.
     269
       Dep’t. of Homeland Security, Office of the Inspector General, Special Review – Initial Observations Regarding
     Family Separation Issues Under the Zero Tolerance Policy, Sept. 27, 2018, pp. 9-12.




                                                                                                           AR00239
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            Border Patrol agents do not appear to take measures to ensure that pre-verbal
            children separated from their parents can be correctly identified. For instance, based
            on Office of the Inspector General’s observations, Border Patrol does not provide
            pre-verbal children with wrist bracelets or other means of identification, nor does
            Border Patrol fingerprint or photograph most children during processing to ensure
            that they can be easily linked with the proper file.270

Family Separation - Right to Family Integrity Testimony

            “Any discussion of renewing family separation or giving families the false
            choice between being separated or indefinitely detained together should
            be recognized for what it is, a clear policy to inflict harm on families and
            deter them from seeking protection in the United States.” 271

            “Though we had received referrals in the past for separated children
            where the adult’s relationship with the child was unclear, what happened
            in 2017 was different. Some of the children referred to us were toddlers
            and babies. In all of these cases, there were no doubts about the
            relationship between these children and their parents but [Department of
            Homeland Security] still separated them.” 272

            “[Immigration and Customs Enforcement] and [Department of Homeland
            Security] still have no standard procedures or policies in place to prevent
            family separation in the first place, to identify separated parents or close
            relatives, to facilitate regular and free communication. Similarly, the
            Departments still have no meaningful mechanisms to track and document
            separations or allow a decision with life-long consequences to be
            appealed.”273

            “We are deeply concerned that family separation continues to be used
            solely to deter families from exercising their legal right to seek
            protection.”274



270
      Ibid., 15 (emphasis added).
271
      Abaya Testimony, Public Comment Session, p. 105.

272
      Ibid., 102.
273
      Obser Testimony, Public Comment Session, p. 137.

274
      Abaya Testimony, Public Comment Session, pp. 104-05.




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     Barriers to Reunification Testimony

                   “Worse yet, many parents were deported without knowing where their
                   children were before we were appointed to them. Parents told us they
                   abandoned valid asylum claims because” they were told it would either
                   help their children or allow them to be reunified. In some cases, children
                   believed their parents willingly abandoned them.” 275

                   “The United States must stop immigrant family separation in all its forms,
                   and all separated families must be immediately reunited. Thanks to recent
                   US policies and practices, innocent children will forever bear the scars
                   inflicted upon them by the pain and anxiety of forced separation. I pray
                   this nation can change course before more children are forced to endure
                   this literal torture.”276


     Standards of Care

     The Flores Agreement and Other Applicable Standards

     The following is a summary of various detention standards that are referenced throughout this
     chapter. Different legal standards exist for the detention of migrant children, families, and single
     adults. An overview of the standards are provided here and discussed in more detail under the
     applicable sections below.

     The Flores agreement is a 1997 court-ordered consent decree that established standards detailing
     how children should be treated in the immigration detention system, and it has been upheld by
     federal courts as enforceable. 277 The Flores agreement mandates all detention facilities that house
     immigrant children must be safe and sanitary, complete with suitable toilets, sinks, drinking water,
     food, medical assistance for emergencies, adequate temperature control and ventilation, adequate
     supervision to protect minors, and contact with all family members with whom the child was
     detained. 278 Additionally, Department of Homeland Security must segregate each minor from

     275
           Ibid.
     276
       Kari Hildreth, Written Statement for the Public Comment Session on Immigration Detention before the U.S.
     Commission on Civil Rights, May 13, 2019, at 1 (hereinafter Hildreth Statement).
     277
        Stipulated Settlement Agreement, Flores v. Reno, No. CV 85-4544-RJK (C.D. Cal. Jan. 17, 1997) (hereinafter
     Flores agreement). Parties in the case reached a settlement after the Supreme Court held that the circumstances of
     immigrant children’s confinement were better described as “legal custody rather than detention” because they are
     not in correctional institutions but “facilities that meet state licensing requirements for the provision of shelter care,
     foster care, group care, and related services to dependent children.” Reno v. Flores, 507 U.S. 292, 298 (1993).

     278
           See Flores agreement.




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unrelated adults, place him/her in the least restrictive setting possible that is appropriate for the
child’s age and special needs, and provide notice of his/her rights. 279 The Flores agreement also
requires that Department of Homeland Security treat each child with dignity, respect, and with
special concern for their particular vulnerabilities as children.280

Under the Flores agreement, Department of Homeland Security may detain migrant children only
to secure their timely appearance before a Department of Homeland Security, Department of
Health and Human Services, or Immigration Court, or to ensure their safety or the safety of
others. 281 A 2015 court ruling set the presumptive reasonable transition time to release detained
children from family immigration detention centers in compliance with the Flores agreement to
20 days. 282 If parents cannot be released with the children, the children are treated as
unaccompanied children and transferred to the custody of the Department of Health and Human
Services, Office of Refugee and Resettlement. The Homeland Security Act of 2002 charged the
Office of Refugee and Resettlement with providing temporary care and placement of
unaccompanied minors283 and the Trafficking Victims Protection Reauthorization Act of 2008
demands that children be “promptly placed in the least restrictive setting that is in the best interest
of the child. 284 Moreover, when children are initially detained by Border Patrol, they may not be
held for longer than seventy-two hours, except under exceptional circumstances.285

If detaining an unaccompanied migrant child is not required, then that child must be released to a
parent, legal guardian, adult relative (brother, sister, aunt, uncle, or grandparent), an adult
individual or entity designated by the parent or legal guardian as capable and willing to care for
the minor’s well-being through a declaration or other documentation, a licensed program willing
to accept legal custody, or an individual or entity willing to accept legal custody after a suitability
statement has been conducted and an affidavit of support has been created.286 Previously, Flores



279
      Id.
280
      Id.

281
      Id.
282
      Flores v. Lynch, 212 F.Supp.3d 907, 914 (2015).
283
      6 U.S.C § 279(g)(2).
284
   Trafficking Victims Protection Reauthorization Act of 2008, Pub. L. 110-457, 122 Stat. 5044 (codified as 22
U.S.C. § 7101).
285
   Dep’t. of Homeland Security, Office of the Inspector General, Special Review, p. 8 (citing 8 U.S.C. § 1232(b)(3)
(2008)).

286
      Flores agreement (Some portions have been codified at 8 C.F.R. § 263.3).




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     was mainly applicable to unaccompanied minors but since zero tolerance, it has also applied to
     children who arrived with their parents or other guardians. 287

     In 2017, a federal court found the Obama Administration was in breach of the Flores agreement
     due to “egregious conditions” in border patrol facilities and for detaining children longer than
     necessary, and required their release.288 In June 2019, the Department of Justice attempted to
     argue that the 2017 findings went too far and added additional requirements, such as soap and
     toothbrushes, that were not required under the original guidelines of what qualifies as “safe and
     sanitary.”289 These arguments were met incredulity by Ninth Circuit judges, including Senior
     Judge A. Wallace Tashima, who was held in a Japanese Internment Camp as a child during WWII,
     who stated, “It’s within everybody’s common understanding that if you don’t have a toothbrush,
     if you don’t have soap, if you don’t have a blanket, it’s not safe and sanitary. Wouldn’t everybody
     agree to that? Do you agree to that?” 290

     The current Administration’s defense of what it believes falls within the “safe and sanitary”
     guidelines continues to raise questions about the conditions of detainment at the southern border.
     Further, Immigration and Customs Enforcement’s own standards require that: “Each detainee shall
     receive, at a minimum, the following items: 1. One bar of bath soap, or equivalent; 2. One comb;
     3. One tube of toothpaste; 4. One toothbrush; 5. One bottle of shampoo, or equivalent; and 6. One
     container of skin lotion.”291

     The newest set of immigration policies undermines Flores by separating children from their
     parents in order to hold the adults indefinitely, and seeks to deter immigrants, namely those coming
     from Mexico and Central American countries, from pursuing entry into the U.S. 292 The

     287
           Flores v. Lynch, 828 F.3d 898 (9th Cir. 2016).
     288
        Order Re Plaintiffs’ Motion to Enforce and Appoint a Special Monitor, Flores v. Sessions, No. 85-cv-04544,
     2017 WL 6060252 (C.D. Cal. June 27, 2017).
     289
        Helen Christophi, “Feds Tell 9th Circuit: Detained Kids ‘Safe and Sanitary’ Without Soap,” Courthouse News,
     June 18, 2019, https://www.courthousenews.com/feds-tell-9th-circuit-detained-kids-safe-and-sanitary-without-soap/.
     290
           Ibid.
     291
       Immigration and Customs Enforcement, Performance-Based National Detention Standards 2011, Revised
     December 2016, pp. 328-330.
     292
         Nicholas Wu, “What is the Flores Agreement, and What Happens if the Trump Administration Withdraws from
     It?,” Just Security, Oct. 18, 2018, https://www.justsecurity.org/61144/flores-agreement-trump-administration-
     withdraws-it/; see also “Update on Separated Children & the Flores Agreement,” NPR, Sept. 9, 2018,
     https://www.npr.org/2018/09/09/646018019/update-on-separated-children-and-the-flores-agreement; see also,
     Congressional Research Service, The “Flores Settlement” and Alien Families Apprehended at the U.S. Border:
     Frequently Asked Questions, by Sarah Herman Peck and Ben Harrington, Sept. 17, 2018, p. 11,
     https://fas.org/sgp/crs/homesec/R45297.pdf.




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Administration issued a notice of draft regulation to withdraw the Flores agreement in September
9, 2018. 293 A total of 98,208 public comments were received. 294 Reviewing the first 100 shows
that the overwhelming majority oppose the federal government ending or withdrawing from the
Flores agreement.295 Groups opposed withdrawal of the Flores agreement, include the American
Immigration Lawyers’ Association, which commented that the proposed new regulations would
not guarantee safe conditions for children, would result in their indefinite detention and therefore
be patently inhumane, and would require continued family separation. 296 The President of the
American Bar Association and 18 State Attorney Generals expressed similar concerns. 297

On August 21, 2019, two federal agencies, the Department of Homeland Security and the
Department of Health and Human Services, released regulations “implementing the relevant and
substantive terms of the Flores Settlement Agreement (Flores).” 298 At the time of the release, the
agencies provided a description of the regulations, summarized generally as: 299

•      Implementing the provisions of Flores and thereby terminating the Flores Settlement
       Agreement
•      Implementing the standards for how federal agencies care for accompanied and
       unaccompanied minors
•      Allowing federal agencies to hold families in third-party licensed family facilities


293
    Apprehension, Processing, Care, and Custody of Alien Minors and Unaccompanied Alien Children, 83 Fed. Reg.
45486 (proposed Sept. 7, 2018) (to be codified at 8 C.F.R. 212 and 236 & 45 C.F.R. 410),
https://www.federalregister.gov/documents/2018/09/07/2018-19052/apprehension-processing-care-and-custody-of-
alien-minors-and-unaccompanied-alien-children.
294
   See “Apprehension, Processing, Care, and Custody of Alien Minors,” Regulations.gov,
https://www.regulations.gov/docketBrowser?rpp=25&so=DESC&sb=commentDueDate&po=0&dct=PS&D=ICEB-
2018-0002 (accessed Aug. 12, 2019).

295
      Ibid.
296
   See American Immigration Lawyers Association and American Immigration Council, letter to Debbie Seguin,
Assistant Director, Office of Policy, Immigration and Customs Enforcement, Nov. 6, 2018,
https://www.aila.org/infonet/aila-council-submit-comments-opposing-flores.
297
   See Lorelei Laird, “ABA President Opposes Proposed Rule that Would Reduce Rights of Immigrant Minors,”
ABA Journal, Nov. 7, 2018,
http://www.abajournal.com/news/article/aba_president_opposes_proposed_rule_that_would_reduce_rights_of_immi
grant_m.
298
    Dep’t. of Homeland Security, “DHS and HHS Announce New Rule to Implement the Flores Settlement
Agreement; Final Rule Published to Fulfill Obligations under Flores Settlement Agreement,” press release, Aug. 21,
2019, https://www.dhs.gov/news/2019/08/21/dhs-and-hhs-announce-new-rule-implement-flores-settlement-
agreement.
299
    Ibid.




                                                                                                       AR00244
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     •      Implementing provisions of the Trafficking Victims Protection Reauthorization Act of
            2008, including the transfer of unaccompanied children to Department of Health and
            Human Services within 72 hours, absent exceptional circumstances.


     Section VI of Flores provides conditions for a “general policy favoring release,” 300 and provides
     that the agency “shall release a minor from its custody without unnecessary delay” if detention is
     not required to ensure safety or make a legal appearance.301 The agreement also provides that
     within five days of initial detention, the agencies must transfer a child to a licensed program, except
     in the event of an emergency of influx of children into the US, in which case the placement shall
     be made “as expeditiously as possible.”302 A licensed program refers to a program, agency or
     organization “that is licensed by an appropriate State agency” to provide care for minor children. 303
     A later court decision from the 9th Circuit clarified that Flores applied to children accompanied by
     an adult and, based on the arguments made by the parties, established a 20 day standard for the
     release of accompanied children.304


     The new regulation 305 differs from Flores in several notable ways. First, the regulation has several
     new barriers to the release of children that are not present in Flores. The regulation eliminates the
     opportunity for release on humanitarian or public interest parole for children in expedited removal
     proceedings.306 The regulation limits access to bond hearings allowing Department of Health and
     Human Services to determine whether certain children will be released. 307 The regulation will
     also permit the ongoing detention of accompanied children with their parents, with no set limits
     for release. 308



     300
           Flores agreement.

     301
           Id.
     302
           Id.

     303
           Id.
     304
           Flores v. Lynch, 212 F.Supp.3d 907, 914 (2015).
     305
         Apprehension, Processing, Care, and Custody of Alien Minors and Unaccompanied Alien Children, 84 Fed. Reg.
     44392 (proposed Sept. 7, 2019) (to be codified at 8 C.F.R. § 212 and 236 & 45 C.F.R. § 410),
     https://www.federalregister.gov/documents/2018/09/07/2018-19052/apprehension-processing-care-and-custody-of-
     alien-minors-and-unaccompanied-alien-children.

     306
           Id.
     307
           Id.

     308
           Id.




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Second, the regulation allows for children to be released into facilities that are not licensed by a
state, and instead creates the option for the federal agencies to develop a separate licensing system.
Third, in its statement announcing the publication of the regulation, the Administration stated that
the regulation was “closing the key loophole in Flores—the new rule will restore integrity to our
immigration system and eliminate the major pull factor fueling the current crisis.” 309 However,
using family detention as a deterrent for legal migration has been found by the courts to be an
illegitimate basis for civil detention. 310 Finally, under Flores, attorneys representing the best
interests of the children were able to ask a court to determine whether delays were “necessary”
and whether the placements were being made “as expeditiously as possible.” 311

Immigration and Customs Enforcement at the Department of Homeland Security may detain
families at family detention centers. Immigration and Customs Enforcement also established
guidelines that govern detention as family detention centers. 312 These standards cover many
aspects of being detained including safety, security, care (medical, food, and hygiene), visitations,
recreation, and access to legal counsel. 313

Standards for detaining adult migrants are established by Immigration and Customs Enforcement,
and are primarily based on correction incarceration standards. 314 Since 2000, Immigration and
Customs Enforcement has implemented three sets of detention standards throughout all
Immigration and Customs Enforcement detention facilities, 315 the National Detention Standards




309
   Dep’t. of Homeland Security, “Acting Secretary of Homeland Security Kevin K. McAleenan on the DHS-HHS
Federal Rule on Flores Agreement,” press release, Aug. 21, 2019, https://www.dhs.gov/news/2019/08/21/acting-
secretary-mcaleenan-dhs-hhs-federal-rule-flores-agreement.
310
   R.I.L-R, et al., v. Johnson, 80 F.Supp.3d 164, 181-82 (D.C. Cir. Feb. 20, 2015), https://www.aclu.org/legal-
document/rilr-v-johnson-memorandum-opinion.

311
      See Flores agreement.
312
   “Family Residential Standards,” Dep’t. Of Homeland Security, Immigration and Customs Enforcement ,
http://www.ice.gov/detention-standards/family-residential (accessed June 1, 2019); Lazaro Zamora, “What You
Need to Know: Immigrant Family Detention,” Bipartisan Policy Center, Aug. 27, 2015,
https://bipartisanpolicy.org/blog/what-you-need-to-know-immigrant-family-detention/.
313
      Dep’t. Of Homeland Security, “Family Residential Standards.”
314
  National Immigrant Justice Center, Immigration Detention Oversight and Accountability Tool Kit: A Guide for
Members of Congress Visiting Ice Jails, May 2019, p. 5, https://www.immigrantjustice.org/research-items/toolkit-
immigration-detention-oversight-and-accountability, (hereinafter A Guide for Members of Congress).
315
   “Ice Detention Standards,” Dep’t of Homeland Security, https://www.ice.gov/factsheets/facilities-pbnds
(accessed July 26, 2019).




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     2000, 316 the Performance-Based National Detention Standards 2008,317 and the Performance-
     Based National Detention Standards 2011. 318 Respectively, they contain 38, 41, and 43 standards
     pertaining to detainee care, services, and facility operations. 319 These standards also govern private
     contracted detention facilities and intergovernmental service agreement detention facilities. 320
     Although the standards generally dictate uniformity, contract and intergovernmental facilities
     follow the detention standards stated in their contract, 321 which can sometimes create variation
     among Immigration and Customs Enforcement facilities. 322

     Finally, detainees retain basic civil rights as well as substantive due process rights granted to them
     by the U.S. Constitution. 323 Supreme Court case law also sets standards for the provision of
     medical care for adults in immigration detention facilities. 324



     316
       Immigration and Customs Enforcement, Performance-Based National Detention Standards, 2000 Detention
     Operations Manual, https://www.ice.gov/detention-standards/2000.
     317
       Immigration and Customs Enforcement, Performance-Based National Detention Standards, 2008 Detention
     Operations Manual, https://www.ice.gov/detention-standards/2008.
     318
       Immigration and Customs Enforcement, Performance-Based National Detention Standards, 2011 Detention
     Operations Manual, https://www.ice.gov/detention-standards/2011.
     319
           See supra notes 315-318.
     320
        Contract detention facilities are “owned by private companies and contracted directly with ICE.” See 79 Fed.
     Reg. 13100, 13104 (March 7, 2014); Intergovernmental service agreement (IGSA) detention facilities are detention
     “facilities [that] are provided to ICE by States or local governments through agreements and may be owned by the
     State or local government, or a private entity. See 79 Fed. Reg. 13100, 13104 (Mar. 7, 2014).
     321
        See, e.g., Dep’t. of Homeland Security, Immigration and Customs Enforcement, Inter-governmental Service
     Agreement between DHS ICE, Office of Detention and Removal, and Collier County, Naples, Florida,
     http://www.ice.gov/doclib/foia/isa/r_droigsa070024colliercountyfl.pdf.
     322
        U.S. Gov’t Accountability Office, Immigration Detention: Additional Actions Needed to Strengthen Management
     and Oversight of Facility Costs and Standards, GAO-15-153, Oct. 2014, pp. 1-2, 5,
     https://www.gao.gov/assets/670/666467.pdf. For example, if Immigration and Customs Enforcement contracted
     with a Contract Detention Facility prior to 2008, that Contract Detention Facility would only be required to
     implement the National Detention Standards 2000. According to the 2014 Government Accountability Office report,
     Immigration and Customs Enforcement officials have stated that “they were in the process of requesting that
     additional facilities authorized to hold detainees for 72 hours or longer implement the most recent 2011
     [Performance-Based National Detention Standards], and documenting that change in facility contracts.” Ibid., 32; In
     2015 Kevin Landy, in his official capacity as Immigration and Customs Enforcement Assistant Director for the
     Office of Detention Policy and Planning (ODPP), sent the Commission additional comments in response to
     Commission staff inquiry. This information is available at the U.S. Commission on Civil Rights Headquarters
     located at 1331 Pennsylvania N.W., Washington D.C., 20425.
     323
           See infra notes 609-614; 618-620 (due process discussion).

     324
           See infra notes 452-453 (legal standard for medical care discussion).




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Detention of Children

Current Conditions

There have been civil rights issues with the initial detention of children by Border Patrol (before
they are transferred to larger facilities like the South Texas Family Residential Center in located
in Dilley, Texas, or to Department of Health and Human Services shelters). The Department of
Homeland Security, Office of the Inspector General found that Border Patrol held children many
days past the statutory limit of seventy-two hours, which may only be exceeded under “exceptional
circumstances.” 325 From May 5—June 20, 2018, among hundreds of children held by the Border
Patrol, 32.9 percent were held for more than seventy-two hours, and some were held from twelve
to twenty-five days. 326

While the number of minors detained has reached a record high, the conditions in which they are
housed has hit a disturbingly low standard. Thousands of children have been held by Department
of Homeland Security in cages in former warehouses, in buildings with little if any natural light,
forced to sleep on cement floors in cold temperatures, with only aluminum blankets issued to cover
them. 327 The conditions of the shelters to which these children are transferred after being detained
by Department of Homeland Security are similarly concerning. The shelters are run by Department
of Health and Human Services’ Office of Refugee Resettlement.328 At the shelters, many children
are not able to speak to their parents, hug their siblings who are also in custody, or know when
they will be released, and there are a troubling number of allegations of abuse. 329

Furthermore, undocumented children in the United States are entitled to equal access to public
education. In 1982, in the case of Plyler v. Doe, the Supreme Court held that Equal Protection is a
right enjoyed by all persons within the territory of the United States, 330 and that a state could not

325
   Dep’t. of Homeland Security, Office of the Inspector General, Special Review, p. 8 (citing 8 U.S.C. § 1232(b)(3)
(2008)).
326
      Ibid.
327
   Manny Fernández, “Inside the Former Walmart That Is Now a Shelter for Almost 1,500 Migrant Children,” New
York Times, June 14, 2018, https://www.nytimes.com/2018/06/14/us/family-separation-migrant-children-
detention.html.
328
      For more information on agency coordination (or lack thereof), see supra notes 142-147; 265-267.
329
   See American Civil Liberties Union of Texas, letter to John V. Kelly, Acting Inspector General, Dep’t. of
Homeland Security, Cameron Quinn, CRCL Officer, and Matthew Klein, Assistant Commissioner for Office of
Professional Responsibility, Mar. 30, 2019, (hereinafter American Civil Liberties Union of Texas letter)
https://www.aclutx.org/sites/default/files/pdn_border_patrol_abuse_oig_complaint.pdf.

330
      Plyler v. Doe, 457 U.S. 202, 211-12 (1982).




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     deny undocumented children the right to public education, because that “imposes a lifetime
     hardship on a discrete class of children not accountable for their disabling status. The stigma of
     illiteracy will mark them for the rest of their lives.” 331 The Court added: “We are reluctant to
     impute to Congress the intention to withhold from these children, for so long as they are present
     in this country through no fault of their own, access to a basic education.”332 However, access to
     education as required by the Flores agreement for six hours a day has been at issue for migrant
     children at some detention camps, 333 and their indefinite detention only contributes to the negative
     impact of lesser access to public education during detention.

     On February 28, 2019, the American Immigration Council reported that there were at least nine
     infants under one year of age detained by Department of Homeland Security in Dilley, Texas where
     there was an alleged lack of access to medical care.334 American Immigration Council and other
     immigrant rights groups wrote to the Department of Homeland Security’s Office for Civil Rights
     and Civil Liberties and the Inspector General of the Department of Homeland Security, voicing
     “grave concerns about the lack of specialized medical care available in Dilley for this vulnerable
     population,” 335 and “long documented the limited access to adequate medical care in family
     detention centers.” 336 A few days later, Immigration and Customs Enforcement confirmed there
     were sixteen babies in Department of Homeland Security custody at Dilley, and that twelve had
     been released. 337 Immigration and Customs Enforcement also reported that another baby detained
     at the Texas Karnes detention center, which is about an hour from the nearest hospital, and that


     331
           Id. at 223.

     332
           Id. at 227.

     333
         See, e.g., Dana Goldstein and Manny Fernández, “In a Migrant Shelter Classroom, It’s Always Like the First Day
     of School,” New York Times, July 6, 2018, https://www.nytimes.com/2018/07/06/us/immigrants-shelters-schools-
     border.html (“[A]ccording to lawyers and educators with firsthand knowledge of the child detention system, the
     education offered inside the facilities is uneven and, for some children, starkly inadequate. Teachers at the schools
     are sometimes not state-certified as teachers, according to these accounts. Some shelter instructors cannot
     communicate effectively in Spanish, and in other cases the curriculum is so limited and classes are so wide-ranging
     in age groups that students seem bored and disengaged.”).
     334
        American Immigration Council, letter to Ms. Cameron Quinn, Office for Civil Rights and Civil Liberties, Dep’t.
     Of Homeland Security and Mr. John V. Kelly, Acting Inspector General, Dep’t. Of Homeland Security, Feb. 28,
     2019,https://www.americanimmigrationcouncil.org/sites/default/files/general_litigation/complaint_urges_immediate
     _release_of_infants_from_immigration_detention.pdf.

     335
           Ibid., 1.
     336
           Ibid.
     337
        Kate Smith, “12 Detained Babies Have Been Released From ICE Custody in Dilley, Texas,” CBS News, Mar. 4,
     2019, https://www.cbsnews.com/news/immigrant-children-detained-12-babies-released-from-ice-custody-detention-
     center-dilley-texas-2019-03-04/.




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the status of four babies remaining in custody at Dilley was still unclear.338 Compounding this and
other civil rights issues arising in immigration detention, Office for Civil Rights and Civil Liberties
does not have authority to remedy individual complaints but instead focuses on systemic
issues.” 339

Child Deaths

After over a decade with no child deaths in federal immigration custody, 340 at least six migrant
children have died while in custody since September 2018 based on public reports. 341 During the
month of December 2018, two young Guatemalan children who were held in Border Patrol custody
passed away. 342 Both seven-year-old Jakelín Caal Maquín and eight-year-old Felipe Gómez
Alonso left impoverished indigenous villages with their respective fathers.343 Then Secretary of
Department of Homeland Security Kirstjen Neilsen reportedly stated that they were the first
migrant children who had died in Department of Homeland Security custody in over a decade, and
called for Central American families to stop migrating. 344 Customs and Border Protection
Commissioner Kevin K. McAleenan stated that the border facilities where these children were
intercepted and detained for days were “not built for that group that’s crossing today. They were
built 30, 40 years ago for single adult males and we had a different approach.”345 Since the death
of Felipe on Christmas Eve of 2019, border patrol has begun hiring emergency medical technicians



338
      Ibid.
339
   See Susan Ferriss, Alison Kodjak, and Joshua Phillips, “Homeland Security’s Civil Rights Unit Lacks Power to
Protect Migrant Kids,” NPR, Aug. 2, 2019, https://www.npr.org/sections/health-
shots/2019/08/02/746982152/homeland-securitys-civil-rights-unit-lacks-power-to-protect-migrant-kids.
340
   Contrary to the documented deaths of children in Dep’t. Of Homeland Security custody, Border Patrol
Commissioner McAleenan recently stated in an interview that it had been “more than a decade” since a “child
pass[ed] away anywhere in a [Customs and Border Protection] process.” “‘We Need a Different Approach,’ Says
Border Protection Chief After 2nd Migrant Child Dies in U.S. Custody,” CBS News, Dec. 26, 2018,
https://www.cbsnews.com/news/customs-and-border-protection-chief-kevin-mcaleenan-on-migrant-child-death/.
341
   Dianne Gallagher and Kate Sullivan, “Feds Say a Sixth Migrant Child Died While in the Care of Authorities in
September,” CNN, May 23, 2019 5:32 PM, https://www.cnn.com/2019/05/22/politics/sixth-migrant-child-
dies/index.html.
342
   Miriam Jordan, “‘A Breaking Point’: Second Child’s Death Prompts New Procedures for Border Agency,” New
York Times, Dec. 26, 2018, https://www.nytimes.com/2018/12/26/us/felipe-alonzo-gomez-customs-border-
patrol.html.

343
      Ibid.
344
      Ibid.

345
      Ibid.




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     and paramedics to screen children and adults who are detained at the border.346 Both Jakelín and
     Felipe’s parents speak Mayan languages, but the fathers were reportedly questioned about their
     children’s health in Spanish, which they do not fully understand, and signed forms asking about
     their children’s health in English. 347 Both fathers stated that their children seemed healthy before
     they were picked up by Border Patrol. 348 In both cases, when their children became violently ill,
     Border Patrol brought them to hospitals that were over 30 miles away, but it was too late to save
     them. 349

     In 2019, three more Guatemalan minors died while in Department of Homeland Security
     custody. 350 In April, a sixteen-year-old, Juan de León Gutiérrez, fell ill with a rare condition and
     died several days later after being transferred roughly 160 miles from the migrant shelter in which
     he was detained to a hospital. 351 In May, a two-year-old (unnamed), detained with his mother, died
     after about a month of hospitalization, and another sixteen-year-old, Carlos Gregorio Hernández
     Vásquez, similarly passed away after becoming sick while in U.S. custody.352 Carlos was confined
     for twice as long as federal law ordinarily allows, and was moved to a different holding facility
     after a diagnosis of the flu.353 Though prescribed with the medicine Tamiflu, Carlos was never
     hospitalized.354 In May 2019, the death of an unnamed Salvadoran child in Department of Health
     and Human Services custody came to light. 355 Though she died in September of 2018, her passing

     346
           Ibid.
     347
        Simon Romero, “Father of Migrant Girl Who Died in U.S. Custody Disputes Border Patrol Account,” New York
     Times, Dec. 15, 2018, https://www.nytimes.com/2018/12/15/us/migrant-girl-border-patrol-jakelin.html (father
     speaks Q’eqchi’ and did not fully understand Spanish or English); Maria Sacchetti, “Official: Guatemalan Boy Who
     Died in U.S. Custody Tested Positive for Influenza B, Final Cause of Death Remains Under Investigation,”
     Washington Post, Dec. 28, 2018, https://www.washingtonpost.com/local/immigration/father-whose-son-died-in-
     custody-knew-bringing-him-would-ease-entry-into-us/2018/12/27/4c210bfc-0a1d-11e9-85b6-
     41c0fe0c5b8f_story.html?utm_term=.21b9eacc3dac (father speaks only the Mayan language Chuj).
     348
           Romero, “Father of Migrant Girl Who Died.”; Sacchetti, “Official: Guatemalan Boy Who Died.”

     349
           Ibid.
     350
        Nomaan Merchant, “Fifth Migrant Child Dies After Detention by US Border Agents,” AP News, May 20, 2019,
     https://www.apnews.com/5a49d65213b54043825acc282830b139 (hereinafter Merchant, “Fifth Migrant Child
     Dies.”).
     351
       Nomaan Merchant and Sonia Pérez D., “US Won’t Answer New Questions About Migrant Teen’s Death,” AP
     News, May. 9, 2019, https://www.apnews.com/1d7d00f710ab4eb8979143717c94fab0.

     352
           Merchant, “Fifth Migrant Child Dies.”
     353
           Ibid.

     354
           Ibid.
     355
       Graham Kates and Angel Canales, “A 10-Year-Old Migrant Girl Died Last Year in Government Care, Officials
     Acknowledge,” CBS News, May 22, 2019, https://www.cbsnews.com/news/migrant-children-death-a-10-year-old-




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was not reported until eight months later. 356 She entered the United States at an Office of Refugee
Resettlement facility in Texas in a “medically fragile” state and was transferred by Department of
Homeland Security between multiple medical facilities across multiple states for a number of
months before she finally passed away. 357

In addition to the five children who have died while in custody, Mariee Juárez, a one and a half
year old migrant child from Guatemala, died just a few weeks after being released from
Immigration and Customs Enforcement custody in 2018. 358 Her mother, Yazmín Juárez, is now
suing the U.S. government in connection to her daughter’s death. 359 Juárez testified before
Congress that while she and her daughter were in the custody of Immigration and Customs
Enforcement, they were kept in a cage with 30 other people, including sick and coughing
children.360 After a week, Mariee also became sick and was given only Tylenol and honey even
though she was vomiting, had diarrhea, a fever, and stopped eating. 361 Mariee lost 8 percent of her
body fat in 10 days and upon release, spent six weeks in hospitals with a respiratory infection, on
a ventilator, before passing away just a few months before her second birthday. 362

The deaths of these innocent minors demonstrate the devastating consequences of the dangerous
conditions of border custody and child detention policies. According to relevant civil rights
standards, any child, whether they arrived with an adult family member or as an unaccompanied
minor, should not be held in detention for long periods, or subject to abusive conditions, or without
proper care, including medical treatment.363




migrant-girl-died-last-year-in-government-care-officials-acknowledge-exclusive/?ftag=CNM-00-
10aab7e&linkId=67929241.
356
      Ibid.

357
      Ibid.
358
   Sasha Ingber, “Migrant Woman Testifies: My Child Died on What is Mother’s Day In My Country,” NPR, Jul.
10, 2019, https://www.npr.org/2019/07/10/740512246/migrant-woman-testifies-my-child-died-on-what-is-mothers-
day-in-my-country.

359
      Ibid.
360
      Ibid.

361
      Ibid.
362
      Ibid.

363
      See, e.g., Flores agreement.




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     Impact of Metering on Children

     During the last week of March 2019, reports emerged that the Border Patrol was holding asylum
     seekers who sought to cross legally in a pen under a highway bridge near the legal border
     crossing. 364 Over 1,000 migrants, including babies and children, had been held under the bridge
     surrounded by a chain-link fence and forced to sleep outside in the cold, on gravel with bird
     droppings and dust falling on them at night. 365 On March 31, federal officials reportedly cleared
     out the enclosure, and the hundreds of families of asylum seekers were moved to other places, but
     the New York Times reported that they were still using a tent under another site under the bridge.366

     The American Civil Liberties Union of Texas filed a complaint with Department of Homeland
     Security’s Office for Civil Rights and Civil Liberties and its Office of Inspector General, stating
     that in addition to keeping families and children outside in the cold sleeping on gravel, there were
     reports of verbal and physical abuse, lack of clean water, lack of clean toilets and lack of soap,
     lack of access to medical care, and sleep deprivation as officials woke the families every few hours
     and many were unable to sleep in the cold on the gravel. 367 The American Civil Liberties Union
     of Texas alleged that:

                   The detention of migrants for multiple nights in outdoor detention pens is
                   an unprecedented and extreme violation. Although [Customs and Border
                   Protection] has long violated the rights of migrants in its custody, the
                   agency’s decision to detain migrants, including children, in caged dirt filled
                   outdoor areas is an escalation of this administration’s cruelty. [Customs and
                   Border Protection] has an obligation, under its own standards, to ensure that
                   migrants are treated humanely, with dignity, and consistent with U.S. and
                   international law.368

     Medical Treatment of Children

     In Reno v. Flores, the Supreme Court held that the circumstances of immigrant children’s
     confinement were better described as “legal custody rather than detention” because they are not in


     364
        See Alfredo Corchado, “Border Patrol Closes Ramshackle Migrant Holding Pen Near Where Trump Official
     Declared Crisis,” Dallas News, Mar. 31, 2019, https://www.dallasnews.com/news/immigration/2019/03/31/border-
     patrol-closes-ramshackle-migrant-holding-pen-near-top-trump-official-declared-crisis.

     365
           Ibid.
     366
        Simon Romero, “Migrants Moved Out of Holding Pen Under El Paso Bridge,” New York Times, Mar. 31, 2019,
     https://www.nytimes.com/2019/03/31/us/el-paso-bridge-migrants.html.
     367
           American Civil Liberties Union Texas letter.

     368
           Ibid., 1.




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correctional institutions but “facilities that meet state licensing requirements for the provision of
shelter care, foster care, group care, and related services to dependent children.” 369 In a settlement
reached by the class of plaintiffs in Flores v. Reno based on the needs of vulnerable children, both
parties laid out the stipulated medical requirements for migrant children being detained in the legal
custody of the former Immigration and Naturalization Services, which has now been reorganized
into Department of Homeland Security. After acknowledging the particular vulnerabilities of the
population being detained, the agreement set out that:

              [Immigration and Naturalization Service] will hold minors in a facility that
              is safe and sanitary and that is consistent with the [Immigration and
              Naturalization Services]’s concern for the particular vulnerability of
              minors. Such facilities will have access to toilets and sinks, drinking water
              and food as appropriate, medical assistance if the minor is in need of
              emergency services, adequate temperature control and ventilation. 370

The parties also included specific services and programs that should be made available to
migrant children:

              Appropriate routine medical and dental care, family planning services, and
              emergency health care services, including a complete medical examination
              (including screening for infectious disease) within 48 hours of admission,
              excluding weekends and holidays, unless the minor was recently examined
              at another facility; appropriate immunizations in accordance with the U.S.
              Public Health Service (PHS), Center for Disease Control; administration of
              prescribed medication and special diets; appropriate mental health
              interventions when necessary. 371

Detention centers must also comply with all applicable state child welfare laws and regulations
and must provide for each minor in its care proper physical care and maintenance. 372

Effective application of these standards have proven to be elusive for thousands of migrant
children. As detailed in public testimony heard by the Commission in April of 2019, medical staff
are not routinely present at detention facilities and wait times to see a doctor can be weeks long,




369
      Reno v. Flores, 507 U.S. at 298.
370
   Id.; Stipulated Settlement Agreement, Exhibit 2, Instructions to Service Officers re: Processing, Treatment, and
Placement of Minors, Flores v. Reno (emphasis added).
371
      Ibid.

372
      Stipulated Settlement Agreement, Exhibit 1, Minimum Standards for Licensed Programs, Flores v. Reno.




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     regardless of how dire the situation. 373 Facilities lack appropriate medicine and detention staff
     have been known to deny migrants medication they need for pre-existing illnesses. 374 Due to the
     negligence of detention staff, multiple children have passed away in detention from illnesses such
     as the flu, which with proper treatment would not be deadly. 375 The Trump Administration is not
     complying with the medical requirements of the Flores agreement, and is seeking to withdraw
     from the agreement.376

     The Director of Litigation at Refugee and Immigrant Center for Education and Legal Services (an
     organization that provides assistance to migrants at the border) told the Commission that there is
     a lack of adequate pediatric care in detention facilities, including inadequate or inappropriate
     immunizations, delayed medical treatment, inadequate educational services and limited mental
     health services. 377 Moreover, although privately run detention facilities such as Karnes and Dilley
     are contractually obligated to have a pediatrician on staff, Refugee and Immigrant Center for
     Education and Legal Services states that these detention facilities do not employ pediatricians.378

     Lack of Pediatric Care Testimony

                “[I]fants and children who may be housed in these detention centers are
                not in optimal health when they arrive and they face immense challenges
                and trauma from being separated from parents and guardians to being
                malnourished and dehydrated.”379



     373
       Project South, Written Statement for the Public Comment Session on Immigration Detention before the U.S.
     Commission on Civil Rights, May 13, 2019, at 6-7 (hereinafter Project South Statement).
     374
        Margaret Seiler, Volunteer, Don’t Separate Families, Testimony, Public Comment Session, p. 60; Project South
     Statement, at 6-7.

     375
           Merchant, “Fifth Migrant Child Dies.”
     376
        Nick Miroff and Maria Sacchetti, “Trump administration to circumvent court limits on detention of child
     migrants,” Washington Post, Sept. 6, 2018, https://www.washingtonpost.com/world/national-security/trump-
     administration-to-circumvent-court-limits-on-detention-of-child-migrants/2018/09/06/181d376c-b1bd-11e8-a810-
     4d6b627c3d5d_story.html?utm_term=.5fd3169183cf; see also Apprehension, Processing, Care, and Custody of
     Alien Minors and Unaccompanied Alien Children, 83 Fed. Reg. 45486 (proposed Sept. 7, 2018) (to be codified at 8
     C.F.R. 212 and 236 & 45 C.F.R. 410).
     377
        Manoj Govindaia, Litigation Director, Refugee and Immigrant Center for Education and Legal Services,
     Testimony, Public Comment Session, p. 120.
     378
        Ibid, 120-21. See also Jeremy Raff, “What a Pediatrician Saw Inside a Border Patrol Warehouse,” The Atlantic,
     Jul. 3, 2019, https://www.theatlantic.com/politics/archive/2019/07/border-patrols-oversight-sick-migrant-
     children/593224/.

     379
           Michelle Mabson, Staff Scientist, Earthjustice, Testimony, Public Comment Session, pp. 114-15.




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           “[Department of Homeland Security] has likely not been able and/or will
           be unable in the future to staff these facilities in a timely manner with
           qualified pediatricians, psychiatrists, child and adolescent physiatrists,
           mental health clinicians including those with expertise in treating children
           and toddlers, and pediatric nurses.” 380

           “We were told about children who actually suffered respiratory issues due
           to the cold temperatures and the lack of any type of warmth or blankets
           provided to those migrants.”381

           “Another young boy, age 6, was screaming, thrashing, and attempting to
           bite due to what appeared to be a very high fever. The boy's father stated
           that his son had never had medicine before but needed it now. After several
           failed attempts of administering fever reducer, I resorted to applying a cold
           washcloth to his forehead over the course of two hours, utilizing an office
           Tupperware bin which was the only container that I could find that could
           hold water in the facility.”382




Mental Health and Children

The federal government is not providing adequate mental health resources for migrant children.
There is no initial screening at intake and no counseling provided for trauma. Yet there is
substantial research available—some of which was provided to the government in advance of
implementation of family separation and detention of the children383—linking traumas associated
with childhood detention with long lasting negative outcomes such as depression, anxiety, and
post-traumatic stress disorder. 384 Trauma may have also manifested due to the events that led
children to leave their home countries, from the journey, or from being separated from parents and
other care givers. Additionally, advocates argue that for children in detention centers, behavioral
problems are often the result of trauma-caused mental illness and are exacerbated by the use of




380
   Government Accountability Project, Written Statement for Public Comment Session before the U.S. Commission
on Civil Rights, May 13, 2019, at 6 (hereinafter Government Accountability Project Statement).
381
      Chelsea James, College Student, Howard University, Testimony, Public Comment Session, p. 62.

382
      Briones Bedell, High School Student, California, Testimony, Public Comment Session, p. 67.
383
      Government Accountability Project Statement, at 29.

384
      American Psychiatric Association Statement, at 2.




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     discipline as opposed to treatment.385 Detention centers have also reportedly placed children with
     mental health issues in solitary confinement. 386

     Further, the American Academy of Pediatrics released a study finding that the physical and mental
     health needs of migrant children were not being met, finding that “Department of Homeland
     Security facilities do not meet the basic standards for the care of children in residential settings[;]”
     and emphasizing that: “From the moment children are in the custody of the United States, they
     deserve health care that meets guideline-based standards, treatment that mitigates harm or
     traumatization, and services that support their health and well-being.” 387 Child detention and
     family separation are part of and exacerbate mental health issues arising from trauma the children
     fled and/or experienced in their journey to the border. The Department of Homeland Security
     Advisory Committee on Family Residential Centers conducted a year-long investigation of current
     immigrant detention conditions for children and recommended that:

                [Department of Homeland Security]’s immigration enforcement practices
                should operationalize the presumption that detention is generally neither
                appropriate nor necessary for families—and that detention or the separation
                of families for purposes of immigration enforcement or management are
                never in the best interest of children. 388

     Not only children, but also their parents or guardians, may be severely traumatized in detention
     because of family separation and concern for the well-being of their children. 389




     385
        Washington Lawyers’ Committee for Civil Rights and Urban Affairs, Written Statement for the Public Comment
     Session on Immigration Detention before the U.S. Commission on Civil Rights, Apr. 12, 2019, at 11 (hereinafter
     Washington Lawyers’ Committee Statement).
     386
           Washington Lawyers’ Committee Statement, at 6-7.
     387
        American Academy of Pediatrics, Detention of Immigrant Children, April 2017, p. 1
     https://pediatrics.aappublications.org/content/pediatrics/139/5/e20170483.full.pdf.
     388
        Dep’t. of Homeland Security, Immigration and Customs Enforcement, Report of the ICE Advisory Committee on
     Family Residential Centers, Oct. 7, 2016, p. 2 https://www.ice.gov/sites/default/files/documents/Report/2016/acfrc-
     report-final-102016.pdf.
     389
        See, e.g., Associated Press, “‘Suicide’ of Migrant Separated From his Wife and Child Casts Harsh Light on
     Donald Trump’s Immigration Policy,” South China Morning Post, Jun. 11, 2018,
     https://www.scmp.com/news/world/united-states-canada/article/2150137/suicide-migrant-who-separated-his-wife-
     and-child; see also Prelim. Inj., Ms. L. v. ICE, 310 F. Supp. 3d 1133 (S.D. Cal. 2018).




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Lack of Mental Health Screening Testimony

           “[P]roblems exist with mental health treatment at the family detention
           centers. The [Department of Homeland Security] Federal Advisory
           Committee reported a lack of mental health screening for children and
           adults at the family detention centers. And Human Rights First reported that
           any period of incarceration can cause significant psychological harm and
           can exacerbate mental health trauma in children.”390

Trauma in Children Testimony

           “Th[e] two-year-old was named Margarita. . . [and she] was part of . . . the
           family of 14. I soon came to the understanding that the family of 14 actually
           used to be a family of 16 but Margarita's parents were brutally shot in front
           of her on the trek from Honduras to the border, yet there was no sense of
           counseling or emotional support whatsoever provided to anyone in the
           family.”391

           “These migration-related and postmigration stressors can produce
           demoralization, grief, loneliness, loss of dignity, and feelings of
           helplessness as normal syndromes of distress that impede refugees from
           living health and productive lives.”392

           “Having studied trauma and the effects of trauma on the young brain, not
           like adults who can recover, children’s brains flooded by cortisol and
           inflammatory agents typical of the traumatic responses we were seeing,
           cannot recover and are permanently damaged. This form of trauma has
           been likened to great incidences of mental health and physical health
           problems as well as exacerbated bouts of abnormal and antisocial
           behaviors as a result of the trauma.” 393

Use of Physical Restraints and Juveniles Testimony

           “Between June 2015 and May 2018, [Shenandoah Valley Juvenile Center]
           documents reveal that physical restraints were used on immigrant children
           on well over 100 occasions; senior Shenandoah Valley Juvenile Center staff

390
      Govindaia Testimony, Public Comment Session, p. 125.

391
      Amidha Washwa, High School Student, California, Testimony, Public Comment Session, pp. 75.
392
      American Psychiatric Association Statement, at 2.

393
      Black Statement, at 1.




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                 acknowledged that physical restraints are used on these children even when
                 a child’s behavior is not “immediate[ly] threaten[ing]” Between November
                 2015 and November 2017, the restraint chair was used over 40 times on
                 immigrant children, often in excess of Shenandoah Valley Juvenile Center’s
                 two-hour limit policy; on one occasion, one youth suffering from serious
                 mental health problems was placed in the restraint chair for over 6 hours
                 in a day and for nearly 9 hours the very next day, while John Doe 1 was put
                 in the chair 11 times over a 16 month period for between 25 minutes and 2
                 hours at a time.” 394

     Use of Solitary Confinement, Juveniles and Mental Health Testimony

                 “[Name omitted], for example – a 17-year-old youth with severe mental
                 health needs – was placed in isolation for approximately 2,400 hours (a
                 cumulative 100 days) during the less than two years he was detained at
                 Shenandoah Valley Juvenile Center.”395

                 “There is also the particular psychological harm being perpetrated against
                 the youngest detained people. The fact that 17 year-olds are picked up at
                 midnight on their 18th birthdays to be transferred to adult facilities seems
                 like yet another deliberate cruelty..”396


     Sexual and Physical Violence Against Detained Children

     Department of Homeland Security’s policies resulting in the forced stay of immigrant children in
     shelters has further resulted in widespread allegations of sexual abuse, particularly among
     contractors. The largest contractor, Southwest Key, provided housing in Arizona, California, and
     Texas for over 5,000 children, who were not free to leave.397 It received more than $1.3 billion in
     government contracts for housing immigrant children, from 2013-2018. Of the many allegations,
     the following is elucidating:

                 A ProPublica report in August [2018] detailed the charges against Levian Pacheco,
                 a former Southwest Key employee who is accused of molesting eight boys at a
                 Mesa shelter over an 11-month period. Pacheco, who is HIV-positive, [was hired]

     394
           Washington Lawyers’ Committee Statement, at 6-7.
     395
           Ibid., 6.
     396
        Julie Schwietert Collazo, Co-Founder of Immigrant Families Together, Written Statement for Public Comment
     Session on Immigration Detention before the U.S. Commission on Civil Rights, Apr. 27, 2019.
     397
        Topher Sanders and Michael Grabbel, ““Humanitarian Crisis” Looms as Arizona Threatens to Revoke Immigrant
     Children Shelter Licenses,” ProPublica, Sept. 21, 2018, https://www.propublica.org/article/southwest-key-arizona-
     threatens-to-revoke-immigrant-children-shelter-licenses.




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              without a background check [and allowed to work] for nearly four months. He was
              convicted earlier this month of 10 sex offenses connected to the molestation.

              In response to media attention and complaints, Arizona health officials reviewed
              records on background checks at every Southwest Key facility across the state. Of
              the 13 shelters, the state found two additional facilities also had problems with
              background checks. . . .

              Arizona health officials also found that Southwest Key hadn’t vetted all employees
              by interviewing their previous employers and hadn’t ensured all employee files
              contained proof of tuberculosis testing. At some facilities, officials discovered
              bedroom and bathroom doors missing and problems with the size of residents’
              rooms. 398

These issues are highly problematic under the Prison Rape Elimination Act, which is applicable to
privately-run federal facilities. 399 In other Southwest Key shelters run under federal government
contracts in Arizona, videos show physical abuse, including staff at the shelters dragging and
slapping Latino migrant children.400 As far as the Commission knows based on the limited
information available from Department of Homeland Security, the federal government did not
undertake any related enforcement actions. However, the state of Arizona did take action under
state child welfare laws and revoked Southwest Key’s permits, after which the company was
forced to close two shelters. 401

Testimony

              “Because Homestead (detention center) is a federal facility on an old Air
              Force base, they are not accountable to Florida State Regulations. The
              employees who work with the children are not vetted properly to screen out
              past prior sexual offenses. . . . And state agencies, like child and protective
              services, are not allowed to inspect the premises because it is on federal
              property.” 402


398
      Ibid.

399
      28 C.F.R. § 115.
400
  Janice Williams, “Video Shows Migrant Children Physically Abused by Staffers at Arizona Shelter,” Newsweek,
Dec. 30, 2018, https://www.newsweek.com/southwest-key-migrant-child-abuse-1274796.
401
   Agnel Philip, “Southwest Key to Close 2 Phoenix-area Migrant Shelters, Pay Fine to State,” Arizona Republic,
Oct. 24, 2018, https://www.azcentral.com/story/news/politics/immigration/2018/10/24/southwest-key-close-2-
phoenix-area-child-immigrant-shelters-pay-fine-arizona-settlement/1754460002/.

402
      Hinebauch Statement, at 2.




                                                                                                      AR00260
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                “Although the children are conditioned to report sexual abuse and told
                that these reports maintain their anonymity, I learned that they all knew
                the hotline was not confidential and that none of their complaints were
                anonymous. This, I was told, was enough for some children to not report if
                other children bullied them.”403


     Length of Stay in Detention Facilities

     Under the Flores Agreement, the federal government cannot detain migrant children for more than
     20 days, 404 and in 2015, a federal court held that this limit applies to both unaccompanied minors
     as well as to minors being detained as part of a family unit.405 A subsequent request by the
     Department of Justice to modify the Agreement to allow detention of minors beyond the 20 day
     limit was rejected in 2018 by the same Court. 406 The Trump Administration has since sought to
     make similar modifications to the Agreement through federal regulation. 407 As of publication of
     this report, the Flores Agreement remains in effect, however, given the conditions of migrant
     detention facilities, the federal government is likely not in compliance with the Agreement as
     alleged in a lawsuit filed in California on June 26, 2019. 408 According to public testimony to the
     Commission, most detainees in immigration detention facilities are held in prison like conditions
     with no idea when they will be released.409 Although the Flores Agreement limits the confinement
     of children to 20 days, public testimony stated that at the Homestead detention facility on a military
     base in Florida the average length of stay for a child is 67 days. 410 Public testimony pointed out
     that at privately owned, for-profit detention facilities, there may be a monetary incentive to detain



     403
       Nancy Hernández, Written Statement for Public Comment Session before the U.S. Commission on Civil Rights,
     May 12, 2019, at 2 (hereinafter Hernandez Statement).
     404
           Flores Agreement.

     405
           Flores v. Johnson, 212 F.Supp.3d 864 (C.D. Cal. 2015).
     406
        Flores v. Lynch, No. 85-4544, 2017 WL 6049373 (C.D. Cal. Jan. 20, 2017); Laura Jarrett, “Federal Judge Rejects
     Trump Administration’s Bid to Alter Rules on Detaining Minors,” CNN, July 10, 2018,
     https://www.cnn.com/2018/07/09/politics/federal-judge-trump-administration-detaining-children/index.html.
     407
           See supra notes 298-299; 305-308.
     408
        Flores v. Barr, No. 85-04544 (C.D. Cal. 2019); Alejandro Lazo and Jacob Gershman, “Lawsuit Alleges
     Government Mistreatment of Migrant Children,” Wall Street Journal, June 27, 2019,
     https://www.wsj.com/articles/lawsuit-alleges-government-mistreatment-of-migrant-children-11561608969.
     409
           Seiler Testimony, Public Comment Session, p. 58.

     410
           Hinebauch Statement, at 1.




                                                                                                          AR00261
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immigrants for as long as possible. 411 Corporations are paid $775 per day for each migrant child
in detention.412

On March 13, 2019, Refugee and Immigrant Center for Education and Legal Services of Texas
sent a complaint to Office for Civil Rights and Civil Liberties alleging that despite its
announcement to the contrary, Department of Homeland Security was still holding children
separated from their parents for more than 20 days and taking other actions contrary to the rules
of the Flores agreement upheld by federal courts to govern conditions of migrant child
detention. 413 Refugee and Immigrant Center for Education and Legal Services documented that at
Karnes Detention Center in Texas, children, the youngest of whom was 5, were being held
“between 41-58 days with no word from [Immigration and Customs Enforcement] about their
release [to their parents].”414 In discussing the Flores settlement and subsequent court rulings about
it, Refugee and Immigrant Center for Education and Legal Services clarifies that 20 days is the
maximum time that children may be held under extenuating circumstances, and that it does not
believe that ongoing border crossings by Central American families seeking asylum qualify as
“extenuating circumstances.”415 Citing the American Academy of Pediatrics, Refugee and

411
  Sula Howell, Written Statement for the Public Comment Session on Immigration Detention before the U.S.
Commission on Civil Rights, May 13, 2019, at 2 (hereinafter Howell Statement).
412
   Julia Ainsley, “Trump Admin’s ‘Tent Cities’ Cost More than Keeping Migrant Kids with Parents,” NBC News,
June 20, 2018, https://www.nbcnews.com/storyline/immigration-border-crisis/trump-admin-s-tent-cities-cost-more-
keeping-migrant-kids-
n884871?utm_source=newsletter&utm_medium=email&utm_campaign=newsletter_axiosam&stream=top.
413
    See generally Flores Agreement (Settling as enforceable law, in 1997 and updated in 2001 by the federal
government, that migrant children may not be held more than 20 days, and the conditions of their detention must be
safe and appropriate, including proper medical care and an education plan. Furthermore, settles that the Dep’t. of
Homeland Security should make every attempt to locate the parents, and children should be released to their parents
(or other guardians if parents cannot be located); See generally Dep’t. of Homeland Security and Dep’t of Health
and Human Services, Proposed Rule: Apprehension, Processing, Care, and Custody of Alien Minors and
Unaccompanied (Dep’t. of Homeland Security proposing to modify the agreement; the proposed rules have been
subject to public comment but a final rule has not been issued); Abbie Gruwell, “Unaccompanied Minors and the
Flores Settlement Agreement: What to Know, National Conference of State Legislatures” National Conference of
State Legislatures, Oct. 30, 2018, http://www.ncsl.org/blog/2018/10/30/unaccompanied-minors-and-the-flores-
settlement-agreement-what-to-know.aspx (Reporting that the new rules would permit migrant children to be held
indefinitely, and exempt federal facilities from state licensing agreements.); Caitlin Dickerson, “Trump
Administration Moves to Sidestep Restrictions on Detaining Migrant Children,” New York Times, Sept. 6, 2018,
https://www.nytimes.com/2018/09/06/us/trump-flores-settlement-regulations.html?login=email&auth=login-email
(Reporting the Trump Administration’s proposed withdrawal from the agreement).
414
   Refugee and Immigrant Center for Education and Legal Services of Texas, letter to Cameron Quinn, Officer for
Civil Rights and Civil Liberties, Dep’t. of Homeland Security, and John V. Kelly, Acting Inspector General, Dep’t.
of Homeland Security, Mar. 13, 2019, (hereinafter Refugee and Immigrant Center for Education and Legal Services
of Texas letter) https://www.raicestexas.org/2019/03/13/raices-urges-ice-to-release-families-currently-detained-in-
violation-of-flores-agreement/?ms=raices_tw_hungerstrike.

415
      Ibid., n. 1 stating:




                                                                                                        AR00262
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     Immigrant Center for Education and Legal Services’ current Complaint to Office for Civil Rights
     and Civil Liberties emphasizes that:

                 Expert consensus has concluded that even brief detention can cause
                 psychological trauma and induce long-term mental health risks for children.
                 . . . there is no evidence indicating that any time in detention is safe for
                 children.” Clinical evidence from the study of detention of unaccompanied,
                 asylum-seeking minors shows “forced detention is associated with a high
                 risk of posttraumatic stress disorder, anxiety disorder, depression,
                 aggression, psychosomatic complaints, and suicidal ideation.416

     Refugee and Immigrant Center for Education and Legal Services therefore asks the Office for Civil
     Rights and Civil Liberties “to compel [Immigration and Customs Enforcement] to follow its
     obligations under Flores and release these children to their fathers expeditiously;” and “to
     investigate other past and present violations of the Flores norm of releasing children and parents
     within 20 days at the Karnes Detention Center,” and to “review any written decisions by the
     Department of Homeland Security to continue detention despite the existing Flores requirements
     and any records documenting changes in Department of Homeland Security policy in adhering to
     Flores.” 417

     Immigration and Customs Enforcement is not the only federal actor holding children in its custody
     for legally impermissible periods of time. Customs and Border Patrol appears, by its own limited,

                 [Refugee and Immigrant Center for Education and Legal Services] does not concede that
                 Flores allows [Department of Homeland Security] to detain children at the Karnes
                 Detention Center for 20 days. Rather, [Refugee and Immigrant Center for Education and
                 Legal Services] uses 20 days as a benchmark because this is a timeframe Judge Gee found
                 may be acceptable under Flores, specifically when [Department of Homeland Security]
                 acts under extenuating circumstances, in good faith, and with due diligence. See Order re
                 Response to Show Cause, Flores v. Lynch, Case No. CV 85-04544 DMG (Ex), 10-11 (C.D.
                 Cal. Aug. 21, 2015) (“At a given time and under extenuating circumstances, if 20 days is
                 as fast as Defendants, in good faith and in the exercise of due diligence, can possibly go in
                 screening family members for reasonable or credible fear, then the recently-implemented
                 [Department of Homeland Security] polic[i]es may fall within the parameters of Paragraph
                 12A of the Agreement.”) (emphasis added)

     https://www.aila.org/File/Related/14111359p.pdf ; see also Flores agreement; Stipulation Extending Settlement
     Agreement and for Other Purposes; and Order Thereon, Flores v. Reno, No. CV 85-4544-RJK (Px), (C.D. Cal. Dec.
     7, 2001) (providing guidance on the care and custody of minor non-citizens in government custody); see also Order
     Re Plaintiffs’ Motion to Enforce and Appoint a Special Monitor, Flores v. Sessions, No. 85-cv-04544-DMG-AGR,
     2017 WL 6060252 (C.D. Cal. June 27, 2017), Collectively, Refugee and Immigrant Center for Education and Legal
     Services refers to these sources of law as the “FSA.” It is not Refugee and Immigrant Center for Education and
     Legal Services’ position that the arrival of asylum-seeking families at the southern border is an “extenuating
     circumstance” that requires the detention of families.”).
     416
           Refugee and Immigrant Center for Education and Legal Services of Texas letter, p. 3.

     417
           Ibid., 7.




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disclosed numbers, to have held more than a quarter of the children in its custody longer than the
generally-legally permissible 72 hours allowed prior to transferring them to the Office of Refugee
Resettlement. 418 Customs and Border Protection has moved children among its facilities before
turning them over to Office of Refugee Resettlement. 419 Further, Office of Refugee Resettlement
has reportedly held some separated-at-the-border children in its custody for over eighteen
months. 420 Office of Refugee Resettlement has also moved children among facilities while having
them in its custody, 421 including to its now-closed, “notorious emergency influx facility” of
Tornillo, Texas, also known as a “tent city.” 422 Worse yet, as of July 2019, many children who
had been court-ordered to be reunified with a parent or allowed to be in the care of a sponsor
continue to languish in federal custody. 423

Indefinite Detention for Children Testimony

            “The Flores Settlement would limit the confinement of these children to 20
            days in what the settlement calls the least restrictive environment. Children
            would stay only long enough for contact to be established with their families
            and friends and they would be placed appropriately. But here, at such
            places like in Homestead, Florida, and what was at Tornillo, Texas, the
            stays of these children are as long as ten months, and the children, aged 13
            to 17, have the IDs hanging from their necks scanned as they move from
            place to place, tent to building, in single file.”424

            According to a Complaint filed with [Office for Civil Rights and Civil
            Liberties] by [Refugee and Immigrant Center for Education and Legal
            Services], migrant parents and children who have been detained beyond the
            legal limits “provide stark examples as to the absolute necessity of Flores
            protections which guarantee a child’s right to leave detention ‘without
            unnecessary delay’:



418
      Staff Report on Child Separations, supra, note 242, p. 16.
419
      Ibid., p. 19.

420
      Ibid., pp. 17 – 18.
421
      Ibid., p. 19.

422
      Ibid., p. 20.
423
      Ibid., p. 23.

424
      Seiler Testimony, Public Comment Session, p. 58.




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                ● ____ says his 15-year-old son is not accustomed to having his freedom
                limited. _____explains his son becomes ‘sad and desperate’ when seeing
                other families leave the detention center. His son is also sad because he has
                not been able to speak to his mother or little sister. His son is not eating
                much and has developed indigestion. _____ is concerned that his son will
                only become sicker if their detention continues.

                ● _____ ’s 5-year-old son has had indigestion, chicken pox, the cold, and a
                continuous cough since he and his father arrived at the Karnes Detention
                Center. His son is taking medicine for the cough, but it simply will not go
                away. His son a coughing fit any time he tries to run and play. When
                _____’s son had the chickenpox, he and his father were taken to medical
                isolation for four days. Since they have been detained, _____’s son always
                tells his dad, ‘let’s go dad, let’s get out of here.’

                ●_____ ’s 6-year-old son acts differently than he did before being detained.
                explained his son ‘used to be a very active and friendly boy,’ but since their
                detention his son ‘seems very depressed . . . [he] sees and feels the heaviness
                of this place.’ He always wants to cry. _____ believes his son will be
                traumatized and will have psychological problems. Now that they have been
                separated between two detention centers, worries even more about his son.
                _____ is suffering: ‘sometimes I feel like my head might explode and I’ll
                suffer an aneurysm,’ he says. _____’s son has had stomach aches, a fever,
                and an allergic rash on his neck, and the medicine he has been given is only
                temporarily effective.

                ● ______’s 16-year old son is anxious and distracted from school because
                of his long detention. His dream is to be a mechanic. He says that in the
                detention center, ‘I cannot concentrate at school and can’t stop worrying
                about what will happen to my father and I.’ 425


     Migrant Children Sent to Foster Care

     An Associated Press investigation found that migrant children who had arrived with their parents
     and were separated and sent to private shelters subject to state law have been placed in foster care,
     and that some deported parents may lose their children to adoption.426 Although foster care is apt
     to be much better for migrant children than being detained in a shelter, it can have damaging
     425
           Refugee and Immigrant Center for Education and Legal Services of Texas letter, p 17.
     426
        The Associated Press, “Deported Parents May Lose Kids to Adoption,” NBC News, Oct. 9, 2018,
     https://www.nbcnews.com/news/latino/deported-parents-may-lose-kids-adoption-investigation-finds-n918261.




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impacts. A 60 Minutes investigation documented some cases of children placed in foster care,
including the case of a 5-year old boy from Honduras as follows:

           Immers and his father crossed the border illegally but presented themselves
           to the Border Patrol and requested asylum. Ever, the father, says he was shot
           in the back in Honduras, a country at war with gangs and drug cartels. As
           asylum applicants, they're permitted by law to stay until their hearing,
           usually in two or three months. Before, most asylum seekers were released
           at that point, but under the Trump administration they were arrested and
           charged with a crime. Because children can't be incarcerated, Immers was
           sent to a foster family in Michigan.427

After being in foster care for 73 days, when he was reunited with his mother, Immers was
withdrawn and moody, and his mother said, “It felt like he wasn’t my son anymore. It felt like a
nightmare. Like I was dead.” 428 As discussed above, the government may not take custody from a
parent without adjudication that the parent is unfit. 429

Legal Representation of Unaccompanied Minors

According to its website, Office of Refugee Resettlement has the responsibility under law to
ensure, “to the greatest extent practicable, that all unaccompanied children in custody have access
to legal representation or counsel[.]”430 However, the government is not specifically required to
pay for this representation 431 and the law is not clear on what legal services the government must
provide. 432 Under the William Wilberforce Trafficking Victims Protection Reauthorization Act of
2008, Department of Health and Human Services was assigned the duty to help unaccompanied



427
   Scott Pelley, “The Chaos Behind Donald Trump’s Policy of Family Separation at the Border,” 60 Minutes, Nov.
26, 2019, https://www.cbsnews.com/news/trump-family-separation-policy-mexican-border-60-minutes-
investigation-greater-in-number-than-trump-administration-admits/.

428
      Ibid. (interview with Gladys).
429
   County of Sacramento v. Lewis, 523 U.S. 833, 850 (1998); Ms. L v. ICE, 310 F.Supp.3d 1133, 1143 (S.D. Cal.
2018).
430
   “About the Program,” U.S. Dep’t of Health and Human Services, Office of Refugee Resettlement,
https://www.acf.hhs.gov/orr/programs/ucs/about (accessed May 18, 2019).
431
   Jacob Soboroff and Julia Ainsley, “Federal Funds for Legal Help to Child Migrants at Border Are Running Out,”
NBC News, June 26, 2019, https://www.nbcnews.com/politics/immigration/federal-funds-legal-help-child-migrants-
border-are-running-out-n1021976.
432
  Patrick Michels, “The Government Pays for Migrant Children’s Lawyers. Challenge the Government, and They
Can Lose Their Funding,” Reveal, Nov. 14, 2018, https://www.revealnews.org/article/th-government-pays-for-
migrant-childrens-lawyers-challenge-the-government-and-they-can-lose-their-funding/.




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     minors receive legal representation.433 To perform this obligation, Office of Refugee Resettlement
     funds a grant program for legal service providers, which is administered by the nonprofit Vera
     Institute of Justice. 434 Though the Vera Institute of Justice runs the majority of Office of Refugee
     Resettlement’s legal aid program and serves 50,000 children a year, the federal grants they receive
     are not guaranteed and are in increasing danger of getting cut.435 If their federal funding is cut,
     unless an unaccompanied minor can independently afford legal representation, children as young
     as infants will be forced to represent themselves in asylum proceedings. 436


     Detention of Adults: Oversight and Transparency of Conditions

     Lack of Transparency and Incomplete Oversight

     In 2015, the Commission reported that:

                   Both a lack of binding regulations and standards create confusion and a lack
                   of clarity in the application of detention standards in the immigration
                   detention system. The National Detention Standards 2000 and
                   Performance-Based National Detention Standards 2008 and 2011 are
                   intended to be “contractually binding upon detention facilities used by
                   [Department of Homeland Security] through their incorporation into
                   individual facility contract agreements.” Different standards also apply to
                   different facilities depending on when they created their respective
                   contracts with [Immigration and Customs Enforcement]. Additionally,
                   because these standards do not have enforcement mechanisms, facilities are
                   not held accountable when they fail to maintain or meet these standards - at
                   times with tragic results.437

     At the Commission’s public comment session, many also raised concerns about the detention of
     adults in immigration detention facilities. One category of concern includes internal oversight of
     detention facilities. The Department of Homeland Security has issued guidance on detention


     433
           8 U.S.C. § 1232.
     434
        Michels, “The Government Pays for Migrant Children’s Lawyers.”; “Legal Services for Accompanied Children
     Overview,” Vera Institute of Justice, https://www.vera.org/projects/legal-services-for-unaccompanied-
     children/overview.

     435
           Soboroff and Ainsley, “Federal Funds for Legal Help.”
     436
           Ibid.

     437
           2015 Report, 15.




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standards. These standards apply to all detention facilities—including privately contracted
detention facilities—and govern detainee care, services provided, and facility operations. The most
recent detention standards were issued in 2011 and include standards for medical and mental
health services, access to legal services and religious opportunities, communication with detainees
with limited English proficiency, the process for reporting and responding to complaints, and
recreation and visitation. 438 The Department of Homeland Security provides oversight and
accountability through inspections as to whether the facilities are following these detention
standards, and at times this is through unannounced inspections. 439 The Office of Inspector General
has recently issued a series of extremely troubling reports about detention conditions, sharing
photos of serious overcrowding and also reporting prolonged detention in apparent violation of
federal detention standards. 440 Congressional visits have confirmed the same. 441

But according to testimony to the Commission, the majority of these internal inspections are
announced beforehand and do not have proper checklists, often overlooking major problems in
these facilities. 442 When an inspection does identify a defect in a detention center, the facility is
able use a waiver on the issue that gives them the freedom to ignore the problem and not fix it. 443
Furthermore, the Department of Homeland Security Office for Civil Rights and Civil Liberties
reported to the Commission that the Office for Civil Rights and Civil Liberties received thousands
of complaints about family separation and the conditions of children in detention that they were
unable to process except through samples of a small fraction of such complaints, and that the office
does not have authority to remedy individual complaints. 444

438
      Immigration and Customs Enforcement, Performance-Based National Detention Standards 2011.
439
   See, e.g., Dep’t. of Homeland Security, Office of Inspector General, Concerns About ICE Detainee Treatment at
Four Detention Facilities, OIG-19-47, June 3, 2019, https://www.oig.dhs.gov/sites/default/files/assets/2019-
06/OIG-19-47-Jun19.pdf (summarizing findings of unannounced inspections of detention facilities).

440
      Dep’t. of Homeland Security, OIG-19-51, Management Alert.
441
   See e.g., Congressional Hispanic Caucus, “Congressional Hispanic Caucus Leads Investigation at Immigrant
Detention Facilities in Texas,” press release, July 2, 2019, https://congressionalhispaniccaucus-
castro.house.gov/media-center/press-releases/congressional-hispanic-caucus-leads-investigation-at-immigrant-
detention; Leigh Ann Caldwell, “Senators Who Visited Border Asked DHS for Improved Care of Migrants,” NBC
News, July 26, 2019, https://www.nbcnews.com/politics/congress/senators-who-visited-border-asked-dhs-improved-
care-migrants-n1034806; Molly Hennessee-Fiske, “Q&A: California Congresswoman Describes Tour of Border
Patrol Detention Center,” Los Angeles Times, July 20, 2019, https://www.latimes.com/world-nation/story/2019-07-
19/california-congresswoman-describes-tour-of-border-patrol-detention-center.
442
      Mary Small, Policy Director, Detention Watch Network, Testimony, Public Comment Session, p. 140.

443
      Ibid., 141.
444
   Deputy Officer, Office for Civil Rights and Civil Liberties, Veronica Venture testified at the Commission’s
November 2018 briefing on federal civil rights enforcement that Office for Civil Rights and Civil Liberties received
thousands of complaints about immigrant family separation and detention, but due to resource constraints, Office of
Civil Rights and Civil Liberties is investigating only a small portion (23 out of over 3,000). Veronica Venture,




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     As reported to the Commission, the problem of transparency in detention facilities stem from many
     different causes. First, some detention facilities are on federal land, making them not subject to
     state regulations. 445 Because of this, many employees at detention facilities are not properly
     vetted.446 In addition to little reports getting produced from detention facilities, detention facilities
     have also sometimes been hostile towards federal and local officials who have attempted to enter
     these facilities.447

     Transparency and Oversight Testimony

                “Homestead detention center “has no jurisdiction. While it’s called
                Homestead, it’s in a no man’s land. It’s not actually in Homestead. So even
                the workers are not being held accountable. They’re not screened
                properly.” 448

                “There must be greater transparency and oversight. The current system of
                announced inspections and toothless [Office of International Health]
                investigations are not improving the system.” 449

                “Immigration and Customs Enforcement “inspections are not independent,
                they’re announced ahead of time. They’re based on an inadequate checklist,
                they’re often based on conversations with staff but not people who are


     Deputy Officer, Office for Civil Rights and Civil Liberties, Dep’t. of Homeland Security, November 27, 2018
     Briefing Transcript, unedited, at 125-26; see also Ferriss et al., “Homeland Security’s Civil Rights Unit.”
     445
        Hinebauch Statement at 2; see also Graham Kates, “Some Detention Centers for Migrant Children Not Subject to
     State Inspections,” CBS News, July 5, 2018, https://www.cbsnews.com/news/some-detention-centers-for-immigrant-
     children-wont-be-subject-to-traditional-inspections/.
     446
           See Kates, “Some Detention Centers for Migrant Children.”
     447
         Kathy Hersh, Written Statement for the Public Comment Session on Immigration Detention before the U.S.
     Commission on Civil Rights, May 7, 2019, at 1 (“Congresswoman Debbie Mucursal-Powell was denied entry for
     the second time in spite of a federal law which grants automatic access to members of Congress with no notice
     required… No press, Congressional representation or local officials have been allowed to talk to the children.”)
     (hereinafter Hersh Statement); Vanessa McDougal, Written Statement before the U.S. Commission on Civil Rights,
     at 1 (“I was not permitted inside the facility, nor was anyone else. Speaking to the Texas Tribune, Tornillo schools
     Superintendent Rosy Vega-Barrio stated ‘we have the same access that the whole world has, which is none.’ The
     facility was surrounded by chain-link fences covered with thick black tarp to make it hard to see in. However, there
     were holes in the tarp through which I was able to peek.”) (hereinafter McDougal Statement).
     448
           Francine Tatu Slaton Testimony, Public Comment Session, p. 157.
     449
         Detained Migrant Solidarity Committee Statement, at 10 (citing: National Immigrant Justice Center, “ICE’s
     Failed Monitoring of Immigration Detention Contracts”; National Immigrant Justice Center, “Lives in Peril: How
     Ineffective Inspections Make ICE Complicit in Immigration Detention Abuse.”).




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           detained. And they consistently fail to identify even well documented
           deficiencies.”450

           “Over a three-year period, even [Immigration and Customs Enforcement]’s
           own sub-par inspections found 14,003 deficiencies. [Immigration and
           Customs Enforcement] imposed financial penalties on its contractor in two
           instances. But even worse, [Immigration and Customs Enforcement]
           consistently abuses a waiver process to waive the failed standard rather
           than address the underlying problem. According to the [Office of the
           Inspector General], there is almost no protocol for these waivers, 96
           percent of which are granted, many of them indefinitely.”451


Legal Standard for Medical Care

There is currently an open legal question as to what the standard is for the provision of medical
care for adults in immigration detention facilities. The answer to this question turns primarily on
the purpose of the detention.452 In Youngberg v. Romeo, the Supreme Court held that where a
person’s confinement is for the purpose of providing “reasonable care and safety” they are “entitled
to more considerate treatment and conditions of confinement than criminals whose conditions of
confinement are designed to punish.”453 Inversely, when a person is detained for criminal acts, the
detainment is punitive in nature and the standard of care is held at a lower bar. The majority of
courts have held that immigration detention centers are similar in purpose to prisons, and therefore
apply the deliberate indifference standard. 454 Courts that liken immigration detention centers to
facilities meant for care and safety apply the professional judgment standard. 455 The professional
judgement standard is typically used in cases involving defendants who are involuntarily
committed to state institutions for intellectual impairment.456 Those courts that apply the
professional judgement standard liken the involuntary nature of those committed to state

450
      Small Testimony, Public Comment Session, p. 140.

451
      Ibid, 141.
452
   See Newbrough v. Piedmont Regional Jail Authority, 822 F. Supp. 2d 558, 575 (E.D. Va. 2011) (stating that the
Supreme Court’s decision “indicated that differently situated detainees are entitled to different standards of care
from their custodians”).

453
      Youngberg v. Romeo, 457 U.S. 307, 320 n. 27 (1982).
454
      Charles v. Orange County, 925 F.3d 73, 85 (2d Cir. 2019).
455
  Youngberg, 457 U.S. at 321-22; see also Jones v. Blanas, 393 F.3d 918, 934 (9th Cir. 2004) (civil detainee
awaiting adjudication need not prove “deliberate indifference”).

456
      Youngberg, 457 U.S. at 321.




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     institutions for their intellectual impairments to those who are involuntarily confined in state
     institutions.

     The deliberate indifference standard is used in criminal cases involving pre-trial detainees and
     determines how much medical care personnel must provide while the detainee is in their custody.
     Under the “deliberate indifference” standard, in order for a detainee to show that personnel have
     failed to provide adequate treatment, they must (1) show that they had a serious medical need, and
     (2) show that personnel acted with deliberate indifference to such needs. 457 Personnel’s behavior
     must be so egregious that the court would find that it “shocked the conscience.” 458 Need for care
     must be urgent, meaning the lack of care must result in death, degeneration, or extreme pain.459
     Even under this low standard, the Supreme Court has held that an inmate must also prove that
     prison officials have violated “contemporary standards of decency.” 460 Standards of decency as
     determined by the courts have changed over time. 461

     To determine the differences between pre-trial detainees and those in question, courts have often
     examined (1) the purpose of the confinement; (2) the nature of the facility where the individual is
     confined; and (3) the length of the confinement. 462 Various courts around the country have applied
     such factors and have sided with both interpretations.

     The U.S. Court of Appeals for the 2nd Circuit is among the group of courts that categorizes
     immigration detention facilities as those similar to prisons, applying the deliberate indifference
     standard. 463 Those critical of this interpretation argue that deliberate indifference is a fairly high
     standard of proof to meet, making it fairly easy for those who may have failed to give care to evade
     accountability.




     457
           Charles, 925 F.3d at 86-87.

     458
           Id.
     459
           Id. at 86.

     460
           Hudson v. McMillian, 503 U.S. 1, 8-9 (1992).
     461
        See, e.g., Michael B. Mushlin, The Rights of Prisoners § 3:13 (5th ed. 2018). For example, in 1994 the Supreme
     Court extended standards of decency to include protection of a transgender inmate from abuse from other inmates.
     Farmer v. Brennan, 511 U.S. 825, 833 (1994) (“prison officials have a duty ... to protect prisoners from violence at
     the hands of other prisoners.”).
     462
           Patten v. Nichols, 274 F.3d 829, 840 (4th Cir. 2001).

     463
           See Charles, 925 F.3d at 85-86.




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Performance-Based National Detention Standards 2011 sets forth medical standards for providing
care to detainees in Immigration and Customs Enforcement-owned facilities. 464 It provides the
following, in relevant part:

       •      Detainees shall be able to request health services on a daily basis and shall receive
              timely follow up.

       •      A detainee who is determined to require health care beyond facility resources shall
              be transferred in a timely manner to an appropriate facility.

       •      24-hour emergency medical and mental health services shall be available to all
              detainees.

       •      Detainees with chronic conditions shall receive care and treatment as needed, that
              includes monitoring of medications, diagnostic testing, and chronic care clinics.

       •      Prescriptions and medications shall be ordered, dispensed, and administered in a
              timely manner and as prescribed by a licensed healthcare professional.465

Medical Resources and Improper Care

Based on public testimony to the Commission, the state of medical care in federal immigrant
detention facilities is highlighted by a lack of medical resources, primarily trained doctors and
appropriate medicine. 466 Clinics in detention facilities are often not open when detainees need
treatment, and detainees frequently have to wait weeks before they are able to visit the clinic, no
matter how urgent the matter. 467 The Commission also received testimony that detention facilities
also lack proper medication, and instead resort to providing over-the-counter medications to treat
all illnesses. 468 According to public testimony from Human Rights Watch, since March 2010,


464
   While Performance-Based National Detention Standards may be acceptable if faithfully and fully implemented,
they do not create a basis for a legal claim but may be used by a court to as a guide to minimum detention standards;
moreover, any standard must meet Constitutional standards. Jack Rockers and Elizabeth Troutman, “Dangerous
Detention: Human Rights Standards and Enforcement in Immigration Detention,” Univ. of North Carolina School of
Law, Immigration and Human Rights Policy Clinic, May 2009,
https://www.law.unc.edu/documents/clinicalprograms/dangerousdetention.pdf (discussing 2008 Performance-Based
National Detention Standards).
465
   Immigration and Customs Enforcement, Performance-Based National Detention Standards 2011, 4.3 Medical
Care, pp. 257-59.

466
      Project South Statement, at 6-7.
467
      Ibid.

468
      Seiler Testimony, Public Comment Session, p. 60; Bedell Testimony, Public Comment Session, p. 65.




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     Immigration and Customs Enforcement has reported 80 deaths in adult detention centers. 469 Of
     those, Immigration and Customs Enforcement completed and released 52 death reviews and
     determined that inadequate care contributed to 23 of the deaths. 470 Along with having inadequate
     medication, there are reports that detainees who need daily medication, even if they enter detention
     facilities with their own medications, have their medications withheld from them without
     reason. 471 The Commission also received testimony questioning the medical competency of staff
     in detention centers and whether or not they either have the knowledge on how to care for sick
     detainees, or if they have the desire to help those in need.472

     Lack of Medical Care Testimony

                “They moved me to Essex, another detention center in New Jersey. There, I
                got very sick one night. My body was swollen. I told the guards that I needed
                to go to the clinic but they did not take me. They told me that the clinic was
                closed. When the guards took me to the clinic the next day, I stayed there
                for a week but the staff only gave me tranquilizers to sleep. They did not
                diagnose me or treat me.”473

                “Irwin employs only two or three on-duty medical staff. . . As a result,
                outbreaks of illnesses like rashes, flues, and stomach illnesses remain
                rampant throughout the facility. One detained immigrant at Irwin told us
                that ‘there is a lag time around weeks between the request to visit the
                medical ward and when you are allowed to visit the medical ward, even if
                it is an emergency.’”474




     469
        Jasmine Tyler, Advocacy Director, Human Rights Watch, Public Comment Session, p. 153; According to a 2018
     Human Rights Watch 2018 report, since March 2010, Immigration and Customs Enforcement has reported a total of
     74 adult deaths in immigration detention. “Code Red: the Fatal Consequences of Dangerously Substandard Medical
     Care in Immigration Detention,” Human Rights Watch, June 20, 2018, https://www.hrw.org/report/2018/06/20/code-
     red/fatal-consequences-dangerously-substandard-medical-care-immigration.
     470
       “Code Red: the Fatal Consequences of Dangerously Substandard Medical Care in Immigration Detention,”
     Human Rights Watch.

     471
           Project South Statement, at 6-7.
     472
        Ibid., 7; Human Rights Watch, Written Statement for the Public Comment Session on Immigration Detention
     before the U.S. Commission on Civil Rights, Apr. 12, 2019, at 2 (hereinafter Human Rights Watch Statement).
     473
           Robin A. Testimony, Public Comment Session, p. 108.

     474
           Project South Statement, at 6-7.




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           “Doctor was on-site for only a minimal amount of time each week.”475

           “Awful health care: one doctor for 1,000 immigrants working 24 hours a
           week!”476

           “Even when they are able to access healthcare, many detained immigrants
           at Stewart and Irwin reported that they were only given painkillers in
           response to serious injuries and illnesses.” 477

           “[T]he stock [Immigration and Customs Enforcement] sickbay prescription
           seems to be a Tylenol and water.”478

           “Many [detainees] were showing signs of dehydration and, in place of
           ChapStick, I was forced to prepare Q-Tips with Aquaphor for the cracked
           and bleeding lips of almost everyone that I talked to.”479

Withholding Medication Testimony

           “Nowhere near enough of the money goes to providing for the care of the
           people the Government has put in its custody. Medical facilities are severely
           under-resourced. A client with Type 1 diabetes [name omitted] was
           hospitalized with diabetic shock after jailers failed to provide the insulin he
           needed each day.”480

           “In addition, immigrants with severe health problems including breast
           cancer, diabetes, and hypertension have reported not receiving their
           medication consistently. One detained immigrant at Irwin reported that she
           did not get her breast cancer medication for 6 weeks when she initially
           arrived at Irwin even though she had it with her. In addition, her breast




475
   Rabbi Doug Alpert, Written Statement for the Public Comment Session on Immigration Detention before the
U.S. Commission on Civil Rights, May 10, 2019, at 1 (hereinafter Alpert Statement).
476
  Suzanne Singer, Written Statement for the Public Comment Session on Immigration Detention before the U.S.
Commission on Civil Rights, May 12, 2019, at 1 (hereinafter Singer Statement).
477
      Project South Statement, at 7.

478
      Seiler Testimony, Public Comment Session, p. 60.
479
      Bedell Testimony, Public Comment Session, p. 65.

480
      Laura Rivera, staff attorney, Southern Poverty Law Center, Testimony, Public Comment Session, pp. 92-93.




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                cancer medication was randomly stopped for a month afterwards and has
                not been consistently administered to her.” 481

                “A man pleaded with me to give him blood pressure medicine, saying that
                they took his medication in detention.”482


     Competency of Staff in Providing Medical Care Testimony

                “On the morning that Jose Azurdia died in 2015, an officer at the Adelanto
                Detention Facility told a nurse Mr. Azurdia was ill and vomiting. The nurse
                told him ‘she did not want to see Azurdia because she did not want to get
                sick.’ This began a series of unconscionable delays for what turned out to
                be a fatal heart attack.”483

                “Violations included . . . delayed and grossly inadequate medical care,
                including doctors signing off on medical assessments that never happened;
                and a dentist refusing to fill cavities while suggesting detainees floss with
                strings pulled from their socks.”484

                “Common stories of detention told to us: extreme distress of not feeling they
                could trust [Immigration and Customs Enforcement] to have their
                wellbeing in mind through taking blankets from them or not providing
                blankets in extremely cold holding cells . . ..” 485

                “Others report that officers and medical staff at Stewart do not listen to
                detained immigrants when they complain about their pain and illnesses. One
                detained immigrant at Stewart noted ‘the officers are the ones who can get
                you to the medical unit, but the problem is that the officers don’t listen to
                you . . .they just don’t listen to you or believe that you are in pain.’” 486


     481
           Project South Statement, at 6-7.
     482
           Bedell Testimony, Public Comment Session, p. 66.

     483
           Human Rights Watch Statement, at 2.
     484
       Asian Americans Advancing Justice, Written Statement for the Public Comment Session before the U.S.
     Commission on Civil Rights, May 13, 2019, (quoting Dep’t. of Homeland Security, Office of Inspector General,
     OIG-18-86, Management Alert – Issues Requiring Action at the Adelanto ICE Processing Center in Adelanto,
     California, Sept. 27, 2018, p. 3 https://www.oig.dhs.gov/sites/default/files/assets/2018-10/OIG-18-86-Sep18.pdf.
     485
           Black Statement, at 1.

     486
           Project South Statement, at 7.




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Mental Health and Adults

Mental health services are severely lacking in detention facilities, despite the fact that the inherent
traumatic nature of detention causes many detainees to suffer in their mental health.487 The
Commission received testimony indicating a lack of mental health professionals for children and
adults in detention centers, and that solitary confinement is frequently used to segregate those
afflicted with mental illness. 488 Human Rights Watch and Project South submitted testimony and
documentation showing that even individuals who have a history of mental illness and suicide
attempts have been put in solitary confinement while in detention facilities and tragically, this has
led to the deaths of multiple detainees. 489

Mental Health and Adults Testimony

           “Food, hygiene, infrastructure, and healthcare are all substandard, and
           there is virtually no access to mental healthcare in a setting in which mental
           illness is a statistical inevitability. Any attempts to protest these conditions
           are often met with mistreatment, discipline, and punishment through
           solitary confinement.”490

           “Those suffering serious mental afflictions are placed in handcuffs and
           helmets and put in solitary confinement . . . Similar fear of segregation bars
           detained immigrants’ access to mental health care at Irwin: instead of
           receiving any emotional support, detained immigrants suffering from
           serious mental illnesses are drugged and segregated. Individuals placed on
           suicide watch are strapped into a straightjacket and placed in solitary
           confinement.”491




487
      Government Accountability Project Statement, at 6.
488
      Project South Statement, at 8.

489
      Human Rights Watch Statement, at 2-3; Project South Statement, at 8.
490
      Project South Statement, at 5.

491
      Ibid., 8.




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     Segregation of Individuals with Mental Illness Testimony

                “Many of the cases we examined indicate a particularly troubling failure to
                provide adequate mental health care, as well as the over use of solitary
                confinement, for people with serious mental health conditions.” 492

                “JeanCarlo Alfonso Jimenez Joseph, 27, died by suicide at Stewart
                Detention Center in May 2017. [Immigration and Customs Enforcement]
                still has not released a death report for him, but the Georgia Bureau of
                Investigations found he had been in solitary confinement for 19 days as
                punishment for an act he described as an attempt to harm himself. He was
                identified as a suicide risk early on, but he was never put on suicide watch
                nor provided the upward adjustment on his anti-psychotic medication he
                begged for days before his death.”493

                “Efrain Romero de la Rosa, a 40-year-old immigrant detained at Stewart
                with bipolar disorder died of suicide [i]n July, 2018, after 21 days in
                solitary confinement. This comes about a year after Jeancarlo Jiménez-
                Joseph, a 27-year-old immigrant detained at Stewart, died of suicide on
                May 15, 2017 by hanging himself while in solitary confinement. He had
                been held in solitary for 19 days. [Immigration and Customs Enforcement]
                standards require all detained immigrants in solitary confinement to be
                observed every thirty minutes, and every fifteen minutes (or more often) if
                they are suicidal. In the hours before his death, officers went over the thirty-
                minute requirement twice (with forty-six and thirty-two minutes between
                checks). Further, a private officer logged three visits to Jiménez’ cell that
                never happened. An advocate volunteer attempted to visit Jiménez, at his
                mother’s request, on May 14th but was denied access. Jiménez was a clear
                suicide risk: he had told nurses that voices were telling him to kill himself,
                he had been seen banging on the mirror in his cell, and he had jumped off
                a second-floor walkway in the detention center weeks before. He should
                have been receiving treatment, not been isolated and forgotten in
                solitary.”494




     492
           Tyler Testimony, Public Comment Session, p. 154.
     493
           Human Rights Watch Statement, at 2-3.

     494
           Project South Statement, at 8.




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Pregnancy

According to testimony, pregnant women in detention are not given appropriate medical care or
nutritious diets to support their pregnancies. 495 In December 2017, the Trump Administration
pulled back a previous policy that instituted a presumption against detaining pregnant women. 496
In addition, according to testimony, the number of women who have miscarried in Immigration
and Customs Enforcement custody nearly doubled from FY 2017 to FY 2018. 497

Pregnancy Testimony

              “[T]en women who were detained by [Immigration and Customs
              Enforcement] while pregnant, suffered inadequate medical care, poor
              nutrition, in some cases miscarriages, and yet remained detained for no
              reason other than that [Immigration and Customs Enforcement] chose not
              to release them.”498

              “We had the opportunity to see a woman who was seven months pregnant
              and almost in her eighth month. She told us she was always very hungry
              and she'd lost weight in detention. [Immigration and Customs Enforcement]
              told us that she received a high-protein diet. We learned that the high-
              protein diet was just an extra piece of bread and cheese in addition to the
              three daily substandard meals she could barely eat.”499


Lack of Transparency in Providing Medical Care

The Commission also received testimony that there is little transparency about what goes on in
immigration detention centers and those that are privately run are even harder to access and gain




495
      Losmin Jiménez, Esq. Project Director, Advancement Project, Testimony, Public Comment Session, p. 51.
496
   Maria Sacchetti, “Trump administration Ends Automatic Release From Immigration Detention for Pregnant
Women,” Washington Post, Mar. 29, 2018, https://www.washingtonpost.com/local/immigration/trump-
administration-ends-automatic-release-from-detention-for-pregnant-women/2018/03/29/8b6b1bc0-3365-11e8-8abc-
22a366b72f2d_story.html?utm_term=.94dc1a6acd18.

497
      Obser Testimony, Public Comment Session, p. 135.
498
      Ibid.

499
      Losmin Jiménez Testimony, Public Comment Session, p. 51.




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     information from. 500 Commenters were concerned that there is very little official reporting on the
     state of medical care in these facilities, and detainees have become ill while in these centers with
     no documentation on what happened to them. 501 In some tragic incidents, detainees have died and
     their families are not informed what happened to the detainees. 502

     According to Immigration and Customs Enforcement, it operates under requirements to review
     any instance where an individual dies in Immigration and Customs Enforcement custody to
     determine if the individual received appropriate health services. 503 Immigration and Customs
     Enforcement is supposed to make “official notifications to Congress, non-governmental
     organization (NGO) stakeholders and the media and post[] a news release with relevant details on
     the public website . . . within two business days, per agency policy.” 504 Beginning in Fiscal Year
     2018, Congress required Immigration and Customs Enforcement “to make public all reports
     regarding an in-custody death within 90 days.” 505 Per this new public reporting requirement, based
     on the reports listed on Immigration and Customs Enforcement’s website, since March 2018 there
     have been 12 deaths in Immigration and Customs Enforcement custody.506

     Deaths while Detained Testimony

                   “José was detained by [Immigration and Customs Enforcement] earlier in
                   January this year . . . [L]ater, his wife found out that he had been placed in
                   a medical facility, and she didn’t understand why. No explanation was
                   provided by the officials at [Immigration and Customs Enforcement] . . . It
                   then turns out that he suffered a hemorrhage and entered a coma. Days
                   after, he actually had to be pulled out of life support and he passed away.
                   Within those days, [Immigration and Customs Enforcement] agents then
                   delivered a letter and walked away without an explanation. The letter then

     500
        Isabel Sánchez, National Policy Advocate, Coalition for Humane Immigrant Rights, Testimony, Public Comment
     Session, pp. 121-122; Tyler Testimony, Public Comment Session, p. 155.

     501
           Sánchez Testimony, Public Comment Session, pp. 121-122.
     502
           Ibid.; Tyler Testimony, Public Comment Session, p. 154.
     503
        “Death Detainee Report.” Dep’t. of Homeland Security, Immigration and Customs Enforcement,
     https://www.ice.gov/death-detainee-report (accessed July 29, 2019).

     504
           Ibid.
     505
        Ibid.; 164 Cong. Rec. H2551 (March 22, 2018), https://www.congress.gov/crec/2018/03/22/CREC-2018-03-22-
     bk2.pdf (directing Immigration and Customs Enforcement to comply with H.R. Rep. No. 115-239, at 33 (2017)
     regarding death-in-custody reporting).

     506
           Ibid.




                                                                                                       AR00279
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            stated that he was now released from custody. Because he was released
            from custody, no report has been found on what really caused his death.”507

            “[Jeancarlo Alfonso, who died by suicide at Steward Detention Center] had
            been in solitary confinement for 19 days as punishment for an act he
            described as an attempt to harm himself. He was identified as a suicide risk
            early on, but he was never put on suicide watch nor was he provided with
            the upwards adjustment of his anti-psychotic medication that he begged for
            four days before his death. No death report has been released.”508
            “Early in 2018, Congress required that [Immigration and Customs
            Enforcement] publicly release all reporting on each in custody death within
            90 days. But [Immigration and Customs Enforcement] has failed to meet
            this reporting requirement for 2018. Once they finally began to release
            detainee death reports, these reports were nothing like they had been. They
            were merely notifications rather than summaries of investigations.”509

            “[Department of Homeland Security]’s own medical and mental health
            experts whose own investigative reports are referenced . . . are rightly, and
            deeply, concerned that scientific advice and evidence is being dismissed and
            ignored with the effect of knowingly endanger children to serve political
            ends.” 510

            “Trauma informed care was implemented only briefly then abandoned.
            Adequate screening for trauma was never implemented. HQ and facility
            staff at Dilley failed to develop an adequate plan for typical parenting
            challenges like two-year-old’s biting or hitting peers and instead placed
            toddlers (with parent) in medical isolation for days. This practice is abusive
            and demonstrates how medical authority can be subverted in the confusion
            created by the numerous “authorities” controlling bits of facility operations
            while answering to Headquarters hundreds of miles away.”511




507
      Sánchez Testimony, Public Comment Session, pp. 121-122.
508
      Tyler Testimony, Public Comment Session, p. 154.

509
      Ibid., 155.
510
      Government Accountability Project Statement, at 2.

511
      Ibid., 7.




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     Basic Needs: Nutrition, Hygiene and Clothing

     Performance-Based National Detention Standards 2011 sets forth food-related standards for
     detainees in Immigration and Customs Enforcement-owned facilities. It provides the following, in
     relevant part:

            •   All detainees shall be provided nutritionally balanced diets that are reviewed at least
                quarterly by food service personnel and at least annually by a qualified nutritionist
                or dietitian.

            •   Detainees, staff, and others shall be protected from harm, and facility order shall be
                maintained, by the application of sound security practices in all aspects of food
                service and dining room operations.

            •   Detainees, staff, and others shall be protected from injury and illness by adequate
                food service training and the application of sound safety and sanitation practices in
                all aspects of food service and dining room operations. 512

     The Commission received testimony from advocates and whistleblowers that the quality of food
     in detention centers is substandard in quality, provides little to no nutritional value, and often has
     already gone to waste when it is served to detainees.513 Portions are small and facility staff
     withhold food as punishment. 514

     The 2011 Performance Based Detention Standard 4.5 Personal Hygiene, “ensures that each
     detainee is able to maintain acceptable personal hygiene practices through the provision of
     adequate bathing facilities and the issuance and exchange of clean clothing, bedding, linens, towels
     and personal hygiene items.” 515 It specifically requires that: “Each detainee shall have suitable,
     clean bedding, linens, blankets and towels;” and “Each detainee shall have sufficient clean clothing
     that is properly fitted; climatically suitable, durable and presentable;” and that: “Each detainee
     shall receive, at a minimum, the following items: 1. one bar of bath soap, or equivalent; 2. one
     comb; 3. one tube of toothpaste; 4. one toothbrush; 5. one bottle of shampoo, or equivalent; and 6.
     one container of skin lotion.” 516

     512
       Immigration and Customs Enforcement, Performance-Based National Detention Standards 2011, II Expected
     Outcomes, p. 228.

     513
           Project South Statement, at 6; Losmin Jiménez Testimony, Public Comment Session, p. 53.
     514
           Robin A. Testimony, Public Comment Session, p. 107; Black Statement, at 1.

     515
           Immigration and Customs Enforcement, Performance-Based National Detention Standards 2011, p. 327
     516
        Ibid., 328; see also supra note 289 (discussing Trump Administration argument soap not included under “safe
     and sanity” provisions of the Flores agreement).




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In contrast to these requirements, public commenters discussed an extreme lack of privacy in
detention center, particularly surrounding hygiene and clothing.517 Shower and toilet areas are
often open spaces and used clothes are distributed to detainees still stained from their previous
user. 518 In addition, privacy is often violated as detainees are crammed together in small spaces
and these spaces are under constant surveillance by facility staff.519

Food in Detention Testimony

           “The meals were very small portions and sometimes we were hungry. Many
           people got sick from the food they gave us.” 520

           “What I experienced was the worst experience in my life. I was not allowed
           to eat for weeks.”521

           “Detained immigrants at Stewart consistently report that food and water
           conditions at the facility posed serious health risks: meat is rarely served,
           food is often undercooked or rancid, the quantity of food is insufficient to a
           point that most detained immigrants experience weight loss, and the water
           is often green, and has reportedly caused headaches and rashes. At Irwin,
           all detained immigrants we interviewed unanimously reported finding
           objects in the food, being forced to eat rancid food, and needing to
           supplement their diet by purchasing additional food at the commissary.
           Many detained immigrants at Irwin also reported that they found rocks and
           nails in their food, and further stated that they experienced significant
           weight loss since their detention at Irwin.” 522




517
   Singer Statement, at 1; Losmin Jiménez Testimony, Public Comment Session, p. 54; Christie Stewart Stein,
Written Statement for the Public Comment Session on Immigration Detention before the U.S. Commission on Civil
Rights, May 12, 2019, at 1 (hereinafter Stein Statement).
518
      Losmin Jiménez Testimony, Public Comment Session, pp. 53 – 54.
519
  Olivia Huerta, Written Statement for the Public Comment Session on Immigration Detention before the U.S.
Commission on Civil Rights, Apr. 21, 2019, at 6 (hereinafter Huerta Statement); Hernández Statement, at 4.

520
      Robin A. Testimony, Public Comment Session, p. 107.
521
      Eduardo Jiménez Testimony, Public Comment Session, p. 116.

522
      Project South Statement, at 6.




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                “We heard stories of rancid bread, expired food, putrid water, and medicine
                that seemed like it came from a dollar store.” 523

                “[L]ack of food, food that had worms or mold; stale and inedible ham and
                cheese sandwiches; lack of water given and refused upon request;
                dehydration signs were common especially among the children.”524

     Hygiene and Clothing Testimony

                “[W]e heard about people having to wear, because that’s what’s provided,
                yellow, dingy, sometimes bloodstained underwear as part of their daily
                existence at this prison.”525

                “. . . I was not allowed to bathe. I lost my dignity as a human being
                there.”526

                “I was appalled at the condition of those incarcerated for the crime of
                seeking asylum. 50 men to a dorm room, sleeping in what can hardly be
                called beds: flimsy slabs of plywood nailed together as bunk beds, with what
                could hardly be called mattresses, they were so thin. Open toilets and
                showers.” 527

                “Not only are all of the beds in the open, but so are the toilets and showers.
                There are no curtains, there is no privacy, meaning everyone who’s
                detained has to urinate, defecate and bathe in full view of everyone else.”528

                “Simple human dignity is disregarded for instance in the face that there are
                no doors, and therefore no privacy in the women’s bathrooms.” 529




     523
           Losmin Jiménez Testimony, Public Comment Session, p. 53.
     524
           Black Statement, at 1.

     525
           Losmin Jiménez Testimony, Public Comment Session, p. 53.
     526
           Eduardo Jiménez Testimony, Public Comment Session, p. 116.

     527
           Singer Statement, at 1.
     528
           Losmin Jiménez Testimony, Public Comment Session, p. 54.

     529
           Stein Statement, at 1.




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           “[T]here was merely a giant room with sixty bunk beds out in the open in
           which everyone slept. . . The people imprisoned at this facility had to sleep,
           eat, bathe, and relieve themselves all in the same giant open room.” 530

           “The dorm areas consist of pods. In the center of each pod sits a tower of
           sorts, that is about 9-10 feet in height and contains an area for a staff
           member to watch over the dorms located on either side of the pod. This
           offers whoever is sitting in the watch tower an opportunity to view who is
           showering as the showers are only a little over 6-7 feet in height and are
           located behind a desk that a staff member sits and watches the common
           area. Women have complained of ‘cameras’ watching them in the showers.
           I wasn’t sure how this was ethical or possible but I believe this is the
           ‘cameras’ they speak of.”531

           “In the compound, there was no library - no place to sit by yourself. No
           corners with beanbags or couches. There is no way to escape constantly
           being surrounded by your peers and the ever-present teachers and guards.
           There is no place to pray and no access to spiritual or religious services.
           The children ask for more phone calls to family and for a chance to go to
           church to practice their faith or to have religious and spiritual comfort.” 532

           “I saw children held at the Franklin Institute who were under constant (24-
           hour) direct surveillance and were being cared for in a facility with bards
           [sic] on the doors and windows. And I saw adult men, fleeing from
           desperate situations, treated like animals.” 533


Prison-like Conditions in Facilities

The Commission also received testimony that the overall conditions detention facilities are like
prisons, 534 where individuals in detention are stripped of their humanity and often treated like
prisoners, even those who are legally trying to claim asylum. 535 In addition, individuals who are

530
      Losmin Jiménez Testimony, Public Comment Session, p. 54.
531
      Huerta Statement, at 9.

532
      Hernández Statement, at 3.
533
      Wechterman Statement, at 1.
534
  Carmen Werder, Written Statement for the Public Comment Session on Immigration Detention before the U.S.
Commission on Civil Rights, May 13, 2019, at 1 (hereinafter Werder Statement).

535
      Wechterman Statement, at 1.




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     detained are only able to work for $1 a day while, advocates argue, the private corporations who
     own the private facilities make thousands of dollars from the U.S. government for detaining these
     individuals. 536 Individuals in detention are also forced to spend money on basic goods and food at
     commissary for inflated prices, and it is almost impossible for them to see visitors. 537 In addition,
     the Department of Homeland Security Inspector General has published reports of extreme
     overcrowding in Border Patrol migrant holding facilities,538 which may also be cause for
     constitutional concerns.539

     Working Conditions Testimony

                “[D]etainees are forced to work for $1 a day to maintain the facility while
                GEO Group pockets the profits. Detainees are forced to purchase their
                every need at inflated prices. The system for allowing visitors is
                unnecessarily complicated and utterly inflexible which leaves detainees
                isolated and in despair. Some detainees have become so desperate they have
                gone on hunger strike, and one detainee has died.” 540

                “A local immigration attorney, who has a detailed understanding of the
                conditions there [at Northwest Detention Center], simply refers to it now as
                the Northwest Detention ‘prison.’ The people being held are having to eat
                disgusting food and are working for a despicable $1 a day while having to
                buy any necessities from the on-site store at unreasonably high prices. They
                are unable to sustain even a minimal level of cleanliness, not to mention
                what it is doing to their basic sense of humanity.”541

                “We saw people in detention . . . working to clean, to paint, to cook, to
                landscape in the hot desert sun. These voluntary jobs are paid $1 a day
                while the corporation gets over $73 a day from [Immigration and Customs
                Enforcement].”542

     536
           Werder Statement, at 1; Human Rights Watch Statement, at 3.
     537
           Werder Statement, at 1.

     538
           Dep’t. of Homeland Security, OIG-19-51, Management Alert.
     539
        See Gates v. Collier, 501 F.2d 1291, 1300 (5th Cir. 1974) (describing facilities that were in such disrepair they
     created a fire hazard); and Pugh v. Locke, 406 F. Supp. 318, 322, 325 (M.D. Ala. 1976) (finding that overcrowding
     may exacerbate other prison conditions).

     540
           Stein Statement, at 1.
     541
           Werder Statement, at 1.

     542
           Losmin Jiménez Testimony, Public Comment Session, p. 53.




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Solitary Confinement as Punishment

According to the Performance-Based National Detention Standards 2011 standards, as revised in
2016, individuals in detention may be placed in what it terms the Special Management Unit,
colloquially known as solitary confinement, for administrative, protective, or disciplinary
reasons. 543 Among other parameters, disciplinary segregation is only allowed “when alternative
dispositions may inadequately regulate the detainee’s behavior;” health care personnel are to
conduct, at minimum, a daily assessment of detainees; and detainees can only be held in
disciplinary segregation for 30 days “except in extraordinary circumstances.” 544

The Commission received testimony that solitary confinement is frequently used as punishment in
immigration detention facilities. 545 Solitary confinement causes harm to individuals in detention
and is likely to be disproportional to legitimate security needs. 546 According to testimony, solitary
confinement was used as punishment for infractions as small as hugging and comforting one
another.547 Also, individuals in detention have been sexually and physically abused while in
solitary confinement.548




543
   Immigration and Customs Enforcement, Performance-Based National Detention Standards 2011, 2.12 Special
Management Units, p. 171 (incorporating revisions on the basis of ICE Directive 11065.1: Review of the Use of
Segregation for Immigration and Customs Enforcement Detainees, Sept. 4, 2013,
https://www.ice.gov/doclib/detention-reform/pdf/segregation_directive.pdf). The revisions to the Performance-
Based National Detention Standards for solitary confinement were described in a Dep’t. of Homeland Security
report to Congress on the progress of implementing the Performance-Based National Detention Standards at
detention facilities. See Dep’t. of Homeland Security, Progress in Implementing 2011 PBNDS and DHS PREA
Requirements at Detention Facilities, Fiscal Year 2017 Report to Congress, Mar. 19, 2018, p. 7,
https://www.dhs.gov/sites/default/files/publications/ICE%20-
%20Progress%20in%20Implementing%202011%20PBNDS%20Standards%20and%20DHS%20PREA%20Require
ments_0.pdf (hereinafter Dep’t. of Homeland Security, Progress in Implementing 2011 Performance-Based
National Detention Standards, Report to Congress).
544
  Immigration and Customs Enforcement, Performance-Based National Detention Standards 2011, 2.12 Special
Management Units, p. 172.

545
      Huerta Testimony, Public Comment Session, p. 129; Detained Migrant Solidarity Committee Statement, at 5.
546
   Spencer Woodman, Maryam Saleh, Hannah Rappleye, Karrie Kehoe, “Solitary Voices: Thousands of Immigrants
Suffer in Solitary Confinement in ICE Detention,” The Intercept, May 21, 2019,
https://theintercept.com/2019/05/21/ice-solitary-confinement-immigration-detention/.

547
      Ibid.
548
  Huerta Testimony, Public Comment Session, p. 129; Detained Migrant Solidarity Committee Statement, at 4;
Eduardo Jiménez Testimony, Public Comment Session, p. 117.




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     Solitary Confinement Testimony

                “Just like [Department of Homeland Security][Office of the Inspector
                General], [Detained Migrant Solidarity Committee] found that [Otero
                County Processing Center] staff: make inappropriate retaliatory use of
                solitary confinement; often do not explain to detained individuals the reason
                they are being disciplined; and verbally assault, harass, and abuse
                individuals detained at the facility.”549

                “They [detained women] have told me that there is a very strict policy for
                no touching, and if they do touch each other, even if it’s just a hug, they’re
                put in solitary confinement where, in solitary confinement, some of these
                women have claimed that they have been raped which is very
                disturbing.” 550

                “When individuals complained about the chronic sexual harassment,
                facility staff placed the victims in solitary confinement and threatened
                others with similar isolation if they spoke up. [Advocate Visitors with
                Immigrants in Detention] volunteers are currently visiting two of the
                transgender women detained at [Otero County Processing Center], and
                both are held in solitary to this day. Neither individual is receiving the
                hormone therapy they have repeatedly request.” 551

                “When I appeared in front of an immigration judge, I was handcuffed, I had
                chains on my waist and on my feet. I was treated as a criminal. When I
                testified, when I said what happened to me, [Immigration and Customs
                Enforcement] punished me. They put me in solitary confinement with people
                who don’t even have good mental health. They tortured people in front of
                my. They broke their arms, and they threatened me, telling me that if I said
                something there were going to do the same thing to me.”552




     549
           Detained Migrant Solidarity Committee Statement, at 4.

     550
           Huerta Testimony, Public Comment Session, p. 129.
     551
           Detained Migrant Solidarity Committee Statement, at 5.

     552
           Eduardo Jiménez Testimony, Public Comment Session, p. 117.




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Sexual Violence and Application of Prison Rape Elimination Act to Detention Facilities

The Prison Rape Elimination Act of 2003 553 protects prisoners/detainees against sexual abuse and
assault while in prison or detention. 554 The Prison Rape Elimination Act also protects those
detained at immigration detention centers. 555 On March 7, 2014, Department of Homeland
Security implemented the Prison Rape Elimination Act556 by issuing a Final Rule entitled
“Standards to Prevent, Detect, and Respond to Sexual Abuse and Assault in Confinement
Facilities.”557 The Final Rule provided “provisions spann[ing] eleven categories . . . to discuss and
evaluate prison rape elimination standards; prevention planning, responsive planning, training and
education, assessment for risk of sexual victimization and abusiveness, reporting, official response
following a detainee report, investigations discipline, medical and mental care . . . [etc.].”558


Department of Homeland Security, Prison Rape Elimination Act regulations for Immigration and
Customs Enforcement (codified at 6 CFR Pt. 115, Subpart A) (which applies to Immigration and
Customs Enforcement as well as Contracted Detention Facilities), Section 115.11 mandates that:

            (a) The agency shall have a written policy mandating zero tolerance toward all
            forms of sexual abuse and outlining the agency's approach to preventing, detecting,
            and responding to such conduct.
            (b) The agency shall employ or designate an upper-level, agency-wide Prevention
            of Sexual Assault Coordinator (PSA Coordinator) with sufficient time and authority
            to develop, implement, and oversee agency efforts to comply with these standards
            in all of its immigration detention facilities.
            (c) Each facility shall have a written policy mandating zero tolerance toward all
            forms of sexual abuse and outlining the facility's approach to preventing, detecting,




553
      Prison Rape Elimination Act of 2013, Pub. L. No 108-79, 117 Stat 972 (codified as 42 U.S.C. § 15601).
554
  Id.; see also “National Prison Rape Elimination Commission Report,” National Prison Rape Elimination
Commission, June 2009, https://www.ncjrs.gov/pdffiles1/226680.pdf (hereinafter National Prison Rape Elimination
Commission June 2009 Report).
555
      “National Prison Rape Elimination Commission June 2009 Report,” p. 176.
556
   See 2015 Statutory Report, pp. 68-71 (discussing the complete regulatory history regarding the implementation of
the Prison Rape Elimination Act).
557
   Standards to Prevent, Detect, and Respond to Sexual Abuse and Assault in Confinement Facilities, Final Rule, 79
Fed. Reg. 13,100 (March 7, 2014) (codified at 6 C.F.R. § 115.)

558
      Id.




                                                                                                         AR00288
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                and responding to such conduct. The agency shall review and approve each
                facility's written policy. 559
     In May 2014, Immigration and Customs Enforcement issued a revised Directive on Sexual Abuse
     and Assault Prevention and Intervention that was built from the requirements of the 2011
     Performance Based National Detention Standards on Sexual Abuse and Assault Prevention. 560 The
     combination of these regulations along with other Immigration and Customs Enforcement policies
     regarding staff responsibilities is supposed to “ensure an integrated and comprehensive system of
     preventing and responding to sexual abuse or assault of individuals in Immigration and Customs
     Enforcement.” 561 Consistent with Prison Rape Elimination Act requirements, Immigration and
     Customs Enforcement’s policies, specifically Performance-Based National Detention Standards
     2011 and the 2014 Directive, mandate zero tolerance for all forms of sexual abuse and assault.

     As the Commission noted in its 2015 Report, “[a]lthough in some cases [Immigration and Customs
     Enforcement] finds that some contract detention facilities already incorporate many of [the Prison
     Rape Elimination Act]’s standards, [Department of Homeland Security] does not have the legal
     power to coerce facilities into complying with [Prison Rape Elimination Act] standards without
     altering existing contractual obligations.” 562 As an Immigration and Customs Enforcement
     representative stated at the time, “With respect to the private contractor facilities . . . all of them
     are not yet governed contractually by [Prison Rape Elimination Act] in that [Prison Rape
     Elimination Act] is rolled out gradually. It has to be applied through contract modifications. It is
     not immediately applicable to our private contract facilities[.]” 563 In March 2018, Immigration and
     Customs Enforcement reported that it implemented Prison Rape Elimination Act standards through
     contract modifications at all detention facilities that exclusively hold Immigration and Customs
     Enforcement-detainees and at 11 facilities that do not exclusively hold Immigration and Customs
     Enforcement-detainees. 564




     559
           6 C.F.R § 115.11 (2014).
     560
        See Immigration and Customs Enforcement, Performance-Based National Detention Standards 2011; ICE,
     Directive No. 11062.2: Sexual Abuse and Assault Prevention and Intervention, May 22, 2014,
     http://www.ice.gov/doclib/detention-reform/pdf/saapi2.pdf (hereinafter Immigration and Customs Enforcement,
     Directive No. 11062.2: Sexual Abuse and Assault).

     561
           Immigration and Customs Enforcement, Directive No. 11062.2: Sexual Abuse and Assault.
     562
           2015 Report, p.75.

     563
           2015 Report, pp. 85–86.
     564
           Progress in Implementing 2011Performance-Based National Detention Standards, Report to Congress, p. 11.




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Allegations of Sexual Abuse

According to a Freedom of Information Act request as part of a 2018 investigation by The
Intercept, the Department of Homeland Security Office of Inspector General provided 1,224
complaints (out of approximately 33,000) of abuse that took placed in Immigration and Customs
Enforcement custody from January 2010 to September 2017.565 According to The Intercept:

              But the sheer number of complaints as well as the patterns they reveal about
              mistreatment in facilities nationwide — suggest that sexual assault and
              harassment in immigration detention are not only widespread but systemic
              and enabled by an agency that regularly fails to hold itself accountable.
              While the reports obtained by The Intercept are only a fraction of those
              filed, they shed light on a system that operates largely in secrecy, and they
              help hint at the magnitude of the abuse, and the incompetence and
              complicity of the agency tasked with the safety of the 40,000 women, men,
              and children it detains each day in more than 200 jails, prisons, and
              detention centers across the country.566

In response to the article, Immigration and Customs Enforcement told The Intercept it had received
1,448 allegations of sexual abuse between fiscal years 2012 and March 2018, including 103
recorded so far for fiscal year 2018 (starting in October 2017).567

According to testimony, sexual violence is a problem in detention facilities and it is perpetrated by
facility staff and detainees alike. 568 Many individuals in detention do not report incidents of sexual
violence for fear of retaliation and punishment. 569 In 2017, according to written testimony, there
were 237 allegations of sexual abuse in detention facilities. 570




565
   Alice Speri, “Detained, Then Violated,” The Intercept, Apr. 11, 2018,
https://theintercept.com/2018/04/11/immigration-detention-sexual-abuse-ice-dhs/.
566
      Ibid.

567
      Ibid.
568
      Huerta Statement, at 2; Project South Statement, at 10 (quoting a male immigrant from El Salvador).

569
      Nancy Hernández Statement, at 2.
570
   Helen McDonald, Domestic and Sexual Violence Advocate, Written Statement for the Public Comment Session
on Immigration Detention before the U.S. Commission on Civil Rights, May 13, 2019, at 1 (citing data on sexual
and physical assault obtained from a Dep’t of Homeland Security, Office of the Inspector General, Freedom of
Information Request).




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      Sexual Violence Testimony

                    “Sexual violence is about power and control. That the U.S. government is
                    allowing – and by the virtue of allowance, encouraging – paid staff to
                    sexually violate women and children demonstrates the lack of scruples this
                    administration and this nation has employed towards the most vulnerable
                    peoples.”571

                    “From a person I pardoned out of detention, she stated that several women
                    had been sent to isolation where they were raped by staff. It is unknown to
                    me whether this was by male or female staff specifically.”572

                    “‘They said they were going to pursue charges against the men who raped
                    me, but I never received notice that charges had been filed. I heard wails in
                    the middle of the night in the male dorms, and I believe other men were
                    being raped. Everyone knew what was going on, but they just made louder
                    sounds to cover the noise up. What’s really sad is that no matter what you
                    do, you push the button in the room, those officers will take their sweet time.
                    Something awful could be happening in those rooms, and those officers will
                    take their time. I have never seen anything like that. It’s horrible.’”573


      Abuse of Authority

      The Commission also received public comments relaying that employees in detention facilities
      reportedly used their position of power to humiliate individuals in detention and treat them like
      prisoners even though many of them are legally in the United States to claim asylum. 574 According
      to testimony, detention facility staff abuse their power to punish detainees and use psychological
      tactics that bring distress to detainees. 575




      571
            Ibid.

      572
            Huerta Statement, at 9.
      573
            Project South Statement, at 10 (quoting a male immigrant from El Salvador).
      574
          Robin A. Testimony, Public Comment Session, p. 106; Asian Americans Advancing Justice Statement, at 2
      (citing Garance Burke and Martha Mendoza, “ICE Force-feeding Detainees on Hunger Strike,” AP News, Jan. 31,
      2019, https://apnews.com/c4b201dac8bf48eba17485a5c357b810; Sunita Sohrabji, “Hundreds of Sikh Asylum
      Seekers Housed in Victorville Federal Prison Illegally Banned From Wearing Turbans,” India West, July 30, 2018,
      https://www.indiawest.com/news/global_indian/hundreds-of-sikh-asylum-seekers-housed-in-victorville-federal-
      prion/article_cfb6f080-9425-11e8-811b-5b3bfd2ed928.html).

      575
            Seiler Testimony, Public Comment Session, p. 61.




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Furthermore, emerging news reports about thousands of Border Patrol officers being members of
a Facebook page that included posts with anti-immigrant rhetoric (with reportedly “racist, sexist
and violent images”), disparaging Latino families being separated and migrants who have died in
the agency’s custody, give rise to concerns about a culture of xenophobia, racism, and sexism
among Border Patrol personnel. 576 High-level Border Patrol officials reportedly knew about this
Facebook page and its contents for “as many as three years,” but did not initially investigate based
on the belief that the statements may be protected based on the employees free speech rights. 577
Anti-discrimination laws and policy protect migrants from discrimination based on race or national
origin, and if the members of the Facebook group discriminated against Latin American migrants,
they should be held accountable. 578 Border Patrol has opened investigations into members of the
Facebook group. 579

Misuse of Authority Testimony

           “The people who are detained there for immigration purposes are treated
           exactly the same way as people who are there serving their criminal
           sentence. There is no distinction.”580

           “The guards humiliated us. We had to strip in front of one another and put
           prison clothes on. The officers laughed and made fun of us.” 581

           “[There are] ice boxes, where detainees are sent to windowless rooms in
           freezing temperatures to try to get them to waive their claim to asylum.”582



576
   See, e.g., A.C. Thompson, “Inside the Secret Border Patrol Facebook Group Where Agents Joke About Migrant
Deaths and Post Sexist Memes,” ProPublica, July 1, 2019, https://www.propublica.org/article/secret-border-patrol-
facebook-group-agents-joke-about-migrant-deaths-post-sexist-memes#; Reis Thebault and Nick Miroff, “CBP
Officials Knew About Derogatory Facebook Group Years Ago and Have Investigated Posts From It Before,”
Washington Post, July 5, 2019, https://www.washingtonpost.com/nation/2019/07/06/cbp-officials-knew-about-
derogatory-facebook-group-years-ago-have-investigated-posts-it-before/?utm_term=.704be7a3727d.

577
      Thebault and Miroff, “CBP Officials Knew About Derogatory Facebook.”
578
      See Dep’t. of Justice, Guidance for Federal Law Enforcement Agencies.
579
   Ginger Thompson, “Revelations About a Secret Facebook Group Spawn Investigation of 70 Current and Former
Border Patrol Employees,” ProPublica, July 15, 2019, https://www.propublica.org/article/revelations-about-a-
secret-facebook-group-spawn-investigation-of-70-current-and-former-border-patrol-employees.
580
      Jimiénez Testimony, Public Comment Session, p. 54.
581
      Robin A. Testimony, Public Comment Session, p. 106.

582
      Wadhwa Testimony, Public Comment Session, p. 78.




                                                                                                       AR00292
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                 “There is also the issue of psychological mistreatment; of guards who speak
                 Spanish but refuse to speak in detainees' language; of the isolation of
                 detained women who speak only indigenous languages; the prohibitions
                 against detained women touching one another, even to hug or braid each
                 other's hair . . .” 583

                 “Violations included improper and overly restrictive use of solitary
                 confinement, including placing detainees in disciplinary segregation
                 without a hearing. . .”584

                 “South Asian asylum seekers protesting their prolonged detention by going
                 on hunger strike have been retaliated against with solitary confinement and
                 abusive forced-feeding practices. South Asian and Sikh detainees have also
                 been denied religious accommodation, including being banned from
                 wearing their turbans, being forced to cut their hair, and not being provided
                 with vegetarian or vegan meals.”585


      Treatment of LGBT Individuals

      The 2011 Performance-Based National Detention Standards also enhanced medical standards
      related to preservation of LBGT detainees’ rights and, in particular, the dignity of LGBT
      immigrant detainees. Below are some of the standards relating to custody classification, body
      cavity search, medical and mental health screening of new arrivals, and medical care:

                 •        When making classification and housing decisions for a transgender
                 detainee, staff shall consider the detainee’s gender self-identification and an
                 assessment of the effects of placement on the detainee’s mental health and well-
                 being. A medical or mental health professional shall be consulted as soon as
                 practicable on this assessment. Placement decisions should not be based solely on
                 the identity documents or physical anatomy of the detainee and a detainee’s self-
                 identification of his/her gender shall always be taken into consideration as well.
                 Placement shall be consistent with the safety and security considerations of the
                 facility.586


      583
            Seiler Testimony, Public Comment Session, p. 61.
      584
         Asian Americans Advancing Justice Statement, at 3; Dep’t. of Homeland Security, OIG-18-86, Management
      Alert, p. 3 https://www.oig.dhs.gov/sites/default/files/assets/2018-10/OIG-18-86-Sep18.pdf.
      585
            Asian Americans Advancing Justice Statement, at 2.

      586
            Immigration and Customs Enforcement, Performance-Based National Detention Standards 2011, p. 73.




                                                                                                          AR00293
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            •      Whenever possible, transgender detainees shall be permitted to choose the
            gender of the staff member conducting a body-cavity search.587

            •       Inquire into a transgender detainee’s gender self-identification and history
            of transition-related care when a detainee self-identifies as transgender.588

            •       Transgender detainees who were already receiving hormone therapy when
            taken into Immigration and Customs Enforcement custody shall have continued
            access to treatment. All transgender detainees shall have access to mental health
            care, and other transgender related health care and medication based on medical
            need. Treatment shall follow accepted guidelines regarding medically necessary
            transition-related care.589

According to testimony, LGBT individuals, particular transgender individuals in detention, have
been discriminated against by facility employees and other detainees. 590 Human Rights Campaign
told the Commission that LGBT individuals have been victims of sexual, physical and verbal
abuse. 591 They are denied necessary hormone treatment, and face humiliating circumstances in
front of other detainees. 592

The Commission heard testimony about how assaults against LGBT individuals often go
unreported for fear of punishment or retaliation. 593 Guidelines were provided to detention facilities
on how to care for transgender individuals while they are detained, but according to testimony they
are frequently ignored.594 In addition, transgender individuals are detained for twice as long as the
average detainee and one in eight transgender individuals has been placed in solitary
confinement.595 Immigration and Customs Enforcement has reported that transgender individuals
account for as little as 0.1% of all detainees, but account for 12% of all sexual assaults reported in

587
      Ibid., 72.

588
      Ibid., 289.
589
      Ibid., 296.

590
      Ishalaa Ortega, Activist, Immigration Equality, Testimony, Public Comment Session, p. 85.
591
      Ibid., 88.
592
   Human Rights Campaign, Written Statement for the Public Comment Session on Immigration Detention before
the U.S. Commission on Civil Rights, May 13, 2019, at 4 (hereinafter Human Rights Campaign Statement).

593
      Ibid., 3.
594
      Sara Hallock, College Student, University of California, Los Angeles, Public Comment Session, pp. 144-145.

595
      Ibid., 145-146.




                                                                                                         AR00294
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      detention centers. 596 The Prison Rape Elimination Act has special provisions for the protection of
      LBTQ individuals, including transgender individuals. 597

      Treatment of Transgender Detainees Testimony

                    “Transgender people are exposed to the verbal and physical abuse of other
                    inmates and officers.” 598

                    “First, I was taken into a little room, where a female officer touched me
                    everywhere. Then she went to bring in male officers, who touched my
                    genitalia area over and over again, trying to find out if I underwent sex
                    reassignment surgery without believing the information I provided
                    them.” 599

                    “They asked me about my health and gender identity. I told him I was a
                    transgender woman. Then he asked, are you afraid of being in the male
                    bunk? I said, yes. Then, he told me don’t say that or I will have to put you
                    in solitary confinement.”600

                    “Inside the prison, they call everybody by their last name but transgender
                    people are called by their first name so just to make sure to let everybody
                    know our first name, which usually legally is a male name.” 601

                    “[Roxsana] Hernández (a transgender woman) traveled to the United
                    States in 2018, seeking asylum. She would die just weeks later in
                    [Immigration and Customs Enforcement] custody. [Immigration and
                    Customs Enforcement] officials denied responsibility for the woman’s
                    death, but autopsy reports would confirm that before she died, Hernández
                    was subject to “blows, and/or kicks, and possible strikes with a blunt
                    object.” Her wrists showed injury from use of handcuffs and there were
                    contusions on her back and ribcage. In addition to the physical abuse she
                    was subject to, fellow migrants from her caravan stated that Hernández had

      596
            Ibid., 145.
      597
         Standards to Prevent, Detect, and Respond to Sexual Abuse and Assault in Confinement Facilities, Final Rule, 79
      Fed. Reg. 13,100 (March 7, 2014) (codified at 6 C.F.R. § 115).
      598
            Ortega Testimony, Public Comment Session, p. 88.

      599
            Ibid., 85.
      600
            Ibid., 87.

      601
            Ibid.




                                                                                                            AR00295
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            been placed in an ‘icebox,’ a holding cell which received its name because
            of the low temperatures detainees were forced to endure once inside.”602

            “In detention [transgender detainee] suffered significant physical illness,
            yet despite requesting medical attention six times, was unable to see a
            doctor until her lawyer intervened.”603

            “Transgender immigrants are also routinely denied hormone-treatment in
            [Immigration and Customs Enforcement] custody, leading them to
            experience withdrawal and other severe physical symptoms, such as
            suicidal ideation and gender dysphoria.”604

Physical and Sexual Assaults of LGBT Testimony

            “Noelia (identifies as a gay man) was detained in a private detention center
            for six months in Georgia, where he experienced sexual harassment and
            assault that he said was ‘happening every day.’ On one frightening
            occasion, he was sexually assaulted in a bathroom by several other men.
            Afraid of being placed in solitary confinement or disbelieved by staff, Noelia
            did not report the assault right away. When Noelia worked up the courage
            to share his story with a psychologist, his claim was marked
            ‘unsubstantiated’ and he received no assistance.”605

            “Despite identifying as a woman, she was housed in an all-male unit in the
            detention center. While there, Guzmán-Martínez was continuously harassed
            and then sexually abused by a guard under threat of deportation. Although
            she reported the officer, she remained in the same unit and was sexually
            assaulted by a male detainee less than a year later. This time, Guzmán-
            Martínez was afraid of retaliation and like other detainees in her position,
            waited to report the incident.”606

            “In 2015, [Immigration and Customs Enforcement] released the
            Transgender Care Memorandum which provided a guideline for
            [Immigration and Customs Enforcement] officials to adhere to when

602
      Human Rights Campaign Statement, at 4.
603
  Amnesty International, Written Statement for Public Comment Session on Immigration Detention before the U.S.
Commission on Civil Rights, Apr. 12, 2019, at 1 (hereinafter Amnesty International Statement).

604
      Human Rights Campaign Statement, at 4.
605
      Ibid., 2.

606
      Ibid., 3.




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                  detaining and processing transgender immigrants. . . The memo states in
                  the beginning that detainees should not be housed in solitary confinement
                  for more than 72 hours but contradicts itself later on to say that transgender
                  detainees may be housed . . . in general housing with their biological sex,
                  in general housing consistent with their gender identity, in protective
                  custody, solitary confinement, or medical or administrative segregation,
                  also forms of solitary confinement.”607

                  “Executive Order Enhancing the Public Safety in the Interior of the US,
                  signed in January 2017, outlines that [Immigration and Customs
                  Enforcement] is no longer supposed to be giving any special protections to
                  vulnerable populations that are being detained in their facilities. It is fair
                  to assume that even the most limited protections outlined in the Transgender
                  Care Memorandum are no longer being practiced by [Immigration and
                  Customs Enforcement] officials in an effort to discontinue the wasting of
                  resources.” 608


      Due Process

      The Commission heard many concerns over the violation of detainees’ basic due process and civil
      rights. Like undocumented immigrants in the U.S., these detainees retain basic civil rights as well
      as substantive due process rights granted to them by the U.S. Constitution.609 In Zadvydas v.
      Davis, 610 the Supreme Court acknowledged that “indefinite detention” posed a “serious
      constitutional problem” given a non-citizen’s due process rights. 611 In that case, the Court
      determined that “unless it is imposed as punishment in a criminal proceeding” or “in certain special
      and narrow non-punitive circumstances” it was wrong to impose indefinite detention. 612 Except in
      such narrow circumstances, the Court determined that it was unreasonable to detain undocumented




      607
            Hallock Testimony, Public Comment Session, pp. 143-44.
      608
            Ibid., 145.
      609
         Leslie Brown, Co-Organizer, Teachers Against Child Detention, Written Statement for Public Comment Session
      before the U.S. Commission on Civil Rights, May 12, 2019, 1 (hereinafter Brown Statement).

      610
            Zadvydas v. Davis, 533 U.S. 678, 690 (2001).
      611
            Id.; see also Project South Statement, at 2.

      612
            Zadvydas, 533 U.S. at 690.




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immigrants for over six months. 613 In addition, detainees’ Eighth Amendment rights are violated
by imposing onto them unreasonably high bonds. 614

Due Process Testimony

            “I strongly emphasize to you that the mass incarceration of asylum seekers,
            families, unaccompanied minors, and their children, which is occurring
            without due process and without basic child protection and welfare
            standards being enforced, is a violation not only of their civil rights, but
            their basic human rights.”615

            “One of the things I teach my law students and future lawyers is that the
            Undocumented have human rights because they are human beings. These
            rights are all set out here in the Universal Declaration of Human
            Rights.”616

            “Many immigrants at Stewart and Irwin (detention centers in Georgia)
            have been detained without a reasonable prospect of securing release or
            even deportation for years on end. The immigration courts at Stewart and
            Irwin are also notorious for setting prohibitively high bonds for detained
            immigrants, effectively precluding any possibility for release, and curtailing
            their Eighth Amendment right to a reasonable bond. At least one detained
            immigrant we interviewed reported that his bond was set at $10,000, an
            unaffordable rate for that individual, as well as for most persons who are
            likely to be held at Stewart and Irwin.”617


Length of Stay in Detention Facilities & Withholding Release

As discussed above, in Zadvydas v. Davis, the Supreme Court held that “unless it is imposed as
punishment in a criminal proceeding” or “in certain special and narrow non-punitive




613
      Project South Statement, at 2.

614
      Ibid., 3.
615
      Brown Statement, at 1.
616
  Francis Boyle, Written Statement for the Public Comment Session on Immigration Detention before the U.S.
Commission on Civil Rights, May 10, 2019, at 1 (hereinafter Boyle Statement).

617
      Project South Statement, at 3.




                                                                                                   AR00298
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      circumstances” it was wrong to impose indefinite detention.618 Except in such narrow
      circumstances, the Court determined that it was unreasonable to detain undocumented immigrants
      for over six months. 619 Most detainees in immigration detention facilities are held in prison like
      conditions with no idea when they will be released.620 The Commission received testimony that
      at privately owned, for-profit detention facilities, there is monetary incentive to detain immigrants
      for as long as possible. 621

      Indefinite Detention of Adults Testimony

                  “At the time of their detentions, [Immigration and Customs Enforcement]
                  was detaining nearly 100 percent of all parole requests for asylum seekers
                  with credible claims across five of its busiest field offices. Just five years
                  ago though, these same offices were granting upwards of 90 percent of these
                  parole requests in accordance with a 2009 policy. The report concluded in
                  June 2018 that these blanket parole denials violated [Immigration and
                  Customs Enforcement]’s own policies.” 622

                  “Whereas the 2016 [Immigration and Customs Enforcement] policy
                  presumed release for most pregnant women, the Agency superseded that
                  policy with a March 2018 directive ending all presumption of their release
                  and eliminating stricter oversight of their care and regular review of their
                  custody.”623

                  “They are prisoners. Although they have committed no crime, they live
                  under conditions considerably worse than any other prisoners. There are
                  no regular visits. They cannot send or receive mail. They have no idea about
                  the length of their sentence. And we have learned from interviews with
                  released children, they are threatened with more time, longer prison terms
                  if they misbehave.”624



      618
         Zadvydas, 533 U.S. at 690 (citing United States v. Salerno, 481 U.S. 739, 746 (1987) and Foucha v. Louisiana,
      504 U.S. 74, 80 (1992)).
      619
            Id.

      620
            Seiler Testimony, Public Comment Session, p. 58.
      621
            Howell Statement, at 2.

      622
            Krishnaswami Testimony, Public Comment Session, p. 126.
      623
            Obser Testimony, Public Comment Session, p. 135.

      624
            Seiler Testimony, Public Comment Session, p. 58.




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           “This vague guidance about how long families can be detained is
           concerning and has the potential to impose long-lasting trauma on detained
           children and their parents.”625



Legal Representation in Immigration Proceedings

The Fifth Amendment to the U.S. Constitution mandates that “no person . . . shall be deprived of
life, liberty, or property. . .” without due process of law. 626 According to Reno v. Flores, “[i]t is
well established that the Fifth Amendment entitles” noncitizens “to due process of law in
deportation proceedings.” 627 Additionally, federal courts have held that the removal process
implicates an undocumented immigrant’s liberty interest.628 Therefore, federal courts have
considered access to counsel – at one’s own expense – a requirement that assures fundamental
fairness during removal proceedings.629 For example, in United States v. Charleswell, the Third
Circuit characterized a detained immigrant’s right to counsel during removal proceedings as “so
fundamental to the proceeding’s fairness” that denying this right “rise[s] to the level of
fundamental unfairness.” 630 Furthermore, the Fifth Amendment is not the only law that grants
undocumented immigrants the right to counsel at their own expense. The Immigration and
Nationality Act guarantees undocumented immigrants with access to counsel at their own
expense. 631 Additionally, the Immigration and Nationality Act provides detained immigrants other
rights in removal proceedings, such as:



625
      American Psychiatric Association Statement, at 1.

626
      U.S. Const., amend. V.
627
      Reno v. Flores, 507 U.S. 292, 306 (1993).
628
   See e.g., Zadvydas, 533 U.S. at 690 (establishing that a detained immigrant’s liberty interest is implicated when a
federal statute mandates that captured undocumented immigrants be detained).
629
   Biwot v. Gonzales, 403 F.3d 1094, 1098 (9th Cir. 2005) (“The right to counsel in immigration proceedings is
rooted in the Due Process Clause.”); Dakane v. U.S. Attorney Gen., 399 F.3d 1269, 1273 (11th Cir. 2005) (“It is well
established in this Circuit that an alien in civil deportation proceedings . . . has the constitutional right under the
Fifth Amendment Due Process Clause . . . to a fundamentally fair hearing.”); Borges v. Gonzáles, 402 F.3d 398, 408
(3d Cir. 2005) (“The Fifth Amendment entitles aliens to due process of law in deportation proceedings.”); Rosales v.
ICE, 426 F.3d 733, 736 (5th Cir. 2005) (“[D]ue process requires that deportation hearings be fundamentally fair.”);
Brown v. Ashcroft, 360 F.3d 346, 350 (2d Cir. 2004) (“The right . . . under the Fifth Amendment to due process of
law in deportation proceedings is well established.”).

630
      United States v. Charleswell, 456 F.3d 347, 360 (3d Cir. 2006).
631
   The Immigration and Nationality Act, as amended, Pub. L. 104-208, 66 Stat. 235 (Sept. 30, 1996) (codified as 8
U.S.C. § 1362).




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             •      promulgates rules that grant detained immigrants ample opportunity to obtain
                    counsel by placing restrictions on the removal proceeding’s timing;632

             •      mandates that undocumented immigrants are furnished with a list of pro bono
                    attorneys when removal proceedings have begun; 633 and

             •      establishes additional protections for unaccompanied minors, mentally incompetent
                    individuals, and others.634

      Although the Immigration and Nationality Act describes these provisions as a “privilege,” several
      federal courts have construed the Immigration and Nationality Act as establishing a statutory right
      to counsel at a detained immigrant’s own expense. 635

      Furthermore, in 2015 the Commission heard that the success rate of detained immigrants with
      counsel is strongly linked to an immigrant’s ability to comprehend complex immigration law,
      making legal representation crucial for detained immigrants seeking asylum or entry into the
      United States. 636 According to testimony submitted to the Commission in 2015, statistics show
      that detained immigrants who obtain counsel are more successful in their asylum claims, and
      therefore released from detention more often, than those without counsel.637 According to the
      National Immigration Justice Center, detained immigrants who had obtained counsel were six
      times more likely to succeed in removal proceedings.638

      While the Immigration and Nationality Act mandates that the federal government furnish detained
      immigrants with legal materials and attorney contact information, the actual procedures
      Immigration and Customs Enforcement uses to process detained immigrants is not conducive to
      affording them adequate opportunity to obtain counsel. For example, Immigration and Customs
      Enforcement initially detains undocumented immigrants in a facility where they were
      apprehended. Immigration and Customs Enforcement transfers these detainees to remote detention

      632
            See Immigration and Nationality Act § 239(b)(1) (codified at 8 U.S.C. § 1229(b)(1)).
      633
            See Immigration and Nationality Act § 239(b)(2); 8 U.S.C. § 1229(b)(2); 8 C.F.R. § 238.1(b)(2)(iv).

      634
            See 6 U.S.C. § 279(b)(1)(A).
      635
         See Castro-O’Ryan v. INS, 847 F.2d 1307, at 1312 (9th Cir. 1987) (indicating Section 292 of the Immigration
      and Nationality Act, as well as its legislative history, “confirms that Congress intended to confer a right”).
      636
            2015 Report at 108 (citing Karen Grisez, American Bar Association, Statement, at 4).

      637
            Ibid.
      638
         Charles Roth and Raia Stoicheva, “Order in the Court: Commonsense Solutions to Improve Efficiency and
      Fairness in the Immigration Court,” National Immigrant Justice Center, Oct. 2014,
      http://immigrantjustice.org/sites/immigrantjustice.org/files/Order%20in%20the%20Courts%20-
      %20Immigration%20Court%20Reform%20White%20Paper%20October%202014%20FINAL2.pdf.




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centers within hours of their apprehension. This immediate transfer affects a detained immigrant’s
ability to secure legal representation because his/her transfer location is generally unknown. 639
Additionally, a detained immigrant may be transferred to a facility located over 100 miles away
from where he/she was initially apprehended.

Under Executive Order 13,166, federal agencies are required to examine the services they provide,
identify any need for services to those with limited English proficiency (LEP), and develop and
implement a system to provide those services so LEP persons can have meaningful access to
them. 640 Language barriers make it extremely difficult for detainees to learn about the legal process
and communicate with employees at facilities. 641 The Commission heard testimony that often
times, documents and legal resources are only in English and detainees will sign documents
without understanding what they are signing. 642 For detainees who only speak indigenous
languages, there are very few interpreters available to translate and assist them while in
detention. 643 Moreover, in July 2019, the Trump Administration announced plans to no longer
provide in-person interpreters at immigrants’ first immigration hearings, and will instead only
provide in-language videos to provide information to asylum seekers and other immigrants facing
deportation of their rights.644

Limited English Proficiency and Legal Representation Testimony

           “The limited language proficiency means that detained immigrants who do
           not speak English are unable to communicate with their deportation
           officers, while some detained immigrants were explicitly denied the
           opportunity to speak with the officers for months on end.” 645




639
   The Commission learned that immigrants detained at Port Isabel Detention Facility and Karnes Family Detention
Facility were apprehended from various places near the Rio Grande Valley and throughout Texas.
640
      “Frequently Asked Questions,” LEP.gov, https://www.lep.gov/faqs/faqs.html (accessed July 13, 2019).

641
      Project South Statement, at 3.
642
      Project South Statement, at 4; Detained Migrant Solidarity Committee Statement, at 8.

643
      Slaton Testimony, Public Comment Session, p. 158.
644
   See Tal Kopan, “Trump Administration Ending In-Person Interpreters at Immigrants’ First Hearings,” San
Francisco Chronicle, July 3, 2019, https://www.sfchronicle.com/politics/article/Trump-administration-ending-in-
person-14070403.php; see also Stephen Franklin, Miriam Annenberg, and Ankur Singh, “Video hearings in
immigration court are harming immigrants’ cases,” Pacific Standard, July 2, 2019, https://psmag.com/social-
justice/video-hearings-in-immigration-court-are-harming-immigrants-cases.

645
      Project South Statement, at 3.




                                                                                                        AR00302
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                  “In addition, detained immigrants at both facilities also encounter constant
                  problems accessing the law libraries for legal information. Many detained
                  immigrants at Stewart reported that they were unable to access any legal
                  resources in their native languages, effectively precluding their ability to
                  fill out complex legal documents such as asylum applications. At Irwin,
                  detained immigrants are required to submit a written form, only available
                  in English and Spanish, to request library use.” 646

                  “Often times, people are asked to sign documents. They have no idea what
                  they’re signing.”647

                  “In reviewing notifications sent to dozens of Spanish speaking detained
                  migrants, most of the documents (if provided at all) were English only.”648

                  “Children are also made to go before a judge without representation. In a
                  language they don’t speak. Civil Rights are being breached and broken left,
                  right, and center by the US government.”649

                  “Many of the refugees that I met spoke no Spanish when I tried to speak
                  Spanish with them. They were indigenous.” 650

      Access to Legal Representation Testimony

                  “I had to represent myself in court almost the entire time I was detained
                  because I could not afford a private lawyer. . . I tried to call the numbers of
                  pro bono lawyers but no one answered my calls. I don’t know if the numbers
                  worked but very few detainees could get pro bono lawyers.” 651

                  “While both Stewart and Irwin allow detained immigrants to meet with
                  attorneys, in many ways the facilities physically bar the detained
                  immigrants’ right to substantive consultation and representation. Detained
                  immigrants and attorneys have reported that they had to meet through

      646
            Ibid., 4.
      647
            Slaton Testimony, Public Comment Session, pp. 158-59.

      648
            Detained Migrant Solidarity Committee Statement, at 8.
      649
        Eli Beller, Written Statement for the Public Comment Session on Immigration Detention before the U.S.
      Commission on Civil Rights, May 13, 2019, at 1 (hereinafter Beller Statement).
      650
            Slaton Testimony, Public Comment Session, p. 158.

      651
            Robin A. Testimony, Public Comment Session, pp. 108-09.




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           Plexiglas with malfunctioning phones or videoconferencing equipment. The
           conversations are not private, as the rooms are not sound-insulated, and
           the attorneys and clients often need to shout at each other over the television
           or other white noise in order to understand each other.”652

Detention Centers in Remote Locations Testimony

           “Detained immigrants have a harder time accessing legal help since many
           detention facilities are located in remote, rural areas. About 30 percent of
           detained immigrants are held in [Immigration and Customs Enforcement]
           facilities more than 100 miles from the nearest government-listed legal aid
           provider, and for immigrants in detention the representation rate
           plummeted to an abysmal 14 percent.”653

           “Many of our clients are in facilities that are housed in rural areas far away
           from any type of support, legal advocacy organizations, or removal defense
           immigration attorneys.”654


Understanding the Legal Process

The Commission received testimony that the legal process is very complex and difficult to navigate
without legal assistance, especially considering that migrants have entered a legal system that is
foreign to them, but many detainees must represent themselves. 655 The limited resources available
in detention center legal libraries are not readily available to detainees, making the process of
learning their rights even more difficult. 656




652
      Project South Statement, at 3.
653
   Asian Americans Advancing Justice Statement, at 2 (citing Kyle Kim, “Immigrants Held in Remote ICE
Facilities Struggle to Find Legal Aid Before They’re Deported,” Los Angeles Times, Sept. 28, 2017,
https://www.latimes.com/projects/la-na-access-to-counsel-deportation/; Ingrid Eagly and Steven Shafer, “Access to
Counsel in Immigration Court,” Sept. 28, 2016, https://www.americanimmigrationcouncil.org/research/access-
counsel-immigration-court).
654
      Sánchez Testimony, Public Comment Session, p. 120.

655
      Krishnaswami Testimony, Public Comment Session, p. 127.
656
  Ishalaa Ortega, Written Statement for the Public Comment Session on Immigration Detention before the U.S.
Commission on Civil Rights, Apr. 12, 2019, at 2 (hereinafter Ortega Statement).




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      Navigating Immigration Proceedings Without Representation Testimony

                    “[T]he vast majority of detained asylum seekers proceed without legal
                    assistance.” 657

                    “That we routinely require survivors of trauma to navigate a bureaucratic
                    maze of proceedings daunting for licensed attorneys, all while behind bars-
                    proceedings that could culminate in their return to countries where they
                    fear grave harm, even death- is a travesty.” 658

                    “There are only 30 minutes outside for recreational time, which inmates
                    constantly lose in order to go to the legal library to prepare their cases.
                    Most of the inmates endure the process by themselves without legal
                    representation.”659


      Lack of Independence for Immigration Courts

      Immigration courts are housed under the Department of Justice, Executive Office for Immigration
      Review, and thus part of the executive branch and not the judicial branch. 660 Many organizations,
      including the American Bar Association, American Immigration Lawyers Association, Federal
      Bar Association, and the National Association of Immigration Judges have all urged Congress to
      create an immigration court system that is independent of the Department of Justice.661 They point
      out that there is a conflict of interest when immigration courts are housed in the same department
      that is responsible for prosecuting immigrants in federal court, and this concern is exacerbated
      because immigration judges are Department of Justice employees, which leaves them vulnerable
      to political pressures and politicized interference into their duties. 662 Immigration courts also face
      massive backlogs, which result in delays, and commenters argue Executive Office for Immigration
      Review policies meant to address the backlog have actually worsened the backlog and threatened




      657
            Krishnaswami Testimony, Public Comment Session, p. 127.

      658
            Amnesty International Statement, at 2.
      659
            Ortega Statement, at 2.

      660
            “About the Office,” Dep’t of Justice, Aug. 14, 2018, https://www.justice.gov/eoir/about-office.
      661
         American Bar Association, American Immigration Lawyers Association, Federal Bar Association, and the
      National Association of Immigration Judges, letter to Congress, July 11, 2019, https://www.naij-
      usa.org/images/uploads/publications/ABA_-_Congress_Should_Establish_an_Independent_Innigration_Court.pdf.

      662
            Ibid.




                                                                                                              AR00305
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the independence of immigration judges. 663 These policies include implementing case quotas to
measure performance for immigration judges and reducing immigration judges’ discretion to grant
hearing continuances to ensure the fair administration of justice. 664 In 2018, the Commission
majority issued a statement denouncing this practice.665

Location of Detention Facilities

The Commission also received testimony that immigration detention facilities are often located in
rural areas, making it difficult for families to visit their detained loved ones, for lawyers to get in
contact with their clients, and keeping issues that occur within their walls far away from the public
eye. 666 Many people who submitted public comments also raised concern about how federal money
has been allocated away from oversight of detention facilities. 667

Commenters also raised issues with locating detention facilities at military bases. 668 EarthJustice
staff told the Commission that the proposed sites of some new detention facilities at military bases
pose serious health risks due to high levels of toxic chemicals in the soil.669 In addition there are
concerns regarding issues of access for family members who may be undocumented and attorneys




663
   Ibid.; American Immigration Lawyers Association, “American Immigration Lawyers Association’s Policy Brief:
FOIA Reveals EOIR’s Failed Plan for Fixing the Immigration Court Backlog American Immigration Lawyers
Association,” Feb. 21, 2019, p. 3, https://www.aila.org/PolicyBriefEOIRPlan (discussing EOIR plan obtained
through FOIA request which undermines due process in immigration courts and contributed to backlog in some
instances).

664
      “American Immigration Lawyers Association’s Policy Brief,” p. 3.
665
  U.S. Comm’n on Civil Rights, “U.S. Commission on Civil Rights Denounces Imposition of Immigration Judge
Quotas,” Apr. 20, 2018, https://www.usccr.gov/press/2018/04-20-Immigration-Quota-Statement.pdf.
666
      Seiler Testimony, Public Comment Session, p. 58; Sánchez Testimony, Public Comment Session, p. 120.
667
   Lannan Statement, at 1; Human Rights Watch Statement, at 3; Small Testimony, Public Comment Session, p.
142.
668
   See Amy Toran Perry, Military Families for Families, Written Statement for Public Comment Session on
Immigration Detention (discussing environmental concerns and citing Open Letter from Retired U.S. Military
General and Flag Officers on the Use of Military Bases to Detain Immigrant Families, Aug. 1, 2018,
https://americasvoice.org/press_releases/retired-general-and-flag-officers-sign-letter-in-opposition-to-housing-
immigrants-and-asylum-seekers-on-military-bases/).

669
      Mabson Testimony, Public Comment Session, pp. 111-12.




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      at military bases. 670 This may also implicate heightened due process concerns for migrant children,
      if they are no longer protected by state child custody laws. 671

      Opening Detention Centers on Potentially Hazardous Sites Testimony

                  “Harmful contaminants like lead have been detected in both soil and
                  groundwater and at levels that are shockingly well above the EPA’s
                  threshold that would trigger and require immediate remediation. . . There
                  is a special concern for the infants and young children who may be housed
                  on the site, as they may be harmed by both acute and chronic contact with
                  lead. Lead exposure is known to cause brain damage, learning disabilities,
                  stunted growth, and behavior problems, among other serious debilitating
                  health effects.”672

                  “[M]oreover, a number of other chemicals have been identified on-site,
                  including benzene, arsenic, and methylene chloride, all of which increase a
                  child’s likelihood to develop cancer and can cause long-lasting severe
                  neurological, immunological, and developmental impacts.”673

                  “Due to a number of physiological differences children-especially infants-
                  are more susceptible to the harms caused by toxic chemicals, particularly
                  lead and per- and poly- fluoroalkyl substances, (PFAS), which have been




      670
         For example, an undocumented immigrant working to deliver pizza to the Fort Hamilton Army base was detained
      and held for 53 days. Felipe De La Hoz, “Military bases enforcing U.S. immigration laws may be exceeding their
      authority,” Documented, Sept. 4, 2018, https://documentedny.com/2018/09/04/military-bases-enforcing-u-s-
      immigration-laws-may-be-exceeding-their-authority/; See Spencer Ackerman, “Ready, Fire, Aim: Military Rushes
      Into Detention Camp Plan,” Daily Beast, July 10, 2018, https://www.thedailybeast.com/ready-fire-aim-military-
      rushes-into-detention-camp-plan (“Military bases are by necessity restricted areas, yet the thousands of
      undocumented people envisioned for detention on them need access to their lawyers for deportation proceedings.
      They also need secure areas to discuss their cases with attorneys, advocates or relatives, another factor complicated
      by the camps’ operation on military bases.”); Jana Lipman, “Detaining Refugee Children At Military Bases May
      Sound Un-American, But It’s Been Done Before,” Government Executive, June 19, 2019,
      https://www.govexec.com/management/2019/06/detaining-refugee-children-military-bases-may-sound-un-
      american-its-been-done/157799/ (“It is unclear whether the young migrants sent to Fort Sill will have access to
      lawyers, education or social services.”).
      671
         See supra notes 15-16 (discussing Reno v. Flores, 507 U.S. at 302) (Justice Scalia reasoned that full substantive
      due process rights did not apply because migrant children were housed in conditions in which state child custody
      rules contractually applied).
      672
            Mabson Testimony, Public Comment Session, p. 111-112.

      673
            Ibid., 112.




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           identified in intolerable high amounts in both soil and groundwater on
           GAFB (Goodfellow Air Force Base) and FBAB (Fort Bliss Army Base).” 674

Allocation of Federal Monetary Resources Testimony

           “Not only is this policy inhumane, it is costing taxpayers more than $775
           dollars per day per child. With almost 3000 children being held in
           Homestead alone, that cost is close to $3 million per day.”675

           “In February of this year, [Immigration and Customs Enforcement] held a
           record 49,000 people in detention on average per day. The administration
           has asked Congress to allocate US$2.7 billion for Fiscal Year 2020 to lock
           up a daily average of 54,000 people per day, with the stated goal of
           detaining 60,000 people per day, including 10,000 family detention beds
           through an additional ‘Border Security and Immigration Enforcement
           Fund.’ At the same time, the Trump administration has requested less
           money for Department of Homeland Security oversight of detention –
           oversight which is intended to ensure that conditions of confinement are
           safe.” 676

           “In the last two administration budget requests, the Agency has been clear
           about a desire to lower detention standards even further in order to
           facilitate entering into contracts with facilities that even they acknowledge
           can’t meet current standards.” 677

           “As a tax-paying citizen I am outraged that my tax dollars are funding a
           private prison in Homestead, FL for children of families seeking
           asylum.” 678

           “As the granddaughter of a WWII veteran, I absolutely abhor the use of my
           tax dollars to detain innocent immigrants and asylum-seeking refugees.” 679




674
  Earthjustice, Written Statement for the Public Comment Session on Immigration Detention before the U.S.
Commission on Civil Rights, May 13, 2019, at 3.

675
      Lannan Statement, at 1.
676
      Human Rights Watch Statement, at 3.

677
      Small Testimony, Public Comment Session, p. 142.
678
  Priscilla Cobb, Written Statement for the Public Comment Session on Immigration Detention before the U.S.
Commission on Civil Rights, May 12, 2019, at 1.
679
  Lisa Dameron, Written Statement for the Public Comment Session on Immigration Detention before the U.S.
Commission on Civil Rights, Mar. 23, 2019, at 1.




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CHAPTER 4: FINDINGS AND RECOMMENDATIONS

Findings
  I.   Creating a Humanitarian Crisis

    A. The Trump Administration’s changes to asylum, the detention of children, and certain
       other immigration policies, practices, and procedures have created an unnecessary human
       and civil rights crisis at the southern border. The institution of the Zero Tolerance policy
       and decision to forcibly and deliberately separate children, including infants and toddlers,
       from parents or adult family members on a mass scale is a gross human and civil rights
       violation.

    B. The Departments of Homeland Security and Health and Human Services did not have a
       plan or coordinate procedures to reunite children with their families. The Zero Tolerance
       policy, despite having been piloted for a year prior to its announcement, resulted in
       forcible and needless separation of children, including infants and toddlers, from parents
       or adult family members.

    C. The sharp rise in 2018-2019 in immigrant families traveling with children attempting to
       enter the United States and to claim asylum has created extreme and challenging
       conditions at the border. The serious humanitarian needs of arriving families have not
       been addressed, and these concerns have instead been exacerbated by Administration
       policies.

    D. The absence of planning and resulting confusion and chaos led to many children being
       sent up to thousands of miles from their parents who were typically given no information
       about the whereabouts of their children; nor were the children given any
       information about their parents.

    E. The Trump Administration’s metering policy and Migration Policy Protocols forced
       asylum seekers at the southern border to risk crossing the border illegally, including via
       more dangerous and remote crossings. Wait periods for migrants can extend past a week
       outside ports of entry with no shelter, food, or water and expose them to further risk of
       harm. In one case, the Commission heard of a migrant husband and wife who waited 30
       days in Calexico, a city near the Mexican border, before they were permitted to make
       their claim of asylum. The Administration has obligations under the Immigration and
       Nationality Act to ensure that any third countries to which migrants seeking asylum in the
       United States are removed or returned are countries where they would not be subject to
       threat on account of race, religion, or nationality, and where they “would have access to a
       full and fair procedure” for determining a claim to asylum. 8 U.S.C.§ 1158(a)(2)(A).

    F. The Commission investigated immigration detention center conditions in 2015 and found
       noncompliance with various detention laws and standards, and detention conditions have
       significantly deteriorated under the Trump Administration’s policies.




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             G. On April 12, 2019, the Commission heard testimony from the public, from numerous
                stakeholder organizations including nonprofit and immigrant rights groups who testified
                to the appalling conditions of immigrant detention centers, including lack of medical
                care, and basic human needs including food, water, and sanitary conditions.
                Commissioners heard from experts on the mental and physical consequences of detention
                and irreversible trauma associated with separating families and the effects of long-term
                confinement especially for children. Migrants offered testimony about being detained,
                inhumane treatment from Department of Homeland Security officials, their journeys
                migrating from their home countries where they escaped persecution, violence, and
                gangs, and their heroic stories of survival and triumph in the face of despair.

             H. Despite the Trump Administration’s claims to the contrary, Zero Tolerance and the
                resulting mass family separation is a policy that was initiated by that Administration. It
                was never a policy during the Obama, Bush, Clinton, Reagan, Carter, Ford, Nixon or
                Johnson Administrations, for example, and accordingly was not found to be a policy or
                practice in the Commission’s 2015 report, With Liberty and Justice for All: The State of
                Civil Rights at Immigration Detention Facilities. Moreover, children were not routinely
                separated from family during prior Administrations and that policy or practice was not
                found to exist in the Commission’s 2015 report.

             I. Despite the Administration’s issuance of an Executive Order halting family separations,
                there still remain credible allegations that children continue to be separated from their
                families and held in substandard facilities and conditions. The Young Center testified that
                the policy continues to be used as a tool to deter migrants from crossing the border and
                seeking asylum. Many parents abandoned their legitimate asylum claims because they
                were told that doing so would accelerate the family reunification process or benefit their
                children. Parents were deported and children believed their parents willingly left the
                behind and abandoned them.

       II.      Discriminatory Immigration Policies

             A. The history of U.S. immigration policy includes discriminatory national origin quotas
                that permitted large numbers of immigrants from Europe, while limiting immigration
                from other regions of the world including Asia, Africa, and Latin America. Following
                the Immigration and Nationality Act of 1965, which abolished discriminatory national
                origin quotas, immigration has changed from largely European to non-European. Despite
                that change in the law, discriminatory treatment of non-European migrants persists today
                in other forms.

             B. The Trump Administration’s current immigration detention policies focus mainly on
                immigrants who are Latinx.

             C. The Trump Administration’s rhetoric and characterizations of certain countries and
                immigrants coming from those countries reflects animus against Latinos, Latino
                immigrants, and other immigrants of color. Because the Trump Administration’s
                immigration and indefinite policies have appear to be aimed at claimants for asylum from
                Latin America , taken together with the nature and tone of comments characterizing the




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          people from these countries, the policies and practices raise concerns under the 14th
          Amendment.

       D. Separated children were, in fact, housed in substandard facilities and conditions, were not
          apprised of their rights with regard to their parents, and stranded after their parents were
          deported, the practices raise concerns about due process under the Equal Protection and
          Due Process Clauses of the 14th Amendment, and whether any of the actions were on the
          basis of national origin.

III.      Trauma as a Result of Family Separations

       A. The impact of separating immigrant families and indefinite detention is widespread, long-
          term, and perhaps irreversible physical, mental and emotional childhood trauma.
          Immigrant children, as well as adults, experienced trauma as a result of the
          Administration’s policies. At the Commission’s Public Comment Session on April 12,
          2019, Commissioners heard from a number of trauma experts and interested
          organizations on the effects of trauma. The Commission also heard directly from
          immigrant detainees who confirmed traumatic experiences as a result of not only being
          separated from their families, and also the trauma they suffered as a result of enduring
          inhumane conditions at detention facilities and sometimes on account of the cruel
          treatment by Department of Homeland Security personnel.

       B. Miriam Abaya from The Young Center Policy Team testified that the Administration was
          fully aware of the trauma that would ensue if the Zero Tolerance Policy was implemented
          prior to implementation. They chose to ignore the advice and warnings from trauma
          experts, stakeholder organizations, and even experts within the Administration. Nearly a
          year before the policy was implemented, in a letter to the Administration, the Young
          Center, along with 500 other child health and welfare organizations, laid out the specific
          harms that family separations would inflict on children and families.

       C. The American Psychiatric Association (APA), the national medical specialty society
          representing more than 38,500 psychiatric physicians nationwide, wrote to the
          Commission in response to its Request for Public Comment on Immigration Detention
          Centers and Treatment of Immigrants. The APA, also previously expressed concern
          regarding the long-lasting trauma on detained migrant children and their families that a
          result from the Administration’s proposed modifications to the Flores agreement. The
          link between the trauma of childhood detention, stated the APA, and lasting unfavorable
          outcomes is backed by scientific evidence. Trauma from childhood detention has a
          proven association with “an increased risk of mental illness, such as depression, anxiety,
          and post-traumatic stress disorder.” Migrants can “experience disabling post-traumatic
          stress disorder or other consequences that adversely impact their medical, psychological,
          social, and spiritual well-being. These consequences can range from demoralization to
          various sequelae, involving simple and complex trauma complicated by the migratory
          journey and resettlement process. These migration-related and post-migration stressors
          can produce demoralization, grief, loneliness, loss of dignity, and feelings of helplessness
          as normal syndromes of distress that impede refugees from living healthy and productive




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            lives.” By prolonging the detention period for this at-risk population only serves to
            exacerbate the already significant mental health challenges that they face.

      IV.   Inhumane Detention Conditions for Children and Adults

         A. Some child detention facilities lack basic hygiene and sleeping arrangements; they
            sometimes lack soap, blankets, dental hygiene, potable water, sufficient showering days,
            clean clothing, and nutritious food.

         B. Under the Trump Administration’s policies, U.S. Customs and Border Patrol staff and
            migrant holding facilities used to house separated children were and continue to be
            woefully unprepared, untrained, and understaffed to handle the detention of migrants,
            including separated and unaccompanied minors. This has resulted in overcrowding and
            dangerous, substandard conditions. These conditions violate not only Department of
            Homeland Security detention standards but challenge and degrade legal norms regarding
            the respect for human life and humane treatment of immigration detainees.

         C. Separated and unaccompanied migrant children have been detained in border patrol
            holding facilities in these unacceptable conditions for extended periods of time, and
            Department of Homeland Security has continuously failed to comply with the Flores
            agreement that requires Border Patrol to transfer unaccompanied minors to the
            Department of Health and Human Services within 72 hours of making the determination
            that a child either arrived, or due to family separation became, an unaccompanied child.

         D. The regulations released by Department of Homeland Security and Department of Health
            and Human Services on August 21, 2019 appear to be an attempt to subvert rules meant
            to protect migrant children under the Flores Settlement Agreement. While it states there
            is a general policy favoring release, it appears to be an attempt to gain agency discretion
            to allow some children to be detained indefinitely. The regulation runs the risk of
            subjecting children and their families, including those who have already been referred for
            immigration proceedings due to a credible fear of persecution, to prolonged—and
            indefinite—detention. The regulation strips parents of their ability to entrust their child
            with a friend or relative, rather than remain in detention. The regulations also remove the
            requirement that children be housed at state-licensed facilities, and instead create an
            alternative option for private third-party licensing. In so doing, the regulations do not
            maintain sufficient accountability mechanisms for ensuring housing of adequate quality
            for children.
         E. The Refugee and Immigrant Center for Education and Legal Services, Refugee and
            Immigrant Center for Education and Legal Services, based in San Antonio, Texas,
            testified to the vulnerability of families housed at the family detention facilities. Most of
            the detainees are asylum seekers and have experienced traumatic events in their home
            counties; they arrive at the border having completed a taxing and dangerous journey
            escaping violence. Because of their onerous journey, and due to the fact that many of the
            migrants are children, they require specialized services. The detention facilities do not
            address these needs as they are not equipped with the proper resources, including
            professional personnel.




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   F. Refugee and Immigrant Center for Education and Legal Services also testified about
      visiting the Karnes Detention Center on a daily basis and observing their client’s health
      deteriorate due to untreated and undiagnosed illnesses and mental trauma. Medical care is
      delayed, immunizations are inadequate, sometimes given inappropriately, and often
      delayed leading to communicable diseases in the child population. There are very limited
      mental health services. Despite many of the obvious signs of mental health trauma
      observed in children at these facilities, such as bedwetting, isolation, regressive behavior
      and self-injurious behavior, basic medical history and physical examinations are not
      completed and mental health screenings are overlooked.

   G. The Office of Inspector General for Department of Homeland Security has issued two
      management alerts warning of dangerous overcrowding at Border Patrol facilities. Many
      media and eyewitness reports also corroborate the inhumane treatment of both children
      and adults, including overcrowding, lack of access to showers, basic health care, and
      nutritious meals in many detention facilities across the country.

   H. The Commission received evidence and testimony that child detention facilities lack
      appropriately trained medical personnel and medicine, medical staff are not routinely
      present at detention facilities, and wait times to see a doctor can be weeks long,
      regardless of how dire the situation. The Commission also received testimony that child
      detainees who need daily medication, even if they enter detention facilities with their own
      medications, have their medications withheld from them without reason.

   I. Language barriers pose an immense hurdle to staff’s ability to offer adequate and
      appropriate medical and mental health treatment to children while detained.

   J. The Commission is aware of investigations into the deaths of six migrant children from
      Guatemala and El Salvador who have died either in federal immigration custody or
      shortly after their release. These children’s names and ages are:

              •   Jakelín Caal Maquín (7), died December 2018
              •   Felipe Gómez Alonso (8), died December 2018
              •   Juan de León Gutiérrez (16), died April 2019
              •   Unnamed (2), died May 2019
              •   Carlos Gregorio Hernández Vásquez (16), died May 2019
              •   Mariee Juárez (1), died May 2019, weeks after being released from
                  Immigration and Customs Enforcement custody.

      Media reports indicate at least some of these children showed signs of medical distress
      while in custody and may have been delayed proper medical care. Language barriers may
      have also played a role in these tragedies, as two of the children only spoke indigenous
      languages and their parents were unable to properly communicate their children’s needs
      to detention staff.

   K. At some detention facilities guards and other employees are not properly vetted and do
      not receive background checks.




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         L. The Commission received evidence and testimony regarding abuse of authority including
            excessive use of force in detention centers, sharp increases in allegations of sexual
            assault, and improper use of solitary confinement as punishment.

         M. Children have reported they are not allowed to hug and comfort each other while
            detained.

         N. There are serious concerns with siting detention facilities on military bases, including
            exposure to toxic chemicals, heightened limitations on attorney access to detainees, and
            concerns such facilities may not be subject to state legal protections such as child welfare
            and licensing rules.

         V. Barriers to Access to Justice

         A. The Supreme Court has repeatedly found noncitizens within the United States’
            jurisdiction are entitled to substantive due process protections under the Fifth
            Amendment. Under U.S. law, once a child is physically present in the U.S., the individual
            may apply for asylum whether or not the individual entered at a designated port of entry.

         B. The resulting enforcement of criminal sanctions against asylum seeking border crossing
            families between points between points of entry as a result of the Zero Tolerance policy
            transforms the civil immigration enforcement system into one that permanently
            physically and mentally damages children. These criminal prosecutions served as the
            legal mechanism for children to be separated from their parents.

         C. The use of untrained Border Patrol agents rather than asylum officers to conduct
            interviews and initial credible fear determinations as part of the Migration Protection
            Protocols policy also raises due process concerns. Recent data show that asylum
            applicants who have been forced to remain in Mexico have less access to counsel than
            those who have not.

         D. Child asylum seekers are not guaranteed a bond hearing with an immigration judge, and
            those who have shown a credible fear continue to be detained even if there is no proof
            that they are dangerous and even if they have relatives of others in the country who will
            care for them.

         E. In 2015, the Commission documented practices at immigration detention centers that
            inhibited detainees’ due process rights. These concerns remain and have been
            exacerbated under the Trump Administration. Detained migrants do not have proper
            access to legal representation because they are not provided with the contact information
            for immigration lawyers and because detention facilities are in remote locations.

         F. There are very few interpreters to translate legal and detention information for detainees
            who speak indigenous languages, hindering many child migrants who don’t speak
            English or Spanish from gaining access to information about the legal process and access
            to legal representation. The lack of language assistance for these individuals also limits
            their ability to communicate with detention facility staff.




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      G. Detainees face massive backlogs in understaffed immigration court and sometimes delays
         resolution of their cases. The housing of immigration courts under the Department of
         Justice creates a conflict of interest because the Department is also responsible for
         prosecuting immigrants in federal court and also subjects immigration courts to political
         interference. Department of Justice policies have exacerbated the backlog and threatened
         the judicial independence of immigration judges.

VI.      Lack of Transparency and Accountability

     A. It is difficult to have a truly independent inspection of detention facilities in part because
        inspections of facilities by Department of Homeland Security and other entities are
        announced beforehand. Members of Congress have been denied access to inspect
        facilities on short notice.

     B. The Commission received testimony that some children’s deaths in detention centers are
        not investigated in compliance with Congressional reporting requirements. Moreover, the
        Administration in some cases, has not provided explanations to immigrant families
        regarding the deaths of spouses and/or children. The Coalition for Humane Immigrant
        Rights (CHIRLA), an immigrant rights organization in California, testified to the
        Commission about a man named Jose who was detained separately from his pregnant
        wife in an Immigration and Customs Enforcement facility while awaiting deportation.
        Upon the birth of his first child, he was forbidden to see the child. When Jose was
        subsequently placed in a medical facility, officials could not explain to his wife the
        reason for the move and when he died shortly after as a result of a hemorrhage and
        subsequent coma, officials offered the wife a letter stating that the husband was now
        released from custody. Agency officials did not conduct an investigation into the cause of
        Jose’s death.

     C. As the Commission found in its 2015 report, the lack of binding regulations and
        standards create confusion and a lack of clarity in the application of detention standards
        in the immigration detention system. Additionally, because these standards do not have
        enforcement mechanisms, facilities are not held accountable when they fail to maintain or
        meet these standards.

     D. The Department of Homeland Security Office for Civil Rights and Civil Liberties
        reported to the Commission that Office for Civil Rights and Civil Liberties received
        thousands of complaints about family separation and the conditions of children in
        detention that they were unable to process except through samples of a small fraction of
        such complaints, and that the office does not have authority to remedy individual
        complaints.

Recommendations
I.       Addressing Family Separations

      A. The Trump Administration must immediately reunify any remaining children with their
         parents, including parents who were deported before, during, and after Zero Tolerance,



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               unless there is a proven serious risk to the best interests of the child. In doing so, if the
               deported parents wish to file a petition for asylum, they should be allowed to return to the
               United States and make that claim on behalf of themselves and their children. Unless
               there is a clear and exigent danger based on assessment of an individual, all families
               should remain together and be allowed into the communities while awaiting their asylum
               determinations, and their asylum determinations should be immediately reviewed.

            B. Congress should pass legislation which would end family separation at the border except
               when authorized by a state court or child welfare agency, or when Customs and Border
               Protection and an independent child welfare specialist agree that a child is a trafficking
               victim, is not the child of an accompanying adult, or is in danger of abuse or neglect.

      II.      Addressing Detention Conditions for Children and Adults

            A. The Administration should immediately remedy the conditions detailed in the
               Department of Homeland Security Inspector General report regarding overcrowding,
               food, and sanitation so as not to further traumatize children forced to flee their homes
               whether unaccompanied, separated from their parents or adult guardians, or together with
               their families.

            B. The safe and humane treatment of detainees is already required under the Constitution, as
               well as various laws, regulations, and federal court settlements, and Department of
               Homeland Security should already be working to uphold these standards at all
               government- and privately-run facilities. Due to the inconsistent and inhumane treatment
               of children. Congress should pass legislation that sets minimum safe, sanitary and
               humane detention conditions, and provide sufficient funding to address the crisis in
               detention facilities for both children and adults. Because the purpose of immigration
               detention is not punitive, the standard of care should be based on providing reasonable
               care and safety, and not on incarceration standards. Instead, requirements should include
               the following:

                   1. Adequate and appropriate medical care in detention facilities, including increased
                      doctors, nurses, pediatricians, and mental health care professionals who work at
                      the facilities fulltime, an appropriate stock of medicine, access to hospitals and
                      more advanced medical care. The standard of medical care should be professional
                      judgment and not deliberative indifference.

                   2. Ensure medical staff are given appropriate language training or provide reliable
                      translation services so patients can communicate their needs.

                   3. Mental health screening and medical history and physical exam for every detainee
                      upon admittance to a detention facility. In addition, the medical and mental health
                      policies and record keeping at family detention centers must comply with
                      Immigration and Customs Enforcement’s family residential standards and
                      relevant state child welfare standards.




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              4. Hygiene products including toothbrushes and toothpaste, diapers, and soap, beds,
                 blankets, daily access to showers, access to laundry, feminine hygiene products,
                 and nutritious and appetizing food.

              5. Thorough background checks for security and other detention staff.

              6. Ensure children have access to schooling while they are detained.

              7. Allow children to interact with one another on a humane level, including actions
                 such as hugging and comforting one another where no safety rationale, such as the
                 prevention of abuse, requires otherwise.

              8. Adequate medical standards related to preservation of LBGT detainees’ rights
                 and, in particular, the dignity of LGBT immigrant detainees.

       C. Prohibiting the detention of pregnant persons.

       D. Prohibit housing immigration detainees at prisons and jails.

       E. Department of Homeland Security should ensure that personal medicines are not be taken
          and withheld from migrants.

       F. Because they do not comply with the terms and spirit of the Flores settlement agreement,
          Department of Homeland Security and Department of Health and Human Services should
          immediately withdraw their Flores regulations.

       G. Department of Homeland Security should ensure there is adequate staffing at border
          patrol stations and places of detention so that detainees are not being asked to take care of
          other detainees and that there are a sufficient number of adults to monitor the health and
          care for young children.

       H. As the Commission recommended in its 2015 report, Congress should promote increased
          reliance on alternatives to detention and less reliance on immigration detention. There
          should be no for-profit child detention centers.

       I. Immigration detention facilities should not be located on military bases. Any existing
          detention facility on military bases should be closed.


III.      Ensuring Due Process

       A. Congress must provide sufficient funding to address the need for hiring, full training, and
          retention of experienced and qualified administrative law judges to process asylum and
          other immigration claims, as well as, sufficient funding for law clerks, interpreters and
          other administrative support staff to ensure asylum seekers and other immigrants are
          accorded full due process.




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            B. Congress should pass legislation to ensure asylum seekers who present themselves at
               border crossings are entitled to a bond hearing before an immigration judge.

            C. The Commission agrees with the recommendation of the American Bar Association,
               American Immigration Lawyers Association, Federal Bar Association, and the National
               Association of Immigration Judges that Congress should create an immigration court
               system that is independent of the Department of Justice. Congress should also eliminate
               the requirement of case quotas for immigration law judges.

            D. The Administration should adhere to the requirement of federal law providing that third
               countries designated as safe for returning those seeking asylum in the United State are
               limited to those where asylum seekers would not face threats on account of race, religion,
               or nationality and where they would have access to a full and fair procedure for their
               asylum claims. The Administration should not return asylum seekers from the United
               States to countries that do not meet these criteria. Congress should take all measures
               needed to ensure that the Administration does not designate a third country that is not
               safe for persons seeking asylum in the United States. Congress should require
               Department of Homeland Security to use trained asylum officers to conduct interviews
               under any iteration of the MPP policy, rather than using individuals who are not trained
               in making credible fear determinations.

            E. Congress should require that no funds should be used for the detention of any asylum
               seeker who has been found to establish a credible fear of persecution, except in reliance
               of specific evidence supporting a finding that the asylum seeker poses a risk to the
               community or a flight risk.

            F. Department of Homeland Security should provide translation services in detention
               facilities for indigenous languages so that migrants who do not speak English or Spanish
               have the ability to communicate with detention staff and have equal access to legal
               information and representation.

            G. Department of Homeland Security should provide detainees with the contact information
               of immigration lawyers and create better access to detention facilities by either moving
               detention facilities to higher populated areas, implementing transportation systems, or
               expanding video conferencing.

      IV.      Increasing Accountability

            A. Congress should pass legislation allowing members of Congress and members of this
               Commission to conduct independent inspections of detention facilities with minimal
               notice (no more than 24 hours) and be given full access to detainees to interview them.

            B. The Department of Homeland Security should conduct greater oversight and inspection
               of detention centers, specifically those relating to child detention centers, and should
               enforce detention center standards up to and including the closure of a detention facility
               for violating detention center standards and other applicable laws.




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   C. Congress and federal agencies, including the Office of Inspector General for Department
      of Homeland Security, should conduct full investigations into the deaths of detainees, and
      Congress should require all federal agencies and contractor facilities to cooperate fully in
      any investigation. Furthermore, next of kin must be appropriately and promptly notified
      of a death, offered grief counseling, and access to the record of the investigation and any
      medical files.

   D. Congress should expand the authority of Department of Homeland Security Office for
      Civil Rights and Civil Liberties to respond directly to complainants and enforce civil
      rights protections. New immigration policies should be precleared by Office for Civil
      Rights and Civil Liberties or another independent body to ensure they do not violate civil
      rights, prior to causing harm.




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COMMISSIONERS’ STATEMENTS AND DISSENTS


Statement of Commission Michael Yaki

In the spring of 2018, the revelation that the Administration’s Zero Tolerance policy 1 at the
southern border was separating young children – some as young as infants – from their parents,
shocked the conscience of this nation and this Commission. According to information this
Commission has obtained, over 14,000 children may have been separated from their parents. 2
Worse, the conditions of this separation exacerbated the trauma felt by children already fleeing
violence or dangerous crossing conditions. In a report issued by the Office of the Inspector General
for HHS – issued after the main body of this Report was finalized – the OIG found:

            “[S]eparated children exhibited more fear, feelings of abandonment, and
            post-traumatic stress than did children who were not separated. Separated
            children experienced heightened feelings of anxiety and loss as a result of
            their unexpected separation from their parents after their arrival in the
            United States.” 3

            “Facilities reported that children with longer stays experienced more stress,
            anxiety, and behavioral issues, which staff had to manage. Some children
            who did not initially exhibit mental health or behavioral issues began
            reacting negatively as their stays grew longer. . . . longer stays resulted in
            higher levels of defiance, hopelessness, and frustration among children,
            along with more instances of self-harm and suicidal ideation.”4

To this day, there is still tremendous uncertainty over the number of children who are still separated
from their parents and who are yet to be reunified. 5

In hindsight, the subject matter of this Report, particularly its findings, should come as no surprise
to anyone who has followed the Administration’s rhetoric. Beginning in 2013, the current


1
 U.S. Comm’n on Civil Rights, Trauma at the Border: The Human Cost of Inhumane Immigration Policies, 2019,
p. 29 (hereinafter “Report”).
2
    Ibid., 43.
3
 U.S. Department of Health and Human Services Office of Inspector General, Care Provider Facilities Described
Challenges Addressing Mental Health Needs of Children in HHS Custody (2019), p. 10,
https://oig.hhs.gov/oei/reports/oei-09-18-00431.pdf (hereinafter U.S. HHS IG 2019).
4
    Ibid.
5
    Report, p. 48.




                                                                                                    AR00322
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      President made no secret of his animus toward immigrants from Central America 6. During 2018,
      when the Administration began taking the actions that impelled the action of the Commission and
      the production of this latest report, the language took an even darker tone.

      In May of 2018, the President referred to the border surge of immigrant applicants as “animals”
      during a White House meeting attended by the press:

                 “You wouldn’t believe how bad these people are. These aren’t people, these
                 are animals, and we’re taking them out of the country at a level and at a rate
                 that’s never happened before.” 7

      In June 2018, Trump tweeted:

                 “They don’t care about crime and want illegal immigrants, no matter how
                 bad they may be, to pour into and infest our Country.” 8 “We cannot allow
                 all of these people to invade our Country.” 9

      Later that year, Trump ramped up his rhetoric by equating responding to the “invasion” with war-
      time language.

                 “But, you know, it’s like liberating, like a war, like there’s a foreign
                 invasion.” 10


      6
       See, e.g., February 24, 2015, Twitter. “The Mexican legal system is corrupt, as is much of Mexico. Pay me the
      money that is owed me now - and stop sending criminals over our border[.]”
      https://twitter.com/realDonaldTrump/status/570384640281870337?ref_src=twsrc%5Etfw%7Ctwcamp%5Etweetem
      bed%7Ctwterm%5E570384640281870337&ref_url=https%3A%2F%2Ftime.com%2F4473972%2Fdonald-trump-
      mexico-meeting-insult%2F; March 30, 2015, Twitter. “The border is wide open for cartels & terrorists.”
      https://twitter.com/realDonaldTrump/status/582645393227419648?ref_src=twsrc%5Etfw%7Ctwcamp%5Etweetem
      bed%7Ctwterm%5E582645393227419648&ref_url=https%3A%2F%2Ftime.com%2F4473972%2Fdonald-trump-
      mexico-meeting-insult%2F; and “When Mexico sends its people, they're not sending their best. They're not sending
      you. They're not sending you. They're sending people that have lots of problems, and they're bringing those
      problems with us [sic]. They're bringing drugs. They're bringing crime. They're rapists.” “Full Text: Donald
      Trump Announces a Presidential Bid,” The Washington Post, June 12, 2015,
      https://www.washingtonpost.com/news/post-politics/wp/2015/06/16/full-text-donald-trump-announces-a-
      presidential-bid/?noredirect=o.
      7
       Julie Hirschfeld Davis, “Trump Calls Some Unauthorized Immigrants ‘Animals’ in Rant,” The New York Times,
      May 16, 2018, https://www.nytimes.com/2018/05/16/us/politics/trump-undocumented-immigrants-animals.html.

      8
           June 19, 2019, Twitter, https://twitter.com/realDonaldTrump/status/1009071403918864385.
      9
          June 24, 2019, Twitter, https://twitter.com/realdonaldtrump/status/1010900865602019329.
      10
        Tim Marcin, “Donald Trump Claims American Towns are Celebrating Liberation from Violent Immigrants Like
      They’re in ‘World War II Movies.’” Newsweek, Oct. 26, 2018, https://www.newsweek.com/donald-trump-claims-
      american-towns-celebrating-liberation-violent-immigrants-1188953.




                                                                                                           AR00323
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           “This is an invasion of our Country and our Military is waiting for
           you!” 11

           “It’s like an invasion. They have violently overrun the Mexican border...
           This is an invasion, and nobody is even questioning that . . . . All we
           know is they’re pretty tough people when they can blast through the
           Mexican military and Mexican police.”12

           “No nation can allow its borders to be overrun. And that’s an invasion. I
           don’t care what they say. I don’t care what the fake media says. That’s
           an invasion of our country.”13

The language of the President sets the tone for his Administration. Rather than understanding that
those coming here are seeking, for many reasons, a better life, the President equates them as
invaders, as sub-human, unworthy of any response other than as a direct military threat to our
country. Is it any wonder that his Administration’s treatment of children and families, detailed in
our Report, shows deliberate indifference and reckless neglect towards their well-being?

In many ways, this is worse than the casual racism that has permeated the President’s actions since
he took office. By usage of imagery invoking invasion, of infestation, of a people who are animals
or sub-human, the President has recycled and repeated tropes of racism that were used in some of
the darkest days of our country’s history and our world’s experience.

The world just observed the 75th anniversary of D-Day, the event that was the beginning of the end
of Hitler’s grip on Europe. But for the 5 years of war that preceded, Hitler had been able to move
apace to construct the machinery of genocide, a machine greased and fueled by mass hatred led by
the Nazi propaganda state that labeled Jews, Gypsies, LGBT people, and disabled people as
“Untermenschen” – literally, subhuman. 14




11
     Oct. 29, 2019, Twitter, https://twitter.com/realdonaldtrump/status/1056919064906469376?lang=en.
12
  The White House, “Remarks by President Trump on the Illegal Immigration Crisis and Border Security,” Nov. 1,
2018, https://www.whitehouse.gov/briefings-statements/remarks-president-trump-illegal-immigration-crisis-border-
security/.
13
   October 29, 2018, Twitter,
https://twitter.com/realDonaldTrump/status/1056919064906469376?ref_src=twsrc%5Etfw%7Ctwcamp%5Etweete
mbed%7Ctwterm%5E1056919064906469376&ref_url=https%3A%2F%2Fthehill.com%2Fhomenews%2Fadministr
ation%2F413624-trump-calls-migrant-caravan-an-invasion.
14
   Talk of the Nation, “'Less Than Human': The Psychology of Cruelty,” March 29, 2011, National Public Radio,
https://www.npr.org/2011/03/29/134956180/criminals-see-their-victims-as-less-than-human.




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      In our nation’s history, the racism felt by immigrant communities has been well documented.
      Fervor against Asian Americans began in the 1800s, where anti-Chinese agitation resulted in the
      passage of the Page Act, the Chinese Exclusion Act of 1882, and the California Alien Land Law
      of 1913 15, culminating in the inevitable and war-like animus, Executive Order 9066, the order that
      interned Japanese Americans during World War 2. 16 In all these instances, the language clamoring
      for and justifying these actions were couched in terms of “invasion” and, in all instances,
      characterizations of the Asians as having characteristics and traits inferior to whites. 17

      On a personal note, the legacy of the Chinese Exclusion Act was felt personally by my mother’s
      family. My mother’s father was a diplomat for the Chinese government, one of the first generation
      of their home-grown intelligentsia that went overseas and represented the fledgling country that
      had struggled to throw off the decades of colonial rule that had suppressed Chinese sovereignty.
      As part of China’s mission to the League of Nation, he had warned about the dangers of Japanese
      expansion in Asia. In 1942 he found himself and his family stranded in the United States while
      traveling back from his post in Europe. As a diplomat, he found himself exempted from the
      Exclusion Act – until the war ended, and despite the repeal of the Exclusion Act during the War,
      the number of Chinese immigrants allowed was set so low that it took a private bill of Congress to
      allow them to stay.

      Ironically, just some miles away, a second-generation Japanese American family found itself being
      forcibly removed from the business and the land that they owned, targeted by the nation of their
      citizenry because of their national origin. The exploitation of anti-Japanese fervor was directed
      inward, at our own citizens, families, children, and resulted in the incarceration of my father and
      his family in the Arizona desert. It is precisely this kind of anti-“other” rhetoric and actions that
      the present day Administration reiterates, on a daily basis, against Central Americans, against
      immigrants from Africa and the Middle East, against persons whose culture and skin color are not,
      as the President has said, from Norway. 18




      15
        The Act barred Asians, primarily directed at Japanese Americans, from owning or having long-term leases of
      agricultural land in California.
      16
         See, e.g., Ben Zimmer, “Where Does Trump’s ‘Invasion’ Rhetoric Come From?,” The Atlantic, Aug. 6, 2019,
      https://www.theatlantic.com/entertainment/archive/2019/08/trump-immigrant-invasion-language-origins/595579/.
      17
         See, e.g., Steven Heller, “The Artistic History of American Anti-Asian Racism,” The Atlantic, Feb. 20, 2014,
      https://www.theatlantic.com/entertainment/archive/2014/02/the-artistic-history-of-american-anti-asian-
      racism/283962/.
      18
         See, e.g., Dawsey, Josh, “Trump Derides Protections for Immigrants from “Shithole” Countries,” The Washington
      Post, https://www.washingtonpost.com/politics/trump-attacks-protections-for-immigrants-from-shithole-countries-
      in-oval-office-meeting/2018/01/11/bfc0725c-f711-11e7-91af-31ac729add94_story.html.




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There are legitimate debates to be had over the issue of border security. There can be legitimate
debates on the issues regarding allocation of resources and processes at the border. Our 2015
report raised these same issues. These are issues that should and must be debated and decided by
our Executive and Legislative Branches. This report contains recommendations designed to
alleviate the conditions to both prevent and reduce the need for and time for detention.

But once an individual or family who has either surrendered to, or been detained by, our border
personnel, they come under the jurisdiction of the United States, and because of that, the
jurisdiction of the U.S. Commission of Civil Rights is undisputed. Contrary to the beliefs of this
Administration’s Department of Homeland Security and the Department of Health and Human
Services19, these families and individuals are covered by our law and our Constitution. At the
instant of detention, an individual within the custody of border enforcement personnel not only
deserves to be but is expected to be treated humanely, with respect, and the compassion that any
person seeking the comfort and climes of our shores should be provided. Ripping families apart
as a means of intimidation, as a means of coercion, is contrary to everything our country stands
for in the world. Characterizing these families and individuals from Central America as invaders,
as people who are less than human, harkens back to day of discrimination past that we choose to
bury – rightfully – in our past. Demonizing immigrants who have endured hardship is contrary to
our founding mythology of the Pilgrims, contrary to the origin stories of millions of Americans
whose ancestors sailed from distant points of the compass to our welcoming shores.

Perhaps Trump, who seems to be fond of a past that does not and cannot exist anymore, should go
back in time just over two decades ago, when another President made these remarks that stand in
stark contrast to the hateful rhetoric of the last two years:

           A man wrote me and said: ``You can go to live in France, but you cannot
           become a Frenchman. You can go to live in Germany or Turkey or Japan,
           but you cannot become a German, a Turk, or a Japanese. But anyone, from
           any corner of the Earth, can come to live in America and become an
           American.''

           Yes, the torch of Lady Liberty symbolizes our freedom and represents our
           heritage, the compact with our parents, our grandparents, and our ancestors.
           It is that lady who gives us our great and special place in the world. For it's
           the great life force of each generation of new Americans that guarantees that
           America's triumph shall continue unsurpassed into the next century and
           beyond. Other countries may seek to compete with us; but in one vital area,
           as a beacon of freedom and opportunity that draws the people of the world,
           no country on Earth comes close.



19
     Report, p. 15.




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              This, I believe, is one of the most important sources of America's greatness.
              We lead the world because, unique among nations, we draw our people --
              our strength -- from every country and every corner of the world. And by
              doing so we continuously renew and enrich our nation. While other
              countries cling to the stale past, here in America we breathe life into dreams.
              We create the future, and the world follows us into tomorrow. Thanks to
              each wave of new arrivals to this land of opportunity, we're a nation forever
              young, forever bursting with energy and new ideas, and always on the
              cutting edge, always leading the world to the next frontier. This quality is
              vital to our future as a nation. If we ever closed the door to new Americans,
              our leadership in the world would soon be lost. 20

      This is the America I believe in. This is the America that most Americans believe in. This is the
      future of a country that will soon be majority-minority, but one where we are all, at our core,
      Americans who believe in the ideals that have made the country the beacon of liberty throughout
      the world. The faces may change, part of our culture may change, but the essence of our Republic,
      our democracy, will always remain a constant. And that is our ultimate strength as one nation,
      indivisible.

      In the face of an American ethos and history that have rejected and apologized for our past
      misdeeds with regard to our immigrant communities, the Trump Administration stands in dark,
      cold contrast for its choice of deliberate cruelty. The purposeful policies of this Administration in
      its characterization and treatment of Central American refugee families, in its deliberate cruelty
      and intentional infliction of trauma on the most vulnerable amongst us – children -- stands as a
      moral low for an Administration seeking to outdo itself in moral lows.




      20
        President Ronald Reagan, “Remarks at the Presentation Ceremony for the Presidential Medal of Freedom,”
      January 19, 1989, https://www.reaganlibrary.gov/research/speeches/011989b.



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Dissenting Statement of Commissioner Gail Heriot


Remarkably little actual research went into this report. While a significant portion of it deals
with the allegedly poor conditions at immigration detention centers, the Commission did not even
attempt to visit an actual immigration detention center.
Instead, I did so on my own time. 1 What I found at the Otay Mesa detention center was a clean
and orderly facility with a law library, basketball courts, and chapel. 2 Life skill classes are offered.
Kosher, halal and vegetarian meals are available. The medical and dental clinics there are
overwhelmingly likely to be better equipped than what the detainees were used to in their home
countries.3 Indeed, particularly in terms of their accessibility, the medical and dental clinics are
no doubt better than what large numbers of Americans get.
This was consistent with what I observed in 2015 during two previous tours of immigration
detention centers—Karnes and Port Isabel—which I took, along with many of my Commission
colleagues, in connection with our 2015 report on immigration detention. On those occasions, we
also had the opportunity to speak with dozens of detainees. They had few complaints about the
detention facilities themselves and no serious ones. One detainee at Port Isabel even said (in
Spanish) that if they let him out on Sundays, he wouldn’t mind staying indefinitely.


1
 I took the tour on September 11, 2019. Note that immigration detention centers, which come under the jurisdiction
of Immigration and Customs Enforcement (“ICE”) and the short-term facilities where individuals are taken
immediately after being picked up by Border Patrol agents, are not the same. I have not yet visited such a facility.
Nor, apparently, has anyone else on the Commission.
2
  Efforts were made to ensure that detainees were treated appropriately. For example, I saw posters in English and
Spanish that stated, “I have a right to be treated fairly regardless of my sexual orientation or gender identity.”
Complaint boxes and boxes that allowed detainees to inquire about the status of their case were located through the
facility. Internal rules require prompt answers to those inquiries.

This is somewhat in tension with the lurid picture of detention painted by Ishalaa Ortega, a witness at the open-
comment period who is affiliated with an advocacy group called Immigration Equality. Ortega testified that she was
subject to “verbal and physical abuse.” U.S. Commission on Civil Rights, Transcript of Open Comment Period, 83-
88. The final report echoes Ortega’s claims. As far as I know, the Commission did not seek input on her allegations
from ICE or from Core Civic, the private corrections company that owns and operates the detention center.
3
  The present Otay Mesa facility was built by Core Civic, completed in 2015 and contains about 350,000 square feet.
It took about two years to build and is designed to hold 1572 residents (1000 ICE detainees and 572 separately-
maintained individuals in the custody of the U.S. Marshals Service). On the day that I visited, there were about
968 ICE detainees, living in “pods” that contain up to 128 detainees each. About two-thirds of the detainees are
male. Males and females are completely separated. Like the Port Isabel facility that I visited in 2015, the Otay
Mesa detainees are dressed in blue, orange or red jump suits, depending on their known criminal record or lack
thereof. By far, most detainees are in blue (signifying no known record or only minor violations). Known gang
members and other high-risk prisoners are placed in separate pods from others. The ICE officers who conducted the
tour told me that procedures are designed to be the least restrictive possible given the circumstances. They also told
me that the detainees on the whole tend to be well-behaved and that few fights break out.




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      That doesn’t mean that all detainees should be content to remain in a detention center a long time
      (though I suspect that those who are escaping violence in their own countries are often quite happy
      to be where they are). It is perfectly understandable why detainees would prefer freedom here in
      America to the Spartan communalism of a detention center. 4 But under our laws those who are
      asking for asylum must demonstrate that they are eligible for it. That takes time.5 I was told the
      average length of stay at Otay Mesa was about 68 days.6 It can be much longer for those who
      appeal a finding of ineligibility.
      The purpose of this report is said to be to “update” our 2015 report, which was entitled With Liberty
      and Justice for All: The State of Civil Rights at Immigration Detention Facilities. Given how
      disastrous the 2015 report was for the Commission’s credibility, I am not surprised that its
      members would wish for a second chance. I believe my 47-page dissenting statement to that report
      was quite devastating.7
      There are several unusual aspects to this “update.” For reasons that were not made completely
      clear, the Commission decided to do it through a subcommittee. That makes it unique among
      Commission reports during my 12-year tenure on the Commission. Note that I was not assigned
      to be on the subcommittee. I am therefore coming to this report somewhat late in the process.
      At the Commission’s telephone meeting on August 29, 2019, it adopted the subcommittee’s report
      by a 5 to 1 vote, with one Commissioner recused and one absent. At that meeting, at least one
      commissioner took the position that our usual rules, which give each Commissioner 30 days to
      write a statement and an additional 30 days to respond to the statements of other Commissioners, 8
      do not apply to reports produced by a subcommittee. (While it was stated that this was the opinion

      4
       If a detainee prefers freedom in his or her home country, that option is always available. In that sense, detainees
      hold the key to the detention center in their hands.
      5
        In addition to time, it takes lawyers and judges. The Otay Mesa detention center has an area given over to the
      U.S. Department of Justice, which employs the administrative law judges who preside over immigration matters.
      The facilities there include a courtroom and an area for detainees to consult with their lawyers. I was told that the
      length of time detainees stay at Otay Mesa is generally a function of how long their cases take to get through the
      legal system. The longest stays are often the result of appeals to the U.S. Court of Appeals for the Ninth Circuit.
      Speeding up this process would shorten the average length of stay. I cannot comment further on this, because
      neither the Commission nor I have studied the process. When I visited Port Isabel and Karnes in 2015, the primary
      complaint I heard was that the process takes too long.
      6
        Would it be possible to allow all individuals who apply for asylum to be released on their own recognizance?
      Surely this is possible for some asylum seekers, and indeed it is done with some. But even now, many persons so
      released fail to attend their hearings. If implemented as a general policy, the numbers of migrants disappearing into
      the interior would likely rise significantly. See Statement of Commissioner Gail Heriot in U.S. Commission Civil
      Rights, With Liberty and Justice For All: The State of Civil Rights at Immigration Detention Facilities 186-198
      (2015).
      7
       See Statement of Commissioner Gail Heriot in U.S. Commission Civil Rights, With Liberty and Justice For All:
      The State of Civil Rights at Immigration Detention Facilities (2015).
      8
          The rules also provide for surrebuttal in appropriate circumstances, but surrebuttals are rare.




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of our General Counsel, the General Counsel later stated in writing that this was not her opinion.)
In any event, the Commission voted to allow Commissioners, including me, 30 days to write a
statement, but not to allow us the usual 30 days to respond to one another. 9 This is yet another
way in which this report constricted the usual procedures, which were designed to ensure that
readers would be fully informed.
Another way in which input has been constricted is that no formal “briefing” was held in which
experts and other witnesses were invited to testify. One of the reasons for this—possibly the main
reason—is likely that the Commission’s internal rules require that briefings be balanced with
regard to the range of responsible viewpoints on the issue at hand. In this case, at a minimum, that
would have meant that officials from the federal and state agencies whose work is being examined
would have been afforded an opportunity to explain why they do things the way they do. I was
told the reason for the lack of a formal briefing was cost. But it is not clear to me why we should
undertake to write a report if the Commission’s budget did not permit it to do so in a fair and
balanced manner.
Instead, the subcommittee held only a three-hour, open-comment period where anyone from the
public could come and talk to us about the topic. 10 Approximately 37 commenters showed up and
were given up to five minutes each to make a statement (individuals using interpreters were
allowed up to 10 minutes.) Many of the commenters who appeared were affiliated with activist
groups and said the same things that they have said in many other places. 11
I tend to like the idea of holding an open-comment period in conjunction with our more formal
briefings. Even though open comment tends to attract a strong element of “astroturfing,” it also
gives individuals who might not otherwise be heard an opportunity to make their grievances known
(or to explain why someone else’s grievances are misplaced). Part of the Commission’s role


9 U.S. Commission on Civil Rights, Transcript of Commission Business Meeting, August 29, 2019, at 45-51. The
Commissioner must have misheard the General Counsel. In a later email, dated September 16, 2019, she informed
the Commissioners that she had said no such thing. On the other hand, it is true that the Commission has the power
to suspend its rules by majority vote. And it did just that. The fact that the Commission has the power to do
something is not the same thing as saying that it is appropriate for it to exercise that power. I note that
Commissioner Kirsanow and I voted in favor of President Obama’s nominations of our present Chair and Vice Chair
on the condition that they would honor our current procedures for Commissioner Statements. In the present case,
the Chair had previously recused herself from this report. She abstained from voting on whether to curtail our
ordinary rights to respond to our fellow commissioners’ statements. Although not recused, the Vice Chair also
abstained rather than vote to honor those procedures.
10
     The Commission also collected written submissions for the record.
11
  See, e.g., the testimony of Losmin Jimenez (Advancement Project), Ishalaa Ortega (Immigration Equality); Yael
Schacher (Refugees International); Miriam Abaya (Young Center for Immigrant Children’s Rights); Manoj
Govindaia (RAICES); Charanya Krishnaswami (Amnesty International); Jasmine Tyler (Human Rights Watch); and
Laura Rivera of the Southern Poverty Law Center. I have criticized the Southern Poverty Law Center’s methods in
another forthcoming Commission report, In the Name of Hate: Examining the Federal Government’s Role in
Responding to Hate Crimes.




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      should be to ensure that everyone is heard. But comments from open-comment periods (or from
      any source) cannot simply be accepted at face value.12 The subcommittee should have followed
      up on the allegations made there and tried to see how many and which ones could be substantiated.
      As far as I can tell, it didn’t. Instead, this report repeats largely verbatim portions of the transcript
      from that open-comment period.
      For example, Eduardo Jimenez, originally from Mexico, testified during the open-comment period
      about his experiences at the Theo Lacy facility in Orange County, which has since ceased holding
      immigration detainees. He said that he was not allowed to eat for weeks, not allowed to bathe, was
      sexually abused, and that fellow detainees’ arms were broken in front of him. 13 If those allegations
      are true, we have a very serious problem on our hands. You would think that if the subcommittee
      members viewed his allegation as at all credible, they would have followed up rather than simply
      report the allegation. But they apparently did not do so.
      Of course, there are reasons to doubt the allegation. Some of those reasons I learned through an
      internet search (which apparently the subcommittee did not undertake). While Jimenez did not
      testify to the dates that he was detained there, the State of California recently published an audit
      of its state-run facilities that hold federal immigration detainees, including the Theo Lacy facility
      in Orange County. It found that there were “no health and safety concerns at the facilities.” 14
      Apparently “multiple federal entities” also inspected Orange County’s facilities. They found some
      concerns – including the failure to separate detainees of different risk levels, improper food
      handling, and mold and mildew in shower stalls – but not violations of the type or gravity that Mr.
      Jimenez described to us. 15 That makes Jimenez’s jaw-dropping allegations seem less credible than
      they would otherwise have been. But more specific efforts by the subcommittee to get to the
      bottom of his story would certainly have been helpful.
      Alas, the Commission has made similar mistakes before. In the 2015 report, for example, it
      uncritically recounted a 2007 rumor that food served by a since-closed Willacy immigration
      detention center in Texas had contained maggots. As I discuss in my Dissenting Statement in that
      report, if the Commission had done a simple internet search, it would have learned that shortly
      after the allegation first surfaced, both an American Bar Association delegation and a team from
      the Commission on Accreditation for Corrections that included food specialists had been sent in

      12
        On occasion, open-comment period witnesses have presented what appear to be fantastic conspiracy theories. See,
      e.g., U.S. Commission on Civil Rights, Transcript of Briefing, November 2, 2018, at 347-350 (conspiracy theory
      involving Melania Trump being a spy for the Slovenian government.)

      13   U.S. Commission on Civil Rights, Transcript of Open Comment Period, April 12, 2019, at 116.
      14
       California State Auditor, “City and County Contracts with U.S. Immigration and Customs Enforcement,” February
      2019, available at https://www.auditor.ca.gov/pdfs/reports/2018-117.pdf. The Commission’s Chair, Catherine
      Lhamon, was recused from this report “due to [her] work outside the Commission.” She serves as Legal Affairs
      Secretary for the Governor of California.
      15
           Id. at 33.




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to investigate Willacy.16 While no one can prove conclusively that the allegation was a fabrication,
the findings of those delegations made it extremely unlikely to be true. While neither delegation
was composed of pushovers—both noted several issues—they found nothing remotely supportive
of the maggot allegation.17 In that same report, the Commission uncritically recounted a story
about a transgender woman with AIDS who died of what was alleged to be negligence on the part
of a detention center. When Commissioner Kirsanow and I followed up on that story, we learned
that the patient had claimed to be allergic to the appropriate drugs and had initially refused
treatment. That puts the matter in a very different light.18 And again in the same report, the
Commission uncritically reported accusations of massive sexual misconduct on the part of
detention center guards with female detainees. It failed to mention (presumably because it failed
to follow up) that these allegations had been thoroughly investigated by Inspector General for the
Department of Homeland Security. After interviewing 33 witnesses and spending 380 hours
investigating the situation (including reviewing 360 hours of time lapsed surveillance video
footage of the places where the misconduct was alleged to have occurred), the Inspector General
found no evidence whatever to substantiate the wild allegations.
All of this is part of a pattern of sloppy fact-finding. 19 It is worth pointing out here that the
Commission decided only near the end of its 2015 investigation (after the draft report was already

16
  The visit by the Commission on Accreditation for Corrections had been requested by ICE for the specific purpose
of following up on the allegations of maggots in the food.
17
  The food service issues were minor. For example, the Commission on Accreditation for Corrections found that
“food in the dry storage area as well as the freezer are stacked too high,” causing boxes on the bottom to be
crushed.”

Detainees were asked about their satisfaction with the food. While there were some criticisms (as well as some
praise), none of the criticism was remotely in the category of maggots. A typical example was “too many
sandwiches.”

The ABA delegation had quite a few criticisms for Willacy (though none nearly so lurid as the accusations that were
leveled at our briefing). But it had nothing bad to say about the food. While it acknowledged the Willacy “maggot
allegation,” it stated that Willacy appeared to meet the appropriate standards in the area of food service. It was clear
the members of the ABA delegation had serious doubts about the allegation. See Memorandum of American Bar
Association Delegation to Willacy Detention Facility to James T. Hayes, Jr., Acting Director of Detention and
Removal, Immigration and Customs Enforcement (March7, 2008).

None of this made it into our 2015 report, except through my dissenting statement. See Statement of Commissioner
Gail Heriot in U.S. Commission Civil Rights, With Liberty and Justice For All: The State of Civil Rights at
Immigration Detention Facilities (2015).
18
   Letter to Gail Heriot & Peter Kirsanow for ICE Deputy Director Daniel H. Ragdale. See Dissenting Statement of
Commission Heriot in U.S. Commission on Civil Rights, With Liberty And Justice for All: The State of Civil Rights
at Immigration Detention Facilities 43 (September 2015).
19
  See, e.g., Statement of Commissioner Gail Heriot in U.S. Commission on Civil Rights, Beyond Suspensions:
Examining School Discipline Policies and Connection to School to Prison Pipeline for Students of Color with
Disabilities (2019)(criticizing Commission’s misunderstanding of empirical research); Dissenting Statement of
Commissioner Gail Heriot in U.S. Commission on Civil Rights, Environmental Justice: Examining the




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      largely written) that it should actually visit a detention center. That is when—in part at my
      insistence—we finally went to see Karnes and Port Isabel. I was not the only Commissioner to be
      surprised at how nice the Karnes Center, which was used for mothers and their minor children,
      was. As I wrote then:
                  Some of our Commission members and staff appeared to be quite surprised at the
                  quality of treatment they saw. When we were led to a room at the Karnes facility
                  that contained rows and rows of brand new brand-name clothing and told that new
                  arrivals were permitted to select six outfits for themselves and each of their
                  children, the looks on the faces of my colleagues were of astonishment. Questions
                  were asked: “These aren’t new, are they?” Yes, they are new, the tour guide
                  explained. “I guess they are donated, right?” No, the tour guide replied, they are
                  purchased by GEO (the private company that owns and manages the Karnes facility
                  in cooperation with ICE). 20
      I described these visits at length in my Commissioner’s Statement. 21 The staff-written part of the
      2015 report, however, barely mentioned the visits. It was almost as if they had never happened.
      That was really inexcusable.
      Although I cannot do them justice in this statement, two more issues deserve mention. First, the
      current report renews the claim in the 2015 report that private detention centers are inherently
      worse than publicly run ones. I think I did a reasonable job explaining why I believe such claims
      are untrue. I will not repeat that explanation here. 22 I add only that the Otay Mesa facility is run
      by Core Civic, a private company. Approximately 74 ICE officers work there along with
      approximately 400 Core Civic employees.
      Second, I have not attempted to deal with the family separation issue in this statement. Serious
      questions are being raised by both sides of the issue about how best to handle the problem. I do
      not feel qualified at this time to sort them out. 23 I understand that Commissioner Kirsanow
      intends to address them in his statement and that he has a somewhat different perspective than
      that offered by the staff-written portion of the report.




      Environmental Protection Agency’s Compliance and Enforcement of Title VI and Executive Order 12,898
      (2016)(criticizing the Commission for its fact finding).
      20
        See Statement of Commissioner Gail Heriot in U.S. Commission Civil Rights, With Liberty and Justice For All:
      The State of Civil Rights at Immigration Detention Facilities at 174 (2015).
      21
           Id. at 198-206 (Karnes); Id. at 206-210 (Port Isabel.)
      22
           Id. at 181-186.
      23
        In the past when the Commission has approved multiple reports during the same time frame, it has staggered the
      due dates for Commission Statements, so that Commissioners (who are only part-time officials) can comment
      thoughtfully. This time with three reports going at the same time (and a fourth carried over for revisions from an
      earlier date), it did not.



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Dissenting Statement of Commissioner Peter N. Kirsanow

Introduction
The short version of this report is that there is nothing the government can do, short of immediately
admitting every person who presents himself at the southern border, with no regard to whether this
person will ever resurface for an immigration hearing or report for removal if ordered removed,
that will satisfy the Commission majority (or, for that matter, the judicial #Resistance). Metering
to allow only a certain number of people in at a time, so as not to overwhelm Border Patrol
facilities? No! It encourages people to cross illegally (which of course is the fault of the U.S., not
the people crossing illegally.) Remain in Mexico until your asylum claim is adjudicated?
Absolutely not! Safe third country agreement with Guatemala? How dare you even suggest such
a thing!

Evidence Adduced by the Commission

Question: “What evidence was adduced by the Commission?” Answer: “Very little.”

No one should take this report seriously. We issued a report in 2015 on immigration detention
facilities during the Obama Administration. That report contained serious errors 1, and as
Commissioner Heriot noted in her statement, the report credulously reported eight-year-old rumors
rather than conducting an investigation into the truth of those rumors. 2 At least in that instance,
the Commission felt it had to go through the motions of actually visiting immigration detention
facilities. That didn’t happen for this report. Before we had done any work on this report, the
Commission majority had issued a letter denouncing the family separation policy.3 Somewhere a
Red Queen is smiling.

Rather than visiting any detention centers, the Commission solicited public comments through a
public hearing and email. The Commission states that it “heard directly from immigrant
detainees”.4 To be precise, it heard from three former detainees. One former detainee who testified,
a transgender woman, complained about the treatment she received in July 2012 – during the

1
 Dissenting Statement of Commissioner Peter Kirsanow, With Liberty and Justice for All: The State of Civil Rights
at Immigration Detention Facilities, U.S. Commission on Civil Rights, 245-246, 2015,
https://www.usccr.gov/pubs/docs/Statutory_Enforcement_Report2015.pdf.
2
 Statement of Commissioner Gail Heriot, With Liberty and Justice for All: The State of Civil Rights at Immigration
Detention Facilities, U.S. Commission on Civil Rights, 172-181, 2015,
https://www.usccr.gov/pubs/docs/Statutory_Enforcement_Report2015.pdf.
3
 “The U.S. Commission on Civil Rights Issues Letter to the Departments of Justice and Homeland Security
Denouncing Separation of Immigrant Families,” June 15, 2018, https://www.usccr.gov/press/2018/06-15-18-PR.pdf.
4
    Finding III A.




                                                                                                       AR00334
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      Obama Administration. This person asserted that immigration officers repeatedly touched her
      genital area to try to determine whether she had had sex reassignment surgery, rather than believing
      what this person told them on that front. Other complaints included being handcuffed too tightly,
      not having separate spaces for transgender people (although ICE staff did remove the other inmates
      from the cell so she could sleep in there alone), gaining 40 pounds in detention due to the unhealthy
      commissary snacks, and that, due to being unable to shower for the first day after being
      apprehended, “my facial hair was mixed with my makeup and people looked at me as if I was a
      circus sensation.”5 Likewise, another former detainee complained of treatment he received in 2015
      . . . again, under the Obama Administration. 6 Another former detainee said that when he was
      detained in Orange County, “I was not allowed to eat for weeks.” Admittedly, this was being stated
      through a translator, so perhaps something was lost in translation. Whatever terrible things this
      man may have suffered in detention, however, it seems very unlikely that he was not allowed to
      eat for weeks. 7

      Willful Misunderstanding of Asylum

      One of the primary flaws with this report is that it fundamentally misunderstands asylum. “In
      recent years, typical migrants are families or children escaping violent crime, unrestrained gangs,
      and failing economies in their home countries in Central America.” 8 Later, it says:

                 The process of seeking asylum is very difficult and passage rates are low. In 2017,
                 only 13.67 percent of total asylum applicants were granted asylum, followed by
                 12.30 of applicants in 2018. In 2018, 14.89 percent of El Salvadoran applicants
                 were granted asylum and 51.28 percent were denied, 13.81 percent of Honduran
                 applicants were granted asylum and 55.48 percent were denied, and 11.18 percent
                 of Guatemalan applicants were granted asylum and 52.23 percent were denied.
                 Despite the dangerous conditions in all three countries, these are lower rates of
                 approval than persons from other countries. 9

      The report itself inadvertently admits that these families are not eligible for asylum. None of these
      factors are grounds for asylum.10 “Violent crime” and “dangerous conditions” are not grounds for

      5
          Ishalaa Ortega, Briefing Transcript at 83-88.
      6
          Robin A., Briefing Transcript at 105-109.
      7
          Edouardo Jimenez, Briefing Transcript at 114-117.
      8
          Report at n. 219.
      9
          Report at n. 270-272.
      10
           Pub. L. 96-212.
                 The term “refugee” means (A) any such person who is outside any country of such peron’s
                 nationality or, in the case of a person having no nationality, is outside any country in which such
                 person last habitually resided, and who is unable to unwilling to return to, and is unable or unwilling




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asylum. I agree that, for many, El Salvador, Guatemala, and Honduras are not great places to live.
But that isn’t grounds for asylum. The south side of Chicago isn’t a great place to live either, but
no one thinks gang violence there entitles Chicago residents to asylum in Canada. The report does
not allege, nor does anyone have the gall to claim that there is an identifiable group in these
countries facing targeted violence akin to that suffered by Yazidis and Christians in Syria during
the rule of ISIS. Those are the types of situations intended to be addressed by asylum, not generic
bad places to live. Were it otherwise, the majority of the world’s population would have arguable
claims for asylum.

Since at least the Obama Administration, many people from Central American countries seem to
have been laboring under the misapprehension that the United States simply allows minors into
the country. During the Obama Administration, news of the Administration’s limited amnesty,
DACA, filtered into the consciousness of Central Americans as “the U.S. is handing out permits
to illegal alien minors.” This was somewhat true, but inaccurate in that the U.S. government was
not handing out permits at the border. Then-Department of Homeland Security Secretary Jeh
Johnson issued an open letter to be published in Central American countries, warning parents who
were thinking of sending their children illegally to the U.S. that “there are no ‘permisos,’ ‘permits,’
or free passes at the end.” 11

There is also evidence that illegal aliens are coached on what to say in order to pass a credible fear
interview, regardless of whether what they are saying is true. The Atlantic and ProPublica,
describing their recent co-investigation of human smuggling, wrote:

        In recent years, a favored tactic has been to coach migrants to surrender to U.S.
        border authorities and request political asylum, which often gained them
        temporary residence while cases languish in the overwhelmed immigration court




        to avail himself or herself of the protection of, that country because of persecution or a well-founded
        fear of persecution on account of race, religion, nationality, membership in a particular social
        group, or opinion, or (B) in such special circumstances as the President after appropriate
        consultation (as defined in section 207(e) of this Act) may specify, any person who is within the
        country such person’s nationality or, in the case of a person having no nationality, within the country
        in which such person is habitually residing and who is persecuted or has a well-founded fear of
        persecution on account of race, religion, nationality, membership in a particular social group, or
        political opinion.
11
   “An open letter to the parents of children crossing our Southwest border,” in Written testimony of DHS Secretary
Jeh Johnson for a House Committee on Homeland Security hearing entitled, “Dangerous Passage: The Growing
Problem of Unaccompanied Children Crossing the Border,” June 24, 2014,
https://www.dhs.gov/news/2014/06/24/written-testimony-dhs-secretary-jeh-johnson-house-committee-homeland-
security.




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              system. Officials said some smuggling organizations track the evolution of U.S.
              policies, adapting their routes to the enforcement strategies. [emphasis added] 12

      In 2014, a document believed to be a “cheat sheet” was found near McAllen, Texas border crossing
      that advised illegal immigrants on what to say when questioned by Border Patrol. One sample
      question was “Why did you abandon your country?” Suggested answers were “Because of poverty
      and misery,” “You’re in fear of your government and afraid to live in your country” and “You’re
      afraid of extortion from Maras (the street gang MS-13).” 13 All of these are straightforward answers
      that would not require a cheat sheet to answer, if they were actually true. And the staff of
      Congresswoman Veronica Escobar allegedly crossed into Mexico to interview aliens who had
      been returned to wait in Mexico while their asylum claims were adjudicated and coached some to
      claim that they did not speak Spanish, which would permit them to immediately enter the U.S. 14

      All of this is to say that none of the claims for asylum can be taken simply at face value. There are
      too many individuals and organizations dedicated to insuring that illegal immigrants say the right
      things to pass a credible fear interview to take any of these claims seriously without thorough
      investigation.

      An examination of how many people eventually receive asylum also suggests that the vast majority
      of those claiming asylum are not entitled to it. As I note in my statement in the Commission’s
      forthcoming statutory enforcement report:



      12
         Sebastian Rotella, Tim Golden, and ProPublica, Human Smugglers Are Thriving Under Trump, Feb. 21, 2019,
      https://www.theatlantic.com/politics/archive/2019/02/human-smugglers-thrive-under-trumps-zero-
      tolerance/583051/.
      13
        Michael Zennie, The ‘cheat sheet’ found near Mexico border [] that shows illegal immigrants how to stay in the
      United States if detained by authorities, The Daily Mail, June 26, 2014, https://www.dailymail.co.uk/news/article-
      2671292/The-cheat-sheet-near-Mexico-border-shows-illegal-immigrants-guarantee-asylum-hearing-usually-release-
      detained-U-S-authorities.html.
      14
         Anna Giaritelli, Democratic congresswoman secretly sending staff into Mexico to coach asylum-seekers, Wash.
      Examiner, July 5, 2019, https://www.washingtonexaminer.com/news/democratic-congresswoman-secretly-sending-
      staff-into-mexico-to-coach-asylum-seekers.

              Under the bilateral Migration Protection Protocols, or “Remain in Mexico” policy, anyone returned
              must be fluent in Spanish because they may have to reside in Mexico up to five years until a U.S.
              federal judge decides their asylum claim. A Democratic politician’s aides re-escorting people back
              to the port are telling officers the Central American individual with them cannot speak Spanish
              despite their having communicated in it days earlier, [Customs and Border Protection] officials said.

              “What we’re hearing from management is that they’re attempting to return people, and the story
              was changed in Mexico, where a person who understood Spanish before now doesn’t understand –
              where a person who didn’t have any health issues before now has health issues,” the union
              representative said.




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          The Commission majority would likely dispute my assertion that many of those
          claiming asylum at the southern border do not have a valid claim. Only 44.5 percent
          of asylum applicants who pass a credible fear interview show up in court to apply
          for asylum. 15 If you are truly worried that you will be subjected to physical
          persecution if you are returned to a country, you would be a little more on top of
          ensuring that you actually applied for asylum. After all, as we are told many times,
          these people undertake a treacherous journey from Central America to arrive at our
          southern border. If you can make it from Honduras to the United States, you can
          definitely show up in court to make your asylum claim – if you believe your claim
          is likely to be granted. If you know it is unlikely to be granted, you will probably
          vanish into the interior of the United States and hope to avoid removal. And this is
          exactly what the majority of those who have passed a credible fear interview do.

          Of those who do show up for their hearing after passing a credible fear interview,
          DHS notes that “many more fail to comply with the lawfully issued removal orders
          from the immigration courts and some families engage in dilatory legal tactics when
          ICE works to enforce those orders.” 16 Furthermore, the number of those who do
          not show up for hearings or removal has ballooned. According to EOIR (Executive
          Office for Immigration Review), in 2006 there were 573 final orders issued in
          absentia for cases originating as credible fear claims. In FY 2017, this had exploded
          to 4,038 – which actually was a marked decline from FY 2016, in which 8,999 such
          orders were issued. 17 Only 16 percent of adults who initially receive credible fear
          determinations are ultimately granted asylum. 18




15
   Andrew R. Arthur, Trump Baits the Press on Asylum No-Shows, Center for Immigration Studies, Nov. 2, 2016,
https://cis.org/Arthur/Trump-Baits-Press-Asylum-NoShows.
16
     83 FR 45520.
17
   Credible Fear in the U.S. Immigration System, U.S. Dep’t of Justice, Executive Office for Immigration Review
(EOIR), May 24, 2018, at 5, https://cis.org/sites/default/files/2018-
09/EOIR_Credible%20Fear_USCIS%20Proceedings%20Table.pdf; see also Andrew R. Arthur, Trump Baits the
Press on Asylum No-Shows, Center for Immigration Studies, Nov. 2, 2016, https://cis.org/Arthur/Trump-Baits-
Press-Asylum-NoShows; Jessica M. Vaughan, Andrew R. Arthur, and Dan Cadman, A One-Sided Study on
Detention of Illegal-Immigrant Families, Center for Immigration Studies, Sept. 14, 2018,
https://cis.org/Vaughan/OneSided-Study-Detention-IllegalImmigrant-Families.
18
   Credible Fear in the U.S. Immigration System, U.S. Dep’t of Justice, Executive Office for Immigration Review
(EOIR), May 24, 2018, at 9, https://cis.org/sites/default/files/2018-
09/EOIR_Credible%20Fear_USCIS%20Proceedings%20Table.pdf; see also Andrew R. Arthur, Trump Baits the
Press on Asylum No-Shows, Center for Immigration Studies, Nov. 2, 2016, https://cis.org/Arthur/Trump-Baits-
Press-Asylum-NoShows; Jessica M. Vaughan, Andrew R. Arthur, and Dan Cadman, A One-Sided Study on
Detention of Illegal-Immigrant Families, Center for Immigration Studies, Sept. 14, 2018,
https://cis.org/Vaughan/OneSided-Study-Detention-IllegalImmigrant-Families.




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      Family Separation

      Family separation only occurred when parents decided to cross illegally with their children. If a
      person presented herself at a port of entry and requested asylum, she would not be separated from
      her children. If these families were primarily interested in seeking asylum, they would have
      presented themselves at a port of entry to be processed in an orderly manner, rather than entering
      the U.S. illegally and then requesting asylum after they are caught.

      The report also does not address the near-certainty that many illegal immigrants bring their
      children with them in order to game the system. According to NPR:

              Garcia [an advocate for illegal immigrants] says so many immigrants are traveling
              with their children these days – because the smugglers tell them to.
              “Bring one of your kids, because you stand a better chance of not getting locked up
              right off the bat,” he says, “And so that’s part of the way the smuggler presents
              it.” 19

      The Wall Street Journal, a strong supporter of expansive immigration policies, wrote in 2018:

              On this city’s violent outskirts, where families live in tin-roofed shacks on streets
              menaced by gangs, the word is out about one of the biggest factors that can
              determine their fate in the U.S. immigration system: children.

              The number of Central American families with children arriving at the U.S. border
              seeking asylum has surged in recent years – and they keep coming, as more migrant
              caravans make their way through Mexico.

              Families from crime-ridden Honduras, Guatemala and El Salvador are able to gain
              entry by demonstrating a credible fear of returning home, and having children in
              tow can shorten the length of time they are detained in the U.S. because of a 20-
              day limit on detaining minors; an adult traveling alone could be detained much
              longer.

              Doris Paz, a 29-year-old mother of three, said that is how her sister-in-law reached
              San Antonio. It is how a neighbor recently crossed into the U.S. with two children.
              It is why a cousin grabbed her children and joined a caravan of migrants that left
              Honduras last month. And it is why Ms. Paz joined the same caravan with her 6-
              year-old son.




      19
         John Burnett, As Border Crossings Tick Up, Migrants Bring Children, Take More Dangerous Routes, NPR, April
      6, 2018, https://www.npr.org/2018/04/06/600288184/as-border-crossings-tick-up-migrants-bring-children-take-
      more-dangerous-routes.




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           “They say that bringing your child is your ticket in,” said Ms. Paz. After a few days
           walking with her son under tropical heat, however, she turned around and went
           home. 20

If people know that this is how to game the system, what would the Commission majority have us
do? Nothing? It appears the best approach is what the Administration is, in fact, doing – issuing a
regulation to replace the Flores Agreement so parents and children can be detained together while
their claims are adjudicated.

It is worth noting that after DHS was ordered to reunite separated children with their parents, the
press criticized DHS for having reunited only 364 out of 2,500 children. One reason more parents
were not reunited with their children, which is conspicuously absent from the report, is that a large
number of parents were found to have criminal records. According to a Congressional Research
Services report, “Another 908 parents were not expected to be eligible for reunification because
they possessed criminal backgrounds or required ‘further evaluation.’” 21 In other words,
approximately a third of parents separated from their children had criminal records in addition to
illegal entry. The Commission report cites the CRS report, but curiously enough, this fact did not
make it into the Commission report.22

Metering

The report states:

           The Border Patrol metering policy may have led to an increase in illegal border
           crossing by asylum seekers who could not have otherwise entered at a port of entry
           processing site where they would then be susceptible to prosecution under zero
           tolerance. An increase in illegal border crossings could include asylum seekers
           taking more dangerous paths to reach the U.S. This was the case for Óscar Alberto
           Martínez Ramírez and his one-year old daughter, Valeria, who attempted to enter
           the U.S. at the official port of entry at Matamoros, Texas and told it was closed,
           and subsequently drowned while attempting to cross the Río Grande River.23

It is tragic whenever someone dies crossing the border, especially when it is a child who had no
choice in the matter. Yet even this sad story illustrates that this is not an asylum issue, except

20
  Ryan Dube and Robbie Whelan, A Way for Migrants to Ease U.S. Entry: Come as a Family, Wall St. J., Nov. 16,
2018, https://www.wsj.com/articles/migrants-adopt-strategy-for-u-s-entry-come-as-a-family-1542376796.
21
  William A. Kandel, The Trump Administration’s “Zero Tolerance” Immigration Enforcement Policy,
Congressional Research Service, Feb. 26, 2019, at 12, https://crsreports.congress.gov/product/pdf/R/R45266.
22
     Report at n. 123.
23
     Report at n. 153-154.




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      insofar as asylum claims are being abused to obtain entry into the U.S. and then vanish.
      Interviewed in El Salvador, Ramirez’s mother said that she had warned him not to travel north,
      and that he had done so to work and earn money. 24 We can all have sympathy for people who want
      to live where they can have a better life, but still realize that this is not a basis for asylum.
      Furthermore, someone who crosses the border illegally because they have to wait in line to make
      a formal asylum claim is probably not going to show up for removal years later when their asylum
      claim is denied.

      Domestic Violence

      The report states, “Under previous administrations, women fleeing gang violence and domestic
      violence in their home countries, from which the government did not protect them, were permitted
      to file asylum claims citing a credible fear of physical violence and/or sexual abuse.”25 Let’s clarify
      that. Under one administration, the Obama Administration, domestic violence was considered
      grounds for asylum. The statute does not provide grounds for considering usual cases of domestic
      violence as grounds for asylum. The Obama Administration created a “social group” called
      “married women in Guatemala who are unable to leave their relationship” and deemed it a
      “particular social group” within the meaning of the statute. 26 The Obama Administration issued
      this decision in 2014, so when the Trump Administration attempted to restore the status quo in
      2018, this expanded definition of asylum had only been in place for four years, not since time
      immemorial.

      Unaccompanied Alien Children

      The report also faults HHS for (briefly) checking the immigration status of potential sponsors for
      unaccompanied children. Checking the fingerprints of potential sponsors revealed that many of
      these individuals were themselves in the country illegally. Referring to unaccompanied alien
      children as “children,” while technically correct, is also somewhat misleading. According to ORR,
      which is responsible for caring for UACs, 73 percent of unaccompanied minors who came through
      ORR in FY 2018 were over age 14, and 71% were boys. 27 The vast majority of these teenagers are
      almost certainly considered adults by their cultures and expected to contribute to their families,
      despite their minimal skills. According to USAID, only 43% of girls and 45% of boys in Guatemala

      24
         Nelson Renteria, ‘I told him not to go,’ mother of drowned Salvadoran migrant laments, Reuters, June 26, 2019,
      https://www.reuters.com/article/us-usa-immigration-mexico-mother/i-told-him-not-to-go-mother-of-drowned-
      salvadoran-migrant-laments-idUSKCN1TR2PJ.
      25
           Report at n. 189.
      26
           Matter of A-R-C-G-, 26 I. & N. Dec. 388 (BIA 2014).
      27
        U.S. Dept. of Health and Human Servs., Fact Sheet – Unaccompanied Alien Children (UAC) Program, August 6,
      2019, https://www.hhs.gov/sites/default/files/Unaccompanied-Alien-Children-Program-Fact-Sheet.pdf.




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enroll in middle school, and those in rural areas are even less likely to enroll in middle school. 28
USAID further notes, “more than 1.6 million youth between 15 and 24 years, including 600,000
youth in the Western Highlands, are out of school and do not have basic life or vocational skills to
enter the workforce.”29 Educational attainment in El Salvador is similarly low. USAID reports that
66 percent of youth in El Salvador attend 7th-9th grade, and “There are over 300,000 youth aged
15 to 24 that neither study nor work.” 30

These are not, as sold to the American public, helpless toddlers. These are teenagers who are
coming to join their illegal alien parents in the U.S., likely in order to start working illegally in the
U.S. themselves. There is a very good reason for not turning UACs over to their illegal alien
parents, namely, that the U.S. government is assisting lawbreakers in completing their course of
lawbreaking. As U.S. District Court Judge Andrew Hanen wrote in 2013:

           Mirtha Veronica Nava–Martinez pleaded guilty to attempting to smuggle a ten-
           year-old El Salvadorean female, Y.P.S., into the United States in violation of 8
           U.S.C. § 1324(a)(1)(A)(ii).This Court sentenced Nava–Martinez in accordance
           with the established federal procedure, the law, and the United States Sentencing
           Guidelines, and has purposefully waited until after signing that judgment before
           addressing the issue that is the subject of this Order.

           On May 18, 2013, Nava–Martinez, an admitted human trafficker, was caught at the
           Brownsville & Matamoros Bridge checkpoint. She was trying to smuggle Y.P.S.
           into the United States using a birth certificate that belonged to one of her daughters.
           Nava–Martinez had no prior relationship with Y.P.S. and was hired by persons
           unknown solely to smuggle her into the United States. Nava–Martinez is a resident
           alien and this was her second felony offense in three years, having committed a
           food stamp fraud offense in 2011. She was to be paid for smuggling Y.P.S. from
           Matamoros to Brownsville, although the identity of her immediate payor and the
           amount are unknown. The details as to how Y.P.S. got to Matamoros, Mexico from
           El Salvador, and how she was to get from Brownsville to Virginia were also not
           disclosed to the Court. This conspiracy was started when Patricia Elizabeth
           Salmeron Santos solicited human traffickers to smuggle Y.P.S. from El
           Salvador to Virginia. Salmeron Santos currently lives illegally in the United
           States. She applied for a tourist visa in 2000, but was turned down. Despite
           being denied legal entry into the United States, she entered the United States
           illegally and is living in Virginia.

           Salmeron Santos admitted that she started this conspiracy by hiring alien smugglers
           to transfer her child from El Salvador to Virginia. She agreed to pay $8,500 (and

28
   USAID, Guatemala: Sector Brief, Education, June 2018, at 1,
https://www.usaid.gov/sites/default/files/documents/1862/sector_brief_-_education_june_2018.pdf.
29
     Id.
30
     USAID, El Salvador: Education, July 29, 2019, https://www.usaid.gov/el-salvador/education.



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                 actually paid $6,000 in advance) for these human traffickers to smuggle her
                 daughter. The criminal conspiracy instigated by Salmeron Santos was temporarily
                 interrupted when Nava–Martinez was arrested. Despite this setback, the goal of the
                 conspiracy was successfully completed thanks to the actions of the United States
                 Government. This Court is quite concerned with the apparent policy of the
                 Department of Homeland Security (hereinafter “DHS”) of completing the criminal
                 mission of individuals who are violating the border security of the United States.
                 Customs and Border Protection agents stopped the Defendant at the border
                 inspection point. She was arrested, and the child was taken into custody. The DHS
                 officials were notified that Salmeron Santos instigated this illegal conduct. Yet,
                 instead of arresting Salmeron Santos for instigating the conspiracy to violate
                 our border security laws, the DHS delivered the child to her—thus successfully
                 completing the mission of the criminal conspiracy. It did not arrest her. It did
                 not prosecute her. It did not even initiate deportation proceedings for her. This
                 DHS policy is a dangerous course of action.

                 The DHS, instead of enforcing our border security laws, actually assisted the
                 criminal conspiracy in achieving its illegal goals. The Government's actions were
                 not done in connection with a sting operation or a controlled delivery situation.
                 Rather, the actions it took were directly in furtherance of Y.P.S.'s illegal presence
                 in the United States. It completed the mission of the conspiracy initiated by
                 Salmeron Santos. In summary, instead of enforcing the laws of the United States,
                 the Government took direct steps to help the individuals who violated it. A private
                 citizen would, and should, be prosecuted for this conduct.

                 This is the fourth case with the same factual situation this Court has had in as many
                 weeks. In all of the cases, human traffickers who smuggled minor children were
                 apprehended short of delivering the children to their ultimate destination. In all
                 cases, a parent, if not both parents, of the children was in this country illegally.
                 That parent initiated the conspiracy to smuggle the minors into the country
                 illegally. He or she also funded the conspiracy. In each case, the DHS completed
                 the criminal conspiracy, instead of enforcing the laws of the United States, by
                 delivering the minors to the custody of the parent illegally living in the United
                 States. [emphasis added]31

      There is no reason to think this has changed dramatically in the intervening six years. Even 15 year
      olds are unlikely to be able to fund a trip to the United States on their own, and 6 year olds
      definitely will be unable to do so. Just because they show up at the border without their parents
      does not mean their parents did not assist in planning and funding their trip. The parents themselves
      are engaging in human trafficking, funding human trafficking, and exposing their children to the
      dangers inherent in human trafficking. As former Secretary of the Department of Homeland




      31
           U.S. v. Nava-Martinez, 2013 WL 8844097 (S.D. Tex. 2013).




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Security Jeh Johnson testified, “These organizations not only facilitate illegal migration across our
border, they traumatize and exploit the children who are objects of their smuggling operation.” 32

When we turn UACs over to illegal alien parents who are living in the U.S., we are ensuring that
the parents achieve exactly what they wanted. This only encourages other people to fund and make
similar journeys.

Child Deaths

The report blames DHS for the deaths of several minors who were in DHS custody. 33 Certainly,
Americans expect DHS and all government departments and agencies to do everything they can
to protect the lives of individuals in custody. But to generally assign blame for these deaths is
irresponsible and detached from reality. First, as everyone agrees, there has been a huge increase
in the number of children showing up at the border, both on their own and accompanied by adults.
According to ORR, which is responsible for finding placements for UAC:

           For the first nine years of the UAC Program at ORR, fewer than 8,000 children
           were served annually in this program. Since Fiscal Year 2012 (October 1, 2011-
           September 30, 2012), this number has jumped dramatically, with a total of 13,625
           children referred to ORR by the end of FY 2012. The program received 24,668
           UAC referrals from DHS in FY 2013, 57,496 referrals in FY 2014, 33,726 referrals
           in FY 2015, 59,170 in FY 2016, and 40,810 in FY 2017. In FY 2019 49,100 UAC
           were referred. 34

In other words, there was a 500% increase in the number of UACs ORR is responsible for in 2019
as compared to 2011. Probability alone would suggest deaths might occur.

Second, apparently no blame attaches to the parents for transporting their young children on an
arduous journey of hundreds of miles. In the tragic case of Jakelin Caal Maquin, for example, even
her family did not say there was a burning reason for her to accompany her father. Her mother and
three other siblings remained in their village with their extended family. According to her
grandfather, “Jakelin’s father decided to leave because he was frustrated of living in extreme
poverty. ‘He wanted to work, because he said he could make a better living there,’ Caal said.
Speaking on behalf of Jakelin’s mother, who only speaks a Mayan dialect, Caal said she hopes her

32
   Written testimony of DHS Secretary Jeh Johnson for a House Committee on Homeland Security hearing entitled,
“Dangerous Passage: The Growing Problem of Unaccompanied Children Crossing the Border,” June 24, 2014,
https://www.dhs.gov/news/2014/06/24/written-testimony-dhs-secretary-jeh-johnson-house-committee-homeland-
security.
33
     Report at n. 340-363.
34
  U.S. Dept. of Health and Human Servs., Fact Sheet – Unaccompanied Alien Children (UAC) Program, August 6,
2019, https://www.hhs.gov/sites/default/files/Unaccompanied-Alien-Children-Program-Fact-Sheet.pdf.




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      husband stays in the U.S. to work. The family is worried they would not be able to pay the debt
      they acquired to send Jakelin and her father north, he says.”35

      It is strange that the death of another, unnamed Salvadoran child is included in this report. The
      report states:

                 In May 2019, the death of an unnamed Salvadoran child in HHS custody came to
                 light. Though she died in September of 2018, her passing was not reported until
                 eight months later. She entered the United States at an ORR facility in Texas in a
                 “medically fragile” state and was transferred by DHS between multiple medical
                 facilities across multiple states for a number of months before she finally passed
                 away. 36

      It does not appear DHS was in any way at fault. Rather, this poor child entered the U.S. in a
      medically fragile state (doubtless exacerbated by the journey from El Salvador), and DHS kept
      seeking medical treatment for her. Just because the medical treatment was ultimately unavailing
      does not mean DHS contributed in any way to her death. And in fact, this is what happened.
      According to local news in Nebraska:

                 Darlyn was encountered by Border Patrol on March 1, 2018, a few miles west of
                 Hidalgo, Texas. She complained of chest pain and three days later, was transferred
                 to HHS custody where she remained for about seven months. Darlyn was treated
                 for a congenital heart defect at various hospitals – including in San Antonio, Texas
                 and Phoenix, Arizona.

                 HHS spokesperson Mark Weber told CNN Darlyn had surgery complications that
                 left her in a comatose state. She was transported to a nursing facility in Phoenix and
                 later to Children’s Hospital in Omaha, Nebraska, where she died on September 29,
                 due to fever and respiratory distress. 37

      To say that this poor child died “in custody” is willfully misleading. She journeyed to the U.S. to
      join her mother, who is living in the U.S. illegally after leaving her daughter in El Salvador when
      she was one year old. When the girl reached the U.S., she complained of chest pain and was found
      to have a congenital heart defect, which by its nature is a preexisting condition. She then received
      medical treatment and surgery in two different hospitals on the U.S. taxpayers’ dime. Sadly, there



      35
        Nicole Chavez and Ray Sanchez, Thousands of miles away, grieving family wants to know how 7-year-old girl
      died in US custody, CNN, Dec. 15, 2018, https://www.cnn.com/2018/12/15/us/guatemalan-girl-border-patrol-
      death/index.html.
      36
           Report at n. 355-356.
      37
        CNN Wire, Father of 10-year-old Salvadoran Girl Who Died in U.S. Custody Recalls His Last Words With Her,
      KTLA, May 27, 2019, https://ktla.com/2019/05/27/father-of-10-year-old-salvadoran-girl-who-died-in-u-s-custody-
      recalls-his-last-words-with-her/.



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were complications. She was transferred to a specialty hospital, undoubtedly to be closer to her
mother, who now lives in Omaha, Nebraska. And then, tragically, she died.

If this condition had manifested in El Salvador, the girl likely would have died. HHS treated her
just like a U.S. citizen would be treated – specialist hospitals, a skilled nursing facility, months of
in-patient care. Yet for some reason this poor girl’s death is blamed on HHS and DHS.

Third Country Rule

The report criticizes the new “Third-Country Asylum Rule,” which requires asylum seekers to
have applied for asylum in a third country that they passed through on their way to the U.S. In
other words, if you come from Central America and claim to need asylum, you must apply for
asylum in Mexico before you apply for asylum in the United States. If your concern is to escape
an abusive husband or a gang, you can do that as well in Mexico as in the United States. If, on the
other hand, your real concern is that you want to enjoy better job prospects and a higher standard
of living, Mexico may be less appealing than the United States. As the rule says, “the additional
bar created by this rule also seeks . . . to deny asylum protection to those persons effectively
choosing among several countries where avenues to protection from return to persecution are
available by waiting until they reach the United States to apply for protection.” 38 I am not sure
why my colleagues object to this if their true concern is protection from persecution, rather than
an intellectual or emotional commitment to open borders.

At any rate, the report states that this rule has been enjoined. 39 This is no longer accurate. The
Supreme Court stayed the injunction on September 11, 2019. The rule is now in force essentially
until the Court either denies the inevitable petition for a writ of certiorari or issues a judgment
following the grant of the petition. 40

Sexual and Physical Violence Against Detained Children

The report states, “DHS’s policies resulting in the forced stay of immigrant children in shelters has
further resulted in widespread allegations of sexual abuse, particularly among contractors.”
[emphasis added] This is false. The Commission’s forthcoming 2019 statutory enforcement report
also strongly implies that alleged sexual abuse of detained minors is primarily committed by adult

38
     84 FR 33834.
39
  Report at n. 179-180. The report also expresses concern that the Administration did not comply with the notice-
and-comment provisions of the Administrative Procedure Act. It is amusing that the Commission is suddenly so
concerned with the requirements of administrative law, having just issued a report bewailing the withdrawal of the
Obama Administration’s school discipline and transgender guidances. I suppose there’s a first time for everything,
even for the Commission being concerned about administrative law.
40
     Barr v. East Bay Sanctuary Covenant, 2019 WL 4292781 (2019).




                                                                                                        AR00346
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      staff members. That report cites the same case involving Levian Pachedo, so I simply reproduce
      what I wrote in that report:

              [I]n the vast majority of complaints, the alleged perpetrator is a fellow minor
              detainee, not an adult staff member. According to the data published by Axios, of
              the cases reported to DOJ from October 2014 to July 2018, 851 complaints alleged
              that another minor was the perpetrator, and 178 alleged that an adult staff member
              was the perpetrator. 41 Obviously sexual abuse is terrible regardless of the identity
              of the perpetrator, but by only discussing a case where an adult staff member at a
              contract facility was convicted of sexual offenses, the report misleads the reader to
              believe this is a typical case. 42




      41
        Caitlin Owens, Stef W. Kight, and Harry Stevens, Thousands of migrant youth allegedly suffered sexual abuse in
      U.S. custody, AXIOS, Feb. 26, 2019, https://www.axios.com/immigration-unaccompanied-minors-sexual-assault-
      3222e230-29e1-430f-a361-d959c88c5d8c.html.
      42
        Dissenting Statement of Commissioner Peter Kirsanow, “Are Rights Reality?,” U.S. Commission on Civil Rights,
      forthcoming November 2019.



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                                 Appendices




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      Appendix A:                Federal Agency Roles in Immigration

      The Department of Homeland Security, Department of Health and Human Services and the
      Department of Justice carry out the Administration’s immigration policies.

      Department of Homeland Security

      The Department of Homeland Security includes Customs and Border Protection, Immigration and
      Customs Enforcement, and Citizenship and Immigration Services. 765

      Customs and Border Protection

      Border Patrol Agents police the 6,000 miles of American borders shared with Mexico and Canada
      as well as coastal waters around Florida and Puerto Rico. 766 Border Patrol agents are the first
      individuals representing the U.S. government that migrants encounter when they approach the
      Southern border and seek admittance to the U.S. at a port of entry. Agents also patrol the areas
      between the ports of entry – either a physical, man-made barricade or natural barrier separating
      the U.S. and Mexico - and take into custody migrants who attempt to cross in these areas. Children,
      who are found unaccompanied or removed from an adult are transferred to the custody of
      Department of Health and Human Services, Office of Refugee Resettlement for placement in a
      shelter.767

       Immigration and Customs Enforcement

      Immigration and Customs Enforcement is the principal investigative arm of Department of
      Homeland Security768 whose primary mission is to promote homeland security and public safety



      765
        See “Secure U.S. Borders and Approaches,” Dep’t. Of Homeland Security, https://www.dhs.gov/administer-
      immigration-laws.
      766
         See “About CBP,” Customs and Border Protection, http://www.cbp.gov/about (accessed Sept. 26, 2019); “Border
      Patrol Overview,” Customs and Border Protection, https://www.cbp.gov/border-security/along-us-borders/overview
      (accessed Sept. 26, 2019); see also Congressional Research Service, Border Security: The Role of the U.S. Border
      Patrol, by Chad Haddal, Aug. 11, 2010, p. 3, https://fas.org/sgp/crs/homesec/RL32562.pdf.
      767
         U.S. Gov’t Accountability Office, Unaccompanied Children: Agency Efforts to Reunify Children With Parents
      Separated at the Border, Government Accountability Office 19-163, Oct. 2018, pp. 2-3. The President’s June 20,
      2018, Executive Order altered this process and directed the Secretary of Department of Homeland Security to
      maintain custody of alien families during any criminal improper entry or immigration proceedings involving their
      members, to the extent possible. Exec. Order No. 13,841, 83 Fed. Reg. 29,435 (June 25, 2018). Although the
      executive order was announced on June 20, 2018, it was not published in the Federal Register until June 25, 2018.

      768
            “Who We Are,” Immigration and Customs Enforcement, https://www.ice.gov/about (accessed May 11, 2019).




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through the criminal and civil enforcement of federal laws governing border control, customs,
trade, and immigration. 769

Immigration and Customs Enforcement’s Enforcement and Removal Office is the principal
component for enforcing U.S. immigration laws. 770 Enforcement and Removal enforces these laws
by “identifying and apprehending removable aliens, detaining these individuals when necessary,
and removing them from the United States.” 771 In other words, Enforcement and Removal carries
out the detention and deportation functions of the agency.772

Enforcement and Removal is prohibited from detaining a child unless the child is detained with
his/her family and is housed at a family detention center. 773 If an immigrant child is
unaccompanied, Enforcement and Removal must transfer him/her to the Department of Health and
Human Service office within 72 hours. 774

Citizenship and Immigration Services

U.S. Citizenship and Immigration Services is responsible for overseeing the federal government’s
immigration service functions775, namely for the initial adjudication of asylum applications for
migrants. 776 U.S. Citizenship and Immigration Services has jurisdiction over asylum applications
after Customs and Border Protection or Immigration and Customs Enforcement determines if a
child is an unaccompanied minor and transfers the minor to the Department of Health and Human
Services Office of Refugee Resettlement. Additionally, U.S. Citizenship and Immigration Services


769
   “What We Do,” Immigration and Customs Enforcement, https://www.ice.gov/overview (accessed May 11,
2019).

770
      2015 Report, footnote 65, supra note 1.
771
      Ibid.
772
    Doris Meissner, former commissioner of the U.S. Immigration and Naturalization Service, interview, NPR, July
2, 2018, https://www.npr.org/2018/07/02/625406673/the-many-functions-of-ice-and-how-that-came-to-be.
773
   See 8 U.S.C. § 1232(b)(3). Family detention centers are detention centers that detain mothers and their children
within the same facility.

774
      Id.
775
      “Online Filing with USCIS,” USCIS, https://www.uscis.gov/ (accessed Sept. 26, 2019).
776
    Congressional Research Service, Unaccompanied Alien Children: An Overview, by Lisa Seghetti, Alison Siskin,
and Ruth Ellen Wasem, Sept. 8, 2014, p. 4, https://trac.syr.edu/immigration/library/P8978.pdf; Under the William
Wilberforce Trafficking Victim Protection Reauthorization Act of 2008, Pub. L. No. 110-457, 122 Stat. 5074
(USCIS has initial jurisdiction over an asylum application filed by an individual determined to be unaccompanied
alien children.).




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      has jurisdiction over unaccompanied minor asylum applications pending in immigration court, the
      Board of Immigration Appeals, or in federal court if applicable.777

      Department of Justice—Executive Office for Immigration Review

      Executive Office for Immigration Review is a Department of Justice component agency created
      on January 9, 1983, by combining the Board of Immigration Appeals and Immigration and
      Naturalization Service.778 Executive Office for Immigration Review’s primary mission is to
      adjudicate immigration cases in a fair, expedient, and uniform manner.779 Executive Office for
      Immigration Review conducts immigration court proceedings, appellate reviews, and
      administrative hearings under the authority of the Attorney General. 780

      Department of Health and Human Services

      In 2003, Congress transferred responsibilities for the care and placement of unaccompanied
      children from the Department of Homeland Security to the Director of the Department of Health
      and Human Services Office of Refugee Resettlement. 781 Since then, Office of Refugee
      Resettlement has cared for more than 150,000 children, incorporating child welfare values as well
      as the principles and provisions established by the Flores Agreement 782 in 1997, the Trafficking
      Victims Protection Act of 2000783 and its reauthorization acts, Trafficking Victims Protection
      Reauthorization Act of 2005 and 2008. 784

      According to Office of Refugee Resettlement’s website, unaccompanied alien children
      apprehended by the Department of Homeland Security immigration officials are transferred to the


      777
            Congressional Research Service, Unaccompanied Alien Children, p. 10.
      778
         “Executive Office for Immigration Review, About the Office,” Dep’t. of Justice,
      https://www.justice.gov/eoir/about-office (updated Aug. 14, 2018).
      779
         “Executive Office for Immigration Review,” Department of Justice, https://www.justice.gov/eoir (accessed Sept.
      36, 2019).
      780
            Ibid.

      781
            Pub. L. No. 107–296, § 462, 116 Stat. 2135.
      782
            Flores Agreement, supra note 19.
      783
         Victims of Trafficking and Violence Protection Act of 2000, Pub. L. No. 106–386, 114 Stat. 1464 (codified at 22
      U.S.C. § 7101).
      784
         William Wilberforce Trafficking Victims Protection Reauthorization Act of 2008, Pub. L. No. 110–457, 122 Stat.
      5044 (2008) (as amended by the Violence Against Women Reauthorization Act of 2013, Pub. L. No. 113-4, § 1201,
      127 Stat. 54 (2013)).




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care and custody of Office of Refugee Resettlement. 785 Office of Refugee Resettlement states it
promptly places an unaccompanied child in the least restrictive setting that is in the best interests
of the child, taking into consideration danger to self, danger to the community, and risk of flight.
786
    According to Office of Refugee Resettlement it takes into consideration the unique nature of
each child’s situation and incorporates child welfare principles when making placement, clinical,
case management, and release decisions that are in the best interest of the child. 787




785
  “Unaccompanied Alien Children,” Dep’t Health and Human Services, Office of Refugee
Resettlement, https://www.acf.hhs.gov/orr/programs/ucs (accessed Sept. 26, 2019).
786
      Ibid.

787
      Ibid.




                                                                                          AR00352
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Appendix B: Copy of Department of Homeland Security Discovery Request


            UNITED STATES COMMISSION ON CIVIL RIGHTS

            1331 PENNSYLVANIA AVENUE NW, WASHINGTON, DC 20425
            www.usccr.gov

                                                                     August 16, 2018
Secretary Kirstjen Nielsen
U.S. Department of Homeland Security
Washington, DC 20528

Dear Secretary Nielsen:

Congress has tasked the United States Commission on Civil Rights with investigating allegations
of discrimination because of color, race, religion, sex, age, disability, or national origin. See 42
U.S.C. § 1975a(a)(2). In 2015, the Commission published a report on immigration detention
facilities. The Commission recently reopened this investigation to examine the detention
conditions of children and families, and the policies, practices, and procedures governing the
detention and separation of families.

Per 42 U.S.C. § 1975a(e)(4), please find enclosed a set of Interrogatories and Document Requests
being issued to your office by the U.S. Commission on Civil Rights (the “Commission”). Please
respond to these Interrogatories and Document Requests within 30 days of service; i.e., by
Monday, September 17, 2018.
Please note that Congress has also given the Commission subpoena authority, see 42 U.S.C. §
1975a(e)(2), and directed that “[a]ll federal agencies shall cooperate fully with the Commission to
the end that it may effectively carry out its functions and duties.” See 42 U.S.C. § 1975b(e).
Please also designate a member of your staff to coordinate and facilitate our research, meetings,
and your responses to our interrogatories and document requests. Commissioner Michael Yaki,
chair of the Commission’s discovery subcommittee on this matter, will be the Commission’s
contact person on this project. Please have your representative contact Commissioner Yaki at
(415) 601-4008 or myaki@usccr.gov.

Thank you for your attention to this matter.


                                                     Sincerely,


                                                     Maureen E. Rudolph
                                                     General Counsel

Copy (with enclosures):
Cameron Quinn, Officer for Civil Rights and Civil Liberties



                                                                                          AR00353
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                                                                                        Appendix B      163

DATE:                   August 16, 2018
TO:                     Kirstjen Nielsen, Secretary
                        U.S. Department of Homeland Security

FROM:                   Mauro A. Morales, Staff Director
                        Maureen E. Rudolph, General Counsel
                        U.S. Commission on Civil Rights

SUBJECT:                Interrogatories and Document Requests in Support of the U.S.
                        Commission on Civil Rights’ Examination of Separation of Families


Congress has tasked the United States Commission on Civil Rights with investigating allegations
of discrimination. because of color, race, religion, sex, age, disability, or national origin. See 42
U.S.C. § 1975a(a)(2). Under this mandate, the Commission is conducting a study to update
earlier Commission reporting, from 2015, evaluating the conditions of detention of
undocumented immigrant children and their families.788 This study encompasses, but is not
limited to, civil rights issues including whether relevant federal policies and/or practices operate
on the basis of race and national origin.

Pursuant to 42 U.S.C. § 1975a(e)(4) and § 1975b(e), the United States Commission on Civil
Rights (the “Commission”), through its General Counsel, Maureen E. Rudolph, requests that
Kirstjen Nielsen, Secretary of the U.S. Department of Homeland Security, answer fully, in
writing and under oath, each of the following Interrogatories and respond to each of the
following Document Requests.

We request that the Secretary serve a copy of the answers and objections, if any, along with the
requested documents on the counsel for the Commission within thirty days after service, at the
offices of the U.S. Commission on Civil Rights, 1331 Pennsylvania Avenue, N.W., Suite 1150,
Washington, D.C., 20425.




788
    The Commission’s 2015 report is available here:
https://www.usccr.gov/pubs/docs/Statutory_Enforcement_Report2015.pdf.



                                                                                           AR00354
      Case 2:21-cv-00067-Z Document 162 Filed 09/02/22 Page 373 of 400 PageID 4566
164    Trauma at the Border: The Human Cost of Inhumane Immigration Policies

                               INSTRUCTIONS AND DEFINITIONS

               1. These interrogatories request information available to the Secretary and her
                  employees, agents, and representatives, including with respect to any information
                  or persons within the Department of Homeland Security.

               2. The United States Commission on Civil Rights is referred to as the “U.S.
                  Commission on Civil Rights,” or the “Commission.”

               3. The Department of Homeland Security is referred to as “DHS.” DHS includes
                  not just the department proper, but all agencies under its supervision and
                  management including, but not limited to, the U.S. Customs and Border
                  Protection (“Border Patrol”), U.S. Immigration and Customs Enforcement
                  (“ICE”), and any and all companies, corporations, Limited Liability Companies,
                  or any other type of business entity DHS has under contract and does any work on
                  its behalf, including, but not limited to housing adults and children, providing
                  psychological services, medical services, language services, or any other services
                  touching or concerning immigrants, migrants or other border crossers.

               4. The Secretary should state the basis for any objection to answering any
                  interrogatory. In the event that the Secretary objects to a part of an interrogatory,
                  please provide information requested by the interrogatory that is not included
                  within that partial objection. Please state with your objection any and all grounds
                  you are relying on to lodge the objection including, but not limited to the specific
                  statute, case law or constitutional section you are relying on for the objection.

               5. These interrogatories are continuing in nature, and to the extent that the Secretary
                  acquires new information on or before October 1, 2018, that is responsive to these
                  interrogatories, please supplement the response.

               6. The word “document” or “documents” or words of like or similar import mean,
                  and include correspondence; memoranda; data; letters; books; charts; diagrams;
                  empirical studies; graphs; handwritten notes; telegrams; studies; working papers;
                  tabulations; data sheets; reports; typewritten notes; printed notes; contracts;
                  memoranda of understanding; computer printouts; and electronic mail;
                  photographs: video recordings and audio recordings of any thing and made by any
                  method; and, any other method that creates a record kept by the government or
                  business entity under contract to DHS.

               7. The word “parent” or “parents” means parents (by blood or legal relationship),
                  guardians, relatives (by blood or legal relationship), or next friend (as defined by
                  law).




                                                                                              AR00355
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         8. If any document responsive to this request was, but is no longer, in your
            possession, custody, or control, please furnish a description of each such
            document and indicate the manner and circumstances under which it left your
            possession, custody, and control and state its present or last known location and
            custodian, if known.

         9. If for any request there are no responsive document(s) in your possession,
            custody, or control, state whether documents that would have been responsive
            were destroyed or mislaid, and if so, the circumstances under which they were
            destroyed or mislaid, and who was responsible for the destruction or loss of the
            document(s).

         10. For any document response for production but withheld pursuant to a claim of
             privilege, identify:

                a. The author’s name and title or position

                b. The recipient’s name and title or position

                c. All persons receiving copies of the document

                d. The number of pages of the document

                e. The state of the document

                f. The subject matter of the document; and the basis for the claimed
                   privilege.

         11. In lieu of providing a written response to an interrogatory, you may produce a
             document that fully responds to the interrogatory. Should the document not fully
             respond to the interrogatory, please state so in your written response and also
             provide the additional information needed to fully respond or the grounds for
             withholding such information, as specified in these instructions.

         12. When responding to these interrogatories please type the interrogatory as stated
             hereinbelow and then your responses hereto. At the end of each answer to the
             interrogatories below state the exhibit number or numbers that the documents
             produced per the request in the interrogatory and/or mentioned in response to that
             particular interrogatory as is applicable and upon which you rely as a basis for
             your answer.




                                                                                      AR00356
      Case 2:21-cv-00067-Z Document 162 Filed 09/02/22 Page 375 of 400 PageID 4568
166    Trauma at the Border: The Human Cost of Inhumane Immigration Policies

                                           INTERROGATORIES

         1. What was DHS’s role in the policy decision to separate children at the border from their
            parents who were being prosecuted under the “zero-tolerance” policy put in place by
            Attorney General Sessions?

                (a) Please list the names, positions held at the time and presently, business addresses,
                    telephone numbers, email addresses of each and every person who took part in the
                    discussions, either orally or in writing.

                (b) Please list all dates of meetings (in person, telephonically and by video) where the
                    policy was discussed and decisions were made.

                (c) Please produce all notes, documents, memoranda and emails generated from the
                    responses herein pursuant to Request for Documents number 2 hereinbelow.

                (d) How much time elapsed between the date you were notified of the need to
                    develop a policy for the “zero-tolerance policy” and the time the policy was
                    finalized. Please provide the date of notification of the need for a policy and the
                    date the policy was finalized.

                (e) Please provide a true and correct copy of the finalized policy that was completed
                    on the finalization date provided in 1(d) pursuant to this request and the Request
                    For Production of Documents made below.

                (f) Please identify the person most knowledgeable in regard to the information
                    requested in this interrogatory

         2. What interest of the United States was promoted by family separation?

         3. What pre-implementation evidence supported a conclusion by DHS that family
            separation was justified under any policy interest of the United States?

                (a) Did you review any evidence, documents, email, scholarly articles, or any other
                    items concerning the best interests of the children during the formation of the
                    policy of family separation, and, if so, please identify each and every such source.

                (b) Please identify the person most knowledgeable in regard to the information
                    requested in this interrogatory

         4. Please describe the process or procedure by which the DHS implemented family
            separations in response to the “zero-tolerance” policy.

                (a) Please list all the persons, including but not limited to government employees and
                    private contractors, both for-profit and not-for-profit (collectively, “private
                    entities”) hired by the government to effectuate the process and the positions these



                                                                                               AR00357
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              persons held at the time and hold now and all contact information for all people
              who were involved in developing the process that was used in separating children
              from their parents, adult guardians and/or next friend(s) and relatives.

          (b) Please state the policy used to determine the location the children were sent to
              after the decision to separate them from their parents, adult guardians and/or next
              friend(s) and relatives.

          (c) Please describe, in detail, how the process was implemented when separating the
              children from their parents, adult guardians and/or next friend(s) and relatives.

          (d) If no regular process was used in the separations, please answer why not?

          (e) How much time did it take to develop the written process used in separating
              children from their families.

          (f) How much time elapsed between the date you were notified of the need to
              develop a written process for the “zero-tolerance policy” and the time the written
              policy was finalized.

          (g) Please provide the date of notification of the need for a process or procedure and
              the date they were finalized. Please identify any aspect of the process policy or
              procedure established to provide for reunification of separated children.

          (h) Please provide a true and correct copy of the finalized process or procedure that
              was completed on the finalization date provided in (g) pursuant to this request and
              the Request For Production of Documents made below.

          (i) Please identify the person most knowledgeable in regard to the information
              requested in this interrogatory

   5. Please detail the locations of every office or facility, whether governmental or private,
      where DHS initially detained families determined to be within the ambit of the “zero
      tolerance” policy, prior to separating the children from their parents.

          (a) Were any DHS offices on the Eastern Seaboard (defined as extending from Maine
              to Florida) detaining and separating any families under the “zero tolerance”
              policy?

                  i. If so, please provide the number, broken down by age, race, ethnicity,
                     national origin, and religion, of families either detained under the “zero
                     tolerance” policy or detained and released between April 1, 2018 and July
                     31, 2018.

          (b) Were any DHS offices on the border with Canada detained and separating any
              families under the “zero tolerance” policy?




                                                                                        AR00358
      Case 2:21-cv-00067-Z Document 162 Filed 09/02/22 Page 377 of 400 PageID 4570
168    Trauma at the Border: The Human Cost of Inhumane Immigration Policies

                        i. If so, please provide the number, broken down by age, race, ethnicity,
                           national origin, and religion of families either detained under the “zero
                           tolerance” policy or detained and released between April 1, 2018 and July
                           31, 2018.

         6. If the response to question 6 shows that the “zero tolerance” policy was not enforced on
            the Eastern Seaboard or the border with Canada, please provide justification, including
            any written policies, directives, and including but not limited to supporting documents
            such as underlying data and information, as to why it was not enforced there and where it
            was enforced.

                (a) Please identify the person most knowledgeable in regard to the information
                    requested in this interrogatory

         7. What were the DHS’s written criteria for separating a child from his/her parents,
            guardian(s), next friend(s) or relative(s)?

                (a) Please describe in detail the process by which individual determinations to
                    separate children from their parents were made.

                (b) Please provide a true and correct copy of the written criteria used by you, your
                    agents, or any private entities to effectuate the separating of the children
                    contemplated by this interrogatory pursuant to Request for Production of
                    Document made below.

                (c) If there were no written criteria for this action or conduct, please state so.

                (d) Absent any written criteria, please state to the best of your knowledge what the
                    criteria that was used to choose which children were to be taken from their
                    parents, guardians, next friend(s) or relatives and which children were allowed to
                    remain unseparated.

                (e) Please identify the person most knowledgeable regarding the information
                    requested in this interrogatory

         8. How were children and parents notified that they were to be separated?

                (a) Was the notification, if any, in English, Spanish, or another language spoken by
                    the parents and children?

                (b) Was it provided orally or in written form?

                (c) Were the parents, guardians, next friend(s), or relatives required to sign any
                    paperwork acknowledging the separation and/or any aspect of the separation,
                    including but not limited to where the children were being sent, whose legal
                    custody they would be in, and whose physical custody they would be in.



                                                                                                 AR00359
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          (d) Were the parents, guardians, next friend(s), or relatives given any information, in
              writing, informing them as to where the children were being sent, and were they
              given any information, in writing, as to whose legal custody they would be in and
              whose physical custody that would be in.

          (e) What if any efforts were made to ascertain whether people to whom any notice
              was provided could read and understand said notice.

          (f) Please provide any supporting evidence documenting your response.

          (g) Please provide a true and correct copy of any writings used to inform parents,
              guardians, next friend(s), or relatives as part of the Request for Production of
              Documents.

          (h) At the time of separation, had any government, DHS, and/or private entities have
              any Court order authorizing a change in custody from the parents, guardians, next
              friend(s), or relative(s) to the government, DHS, or private entities.

          (i) If there was no Court order, under what legal authority did DHS proceed?

          (j) Please identify the person most knowledgeable in regard to the information
              requested in this interrogatory

   9. Prior to April 2018, what policies and procedures did DHS have in place to track children
      and parents after separation?

          (a) Which agency was given responsibility, if any, to ensure that children and parents
              could be reunited, and what means were used to ensure that would happen?

          (b) Did any government, DHS or any private entities petition and seek a Court order
              transferring custody?

          (c) If so, did any petition contain any clauses about the rights of the parents to have
              visitation, be informed of their children’s whereabouts, informed of who had
              custody, and were the custodians of the children required to communicate to the
              parents the well-being and life progress of the children.

          (d) If your answer is no to any part of interrogatory 8 (b) and (c) above please state
              why DHS did not require a Petition for change of custody to be filed and/or why it
              did not inform parents of their rights to visitation, their children’s whereabouts, or
              any communication regarding the well-being and life progress of the children.

          (e) Please identify the person most knowledgeable in regard to the information
              requested in this interrogatory.




                                                                                         AR00360
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170    Trauma at the Border: The Human Cost of Inhumane Immigration Policies

         10. During the period from April 2018 to July 31, 2018, what policies and procedures did
             DHS have in place governing the physical transfer and transport of children from one
             location to another?

                (a) Please provide copies of any policies and procedures.

                (b) Did DHS require that any private entity involved in the physical transfer and
                    transport of children from one location to another be in compliance with these
                    policies and procedures? If not why not?

                (c) Please identify the person most knowledgeable in regard to the information
                    requested in this interrogatory.

         11. Subsequent to July 2018, what policies and procedures did DHS institute to track children
             and parents after separation?

                (a) Please identify the person most knowledgeable in regard to the information
                    requested in this interrogatory

         12. Prior to April 2018, what was DHS’s role in tracking whether parents who were deported
             had children being detained separately?

                (a) Did DHS notify the government or private entity with physical custody of
                    children that parents of children within their custody were being deported?

                (b) Did DHS provide the parents who were deported with any information, in writing,
                    regarding the status, custody, and location of their children?

                (c) What policies and procedures, if any, were in place to ensure that parents who
                    were deported could be reunited with children being detained separately?

         13. Subsequent to July 2018, what has DHS done to track whether parents who were
             deported had children being detained separately?

                (a) What policies and procedures were instituted to reunite children being detained
                    separately with their detained parent.

         14. Prior to April 2018, how did DHS track children and their parents after separation?
             Please describe the procedures, if any, used to track children and their parents after
             separation, including but not limited to:

         15. who each child’s parents are,

         16. where each child was placed,




                                                                                                AR00361
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   17. where each child’s parents were placed, and

   18. whether the child had sponsors in the United States with whom the child could be placed.

          (a) If procedures were in writing, please provide a true and correct copy of such as
              part of the Request for Production of Documents.

   19. What was DHS’s role in determining where to place children separated from their
       parents, and in determining where to place the parents after separation? Please list every
       entity or institution where children separated from their parents were placed.

   20. Prior to April 2018, had DHS let, obligated, or executed any contract or executed a
       supplement, addendum, or modification to an existing contract with any private entity for
       the detention of children separated or to be separated from their parents?

          (a) If the answer to this question is “yes” please provide true and correct copies of
              such contracts as part of the Request for Production of Documents.

   21. How did DHS determine where to place children separated from their parents, and where
       to place the parents? Please describe the procedures and criteria used to determine in
       which facility the children would be placed after separation, and in which facility the
       parents would be placed.

   22. How did DHS coordinate with the Department of Health and Human Services and the
       Department of Justice on policies, decisions, actions, etc., relevant to separation,
       placement, and tracking of children and parents?

          (a) Please detail all the tools used to coordinate DHS action with other government
              agencies or government contractors, including but not limited to, memorandums
              of understanding, transmittal forms from custody of one entity to another, other
              relevant policy documents, letters, agreements, etc.

   23. What were DHS’s case management statistics as of the dates April 30, 2018, May 30,
       2018, June 30, 2018, and July 30, 2018 on issues including, but not limited to:

   24. the number of families who were separated,

   25. the number of children who were separated

   26. the age, gender, race, ethnicity, and national origin of these separated children,

   27. the facilities, including name, address, and operator at which children were placed




                                                                                            AR00362
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         28. the age, gender, race, ethnicity, and national origin of these children at each of these
             facilities

         29. Prior to April 2018, what was DHS’s policy for reunifying separated children and
             parents?

                (a) Please describe all policy details, including but not limited to, who was “eligible”
                    for reunification with their children or parents, who was ineligible for
                    reunification, and what determined eligibility.

         30. Are there any instances of DHS personnel coercing or attempting to coerce parents to
             give up their right to apply for asylum/refugee status in order to be unified with their
             children?

                (a) Please provide any policies or procedures regarding prohibitions on coercion that
                    existed prior to April 2018, and after July 2018.

         31. Were there any instances of parents being told that as a condition of unification with
             their children, or as a means of reunifying with their children faster, they could give up
             their right to apply for asylum/refugee status?

         32. How many parents were told that as a condition of unification with their children they
             had to give up their right to apply for asylum/refugee status?

         33. Was the conditioning of unification with children applicable to all asylum/refugee
             applicants or was this applied on a case by case basis?

         34. How many cases or instances of coercion or attempted coercion of parents to give up
             their right of asylum in order to be unified with their children currently exist?

         35. What are DHS’s current procedures for reunifying children and parents?

                (a) Please detail all procedures regarding reunifying children and parents, including
                    but not limited to, when the process would begin, where reunification would take
                    place, and how long children have been separated before being reunified.

         36. What is the DHS’s criteria for making eligibility determinations on which children would
             be reunited with their parents?

                (a) What is the DHS’s criteria for continuing the detention of children and parents
                    who have been determined to be eligible for release?

                (b) Please detail all considerations that determined which children and/or parents
                    would be eligible for reunification, and all considerations that determined which
                    children and/or parents would not be eligible for reunification.



                                                                                                AR00363
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                                                                                Appendix B           173


   37. What policy governed DHS’s decision to make eligibility determinations that limited the
       number of families who qualified for reunification?

   38. If eligibility was determined, in whole or in part, on allegations or proof of crimes
       committed by the parents, how did DHS obtain information related to such crimes?

   39. What allegations or proof of crimes were deemed sufficient to deny eligibility? Which
       specific crimes (whether alleged or proven) were deemed sufficient to deny eligibility?

          (a) If allegations or proof of crimes were based on crimes committed in another
              country, please describe the procedure for verifying the allegations or proof of
              crimes.

   40. Who made the determination and on what basis was a determination made that there
       existed sufficient evidence to deny eligibility based on allegations or proof of crimes?

   41. Were the parents deemed ineligible given an opportunity to address or respond to the
       determination?

   42. What happens to children whose parents are deemed ineligible for reunification?

   43. Does DHS plan to reunify all children and parents who were separated and if so what is
       DHS’s timeline for the reunification of all children and parents who were separated?

   44. What are DHS’ policies for informing counsel, legal services providers, or other
       representatives of families regarding information regarding reunification, including final
       release destinations?

   45. What is DHS’s plan for finding deported parents and reunifying them with their children
       who still remain in the United States?

          (a) Please detail the procedure that will be followed to facilitate the reunification of
              children with parents who have already been deported.

   46. How many families, between April 2018 and July 31, 2018, after separation and
       reunification, have been deported?

   47. What are DHS’s statistics for the reunification of all children and parents, including but
       not limited to data on:

          (a) How many families were separated;




                                                                                          AR00364
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                (b) How many children were separated from their parents and the age, race, ethnicity,
                    and national origin of each child;

                (c) How many children were reunited with their parents and the age, race, ethnicity,
                    and national origin of each child;

                (d) How many children remain separated from their parents and the age, race,
                    ethnicity, religion and national origin of each such child;

                (e) Where children still separated from their parents are located,

                (f) Of these children still separated, their age, race, ethnicity, religion, and national
                    origin.

         48. Please detail, for children separated between April and July 30, 2018, the conditions of:

                (a) Confinement,

                (b) Habitability standards,

                (c) Access to education, and availability of physical activity at each stage of
                    detention and/or placement for children,

                (d) The availability of interpreters and other materials for language accessibility,

                (e) The availability of medical and mental health care personnel

                (f) The qualification of medical and mental health care personnel to treat children

                (g) How are treatment decisions made regarding the accessibility of available medical
                    and mental health care personnel

                (h) Access to communication with separated parents;

                (i) Any other information regarding the medical and mental health care of children.

         49. What are DHS’s policies for preventing the sexual abuse of children in detention?

                (a) What protections are in place to prevent sexual abuse of children in holding
                    facilities and what were the procedures to report assault and protect victims of
                    sexual abuse occurred in detention?

                (b) What policies govern how DHS responds to notice that sexual abuse of children
                    may have occurred for children DHS detains?

                (c) Please provide statistics regarding:




                                                                                                  AR00365
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   50. number of children alleged to have been subject to sexual abuse in DHS detention,

   51. where the abuse took place,

   52. how many instances DHS has taken disciplinary action of any type regarding allegations
       that children have been subject to sexual abuse in DHS detention, disaggregated by the
       age, race, ethnicity, religion, and national origin of each such child.

                          1. (d) Please describe measures DHS takes to ensure the safety and
                             rehabilitation of any child subject to sexual abuse while in DHS
                             detention.

   53. What are DHS’s policies for preventing the physical and/or mental abuse of children in
       detention?
           (a) What protections are in place to prevent physical and/or mental abuse of children
               in holding facilities and

          (b) What were the procedures to report assault and protect victims if physical abuse
              occurred in detention?

          (c) What policies govern how DHS responds to notice that physical and/or mental
              abuse of children may have occurred for children DHS detains?

          (d) Please provide statistics regarding:

   54. number of children alleged to have been subject to physical and/or mental abuse in DHS
       detention,

   55. where the abuse took place,

   56. in how many instances DHS has taken disciplinary action of any type regarding
       allegations that children have been subject to physical and/or mental abuse in DHS
       detention, disaggregated by the age, race, ethnicity, religion, and national origin of each
       such child.

                   i. (e) Please describe measures DHS takes to ensure the safety and
                      rehabilitation of any child subject to physical and/or mental abuse while in
                      DHS detention.

   57. What are DHS’ policies regarding the use of psychotropic drugs on children in detention,
       including policies regarding securing parental or other guardian approval for
       administration of psychotropic medication on children in detention?

          (a) Who was authorized to make a decision to administer psychotropic drugs to a
              child in detention?



                                                                                          AR00366
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                (b) Who was authorized to administer psychotropic drugs to a child in detention?

                (c) When was DHS informed that psychotropic drugs were being administered to
                    children?

                (d) Please provide statistics regarding the number of children in DHS detention to
                    whom psychotropic medications have been administered, disaggregated by the
                    age, race, ethnicity, religion, and national origin of each such child and including
                    whether a parent or guardian authorized the administration of psychotropic
                    medications.

         58. Please detail all information regarding the national origin, ethnicity, race, and religion of
             all families affected by the aforementioned policies and procedures of separation of
             children and parents.

         59. How does the DHS respond to reports that it has destroyed records related to family
             separations?

         60. Since the 2018 decision by the Administration not to separate children from families,
             where are families currently being detained?

                (a) Please detail the conditions of confinement at each stage of detention and/or
                    placement for families, including but not limited to:

                                1. habitability standards,

                                2. access to education,

                                3. availability of physical activity,

                                4. the availability of interpreters and other materials for language
                                   accessibility, as well as medical and mental health care personnel;

                                5. the qualification of medical and mental health care personnel to
                                   treat children; treatment decisions regarding the accessibility of
                                   available medical and mental health care personnel;

                                6. any other information regarding the medical and mental health care
                                   of families.

         61. Since the 2018 decision by the Administration not to separate children from families:

                (a) How many families are being detained;




                                                                                                 AR00367
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                                                                                Appendix B            177

          (b) Where are they being detained;

          (c) The ages, race, ethnicity, religion, and national origin of each family in detention.

          (d) What criteria determines whether a family is detained? Please provide any
              studies, data, and other supporting evidence documenting policies that underlie a
              decision to detain a family.

   62. How many families at the southern border who were detained, together or separately
       since April 2018, have been deported because they gave up their right to apply for
       asylum/refugee status?

          (a) Please provide the ages, race, ethnicity, religion and national origin of each
              family.

   63. Under what circumstances can families be released from detention?

          (a) Please provide any studies, data, and other supporting evidence documenting
              policies that underlie a decision to release a family into the United States.

                  i. How many families have been released from detention since July 2018?

                 ii. The ages, race, ethnicity, religion and national origin of each family
                     released.




                                                                                         AR00368
      Case 2:21-cv-00067-Z Document 162 Filed 09/02/22 Page 387 of 400 PageID 4580
178    Trauma at the Border: The Human Cost of Inhumane Immigration Policies

                                        DOCUMENT REQUESTS

         1. Please provide any and all historical and current policy guidance, written instructions, or
            directives, which have been developed or disseminated to local, state, and federal
            detention centers, advocacy partners, and internally within the U.S. Department of
            Homeland Security regarding the separation of families and the “zero-tolerance” policy.

         2. Please provide any memoranda, documents, or analyses discussing the implementation of
            the policy of separating children from their parents as part of the Administration’s “zero-
            tolerance” policy.

         3. To the extent not covered by the document requests above, please provide any and all
            documents relied on to prepare responses to the above interrogatories.


                                                                  ______________________________
                                                                  Maureen E. Rudolph
                                                                  General Counsel
                                                                  U.S. Commission on Civil Rights
                                                                  1331 Pennsylvania Avenue, N.W.
                                                                  Suite 1150
                                                                  Washington, D.C. 20425
                                                                  Tel: (202) 376-7622



                                     CERTIFICATE OF SERVICE

      I certify that on August 16, 2018, I caused the foregoing United States Commission on Civil
      Rights’ Interrogatories and Document Requests to be served by courier and email upon the
      following:

                                   Secretary Kirstjen Nielsen
                                   U.S. Department of Homeland Security
                                   Washington, DC 20528


                                                                  ______________________________
                                                                  Maureen E. Rudolph
                                                                  General Counsel




                                                                                              AR00369
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                                                                                    Appendix C         179

Appendix C: Copy of Department of Health and Human Services Discovery
Request


            UNITED STATES COMMISSION ON CIVIL RIGHTS

            1331 PENNSYLVANIA AVENUE NW, WASHINGTON, DC 20425
            www.usccr.gov

                                                                     December 11, 2018
Secretary Alex M. Azar
U.S. Department of Health and Human Services
200 Independence Ave., S.W.
Washington, DC 20201

Dear Secretary Azar:

Congress has tasked the United States Commission on Civil Rights with investigating allegations
of discrimination because of color, race, religion, sex, age, disability, or national origin. See 42
U.S.C. § 1975a(a)(2). In 2015, the Commission published a report on immigration detention
facilities. The Commission recently reopened this investigation to examine the detention
conditions of children and families, and the policies, practices, and procedures governing the
detention and separation of families.

Per 42 U.S.C. § 1975a(e)(4), please find enclosed a set of Interrogatories and Document Requests
being issued to your office by the U.S. Commission on Civil Rights (the “Commission”). Please
respond to these Interrogatories and Document Requests within 30 days of service; i.e., by
Monday, September 17, 2018.
Please note that Congress has also given the Commission subpoena authority, see 42 U.S.C. §
1975a(e)(2), and directed that “[a]ll federal agencies shall cooperate fully with the Commission to
the end that it may effectively carry out its functions and duties.” See 42 U.S.C. § 1975b(e).
Please also designate a member of your staff to coordinate and facilitate our research, meetings,
and your responses to our interrogatories and document requests. Commissioner Michael Yaki,
chair of the Commission’s discovery subcommittee on this matter, will be the Commission’s
contact person on this project. Please have your representative contact Commissioner Yaki at
(415) 601-4008 or myaki@usccr.gov.

Thank you for your attention to this matter.


                                                     Sincerely,


                                                     Maureen E. Rudolph
                                                     General Counsel




                                                                                          AR00370
      Case 2:21-cv-00067-Z Document 162 Filed 09/02/22 Page 389 of 400 PageID 4582
180    Trauma at the Border: The Human Cost of Inhumane Immigration Policies




                                                                          AR00371
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                                                                                        Appendix C     181

Copy (with enclosures):
Roger Severino, Director of the Office of Civil Rights
DATE:                December 10, 2018
TO:                  Alex M. Ajar, II, Secretary
                     U.S. Department of Health & Human Services

FROM:                   Mauro A. Morales, Staff Director
                        Maureen E. Rudolph, General Counsel
                        U.S. Commission on Civil Rights

SUBJECT:                Interrogatories and Document Requests in Support of the U.S.
                        Commission on Civil Rights’ Examination of Separation of Families


Congress has tasked the United States Commission on Civil Rights with investigating allegations
of discrimination. The Commission is authorized to “study and collect information relating to,”
and “make appraisals of the law and policies of the Federal Government with respect to,” . . .
“discrimination or denials of equal protections of the laws under the Constitution of the United
States because of color, race, religion, sex, age, disability, or national origin[.]”See 42 U.S.C. §
1975a(a)(2)(A)-(B). Under this mandate, the Commission is conducting a study to update earlier
Commission reporting, from 2015, evaluating the conditions of detention of undocumented
immigrant children and their families. 789 This study encompasses, but is not limited to, civil
rights issues including whether relevant federal policies and/or practices operate on the basis of
race and national origin.

Pursuant to 42 U.S.C. § 1975a(e)(4) and § 1975b(e), the United States Commission on Civil
Rights (the “Commission”), through its General Counsel, Maureen E. Rudolph, requests that
Alex M. Ajar, II, Secretary of the U.S. Department of Health and Human Services, answer fully,
in writing and under oath, each of the following Interrogatories and respond to each of the
following Document Requests.

We request that the Secretary serve a copy of the answers and objections, if any, along with the
requested documents on the counsel for the Commission within thirty days after service, at the
offices of the U.S. Commission on Civil Rights, 1331 Pennsylvania Avenue, N.W., Suite 1150,
Washington, D.C., 20425.




789
   The Commission’s 2015 report is available here:
https://www.usccr.gov/pubs/docs/Statutory_Enforcement_Report2015.pdf.



                                                                                           AR00372
      Case 2:21-cv-00067-Z Document 162 Filed 09/02/22 Page 391 of 400 PageID 4584
182    Trauma at the Border: The Human Cost of Inhumane Immigration Policies

                                INSTRUCTIONS AND DEFINITIONS

      1.    These interrogatories request information available to the Secretary and his employees,
            agents, and representatives, including with respect to any information or persons within
            the Department of Health and Human Services.

      2.    The United States Commission on Civil Rights is referred to as the “U.S. Commission on
            Civil Rights,” or the “Commission.”

      3.    The Department of Health and Human Services is referred to as “HHS.” HHS includes
            not just the department proper, but all agencies under its supervision and management
            including, but not limited to, the Office of Refugee Resettlement (“ORR”), and any and
            all companies, corporations, Limited Liability Companies, or any other type of business
            entity HHS has under contract and does any work on its behalf, including, but not limited
            to housing adults and children, providing psychological services, medical services,
            language services, or any other services touching or concerning immigrants, migrants or
            other border crossers.

      4.    The Secretary should state the basis for any objection to answering any interrogatory. In
            the event that the Secretary objects to a part of an interrogatory, please provide
            information requested by the interrogatory that is not included within that partial
            objection. Please state with your objection any and all grounds you are relying on to
            lodge the objection including, but not limited to the specific statute, case law or
            constitutional section you are relying on for the objection.

      5.    These interrogatories are continuing in nature, and to the extent that the Secretary
            acquires new information on or before January 5, 2019, that is responsive to these
            interrogatories, please supplement the response.

      6.    The word “document” or “documents” or words of like or similar import mean, and
            include correspondence; memoranda; data; letters; books; charts; diagrams; empirical
            studies; graphs; handwritten notes; telegrams; studies; working papers; tabulations; data
            sheets; reports; typewritten notes; printed notes; contracts; memoranda of understanding;
            computer printouts; and electronic mail; photographs: video recordings and audio
            recordings of anything and made by any method; and, any other method that creates a
            record kept by the government or business entity under contract to HHS.

      7.    The word “detain” or “detaining” means receiving children from DHS and placing them
            in an environment with a parent, guardian, relative, or next friend.

      8.    The word “parent” or “parents” means parents (by blood or legal relationship), guardians,
            relatives (by blood or legal relationship), or next friend (as defined by law).




                                                                                              AR00373
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                                                                              Appendix C             183

9.    If any document responsive to this request was, but is no longer, in your possession,
      custody, or control, please furnish a description of each such document and indicate the
      manner and circumstances under which it left your possession, custody, and control and
      state its present or last known location and custodian, if known.

10.   If for any request there are no responsive document(s) in your possession, custody, or
      control, state whether documents that would have been responsive were destroyed or
      mislaid, and if so, the circumstances under which they were destroyed or mislaid, and
      who was responsible for the destruction or loss of the document(s).

11.   For any document response for production but withheld pursuant to a claim of privilege,
      identify:

      A.     The author’s name and title or position

      B.     The recipient’s name and title or position

      C.     All persons receiving copies of the document

      D.     The number of pages of the document

      E.     The state of the document

      F.     The subject matter of the document; and the basis for the claimed privilege.

12.   In lieu of providing a written response to an interrogatory, you may produce a document
      that fully responds to the interrogatory. Should the document not fully respond to the
      interrogatory, please state so in your written response and also provide the additional
      information needed to fully respond or the grounds for withholding such information, as
      specified in these instructions.

13.   When responding to these interrogatories please type the interrogatory as stated and then
      your responses hereto. At the end of each answer to the interrogatories below state the
      exhibit number or numbers that the documents produced per the request in the
      interrogatory and/or mentioned in response to that particular interrogatory as is applicable
      and upon which you rely as a basis for your answer.




                                                                                        AR00374
      Case 2:21-cv-00067-Z Document 162 Filed 09/02/22 Page 393 of 400 PageID 4586
184    Trauma at the Border: The Human Cost of Inhumane Immigration Policies

                                           INTERROGATORIES

         1. Please state what HHS’ role was in the policy decision to detain children at the border
            separated from their parents who were being prosecuted under the “zero-tolerance”
            policy put in place by Attorney General Sessions.

                                          (a)    Please list the names, positions held at the time and
                                          presently, business addresses, telephone numbers, email
                                          addresses of each and every person who took part in the
                                          discussions, either orally or in writing.

                                          (b)    Please list all dates of meetings (in person,
                                          telephonically and by video) where the policy was
                                          discussed and decisions were made.

                                          (c)   Please produce all notes, documents, memoranda
                                          and emails generated from the responses herein pursuant to
                                          Request for Documents number 2 hereinbelow.

                                          (d)     Please state how much time elapsed between the
                                          date you were notified of the need to develop a policy for
                                          the “zero-tolerance policy” and the time the policy was
                                          finalized. Please provide the date of notification of the
                                          need for a policy and the date the policy was finalized.

                                          (e)     Please provide a true and correct copy of the
                                          finalized policy that was completed on the finalization date
                                          provided in 1(d) pursuant to this request and the Request
                                          for Production of Documents made below.

                                          (f)     Please identify the person most knowledgeable in
                                          regard to the information requested in this interrogatory

         2. Please describe what pre-implementation evidence supported a conclusion by HHS that
            family separation was justified under any policy interest of the United States?

                                                         (a)     Please state if HHS reviewed any
                                                         evidence, documents, email, scholarly
                                                         articles, or any other items concerning the
                                                         best interests of the children during the
                                                         formation of the policy of family separation
                                                         in coming to this conclusion, and, if so,
                                                         please identify each and every such source.

                                                         (b)    Please identify the person most
                                                         knowledgeable in regard to the information
                                                         requested in this interrogatory



                                                                                             AR00375
Case 2:21-cv-00067-Z Document 162 Filed 09/02/22             Page 394 of 400 PageID 4587
                                                                             Appendix C             185


   3. Please describe the process or procedure by which HHS implemented or facilitated
      family separations in response to the “zero-tolerance” policy.

                                   (a)     Please list all the persons, including but not limited
                                   to government employees and private contractors, both for-
                                   profit and not-for-profit (collectively, “private entities”)
                                   hired by the government to effectuate the process and the
                                   positions these persons held at the time and hold now and
                                   all contact information for all people who were involved in
                                   developing the process that was used in separating children
                                   from their parents, adult guardians and/or next friend(s) and
                                   relatives.

                                   (b)     Please state the policy used to determine the
                                   location the children were sent to after the decision to
                                   separate them from their parents, adult guardians and/or
                                   next friend(s) and relatives.

                                   (c)    Please describe, in detail, how the process was
                                   implemented when separating the children from their
                                   parents, adult guardians and/or next friend(s) and relatives.

                                   (d)     Please state if no regular process was used in the
                                   separations, and if not, state why not.

                                   (e)     Please state how much time it took to develop the
                                   written process used in separating children from their
                                   families.

                                   (f)    Please state how much time elapsed between the
                                   date you were notified of the need to develop a written
                                   process for detaining children under the “zero-tolerance
                                   policy” and the time the written policy was finalized.

                                   (g)     Please provide the date of notification of the need
                                   for a process or procedure and the date they were finalized.
                                   Please identify any aspect of the process policy or
                                   procedure established to provide for reunification of
                                   separated children.

                                   (h)     Please provide a true and correct copy of the
                                   finalized process or procedure that was completed on the
                                   finalization date provided in (g) pursuant to this request and
                                   the Request For Production of Documents made below.




                                                                                       AR00376
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                                          (i)     Please identify the person most knowledgeable in
                                          regard to the information requested in this interrogatory.

         4. Please detail the operator, name, and locations of every office or facility, whether
            governmental or private, where HHS detained children determined to be within the ambit
            of the “zero tolerance” policy.

                                                         (a)    Please state if any HHS offices on
                                                         the Eastern Seaboard (defined as extending
                                                         from Maine to Florida) were working with
                                                         DHS on detaining children under the “zero
                                                         tolerance” policy.

                        i. If so, please provide the number, broken down by age, race, ethnicity,
                           national origin, and religion, of children either detained under the “zero
                           tolerance” policy or detained and released between April 1, 2018 and July
                           31, 2018.

                           b)      Please state if any HHS offices on the border with Canada were
                           working with DHS on detaining and separating any children under the
                           “zero tolerance” policy.

                       ii. If so, please provide the number, broken down by age, race, ethnicity,
                           national origin, and religion of children either detained under the “zero
                           tolerance” policy or detained and released between April 1, 2018 and July
                           31, 2018.


         5. Please state what HHS’s written criteria were for detaining a child separate from his
            parents, guardian(s), next friend(s) or relative(s).

                                          (a)    Please describe in detail the process by which
                                          individual determinations to separate children from their
                                          parents were made.

                                          (b)      Please provide a true and correct copy of the written
                                          criteria used by you, your agents, or any private entities to
                                          effectuate the separating of the children contemplated by
                                          this interrogatory pursuant to Request for Production of
                                          Document made below.

                                          (c)   If there were no written criteria for this action or
                                          conduct, please state so.

                                          (d)    Absent any written criteria, please state to the best
                                          of your knowledge what the criteria that was used to choose
                                          which children were to be taken from their parents,



                                                                                              AR00377
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                                                                              Appendix C              187

                                    guardians, next friend(s) or relatives and which children
                                    were allowed to remain unseparated.

                                    (e)    Please identify the person most knowledgeable
                                    regarding the information requested in this interrogatory.

   6. Please describe how children and parents were notified that they were to be separated.

                                                   (a)    Please state if the notification, if any,
                                                   was provided in English, Spanish, or another
                                                   language spoken by the parents and
                                                   children.

                                                   (b)    Please state if the notification was
                                                   provided orally or in written form?

                                                   (c)     Please state if the parents, guardians,
                                                   next friend(s), or relatives were required to
                                                   sign any paperwork acknowledging the
                                                   separation and/or any aspect of the
                                                   separation, including but not limited to
                                                   where the children were being sent, whose
                                                   legal custody they would be in, and whose
                                                   physical custody they would be in.

                                                   (d)     Please state if the parents, guardians,
                                                   next friend(s), or relatives were given any
                                                   information, in writing, informing them as to
                                                   where the children were being sent, and
                                                   were they given any information, in writing,
                                                   as to whose legal custody they would be in
                                                   and whose physical custody that would be
                                                   in.

                                    (f)     Please describe what, if any, efforts were made to
                                    ascertain whether people to whom any notice was provided
                                    could read and understand said notice.

                                    (g)   Please provide any supporting evidence
                                    documenting your response.

                                    (h)     Please provide a true and correct copy of any
                                    writings used to inform parents, guardians, next friend(s),
                                    or relatives as part of the Request for Production of
                                    Documents.




                                                                                        AR00378
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                                             (i)    Please state if, at the time of separation, had any
                                             government, HHS, and/or private entities have any Court
                                             order authorizing a change in custody from the parents,
                                             guardians, next friend(s), or relative(s) to the government,
                                             HHS, or private entities.

                                             (j)     Please state, if there was no Court order, under what
                                             legal authority HHS proceeded.

                                             (k)     Please identify the person most knowledgeable in
                                             regard to the information requested in this interrogatory

         7. Please describe what policies and procedures, prior to April 2018, did HHS have in place
            to track children after separation from their parents.

                 a.   Please state if any government, HHS or any private entities petition and seek a
                      Court order transferring custody of children to HHS or any private entities/

                 b.   If so, please state if any petition contained any clauses about the rights of the
                      parents to have visitation, be informed of their children’s whereabouts, and be
                      informed of who had custody.

             c.       Please state if the custodians of the children were required to communicate to the
                      parents about the well-being and life progress of the children.

             d.       If your answer is no to any part of interrogatory 7 (a-c) above please state why
                      HHS did not require a petition for change of custody to be filed and/or why it did
                      not inform parents of their rights to visitation, their children’s whereabouts, or the
                      well-being and life progress of the children.

             e.       Please identify the person most knowledgeable in regard to the information
                      requested in this interrogatory.

         8. During the period from April 1, 2018 to July 31, 2018, please describe what policies and
            procedures HHS had in place governing the physical transfer and transport of children
            from one location to another.

            i.        Please provide copies of any policies and procedures.

           ii.        Please state if HHS required that any private entity involved in the physical
                      transfer and transport of children from one location to another be in compliance
                      with these policies and procedures. If not, please describe why not.

          iii.        Please identify the person most knowledgeable in regard to the information
                      requested in this interrogatory.




                                                                                                  AR00379
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                                                                                Appendix C           189

   9. Subsequent to July 31, 2018, please describe what policies and procedures HHS instituted
      to track children and parents after separation.

      a.     Please identify the person most knowledgeable in regard to the information
             requested in this interrogatory

   10. Prior to April 1, 2018, please describe HHS’s role in tracking whether parents who were
       deported had children being detained separately.

           (a) Please state if HHS notified the government or any private entity with physical
               custody of children that parents of children within their custody were being
               deported.

           (b) Please state if HHS provided the parents who were deported with any
               information, in writing, regarding the status, custody, and location of their
               children.

           (c) Please describe what policies and procedures, if any, were in place to ensure that
               parents who were deported could be reunited with children being detained
               separately.

   11. Subsequent to July 31, 2018, please describe what HHS has done to track whether parents
       who were deported had children being detained separately.

           (a) Please describe what policies and procedures did HHS institute to reunite children
               being detained separately with their detained parent.

   12. Prior to April 1, 2018, please describe how HHS tracked children and their parents after
       separation. Please describe what information was collected and which procedures, if any,
       did HHS use to track children and their parents after separation, including but not limited
       to:

   13. who each child’s parents are;

   14. where each child was placed;

   15. where each child’s parents were placed; and

   16. whether the child had sponsors in the United States with whom the child could be placed.

           (a) If procedures were in writing, please provide a true and correct copy of such as
               part of the Request for Production of Documents.




                                                                                          AR00380
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         17. Please describe HHS’s role in determining where to place children separated from their
             parents, and in determining where to place the parents after separation. Please list every
             entity or institution where children separated from their parents were placed.

         18. Prior to April 1, 2018, please state if HHS let, obligated, or executed any contract or
             executed a supplement, addendum, or modification to an existing contract with any
             private entity for the detention of children separated or to be separated from their parents.

                (a) If the answer to this question is “yes” please provide true and correct copies of
                    such contracts as part of the Request for Production of Documents.

         19. Please describe how HHS determined where to place children separated from their
             parents? Please describe the procedures and criteria used to determine in which facility
             the children would be placed after separation.

         20. Please describe how HHS coordinated with the Department of Homeland Security and
             the Department of Justice, and any agencies reporting to or under the supervision of those
             Departments, on policies, decisions, actions, etc., relevant to separation, placement, and
             tracking of children and parents.

                (a) Please detail all the tools used to coordinate HHS action with other government
                    agencies or government contractors, including but not limited to, memorandums
                    of understanding, transmittal forms from custody of one entity to another, other
                    relevant policy documents, letters, agreements, etc.

         21. Please describe HHS’s case management statistics as of the dates April 30, 2018, May
             30, 2018, June 30, 2018, and November 30, 2018 on issues including, but not limited to:

         22. the number of families who were separated;

         23. the number of children who were separated;

         24. the age, gender, race, ethnicity, and national origin of these separated children;

         25. the facilities, including name, address, and operator at which children were placed; and

         26. the age, gender, race, ethnicity, and national origin of these children at each of these
             facilities.

         27. Prior to April 1, 2018, please state what HHS’s policy was for reunifying separated
             children and parents.




                                                                                                  AR00381
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          (a) Please describe all policy details, including but not limited to, who was eligible
              for reunification with their children or parents, who was ineligible for
              reunification, and what determined eligibility.

   28. Please state if there are any instances of HHS personnel coercing or attempting to coerce
       parents to give up their right to apply for asylum/refugee status in order to be unified with
       their children

   29. If the answer is yes, please describe each of those instances.

              Please provide any policies or procedures regarding prohibitions on coercion that
              existed prior to April 1, 2018, and after July 31, 2018.

   30. Please state if there are any instances of parents being told that as a condition of
       reunification with their children, or as a means of reunifying with their children faster,
       they could give up their right to apply for asylum/refugee status.

          (a) If the answer is yes, please describe each of those instances.


   31. Please state how many parents were told that as a condition of reunification with their
       children they had to give up their right to apply for asylum/refugee status.

   32. Please state if the conditioning of reunification with children applicable to all
       asylum/refugee applicants or was any such condition applied on a case by case basis.

   33. Please state how many cases or instances of coercion or attempted coercion of parents to
       give up their right of asylum in order to be reunified with their children currently exist.

   34. Please describe what HHS’s current procedures are for reunifying children and parents.

          (a) Please detail all procedures regarding reunifying children and parents, including
              but not limited to, when the process would begin, where reunification would take
              place, and how long children have been separated before being reunified.

   35. Please state HHS criteria for making eligibility determinations on which children would
       be reunited with their parents.

          (a) Please state HHS criteria for continuing the detention of children who have been
              determined to be eligible for release.

          (b) Please detail all considerations that determined which children would be eligible
              for reunification, and all considerations that determined which children would not
              be eligible for reunification.




                                                                                          AR00382
